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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

MICHAEL DAILEY, et al.,          )
                                 )
       Plaintiffs,               )
                                 )
    v.                           )                        Case No. 4:17 CV 24 CDP
                                 )
BRIDGETON LANDFILL, LLC, et al., )
                                 )
       Defendants.               )

                                          ORDER

       Upon thorough consideration of the parties’ respective positions and

arguments on plaintiffs’ Motion for Leave to File a Second Amended Complaint, I

will grant the motion and set a briefing schedule on plaintiffs’ anticipated motion

to remand.

       Given the complexity of the case overall, the complex issues involved in

plaintiffs’ motion(s) to amend, and the stay I imposed in order to thoroughly

consider the issues, I am not persuaded by defendants’ argument that any delay in

seeking leave to amend should preclude plaintiffs from amending their complaint.

Further, defendants’ arguments as to futility are more properly addressed in the

context of plaintiffs’ anticipated motion to remand.1 Upon balancing the potential


1
 Because on this motion for leave to amend I am not addressing the substance of defendants’
argument regarding the applicability of the Price Anderson Act to the Second Amended
Complaint, I will not certify an interlocutory appeal on my ruling here.
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prejudice to the parties, I conclude that under Fed. R. Civ. P. 15(a)(2) justice

requires that leave to amend be granted.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiffs’ Motion for Leave to File a

Second Amended Complaint [157] is GRANTED, and the Clerk of Court is

instructed to file and docket plaintiffs’ Second Amended Complaint (ECF 157-2)

as of today’s date.

       IT IS FURTHER ORDERED that plaintiffs shall have twenty-one (21)

days from the date of this Order within which to file a motion to remand, and

defendants shall have fourteen (14) days thereafter within which to respond. Any

reply brief may be filed within seven (7) days of the response.




                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE


Dated this 22nd day of October, 2019.




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MICHAEL DAILEY, et al.,                              )
                                                      )
          Plaintiffs,                                 )
                                                      )
          v.                                          )         Case No. 4:17 CV 24 CDP
                                                      )
 BRIDGETON LANDFILL, LLC, et al.,                     )
                                                      )
          Defendants.                                 )


                              SECOND AMENDED COMPLAINT

         COME NOW Plaintiffs Michael Dailey and Robbin Dailey, by and through their counsel,

and for their Second Amended Petition against Defendants Bridgeton Landfill, LLC, Rock Road

Industries, Inc, Republic Services, Inc., Allied Services, L.L.C., and Cotter Corporation, state and

allege as follows:

1.       Since World War II, big companies have made significant profits processing, handling, and

storing radioactive materials in the St. Louis area. This activity began seven decades ago, when a

government contractor began processing uranium ores in downtown St. Louis City. The hazardous,

toxic, carcinogenic, radioactive mill tailings wastes resulting from the processing of these ores are

ounce for ounce some of the most dangerous materials on the planet. Despite knowing that these

materials were some of the most harmful substances on Earth, Defendants treated these hazardous,

toxic, carcinogenic, radioactive mill tailings wastes with about the same level of care that a

reasonable person might give to common household garbage, dumping it without authority from

the State of Missouri and in violation of law, like everyday trash into the West Lake Landfill—a

landfill which experts indicate is not even suitable for garbage, as it contains no liner.

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2.       Since then, that radioactive material, negligently dumped in an area surrounded by peaceful

neighborhoods and playgrounds, has tormented the lives of everyday people—moms and dads who

thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids who want

nothing more than to play in the backyard; and small business owners who had invested everything

to build the American dream for their families. These everyday St. Louisans now find their lives

disrupted, their homes contaminated, their businesses upended, and their properties devalued. They

find their once-quaint neighborhoods filled with technicians testing and prodding their backyards

and the dust of their vacuum cleaners to identify the quantity and the toxicity of the radioactive

material Defendants have dumped into their lives.

3.       Tests conducted by representatives of the United States of America and others now confirm

that the areas around the West Lake and Bridgeton Landfills (referred to herein as the “Landfill”

which consists of several inactive landfills including West Lake and Bridgeton) are contaminated

with the same radioactive mill tailings wastes generated in the processing of uranium ores in the

St. Louis area. The off-site radioactive mill tailings wastes found today in the real property, which

contains businesses and homes, surrounding the Landfill has the fingerprint (or profile) of the ore

processed in St. Louis which generated the hazardous, toxic, carcinogenic, radioactive mill tailings

wastes that were dumped into and around the Landfill.

4.       These radioactive mill tailings wastes are known human carcinogens that can cause chronic

damage to the skin, reproductive system, blood forming system, digestive system, central nervous

system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

defects may take a number of years after exposure to the radioactive material to appear.

5.       Defendants have failed to take responsibility for their negligent behavior, failed to clean

up the area, failed to move the residents and businesses out, and failed to make amends for the

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widespread damage they have caused. Instead, Defendants have hidden behind misstatements and

omissions, misleading the public about the widespread contamination Defendants have caused and

minimizing the immense risks to public health and safety that resulted from Defendants’ actions.

6.       It is time that Defendants finally be held accountable for their reckless and tortious conduct.

This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the victims.

7.       Plaintiffs Michael Dailey and Robbin Dailey (hereinafter “Plaintiffs”) own property in

Bridgeton, Missouri that Defendants contaminated. The Dailey Property, including the land and

Plaintiffs’ home (hereinafter “Dailey Home”), is contaminated with radioactive material from the

Landfill. The radioactive material consists of high levels of Uranium (U-238) decay products,

including Thorium (Th-230), Lead (Pb-210), and Radon (Ra-226). Dusts inside the Dailey Home

were shows to contain radioactive Th-230 at levels at least two hundred times higher than

Background levels, as depicted in the graphic immediately below.




                                                   3


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 8.       Plaintiffs Michael Dailey and Robbin Dailey have sustained significant damages as a result

 of Defendants’ conduct. Defendants should remediate the Dailey Home and compensate Plaintiffs

 for their damages, and provide further relief as set forth below in the Petition.

 9.       Authorities have recently ordered a cleanup that will take many years to complete. This

 cleanup will result is the uncovering and handling of radioactive mill tailings wastes that will result

 in additional releases from the site. (This statement is provided for informational purposes only,

 as Plaintiffs are making no claims under the laws of the United States).




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                          I. JURISDICTION, AUTHORITY, AND VENUE

 10.      The Twenty-First Judicial Circuit of the State of Missouri is St. Louis County has

 jurisdiction and authority over the subject matter and the parties in this case because the causes

 of action stated in this Petition arose out of business activities conducted solely in Missouri, and

 out of torts committed solely in Missouri by resident and non-resident defendants.

 11.      Complete diversity does not exist in this matter as Defendant Rock Road Industries was a

 Missouri corporation at the time this action was commenced, and Plaintiffs are Missouri citizens. 1

 12.      Venue is proper in the Twenty-First Judicial Circuit of the State of Missouri in St. Louis

 County pursuant to Mo. Rev. Stat. §508.010, because Defendants’ conduct giving rise to this action

 took place in St. Louis County, Missouri.

 13.      Plaintiffs do not allege any causes of actions arising under any laws of the United States.

 14.      Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

        A. The Landfill is not and has never been a licensed nuclear facility.

        B. Defendants have never received a license to possess, transport, or dispose of any

            radioactive wastes on or in the Landfill.

        C. Defendants have never entered into an indemnification agreement with the United States

            government under 42 U.S.C. § 2210 with respect to the complained activities.

 15.      Defendants Rock Road Industries and Bridgeton Landfill, LLC previously, and correctly,

 declared that the Price-Anderson Act does not apply to them because the West Lake Landfill is

 not a licensed nuclear facility: “Count One, arising under the Price-Anderson Act, is wholly




 1
  When this action was initially filed on November 15, 2016, Rock Road Industries was a Missouri Corporation.
 Thereafter, on April 10, 2018, Rock Road Industries was merged into Bridgeton Landfill, LLC.
                                                        5


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 inapplicable to Rock Road and Bridgeton Landfill, as the West Lake Landfill is not a nuclear

 facility subject to licensing by the nuclear Regulatory Commission.” 2

 16.      Plaintiffs expressly contend that no occurrences that form the basis for this suit rise to the

 level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification. This principle was clearly enunciated

 by the Hon. Neil Gorsuch in the case of Cook v. Rockwell Intern. Corp., 790 F.3d 1088 (10th. Cir.

 2015) also known as the Rocky Flats litigation.

 17.      Other decisions in the United States District Court, Eastern District of Missouri have

 determined that the Price Anderson Act does not apply to the same wastes at issue here because

 the Defendants lack the appropriate federal license or indemnity agreement to trigger the Price

 Anderson Act. 3

 18.      At the time of the outrageous, reckless, negligent acts that form the basis for this lawsuit

 occurred, the Price-Anderson Act did not apply because the wastes at issue were not subject to said

 Act.

 19.      Plaintiffs claims do not fall within the Jurisdiction of the Price Anderson Act because the

 mill tailings that Cotter disposed of and the Landfill Defendants accepted were not at the time

 subject to the Atomic Energy Act and the Price Anderson Act. 4




 2
   Defendants Rock Road Industries and Bridgeton Landfill, LLC’s Memorandum in Support of Motion to
 Dismiss (Doc 15), Adams v. MI Holdings, Inc. Case No. 4:12-cv-00641-JCH
 3
   See Strong v. Republic Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017); see also Banks v. Cotter Corporation,
 2019 WL 1426259.
 4
   See Exhibit 1 – Declaration of Richard B. Stewart (April 24, 2018)
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 20.      Plaintiffs claims do not fall within the Jurisdiction of the Price Anderson Act because

 Cotter’s disposal and the Landfill Defendants’ acceptance of mill tailings was not undertaken

 pursuant to an appropriate federal license or indemnity agreement. 5

 21.      The Price-Anderson Act does not apply to the mill tailings wastes at issue in this Second

 Amended Petition.

                                        II. THE PARTIES

                                              Plaintiffs
 22.      Plaintiffs Michael Dailey and Robbin Dailey are Missouri citizens who own real property

 located at 3550 El Ferrol Court, Bridgeton, Missouri (the “Dailey Property”). Plaintiffs purchased

 their home in 1999. The property is approximately 0.25 acres in St. Louis County adjacent to what

 is now the Landfill in Bridgeton, Missouri, more fully described as follows: Lot 18 in Subdivision

 Spanish Village Plat Two. Plaintiffs Michael Dailey and Robbin Dailey first learned that their

 property was contaminated with radioactive materials in 2016.

 23.      As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant damages

 including damages to their property and the loss of use and enjoyment thereof.

                                            Defendants

 24.      In this Petition, the defendants in this lawsuit are categorized into three groups, namely

 Landfill Owner Defendants, Landfill Operator Defendants (collectively “Landfill Defendants”),

 and Radioactive Waste Disposer Defendant: 6

        A. Landfill Owner Defendants


 5
  Id.
 6
  When this action was initially commenced it also included Radioactive Waste Generator Defendants MI Holdings,
 Inc. and Mallinckrodt Inc. In Plaintiffs first Amended Complaint, this action was brought against the Radioactive
 Waste Generator Defendant Mallinckrodt, LLC. Thereafter, Plaintiffs settled with Mallinckrodt, LLC and the claims
 against them were dismissed on March 20, 2018.
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             i.    Bridgeton Landfill, LLC, which owns the Bridgeton and West Lake Landfills; and

            ii.    Rock Road Industries, Inc., which owned or owns the West Lake Landfill. 7

        B. Landfill Operator Defendants 8

             i.    Republic Services, Inc., which owns, oversees, and directs the environmental

                   decisions and conduct of Bridgeton Landfill, LLC, Allied Services, L.L.C., and

                   Rock Road Industries, Inc., and operates the Bridgeton and West Lake Landfills;

                   and

            ii.    Allied Services, L.L.C, which operates Bridgeton and West Lake Landfills.

        C. Radioactive Waste Disposer Defendant

           iii.    Cotter Corporation, which owned and disposed of the hazardous, toxic,

                   carcinogenic, radioactive residue wastes.

 25.      Bridgeton Landfill, LLC formerly “Laidlaw Waste Systems” (“Landfill Owner”) is a

 Delaware limited liability company with its principle place of business in the State of Missouri. It

 continuously and systematically conducts business activities in the State of Missouri.

        A. Upon information and belief, Bridgeton Landfill, LLC owns the Bridgeton Landfill and

            the West Lake Landfill.

        B. Bridgeton Landfill has continuously and systematically availed itself of the protection

            of Missouri laws in St. Louis County courts, and regularly appears to defend itself in

            lawsuits tried there.

        C. This lawsuit arises out of damages that resulted from Bridgeton Landfill’s acts and

            omissions within the State of Missouri. Specifically, since 2008, Bridgeton Landfill has


 7
   As noted in footnote 1, Rock Road Industries, Inc. was a Missouri corporation at the time this action was
 commenced.

                                                           8


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              owned, operated and maintained daily operational and managerial control over the

              management and environmental decisions of the Bridgeton Landfill and the West Lake

              Landfill, which gave rise to the violations of law and damage to property alleged in this

              Petition.

 26.        Rock Road Industries, Inc. (“Road Road”) was a Missouri corporation with its principle

 place of business in St. Louis Missouri at the time this action was commenced. Rock Road was a

 wholly-owned subsidiary of Republic Services, Inc. that continuously and systematically

 conducted business in the State of Missouri. After commencement of this action, Rock Road was

 merged into Bridgeton Landfill, LLC on April 10, 2018.

          A. This lawsuit arises out of damages that resulted from Rock Road Industries, Inc.’s acts

              and omissions within the State of Missouri. Upon information and belief Rock Road

              Industries, Inc. owned the West Lake Landfill along with Bridgeton Landfill, LLC. Rock

              Road Industries maintained daily operational and managerial control over the

              management and environmental decisions of the West Lake Landfill, decisions which

              gave rise to the violations of law and damage to property alleged in this Petition

 27.        Republic Services, Inc. (“Republic”) is a Delaware corporation with its principal place of

 business in the State of Arizona that carries on continuous and systematic business activities within

 the State of Missouri.

          A. Republic describes itself as a “leader in the domestic non-hazardous solid waste industry, as

              measured by revenue as well as a Fortune 500 company, publicly traded on the New York Stock

              Exchange (NYSE: RSF).”9 Despite Republic’s record of violations and the widespread

              injuries resulting from Republic’s conduct, Republic promises the public that it lives by


 9
     https://www.republicservices.com/about-us
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              “high environmental and sustainability standards.” 10 Republic has engaged in extensive

              professional public relations efforts to downplay the significance of the problem, and

              their misleading statements can only be characterized as mere “puffery.”

          B. Republic’s presence in Missouri is immense, servicing more than 300 cities and towns

              throughout the state, including many in St. Louis County. 11 Republic continuously and

              systematically avails itself of the protection of Missouri laws in St. Louis County courts,

              and regularly appears to defend itself in lawsuits tried there. Republic is responsible for

              promulgating and enforcing environmental and health and safety policies and procedures

              to its subsidiaries, which in this case they failed to adequately do.

          C. This lawsuit arises out of damages that resulted from Republic’s acts and omissions within

              the State of Missouri. Since 2008, Republic and its subsidiaries have maintained daily

              operational and managerial control over the management and environmental decisions of

              the Bridgeton and West Lake Landfills, decisions which gave rise to the violations of law

              and damage to property alleged in this Petition. Republic did so directly and through its

              subsidiaries Allied Services, LLC, Bridgeton Landfill LLC, and Rock Road Industries,

              Inc.

 28.        Allied Services, LLC (“Allied”), a Delaware limited liability company with its principal

 place of business in the state of Arizona, is a wholly-owned subsidiary of Republic Services, Inc.,

 that continuously and systematically conducts business in the State of Missouri under its own name

 and under the fictitious name “Republic Services of Bridgeton.”

          A. Allied conducts daily operations of the Bridgeton Landfill and the West Lake Landfill.



 10
      http://www.republicservices.com/customer-support/facilities
 11
      https://www.republicservices.com/locations/missouri
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        B. Allied regularly and routinely avails itself of the protection of Missouri laws in St. Louis

            County courts, and regularly appears to defend itself in lawsuits tried there.

        C. This lawsuit arises out of damages that resulted from Allied’s acts and omissions within

            the State of Missouri. Since 2008, Allied has maintained daily operational and managerial

            control over the management and environmental decisions of the Bridgeton and West

            Lake Landfills, decisions which gave rise to the violations of law and damage to property

            alleged in this Petition.

        D. Allied has also promulgated environmental and health and safety policies and procedures

            to its subsidiaries, which in this case they failed to adequately do.

 29.      Cotter Corporation (“Cotter”) is a Colorado corporation with its principle place of business

 in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a California

 corporation.

        A. Cotter continuously and systematically carries on business activities in the State of

            Missouri in its own name, as well as through its parent company General Atomics, Inc.

        B. This lawsuit arises out of damages that resulted from the Cotter’s conduct including acts

            and omissions within the State of Missouri, as well as the acts and omissions of the

            predecessors of the Cotter, which gave rise to the violations of law and damage to

            property alleged in the Petition.

                                              III. FACTS

                                        Radioactive Wastes

 30.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man. 12



 12
   Allen v. United States, 588 F. Supp. 247, 292 (D. Utah 1984), rev'd, 816 F.2d 1417 (10th Cir. 1987). Citing J.C.
 Giddings, Chemistry, Man & Environmental Change 412 (1973).
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 31.      Radiation is a type of energy transmitted over a distance. Some materials spontaneously

 emit radiation through a process known as radioactive decay. As these materials decay they release

 radiation energy and transform into other radioactive materials which will then also decay by

 releasing radiation energy and transforming into other materials.

 32.      Some radiation energies, including the radiation from the decay of radioactive materials

 used in nuclear and atomic processes, such as uranium, have the ability to penetrate other material.

 When radiation energy interacts with other material, it causes a process called ionization 13 which can

 damage chemical structures. When the “other material” that ionizing radiation passes through is

 human cells, it can cause damage within those cells resulting in mutation in genetic material which

 can lead to cancer and other harms.

 33.      People are exposed to radiation in two ways: external exposure from radioactive material

 in the environment and internal exposure by radioactive material that has entered the body.

 Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

 34.      One characteristic of the impact of exposure to ionizing radiation on the human body

 through both internal and external exposure is that even if the energy absorbed is low, the




 13
   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of radiation that includes
 alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed electrons, high-speed protons, and other
 particles capable of producing ions. Ionizing radiation has enough energy to cause changes in atoms through a
 process called ionization. Ionization can affect the atoms in living things and depending on the dose and exposure, can
 pose a serious health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells,
 causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-health-effects
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 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

 35.      The injuries resulting from exposure to ionizing radiation can also be separated into two

 categories: somatic injuries and genetic injuries. Somatic injuries are damages to the individual

 exposed. This can be damages to the skin, reproductive system, blood forming system, digestive

 system, central nervous system, and immune system, as well as cancers. Illnesses such as cancers

 may take a number of years to appear.

 36.      Genetic injury is damage to the reproductive cells of the exposed individual in the form of

 mutation of their genetic cells. As a result, the probability of detrimental effects to the descendants

 of the exposed persons may greatly increase. These genetic mutations can be passed down to a

 person’s offspring even generations later. These injuries include birth abnormalities and cancer.

 37.      One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.

 38.      Radium-226 has a half-life of 1,600 years. Radium-226 eventually decays to lead- 210 and

 polonium-210. This means that as the radium-226 decays, it increases the lead-210 and polonium-

 210 at the Landfill and in the surrounding environment. Furthermore, half of the hazardous,

 carcinogenic radium-226 currently contaminating the West Lake Landfill will still remain as a

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 grave problem even after 1,000 years from now if it is not physically removed. This is described

 in the scientific literature as follows:

                   Importantly, because the concentrations of short-lived radionuclides
                   will progressively increase, the radioactivity at the site will likewise
                   increase for the foreseeable future. For example, according to NRC,
                   if the present day activity of 230Th is estimated to be 100 times that
                   of 226Ra, then the alpha activity due to 226Ra decay will increase
                   fivefold over present levels in 100 years, nine-fold in 200 years, and
                   35-fold in 1000 years. 14

                                Radioactive Waste in the St. Louis Area

 39.      From 1942 to 1957, uranium ore was processed in downtown St. Louis City in association

 with the Manhattan Project. 15 Milling is the first step in processing natural Uranium ore and the

 milling process generates a sandy process waste known as “mill tailings” which contain radioactive

 decay products. In the late 1940’s, the Manhattan Project acquired land near Lambert airport to

 store the Uranium ore mill tailings wastes from the processing operations in downtown St. Louis.

 The storage site near the airport is now referred to as the St. Louis Airport Site or SLAPS

 (“SLAPS”). Radioactive mill tailings wastes accumulated at SLAPS.

 40.      In the 1960’s, leftover mill tailings (ore residues, and uranium, and radium-bearing process

 wastes) that had been stored at SLAPS were moved to a storage site on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”). Mill tailings at the Latty Avenue Site included

 Uranium.




 14
    Robert E. Criss, Risk and Character of Radioactive Waste at the West Lake Landfill 1, Bridgeton, Missouri,
 Department of Earth and Planetary Sciences, Washington University, St. Louis, MO, Mar. 14, 2013 (footnotes
 omitted [hereinafter “Criss (2013)”].
 15
    Robert Alvarez, The West Lake Landfill: A Radioactive Legacy of the Nuclear Arms Race 8, Nov. 21, 2013
 (footnotes and citations omitted) [hereinafter "Alvarez (2013)"]; see also Denise DeGarmo, The Disposal of
 Radioactive Wastes in the Metropolitan St. Louis Area, The Environmental Health Legacy of the Mallinckrodt
 Chemical Works 57, 62, 143 (Edwin Mellen Press 2006) (footnotes omitted) [hereinafter "DeGarmo (2006)"].

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 41.      In the late 1960’s, Cotter purchased the Uranium mill tailings stored at both SLAPS and at

 the Latty Avenue Site.

 42.      Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

 43.      Cotter did not receive indemnity from the government in connection with this transaction.

 44.      Between 1969 and 1973, Cotter stored, processed, and transported the mill tailings at the

 SLAPS and Latty Avenue sites.

 45.      On or about 1973, Cotter mixed uranium mill tailings wastes with soil and upon

 information and belief they marketed the mill tailings as daily cover for landfill operations. Daily

 cover is the layer of soil that is laid on top of the day’s deposition of waste at an operational landfill.

 46.      On or about 1973, Cotter caused to be dumped, and the Landfill Defendants accepted, over

 46,000 tons of radioactive mill tailings wastes without any permit whatsoever.

 47.      Upon information and belief, despite knowing that Cotter was trying to dispose of

 dangerous radioactive materials for which the Landfill was not permitted to accept, the radioactive

 mill tailings waste was used by the Landfill Defendants as daily cover for the Landfill. The Landfill

 Defendants permitted the dumping of radioactive mill tailings wastes into the Landfill and

 intentionally spread these wastes over a large area.

 48.      The scientific literature summarizes the dumping as follows:

                   In 1973, 8700 tons of radionuclide-bearing “leached barium sulfate”
                   was allegedly dumped in an unlined Landfill in Bridgeton, MO that
                   was not licensed to receive radwaste. This report finds that 1) the
                   chemical and physical character of the radioactive materials has not
                   been adequately characterized, and barium sulfate is probably not a
                   major constituent; 2) the alpha and beta emissions of this material
                   will increase 10x to 100x over present levels, reaching maximum

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                      activity in about 9000 years; 3) the Landfill has no protective
                      barriers and a proximal subsurface fire; 4) the site has several
                      hydrologic and geologic risk factors that magnify its unsatisfactory
                      location in a populated area; 5) nuclear material has been in contact
                      with percolating waters and with a fluctuating water table; 6)
                      groundwaters contaminated with radionuclides have migrated far
                      from the original location of disposal; 7) background levels of
                      radiation have been overstated, while other risks have been
                      underestimated …. 16

                                                 The Landfill

 49.        The West Lake Landfill is situated on about 200 acres at 13570 St. Charles Rock Road, in

 the City of Bridgeton. The Missouri River lies about one and one-half miles to the north and west

 of the Landfill. A shallow aquifer lies beneath the West Lake Landfill and surrounding

 neighborhoods.

 50.        Originally used for agriculture, the land became a limestone quarrying and crushing

 operation in 1939.

 51.        Beginning in the early 1950s, portions of the quarried areas and adjacent areas were used to

 dispose of municipal refuse, chemical wastes, industrial solid wastes, and construction/demolition

 debris.

 52.        The Landfill was never designed to be an adequate storage or disposal site for radioactive

 materials, nor was it ever licensed as such. Despite the Landfill not being properly designed to

 receive radioactive materials, the Landfill Defendants accepted hazardous, toxic, carcinogenic,

 radioactive mill tailings wastes and spread them around the Landfill.

 53.        The inadequacies of the Landfill itself are described in the scientific literature as follows:

                      Although the West Lake Landfill contains significant amounts of
                      long-lived radiotoxic wastes such as those contained in federally
                      licensed commercial radioactive waste Landfills, it meets virtually


 16
      Criss (2013) at 1.
                                                       16


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                      none of legal requirements governing shallow radioactive waste
                      disposal to prevent off-site migration. 17

 54.        The data collected on and around the Landfill documents radioactive contamination of soil,

 water, and air.

                      Onsite 226Ra concentrations in soils as high as 21,000 pCi/g were
                      measured, compared to estimated background levels of 2 pCi/g.
                      Elevated radium contents above the EPA’s MCL of 5 pCi/l are also
                      widespread in both the alluvial and bedrock aquifer within about
                      1500 feet of Areas 1 and Area 2. Airborne surveys established that
                      external radiation levels exceeding 100µR/hr, while distal samples
                      were <10 µR/hr. Levels recorded one meter above Area 2 were as
                      high as 3-4 mR/hr, or as much as 400x higher than background.
                      NRC reports that the subsequent addition of soil cover and
                      construction debris to Areas 1 and 2 diminished these levels several
                      fold. 18

 55.        Other toxic and hazardous materials are expected to have been released via the air pathway,

 in addition to the radioactive materials. This phenomenon contributes to the damages complained

 of herein.

 56.        The Landfill stopped accepting waste on December 31, 2004 and is now used as a transfer

 station for municipal wastes.

 57.        The Landfill waste mass encompasses approximately 52 acres with approximately 240 feet

 below the ground’s surface and a total waste thickness of 320 feet.

                         Radioactive Mill Tailing Wastes at the West Lake Landfill

 58.        Defendants caused or contributed to the improper handling, storage, and disposal of an

 estimated 500,000 cubic yards of radioactive mill tailings wastes in the Landfill. As a result, about




 17                                                                                                 210
                                                                                       Pb at 104,
      Marco Kaltofen et al, Tracking legacy radionuclides in St. Louis, Missouri, via unsupported
 Journal of Environmental Radioactivity, Vol. 153 (2016) [hereinafter "Kaltofen (2016)"].
 18
      Criss (2013) at 2 (citations omitted)
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 15 acres of the West Lake Landfill are filled with radioactive mill tailings waste at depths up to 20

 feet.

 59.        Cotter failed to obtain a license from any governmental authority to transport radioactive

 mill tailings wastes to the West Lake Landfill. The West Lake Landfill failed to obtain any

 governmental authority to receive or possess radioactive mill tailings wastes from Cotter. The

 West Lake Landfill was not sited, designed, nor operated as a land disposal facility suitable for

 radioactive waste in accordance with any governmental authority. The Landfill is not and has never

 been licensed by the NRC as a land disposal site or to receive or possess radioactive material.

 (These statements are provided for informational purposes only, as Plaintiffs are making no claims

 under the laws of the United States).

 60.        Upon information and belief, Defendants who operated the Landfill used the radioactive

 mill tailings waste mixed with radioactive soil as daily cover in its Landfill operations thereby

 spreading the waste throughout the Landfill.

 61.        Defendants did not take necessary safety precautions when disposing of and handling the

 radioactive mill tailings wastes and radioactive soil to prevent off-site contamination.

 62.        The staff of the Landfill was neither qualified, nor trained to handle or dispose of radioactive

 wastes in a safe manner.

 63.        The Landfill was not intended, nor designed to contain mill tailing radioactive wastes. In

 reality, the Landfill is a chaotic pile of debris covered by unmanaged “natural vegetation,

 surrounded by a fence with radioactive [warning] signs.” Given the significant design and

 operations deficiencies, experts contend that the Landfill is even unsuitable for ordinary domestic

 waste. 19


 19
      Criss (2013) at 4
                                                      18


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                                               The Fire

 64.      The Landfill has experienced problems with subsurface fires throughout its operational

 history. Despite having past experiences with subsurface fires, sufficient precautionary measures

 were not implemented to prevent future fires or to protect the radiologically contaminated areas

 from being affected.

 65.      Upon information and belief, Defendants discovered high temperatures in several

 monitoring wells. Upon information and belief, Defendants continued with aggressive gas

 extraction methods exacerbating the underground fire and enabling it to spread uncontrolled.

 Defendants finally reported to authorities that the Landfill was experiencing high temperatures on

 extraction wells evidencing a subsurface smoldering event.

 66.      Since then, the smoldering has intensified into a spreading subsurface fire evidenced by

 surface soil settlement, increased odors, elevated hydrogen levels, and high temperatures. High

 temperatures and smoke caused by the fire could mobilize radionuclides into the air and ultimately

 into soil, surface water, ground water.

 67.      Due to the fact that the radioactive material was used as daily cover around the landfill, it

 is more likely than not that some fire has already consumed radioactive material. If there is

 sufficient contact with radioactive material, hot gases from the fire will likely cause fissures in the

 overburden material. These fissures will allow additional quantities of radioactive radon gas to

 escape the Landfill and become deposited as lead- 210 onto Plaintiffs’ property as it decays.

 68.      A subsurface fire in the radioactively contaminated areas would be expected to create

 increased pressure conditions within the Landfill and force out entrained radioactive gases,

 including radon which is extremely toxic to breathe. A subsurface fire may be present in the

 radioactively contaminated areas for a long period of time before it is detected, because the only

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 apparent means to detect a subsurface smoldering event after closure is through annual visual

 inspections.

 69.      Another effect of a subsurface fire or smoldering event would be increased leachate

 production which has been observed in the Bridgeton Landfill from condensation of large amounts

 of steam. 20

 70.      The literature describes the risk of the Landfill underground fire as follows:

                   An underground fire is currently ongoing in the municipal Landfill
                   (OU-2) that is immediately south of Area 1 of OU-1. Such fires can
                   burn for years, creating high underground temperatures, and
                   releasing carbon monoxide, dioxins, VOCs and other noxious
                   chemicals, and particulates into air. Numerous people who reside
                   near the Landfill complained about odor and health problems at the
                   January 17, 2013 public meeting in Bridgeton. Risks for adjacent,
                   radionuclide-bearing OU-1 include but are not restricted to the
                   following 1) fire can spread from OU-2 into OU-1, particularly
                   because demolition and construction Landfills are known to have
                   much higher risk than municipal Landfills; 2: subterranean fires can
                   result in Landfills collapse, landslides and slumping, endangering
                   personnel and exposing dangerous materials to the surface; 3)
                   Landfill fires have high explosion risk because of methane, gas
                   cylinders, and drums; 4) high temperatures and smoke could
                   mobilize radionuclides into surface water, ground water and air. 21

 71.      There are at least two human exposure risk pathways that would exist from a subsurface

 smoldering event or subsurface fire reaching the radioactive materials. The first is the risk of

 people being subjected to increased air exposures to contaminants such as breathing in radon gas,

 radon-226. As airborne concentrations of radon gas increase, so would the risk to the neighboring

 population of breathing in radon gas and developing injuries such as lung cancers. Additionally,

 as radon gas decays it will become deposited onto people’s property and in their homes as



 20
    Leachate means liquid that has percolated through solid waste or has come in contact with solid waste and has
 extracted, dissolved or suspended materials from it. Mo. Code Regs. Ann. tit. 10, § 80-2.010.
 21
    Criss (2013) at 4-5 (citations omitted).
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 radioactive lead-210 and polonium-210 which would subject people to increased risk of internal

 exposure to radioactive materials. The second pathway is increased leachate production that could

 further move contaminants and radioactive materials into the groundwater.

 72.      Despite these risks, the Landfill Defendants have allowed the subsurface fire to spread

 uncontrolled.

 73.      From the start of the subsurface smoldering event and throughout the subsequent fire,

 Plaintiffs have regularly encountered noxious, putrid, and offensive odors on their property coming

 from the Landfill, which diminishes quality of life, results in lost property value and is an absolute

 nuisance.

        The Spread of Defendants Radioactive Wastes to Off-Site Businesses and Homes

 74.      As stated herein, Defendants have violated numerous Missouri standards for protection

 against radiation. Defendants’ negligent handling, storage, and disposal of radioactive wastes and

 radioactive soil as daily cover caused dangerous contaminants to be deposited in several areas

 throughout the Landfill site and to be highly susceptible to off-site migration of radioactive

 materials including radon gas, radioactive particles, and radioactively-contaminated groundwater

 75.      An example of water impacts of the Landfill will put this in perspective. Every day, the

 Landfill generates about 150,000 gallons of contaminated hazardous liquid leachate waste. In a

 doomed attempt to capture that waste, the Landfill Defendants installed a leachate collection

 system. But the leachate collection system itself was inadequate and has resulted in spills, releases,

 and leaks that have contributed to the groundwater and surface water contamination in the area.

 76.      Radiological and organic contamination was also detected in trees adjacent to and off-site

 from the Landfill. The presence of radioactive contamination in the trees resulted from the

 uptake of off-site contamination from the Landfill.

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 77.      Recent studies of the Landfill area document radioactive radon gas emissions from the

 Landfill are falling out and contaminating soil. Kaltofen reported the following:

                   Levels of 210Pb in key samples were well above background
                   activities, and were significantly out of secular equilibrium with
                   other members of the uranium decay chain. This is strong evidence
                   that the 210Pb originated by decay of short-lived, fugitive radon gas
                   that escaped the Landfill. 22

 78.      Importantly, wherever lead-210 occurs, it will decay to polonium-210, creating an

 additional dose, as a matter of the laws of physics.

 79.      In addition, recent studies of surface water runoff from the Landfill, particularly after heavy

 rains, document radioactive contaminated surface water runoff to off-site properties. 23

 80.      Critical to the legacy of radioactive particles contaminating the homes and communities

 surrounding the Landfill is that the radioactive contamination has gone off-site.

 81.      Landfill Defendants have a long and consistent history of consciously disregarding the

 regulations for the control of radiation in Missouri by:

        A. failing to make such surveys as are reasonably necessary to comply with the regulations;

        B. failing to post adequate warning signs as required by the regulations;

        C. failing to obtain a specific license for the handling of radioactive materials and wastes;

        D. failing to adequately monitor or control its offsite effluent by air and water;

        E. failing to provide dosimetry to workers and more than occasional visits by members of

            the general public to the site;




 22
   Kaltofen (2016) at 110.
 23
   EPA Finds Radiation in West Lake Landfill Runoff, CBS St. Louis, May 26, 2016,
 http://stlouis.cbslocal.com2016/05/26/epa-finds-radiation-inwestlake-landfill-runoff.
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        F. failing to have an adequate or proper radiation protection program for its workers, despite

            knowledge of the significant potential for those workers to be exposed to material

            emitting gamma, beta, alpha radiation;

        G. allowing off-site migration of the radioactive materials, resulting in a release to an

            unrestricted area;

        H. allowing excessive radon emanation from the landfill;

        I. allowing unmonitored offsite migration of contaminated surface waters without a specific

            license;

        J. failing to maintain adequate waste exposure records and reports;

        K. failing retain and employ qualified radiation protection experts;

        L. failing to supply former workers with a summary of their radiation dose;

        M. failing to see that all work with radioactive materials is carried under conditions which

            will minimize the possibility of spread of radioactive materials;

        N. failing to monitor the workplace and prevent worker or visitors’ clothing from becoming

            contaminated with radioactive materials;

        O. failing to require third parties who were disposing of radioactive material at the site to

            obtain a specific license;

        P. allowing the disposal of radioactive waste materials by dumping or burial at a site not

            approved by the Department of Health;

        Q. failing to have an accurate accounting for all radioactive materials at the site; and

        R. failing to have records which show the amount of radioactive material received,

            transferred, decayed in storage, disposed of, and other information as may be necessary



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            to account for the difference between the amount of radioactive material received or

            produced and the amount on hand.

 82.      Defendants essentially violated every Missouri regulation related to radiation exposure.

 83.      Due to risk of gamma radiation exposure, governmental authorities have directed Republic

 to cover portions of the landfill with six inches of fill to protect workers and innocent members of

 the general public who will be exposed to gamma radiation if they are in that area.

 84.      This zone of excessive gamma radiation was identified in 1978 during a surveillance flight

 by the NRC. Despite being informed of this zone of excessive gamma radiation, the Landfill

 Defendants did nothing.

 85.      The only time Defendants takes any action to remediate or protect workers or the public

 from radioactive wastes is when ordered to do so by a governmental body.

 86.      A recent study of the wastes that have come from the Landfill and migrated off-site to

 contaminate local businesses and homes stated the following:

                   Analysis of 287 soil, sediment and house dust samples collected in
                   a 200km2 zone in northern St. Louis County, Missouri, establish
                   that off-site migration of radiological contaminants from Manhattan
                   Project-era uranium processing wastes has occurred in this
                   populated area.

                                Concealment of Facts Related to Risk

 87.      Republic and other Defendants through their silence have reassured government officials,

 the public and Plaintiffs that the Landfill has not contaminated nearby properties. In particular,

 Republic and its representatives, as well as its professional public relations firm(s), with their puff

 talk that they really care have made misrepresentations that were meant to assure Plaintiffs that:




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        A. Any suspicion of off-site contamination from the Landfill are merely rumors “being

            spread by alarmists.” 24

        B. Its activities “should reassure the community that they are safe from and not being

            exposed to any risk from groundwater beneath West Lake Landfill.” 25

        C. The Landfill’s neighbors, including the Plaintiffs “can rest assured that they are safe.” 26

        D. The fire and Landfill are both at a “managed state.” 27

        E. The waste at the Landfill presents no danger to public health. 28

 88.      Republic and other Defendants engaged in extensive professional public relations efforts

 to downplay the significance of the problem and the dangers associated with radioactive wastes

 sitting in a landfill which experts indicate is not even suitable for household garbage, as it contains

 no liner. Defendants misrepresentations can only be characterized as mere “puffery”.

              Defendants’ Radioactive Particles Contaminated the Plaintiffs Property

 89.      The Dailey Property is contaminated by radioactive material.

 90.      Samples taken on and around the Dailey Property confirm an elevated presence of

 radioactive particles.

 91.      Dust samples from inside the Dailey Home contain decay products of radioactive isotopes

 U-238, including Th-230, Ra-226 and Pb-210, which match the fingerprint (or profile) of the

 hazardous, toxic, carcinogenic radioactive wastes generated from the processing of uranium ore in

 downtown St. Louis which was subsequently stored at SLAPS and Latty Avenue before being




 24
    Jacob Barker, Radium above federal guidelines in groundwater near West Lake at 2, St. Louis Today, Dec. 17,
 2014.
 25
    Id.
 26
    Jacob Barker, Frustration with EPA handling of West Lake growing at 5, St. Louis Today, Jan. 3, 2015.
 27
    Frustration with EPA handling of West Lake growing, Jacob Barker, St. Louis Today, January 3, 2015 at p. 5.
 28
    Id.
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 disposed of in the Landfill. These dusts show levels of radioactive Th-230 at least two hundred

 times above background.

 92.        The Dailey Property neighbors the Landfill. This proximity puts the Plaintiffs’ Property in

 the direct path of radioactive and other hazardous air emissions, radioactive particles distributed

 by the wind blowing such contamination off the site in dirt and dust, radon gas, and frequent

 offensive odors; all of which emanate from the Landfill.

 93.        The Kaltofen (2016) published scientific paper identified “strong evidence of short lived

 fugitive radon gas that escaped from the landfill.” 29 These air emissions fall out to soil and dust as
 210
       Pb, a highly radioactive isotope.

 94.        It is also clear that radioactive material will be distributed from the Landfill “by surface

 water and winds.”21 The surface water runoff threat is heightened during periods of high rainfall

 and flooding and has been documented. 30

 95.        Frequent offensive odors from the Landfill are experienced by Plaintiffs.

 96.        The radioactive wastes, which are hazardous, toxic, carcinogenic, that have polluted the

 Dailey Property and continue to threaten, especially during the proposed cleanup, to further pollute

 the Dailey Property match the waste fingerprint (or profile) of the hazardous, toxic, carcinogenic

 radioactive mill tailings wastes dumped in the Landfill.

 97.        This radioactive contamination on the Dailey Property migrated from the Landfill. The

 contamination was caused by the Defendants’ improper handling, storage, and disposal of

 radioactive materials.




 29
   Kaltofen (2016) at 111.
 30
   EPA Finds Radiation in West Lake Landfill Runoff, CBS St. Louis, May 26, 2016,
 http://stlouis.cbslocal.com2016/05/26/epa-finds-radiation-inwestlake-landfill-runoff.
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 98.      Radioactive contamination of the Dailey Property and frequent offensive odors render the

 Dailey Property unfit for normal use and enjoyment, and destroys its fair market value.

 99.      As a direct and proximate result of Defendants’ conduct, Plaintiffs are currently being

 subjected to radioactive waste contamination and will suffer irreparable harm if an injunction is

 not granted requiring Defendants conduct a total and complete cleanup of the contamination on

 the Dailey Property.

                                       COUNT I - TRESPASS

 100.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 101.     Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property located

 at 3550 El Ferrol Court, more particularly described in Paragraph 19 above.

 102.     Landfill Defendants own and control property located at the Bridgeton and West Lake

 Landfills, which adjoins Plaintiffs’ property.

 103.     Landfill Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes on their property.

 104.     Cotter purchased massive quantities of highly toxic radioactive wastes and failed to

 properly dispose of these wastes. Cotter intentionally, maliciously, and wantonly disposed of

 radioactive wastes at a facility unfit to handle such wastes.

 105.     Landfill Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

 106.     Landfill Defendants have caused these radioactive materials to migrate from their property

 and contaminate Plaintiffs’ property.



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 107.     Landfill Defendants willfully, wantonly, and maliciously caused the emission of radon gas,

 and radioactive particles onto and around Plaintiffs’ property through their Landfill operations.

 108.     It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

 109.     The migration of radon gas and radioactive particles from Landfill Defendants’ property

 onto Plaintiffs’ property has resulted and continues to result in direct physical interference with

 Plaintiffs’ property. Such contamination is incompatible with the normal use and enjoyment of

 Plaintiffs’ Property.

 110.     Plaintiffs did not give Defendants permission or consent to interfere with their property in

 this manner. Through Defendants’ actions and inactions, they are illegally and improperly using

 Plaintiffs’ property to store hazardous, toxic, carcinogenic, radioactive wastes.

 111.     The contamination of Plaintiffs’ property with radon gas and radioactive particles, and

 other hazardous wastes, has resulted in significant damage to the property.

 112.     As a direct and proximate cause of this continuing and recurring physical interference,

 Plaintiffs have suffered and continue to suffer injury, including decreased property value.

                             COUNT II – PERMANENT NUISANCE

 113.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 114.     Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property located

 at 3550 El Ferrol Court, more particularly described in Paragraph 19 above.

 115.     Landfill Defendants own and control property located at the Bridgeton and West Lake

 Landfills, which adjoins Plaintiffs’ property.



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 116.      Defendants unreasonably and unlawfully stored and used radioactive materials at the

 Landfill, which adjoins Plaintiffs’ property.

 117.      The Defendants caused and contributed to the radioactive contamination of Plaintiffs’

 property.

 118.      The Landfill and the radioactive waste that the Landfill contains are a permanent

 construction that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to

 abate the presence of the Landfill or the radioactive waste stored there.

 119.      Operating an unlicensed radioactive hazardous waste dump in a populated area is a nuisance

 per se.

 120.      Defendants have intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed the emission of radon gas and radioactive particles onto and around

 Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and enjoyment of

 their property. Such contamination is incompatible with the normal use and enjoyment of the

 Dailey Property.

 121.      Defendants’ interference with Plaintiffs’ use and enjoyment of the property is substantial.

 122.      Landfill Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property.

 123.      Landfill Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.




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 124.     As a direct and proximate result of Defendants’ interference with Plaintiffs’ use and

 enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased property

 value.

                            COUNT III – TEMPORARY NUISANCE

 125.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 126.     Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property located

 at 3550 El Ferrol Court, more particularly described in Paragraph 19 above.

 127.     Landfill Defendants own and control property located at the Bridgeton and West Lake

 Landfills, which adjoins Plaintiffs’ property.

 128.     Defendants unreasonably and unlawfully store and use radioactive materials at the Landfill,

 which adjoins Plaintiffs’ property.

 129.     The Defendants caused and contributed to the radioactive contamination of Plaintiffs’

 property.

 130.     The Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allow the emission of radon gas and radioactive particles onto and around

 Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and enjoyment of

 their property. Such contamination is incompatible with the normal use and enjoyment of the

 Dailey Property.

 131.     Defendants’ interference with Plaintiffs’ use and enjoyment of the property is substantial.

 132.     Landfill Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of noxious, offensive odors and various hazardous



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 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property.

 133.     Landfill Defendants’ use of the Landfill causes frequent and unrelenting noxious odors to

 invade Plaintiffs’ property and prevents Plaintiffs from using their property.

 134.     As a direct and proximate result of Defendants’ interference with Plaintiffs’ use and

 enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                     COUNT IV – NEGLIGENCE

 135.     Plaintiffs re-allege and incorporate by reference every allegation of this Complaint as if

 each were set forth fully herein.

 136.     Radioactive isotopes are known human carcinogens and are among the most toxic materials

 known to man. When property becomes contaminated with these wastes, the dangers can persist

 in the environment for thousands of years. Radioactive wastes should be handled, stored, and

 disposed of with the utmost safety in mind. Exposures to radioactive wastes should be as low as is

 reasonably achievable.

 137.     Knowing of the grave dangers posed by these wastes, Cotter owed a duty of care to the

 Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal of the

 radioactive wastes in order to prevent significant injury to property and persons.

 138.     Cotter was negligent in failing to ensure that the radioactive wastes were safely disposed

 of at an appropriate facility. Cotter negligently disposed of these radioactive wastes at a landfill

 located in a residential area that was not capable of safely and properly disposing of radioactive

 materials. The Landfill was not properly licensed, nor configured, nor staffed to handle the disposal

 of radioactive wastes. Upon information and belief, Cotter negligently encouraged the Landfill

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 operators to use the radioactive mill tailings wastes which were mixed with contaminated soil as

 daily cover.

 139.     As a direct and proximate result of Cotter’s failure to ensure that the radioactive wastes

 were properly disposed of at an appropriate facility, Plaintiffs suffered and continue to suffer injury

 to due to the radioactive contamination of their property, including diminished property value.

 140.     The Landfill Defendants owed a duty to the Plaintiffs to operate the Landfill in a safe, legal,

 and reasonable manner so as not to contaminate and interfere with surrounding properties. The

 Landfill Defendants owed a duty not to accept radioactive wastes for which they were not licensed

 or qualified to handle. After accepting radioactive wastes, the Landfill Defendants had a duty to

 safely handle, store and/or dispose of the radioactive wastes in order to prevent significant injury to

 property and persons.

 141.     Landfill Defendants were negligent in the construction, design, operating and maintenance

 of the Landfill.

 142.     Landfill Defendants negligently accepted hazardous, toxic, carcinogenic radioactive mill

 tailings when the Landfill was not designed, nor staffed to handle the disposal of radioactive

 wastes. The negligent design and maintenance of the Landfill by Landfill Defendants failed to

 prevent the release of radon gas and radioactive particles and hazardous and toxic wastes onto

 surrounding properties in excess of guidelines.

 143.     Landfill Defendants were negligent in accepting hazardous, toxic, carcinogenic radioactive

 mill tailings at a landfill located in a residential area that was not capable of safely and properly

 disposing of radioactive materials. The Landfill was not properly licensed, nor configured, nor

 staffed to handle the disposal of radioactive wastes. Upon information and belief Defendants used

 the radioactive materials which were mixed with contaminated soil as daily cover.

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 144.     Upon information and belief, Landfill Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiffs’ property.

 145.     Landfill Defendants’ negligent use of radioactive wastes mixed with radioactive soil as daily

 cover spread contamination into a broader area and prevented Defendants and regulators from

 knowing the location of these dangerous wastes. The negligent use of radioactive materials as daily

 cover in an unlined Landfill resulted in contamination of the groundwater underlying the Landfill

 and surrounding properties.

 146.     Landfill Defendants were negligent in failing to prevent the subsurface fire. Defendants

 should have implemented adequate practices with respect to gas extraction to avoid subsurface

 fires after they initially dealt with problems with smoldering events and increased subsurface

 temperatures in the 1990’s. The subsurface fire along with the resulting noxious odors and

 increased risk of significant radon gas emissions are a direct and proximate result of the Landfill

 Defendants’ negligence in the operation of the Landfill. Such contamination is incompatible with

 the normal use and enjoyment of the Dailey Property.

 147.     Defendants’ collective negligence throughout the history of the mishandling and improper

 dumping of radioactive wastes in the Landfill has resulted in repeated releases of radon gas and

 radioactive particles and other hazardous materials as well as offensive odors onto Plaintiffs’

 property, in disregard of applicable regulations and property rights.

 148.     Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances and noxious odors. Defendant’s

 negligence diminished Plaintiffs’ property value.

 149.     The injuries sustained by Plaintiffs are of the kind that do not occur without negligence.

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 150.     Plaintiffs’ injuries were the result of wastes disposed of and controlled by Defendants.

 151.     Defendants’ negligent acts and omissions were a direct and proximate cause of Plaintiffs’

 injuries. Plaintiffs are entitled to recover damages for damage to property and/or loss of use of

 property.

 152.     Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in any way.

                                COUNT V – NEGLIGENCE PER SE

 153.     Plaintiffs re-allege and incorporate by reference every allegation of this Complaint as if

 each were set forth fully herein.

 154.     Cotter violated Missouri regulations for Protection against Ionizing Radiation, 19 C.S.R.

 20-10.070, 20-10.090, and the Missouri Hazardous Waste Management regulations, 10 C.S.R. 25-

 5.262, both of which require the safe storage and disposal of radioactive material so as to protect

 the health and safety of the public.

 155.     Plaintiffs are members of the class of persons that the Missouri regulations for Protection

 against Ionizing Radiation and Hazardous Waste Management were meant to protect.

 156.     The contamination of Plaintiffs’ property is the kind of injury that the regulations for

 protection against ionizing radiation were designed to prevent.

 157.     Cotter’s violations of the regulations for Protection against Ionizing Radiation and

 Hazardous Waste Management were the proximate cause of Plaintiffs’ injuries.

 158.     The Landfill Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

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 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

 159.      Plaintiffs are members of the class of persons that the Missouri regulations for Protection

 against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations, and

 Missouri Air Conservation regulations were intended to protect.

 160.      The contamination of Plaintiffs’ property is the kind of injury that the Missouri regulations

 for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 Missouri Hazardous Waste Management Law, and Missouri Air Conservation regulations were

 designed to prevent.

 161.      The Landfill Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

 162.      Defendants’ collective negligence throughout the history of the mishandling and improper

 dumping hazardous, toxic, carcinogenic, radioactive wastes in the Landfill area has resulted in

 repeated releases of radon gas and radioactive particles and other hazardous materials as well as

 offensive odors onto Plaintiffs’ property in violation of applicable regulations and disregard for

 property rights.

 163.      Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances and noxious odors. Defendant’s

 negligence diminished Plaintiffs’ property value.

 164.      Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in any way.



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                    COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY

 165.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 166.     Defendants engaged in the abnormally dangerous activity of handling, storing, and/or

 disposing of radioactive waste.

 167.     By handling, storing, and/or disposing of radioactive waste, Defendants have created and

 continue to create a high degree of risk of harm to Plaintiffs’ property.

 168.     Defendants have intentionally failed to eliminate the risk of harm caused by their handling,

 storing, and/or disposing of radioactive waste.

 169.     As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’ property was

 contaminated with radioactive materials and they suffered and continue to suffer injury, including

 diminished property value. Such contamination is incompatible with the normal use and enjoyment

 of the Dailey Property.

 170.     Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling, storing,

 and/or disposing of radioactive waste.

 171.     The injuries that Defendants’ handling, storing, and/or disposing of radioactive waste have

 caused Plaintiffs to suffer, drastically outweigh the value of the Landfill.

 172.     Accordingly, Defendants are jointly and severally liable for any and all damages Plaintiffs

 have sustained as a result of their strict liability for handling, storing and/or disposing of radioactive

 materials, including, without limitation, any incidental or consequential damages.

                                COUNT VII – INJUNCTIVE RELIEF

 173.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

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 174.     Defendants have tortiously contaminated Plaintiffs’ property with hazardous, toxic,

 carcinogenic, radioactive wastes.

 175.     The Defendants’ tortious acts threaten the safety and normal use and enjoyment of the

 Plaintiffs’ property.

 176.     The radioactive contamination of Plaintiffs’ property has caused a significant increased

 risk to Plaintiffs, and therefore Plaintiffs are in need of a thorough scientific evaluation of the

 radioactive contaminant levels throughout their Property.

 177.     The need for such an evaluation is a direct consequence of the Defendants’ tortious conduct,

 and does not arise from the innocent conduct of the homeowners.

 178.     Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants to

 conduct the necessary scientific evaluation of the Dailey Property, consistent with contemporary

 scientific principles. Plaintiffs seek injunctive and equitable relief to require the Defendants to

 respond to the consequences of this tortious contamination by providing the necessary medical

 monitoring in the form of environmental testing, clean-up, and medical tests as indicated by the

 results of the scientific evaluation.

 179.     Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

 180.     Such injunctive and equitable relief will decrease the radioactive contamination risks of

 Plaintiffs’ Property, decrease the interference with the use and enjoyment of said property, and

 further mitigate Plaintiffs’ damages.



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                               COUNT XIII – PUNITIVE DAMAGES

 181.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 182.     Defendants committed one or more of the willful, wanton, malicious, reckless, and

 outrageous acts more fully set forth above which individually or cumulatively justify the award of

 punitive damages in this matter.

 183.     Defendants knew or had information from which, in the exercise of ordinary care, should

 have known that such conduct, as detailed above, created a high degree of probability of injury to

 Plaintiffs.

 184.     The willful, wanton, malicious, reckless, and outrageous acts of Defendants, as detailed

 above, evidence Defendants’ complete indifference to and/or conscious disregard for the safety of

 Plaintiffs.

                                        PRAYER FOR RELIEF

          WHEREFORE, as to each Count, and all Counts, Plaintiffs pray for judgment in favor of

 Plaintiffs and against Defendants Bridgeton Landfill, LLC, Rock Road Industries, Inc, Republic

 Services, Inc., Allied Services, L.L.C., and Cotter Corporation, as well as awarding the following

 to Plaintiffs and against Defendants:

        A. an award of actual, general, special, incidental, statutory, compensatory and

            consequential damages in an amount to be proven at trial, including compensatory

            damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

            discomfort; damage to Plaintiffs’ personal property; the diminution in the market value

            of Plaintiffs’ property; as well as the costs and expenses incurred as a result of Plaintiffs’

            exposure to radioactive emissions, including costs of remediation and relocation;

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        B. an award of double damages for malicious trespass as provided for under Mo. Rev. Stat.

            § 537.330;

        C. an award of punitive and exemplary damages as fair and reasonable in an amount

            sufficient to punish Defendants and to deter similar conduct in the future;

        D. costs and attorney fees;

        E. interest on the above amounts as allowed by law, including but not limited to pre- and

            post-judgement interest;

        F. for appropriate injunctive and equitable relief, including medical monitoring; and

        G. for any further relief this Court deems just and proper.



                                                Respectfully submitted,

                                                /s/ Stuart H. Smith
                                                Stuart H. Smith (LSBA 17805), Pro Hac Vice
                                                Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                                Celeste Brustowicz (LSBA 16835), Pro Hac Vice
                                                Victor T. Cobb (LSBA 36830), Pro Hac Vice
                                                COOPER LAW FIRM, LLC
                                                1525 Religious Street
                                                New Orleans, Louisiana 70130
                                                Phone: 504-399-0009
                                                Facsimile: 504-291-1352
                                                E-mail: ssmith@sch-llc.com
                                                         bcooper@sch-llc.com
                                                         cbrustowicz@sch-llc.com
                                                         vcobb@sch-llc.com
                                                ATTORNEYS FOR PLAINTIFFS,
                                                MICHAEL AND ROBBIN DAILEY




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 29, 2019, I electronically filed the foregoing document with

 the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

 counsel of record.



                                               /s/ Stuart H. Smith
                                               Stuart H. Smith (LSBA 17805)




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.                          )
                                                 )
                                                 )
               Plaintiffs,                       )
                                                 )   Case No. 4:17-cv-00024-CDP
 vs.                                             )
                                                 )
 BRIDGETON LANDFILL, LLC, et al.                 )
                                                 )
                                                 )
               Defendants.                       )


             ANSWER OF SEPARATE DEFENDANT ALLIED SERVICES, LLC
                 TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Defendant Allied Services, LLC (“Allied”), for its Answer and Affirmative Defenses to

 Plaintiffs’ Second Amended Complaint (“Complaint”), states as follows:

        1.     Allied denies the allegations contained in paragraph 1 of Plaintiffs’ Second

 Amended Complaint.

        2.     Allied denies the allegations contained in paragraph 2 of Plaintiffs’ Second

 Amended Complaint.

        3.     Allied denies the allegations contained in paragraph 3 of Plaintiffs’ Second

 Amended Complaint.

        4.     Allied denies the allegations contained in paragraph 4 of Plaintiffs’ Second

 Amended Complaint.

        5.     Allied denies the allegations contained in paragraph 5 of Plaintiffs’ Second

 Amended Complaint.

        6.     Allied states that paragraph 6 of Plaintiffs’ Second Amended Complaint pleads no

 facts and instead makes assertions based on unsupported theories and legal conclusions and,
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 therefore, does not require a response. To the extent the Court deems a response to paragraph 6

 necessary, Allied denies the allegations contained therein.

        7.      Allied denies the allegations contained in paragraph 7 of Plaintiffs’ Second

 Amended Complaint.

        8.      Allied denies the allegations contained in paragraph 8 of Plaintiffs’ Second

 Amended Complaint.

        9.      Allied moves to strike Paragraph 9 of Plaintiffs’ Second Amended Complaint

 because according to Plaintiffs it is “informational only” and therefore not part of its Second

 Amended Complaint. Further answering Paragraph 9 Allied denies the allegations contained in

 paragraph 9 of Plaintiffs’ Second Amended Complaint.

                         JURISDICTION, AUTHORITY, AND VENUE

        10.     In response to paragraph 10 of Plaintiffs’ Second Amended Complaint, Allied

 denies that the Twenty-First Judicial Circuit of the State of Missouri in St. Louis County has

 jurisdiction and authority over the claims made by Plaintiffs. pursuant to the Price-Anderson

 Act. Allied denies any jurisdiction over “state tort law claims” because any such purported claim

 is preempted by the Price-Anderson Act. Allied denies that Plaintiffs have properly pleaded

 venue for this Court.

        11.     Answering Paragraph 11 Allied admits that as of the dates this case was originally

 filed that diversity jurisdiction did not exist however Allied denies that this Court is without

 subject matter jurisdiction. Allied denies each fact not specifically admitted.

        12.     Answering paragraph 12 Allied denies that venue is proper in the Twenty-First

 Judicial Circuit of the State of Missouri in St. Louis County. Allied denies that Plaintiffs have

 adequately pleaded jurisdiction in this Court.




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        13.     Allied denies the statement in Paragraph 13. Whether or not Plaintiffs voluntarily

 classify their causes of action as federal ones, their causes of action fit squarely in the framework

 of the Price-Anderson Act (“PAA” or “the Act”), 42 U.S.C. § 2011 et seq. Artful pleading

 cannot remedy the fact that Plaintiffs may sue “under the PAA or not at all.” McClurg v. MI

 Holdings, Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013).

        14.     Answering Paragraph 14 Allied denies the assertion of Paragraph 14 that

 Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

        A.      Whether or not the Landfill is a licensed nuclear facility is irrelevant to whether

                the Price Anderson Act applies. Upon its review of cases from around the

                country, the court in Estate of Ware ex rel. Boyer v. Hospital of University of

                Pennsylvania, expressly rejected the view that a public liability claim under the

                PAA is “limited to nuclear incidents occurring at utilization and production

                facilities and other licensed facilities.” 73 F. Supp. 3d 530 (E.D. Pa. 2014); see,

                also, Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1503-04 (10th Cir. 1997)

                (“Congress intended to expand federal control over safety and liability issues

                involving the nuclear industry,” and the PAA created “a federal forum for any tort

                claim even remotely involving atomic energy production”); Cotromano, 7 F.

                Supp. 3d at 1257–58 (application of PAA is not limited to licensed activities).

        B.      Whether or not Defendants received a license to possess, transport, or dispose of

                any radioactive wastes on or in the Landfill is irrelevant to whether the Price

                Anderson Act applies. As noted above, a license is not required for the Price

                Anderson Act to apply. Further, the entity that deposited the RIM at the West

                Lake Landfill—Cotter Corporation—did, in fact, hold a source material license




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                    issued by the AEC, which authorized it to possess an unlimited amount of

                    uranium from December 3, 1969 to December 31, 1974. 1

            C.      Whether or not Defendants entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 is irrelevant to whether the

                    Price Anderson Act applies. The Act provides that a “person indemnified” by the

                    licensee and the federal government is “the person with whom an indemnity

                    agreement is executed or who is required to maintain a financial protection, and

                    any other person who may be liable for public liability.” 42 U.S.C. § 2014(t)

                    (emphasis added). Federal courts have held the Act’s plain meaning indicates the

                    PAA is not limited to parties to indemnification agreements. See, e.g., Acuna v.

                    Brown & Root, Inc., 200 F.3d 335, 339 (5th Cir. 2000) (“[O]ne purpose behind

                    the 1988 amendments was to expand the scope of federal jurisdiction beyond

                    actions arising from ‘extraordinary nuclear occurrences’ only.”); Estate of Ware v.

                    Hosp. of the Univ. of Pa., 73 F. Supp. 3d 519, 530–31 (E.D. Pa. 2014) (adopting

                    analysis of courts “which have concluded that possession of…an indemnification

                    agreement is unrelated to establishing jurisdiction under PAA”); Cotromano v.

                    United Techs. Corp., 7 F. Supp. 3d 1253, 1259 (S.D. Fla. 2014) (“Whether or not

                    Defendants have indemnification agreements with the federal government is not

                    dispositive of the applicability of Price-Anderson”); Carey v. Kerr-McGee Chem.

                    Corp., 60 F. Supp. 2d 800, 806 (N.D. Ill. 1999) (“there can be an [extraordinary

                    nuclear occurrence] to which no indemnity agreement applies.”).

            15.     Allied denies the allegations of paragraph 15 of Plaintiffs’ Second Amended

 Complaint. The statement quoted from Defendants Rock Road and Bridgeton’s Memorandum in

 1
     Source Material License No. SUB-1022 is attached as Exhibit 1.


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 Support of Motion to Dismiss (the “Memorandum”) in Adams v. MI Holdings, Inc. (Eastern

 District of Missouri Case No. 4:12-cv-00641) (Doc. No. 15), are taken out of context and are

 distinguishable. The Adams Complaint incorrectly alleged Rock Road Industries, Inc. and

 Bridgeton Landfill, LLC “or their predecessors and/or agents have at all relevant times held such

 federal [Nuclear Regulatory Commission] licenses.” Eastern District of Missouri Case No. 4:12-

 cv-00641, Doc. No. 1 ¶ 65. A PAA claim was alleged based upon the possession of these

 licenses and activities in which Defendants Rock Road and Bridgeton were never involved. In

 their Memorandum in Support of Motion to Dismiss (E.D. Mo. Doc. No. 15), then-existing Rock

 Road and Bridgeton refuted the specific allegations appearing in the Adams Complaint and the

 purported effect of those allegations. The Defendants did not make a general statement of PAA

 applicability.

         16.      Allied denies the allegations of paragraph16 of Plaintiffs’ Second Amended

 Complaint. Despite Plaintiffs’ attempt to frame their claims in strictly state law terms, Plaintiffs’

 Second Amended Complaint asserts a nuclear incident because they cite an alleged occurrence

 that caused bodily injury, disease, damage to property, or loss of use of property, within the

 United States, arising or resulting from the radioactive properties of material deposited at the

 West Lake Landfill. Because the factual allegations underlying Plaintiffs’ purported injuries all

 relate to the Defendants’ conduct in connection with nuclear and radioactive materials, Plaintiffs’

 claims arise out of an alleged nuclear incident and, pursuant to the PAA, a public liability action

 is the only remedy available for Plaintiffs’ alleged injuries. McClurg, 933 F. Supp. 2d at 1186.

         17.      Allied denies the allegations of paragraph 17 of Plaintiffs’ Second Amended

 Complaint. A small number of courts in the Eastern District of Missouri have determined that

 the Price Anderson Act does not apply to the wastes at issue here. See, e.g., Strong v. Republic




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 Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017); Banks v. Cotter Corp., No. 4:18-CV-00624

 JAR, 2019 WL 1426259, at *6 (E.D. Mo. Mar. 29, 2019). Defendants respectfully challenge

 these decisions and assert that other federal courts have correctly interpreted the plain language

 of the Act, as well as the Congressional intent behind the 1988 amendments, to hold that neither

 a license nor an indemnity agreement is required for federal subject matter jurisdiction under the

 PAA.2 Even the decisions on which Plaintiffs rely have noted there is case law on both sides of

 the argument and chosen to apply a presumption in favor of remand.

          18.      Allied denies the allegations of paragraph 18 of Plaintiffs’ Second Amended

 Complaint. The waste at issue is leached barium sulfate residue, a product of uranium

 processing by Mallinckrodt Chemical Company as part of its work for the United States Army

 related to the Manhattan Project. The leached barium sulfate residue, which is estimated to have

 contained approximately seven tons of uranium, was mixed with topsoil and then brought to the

 West Lake Landfill. Because the waste at issue contained uranium it meets the PAA definition

 of “source material.”3

          19.      Allied denies the allegations of paragraph 19 of Plaintiffs’ Second Amended

 Complaint. The “mill tailings” that Plaintiffs reference throughout the Second Amended

 Complaint are leached barium sulfate residues, which meet the definition of “source material”

 under the Price Anderson Act.

          20.      Allied denies the allegations of paragraph 20 of Plaintiffs’ Second Amended

 Complaint. Cotter’s disposal of the leached barium sulfate residues was undertaken pursuant to


 2
   In particular, Defendants note that the decisions on which Plaintiffs rely are based largely on a Magistrate Judge’s
 twenty-one-year-old ruling that has been overturned in its own Circuit, Gilberg v. Stepan Co., 24 F. Supp. 325
 (D.N.J. 1998). Gilberg mistakenly limited the PAA definitions by ignoring the sweeping 1988 amendments to the
 Act after Three Mile Island and held an indemnification agreement was a jurisdictional requirement. This case has
 been widely criticized in other circuits in more recent decisions.
 3
   The PAA defines “source material” as “(1) uranium, thorium, . . .; or (2) ores containing one or more of the
 foregoing materials[.]” 42 U.S.C.A. § 2014(z).


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 an appropriate federal license. Cotter’s source material license, issued by the Atomic Energy

 Commission, authorized it to possess an unlimited amount of uranium from December 3, 1969 to

 December 31, 1974. Further, when seeking to terminate its license, Cotter certified that the

 licensed material was lawfully disposed. In reliance on that representation, the AEC terminated

 Cotter’s license. Thus, Defendants are alleged to have received the waste material directly from

 Cotter, a licensed entity, pursuant to the terms of its licensure.

        21.     Allied denies the allegations of paragraph 21 of Plaintiffs’ Second Amended

 Complaint including the allegation that “mill tailings” are at issue. As noted above, the leached

 barium sulfate residues Cotter disposed at West Lake Landfill are subject to the Price Anderson

 Act.

                                         II. THE PARTIES

                                               Plaintiffs

        22.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 22 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        23.     Allied denies the allegations contained in paragraph 23 of Plaintiffs’ Second

 Amended Complaint.

                                              Defendants

        24.     Allied admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Allied denies that that Rock Road Industries, Inc. still exists. Allied denies each and

 every other allegation of Paragraph 24 not specifically admitted.

        25.     Allied denies Bridgeton Landfill, LLC was formerly “Laidlaw Waste Systems.”

 Allied admits Bridgeton Landfill, LLC is a Delaware Limited Liability Company with its



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 principle place of business in Arizona. Allied denies the remaining allegations contained in

 paragraph 25 of Plaintiffs’ Second Amended Complaint, including all subparts thereof.

        26.     Allied admits that Rock Road Industries, Inc. was a Missouri corporation and

 owns or owned the West Lake Landfill. Allied denies the remaining allegations contained in

 paragraph 26 of Plaintiffs’ Second Amended Complaint, including all subparts thereof.

        27.     Allied admits that Republic Services, Inc. is a Delaware corporation with its

 principal place of business in Arizona. Allied acknowledges that Republic Services, Inc. is one

 of the larger providers of services in the solid waste industry and that it focuses on being a

 progressive contributor in the industry on both environmental and sustainability issues. Allied

 denies the remaining allegations contained in paragraph 27 of Plaintiffs’ Second Amended

 Complaint, including all subparts thereof.

        28.     Allied admits that it is a Delaware limited liability company. Allied denies the

 remaining allegations contained in paragraph 28 of Plaintiffs’ Second Amended Complaint,

 including all subparts thereof.

        29.     Allied is without information or knowledge sufficient to form a belief as to the

 truth and falsity of the allegations contained in paragraph 29 of Plaintiffs’ Second Amended

 Complaint and therefore, denies the same.

                                              III. FACTS

        30.     Allied denies the allegations contained in paragraph 30 of Plaintiffs’ Second

 Amended Complaint.

        31.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 31 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.




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        32.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 32 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        33.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 33 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        34.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 34 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        35.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 35 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        36.      Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 36 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        37.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 37 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        38.     Allied denies the allegations contained in paragraph 38 of Plaintiffs’ Second

 Amended Complaint.

        39.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 39 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.




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        40.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 40 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        41.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 41 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        42.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 42 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        43.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 43 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        44.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 44 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        45.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 45 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        46.     Answering Paragraph 46 Allied admits that Cotter, without authority from or

 knowledge on the part of Allied, caused leached barium sulfate residue to be trucked to the

 Westlake Landfill in 1973. Defendant Allied denies each and every allegation not specifically

 admitted.




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        47.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 47 of Plaintiffs’ Second Amended

 Complaint.

        48.     Allied denies the allegations contained in paragraph 48 of Plaintiffs’ Second

 Amended Complaint.

        49.     Allied denies the allegations contained in paragraph 49 of Plaintiffs’ Second

 Amended Complaint.

        50.     Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 50 of Plaintiffs’ Second Amended

 Complaint.

        51.     Allied denies the allegations contained in paragraph 51 of Plaintiffs’ Second

 Amended Complaint.

        52.     Allied denies the allegations contained in paragraph 52 of Plaintiffs’ Second

 Amended Complaint.

        53.     Allied denies the allegations contained in paragraph 53 of Plaintiffs’ Second

 Amended Complaint.

        54.     Allied denies the allegations contained in paragraph 54 of Plaintiffs’ Second

 Amended Complaint.

        55.     Allied denies the allegations contained in paragraph 55 of Plaintiffs’ Second

 Amended Complaint.

        56.     Allied denies the allegations contained in paragraph 56 of Plaintiffs’ Second

 Amended Complaint.




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        57.     Allied denies the allegations contained in paragraph 57 of Plaintiffs’ Second

 Amended Complaint.

        58.     Allied denies the allegations contained in paragraph 58 of Plaintiffs’ Second

 Amended Complaint.

        59.     Allied moves to strike the allegations of Paragraph 59 because they are not

 necessary, according to Plaintiffs for their claims. Answering Paragraph 59 Allied admits upon

 information and belief that Cotter did not obtain a transportation license to transport radioactive

 mill tailings to the West Lake Landfill. Allied denies that the Leached Barium Sulfate Residue

 (“LBSR”) is mill tailings. Allied denies that the LBSR is not source material. Allied denies that

 the LBSR was not subject to Cotter’s license. Allied denies each and every other allegation of

 paragraph 59 not specifically admitted.

        60.     Allied denies the allegations contained in paragraph 60 of Plaintiffs’ Second

 Amended Complaint.

        61.     Allied denies the allegations contained in paragraph 61 of Plaintiffs’ Second

 Amended Complaint.

        62.     Allied denies the allegations contained in paragraph 62 of Plaintiffs’ Second

 Amended Complaint.

        63.     Allied denies the allegations contained in paragraph 63 of Plaintiffs’ Second

 Amended Complaint.

        64.     Allied denies the allegations contained in paragraph 64 of Plaintiffs’ Second

 Amended Complaint.

        65.     Allied denies the allegations contained in paragraph 65 of Plaintiffs’ Second

 Amended Complaint.




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       66.   Allied denies the allegations contained in paragraph 66 of Plaintiffs’ Second

 Amended Complaint.

       67.   Allied denies the allegations contained in paragraph 67 of Plaintiffs’ Second

 Amended Complaint.

       68.   Allied denies the allegations contained in paragraph 68 of Plaintiffs’ Second

 Amended Complaint.

       69.   Allied denies the allegations contained in paragraph 69 of Plaintiffs’ Second

 Amended Complaint.

       70.   Allied denies the allegations contained in paragraph 70 of Plaintiffs’ Second

 Amended Complaint.

       71.   Allied denies the allegations contained in paragraph 71 of Plaintiffs’ Second

 Amended Complaint.

       72.   Allied denies the allegations contained in paragraph 72 of Plaintiffs’ Second

 Amended Complaint.

       73.   Allied denies the allegations contained in paragraph 73 of Plaintiffs’ Second

 Amended Complaint.

       74.   Allied denies the allegations contained in paragraph 74 of Plaintiffs’ Second

 Amended Complaint.

       75.   Allied denies the allegations contained in paragraph 75 of Plaintiffs’ Second

 Amended Complaint.

       76.   Allied denies the allegations contained in paragraph 76 of Plaintiffs’ Second

 Amended Complaint.




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        77.    Allied denies the allegations contained in paragraph 77 of Plaintiffs’ Second

 Amended Complaint.

        78.    Allied denies the allegations contained in paragraph 78 of Plaintiffs’ Second

 Amended Complaint.

        79.    Allied denies the allegations contained in paragraph 79 of Plaintiffs’ Second

 Amended Complaint.

        80.    Allied denies the allegations contained in paragraph 80 of Plaintiffs’ Second

 Amended Complaint.

        81.    Allied denies the allegations contained in paragraph 81 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        82.    Allied denies the allegations contained in paragraph 82 of Plaintiffs’ Second

 Amended Complaint.

        83.    Allied denies the allegations contained in paragraph 83 of Plaintiffs’ Second

 Amended Complaint.

        84.    Allied denies the allegations contained in paragraph 84 of Plaintiffs’ Second

 Amended Complaint.

        85.    Allied denies the allegations contained in paragraph 85 of Plaintiffs’ Second

 Amended Complaint.

        86.    Allied denies the allegations contained in paragraph 86 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        87.    Allied denies the allegations contained in paragraph 87 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.




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        88.    Allied denies the allegations contained in paragraph 88 of Plaintiffs’ Second

 Amended Complaint.

        89.    Allied denies the allegations contained in paragraph 89 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        90.    Allied denies the allegations contained in paragraph 90 of Plaintiffs’ Second

 Amended Complaint.

        91.    Allied denies the allegations contained in paragraph 91 of Plaintiffs’ Second

 Amended Complaint.

        92.    Allied denies the allegations contained in paragraph 92 of Plaintiffs’ Second

 Amended Complaint.

        93.    Allied denies the allegations contained in paragraph 93 of Plaintiffs’ Second

 Amended Complaint.

        94.    Allied denies the allegations contained in paragraph 94 of Plaintiffs’ Second

 Amended Complaint.

        95.    Allied denies the allegations contained in paragraph 95 of Plaintiffs’ Second

 Amended Complaint.

        96.    Allied denies the allegations contained in paragraph 96 of Plaintiffs’ Second

 Amended Complaint.

        97.    Allied denies the allegations contained in paragraph 97 of Plaintiffs’ Second

 Amended Complaint.

        98.    Allied denies the allegations contained in paragraph 98 of Plaintiffs’ Second

 Amended Complaint.




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        99.     Allied denies the allegations contained in paragraph 99 of Plaintiffs’ Second

 Amended Complaint.

                                     COUNT I – TRESPASS

        100.    In response to paragraph 100 of Count I of Plaintiffs’ Second Amended

 Complaint, Allied incorporates by reference its answers and responses to each and every

 allegation contained in paragraphs 1 through 99 of the Second Amended Complaint.

        101.    Allied is without knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 101 and therefore denies the allegations

 contained in paragraph 101 of Count I of Plaintiffs’ Second Amended Complaint.

        102.    Allied admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Allied denies that Rock Road Industries, Inc. currently exists. Allied denies every

 allegation not specifically admitted contained in paragraph 102 of Count I of Plaintiffs’ Second

 Amended Complaint.

        103.    Allied denies the allegations contained in paragraph 103 of Count I of Plaintiffs’

 Second Amended Complaint.

        104.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 104 of Count I of Plaintiffs’ Second

 Amended Complaint, and, therefore, denies the same.

        105.    Allied denies the allegations contained in paragraph 105 of Count I of Plaintiffs’

 Second Amended Complaint.

        106.    Allied denies the allegations contained in paragraph 106 of Count I of Plaintiffs’

 Second Amended Complaint.




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        107.    Allied denies the allegations contained in paragraph 107 of Count I of Plaintiffs’

 Second Amended Complaint.

        108.    Allied denies the allegations contained in paragraph 108 of Count I of Plaintiffs’

 Second Amended Complaint.

        109.    Allied denies the allegations contained in paragraph 109 of Count I of Plaintiffs’

 Second Amended Complaint.

        110.    Allied denies the allegations contained in paragraph 110 of Count I of Plaintiffs’

 Second Amended Complaint.

        111.    Allied denies the allegations contained in paragraph 111 of Count I of Plaintiffs’

 Second Amended Complaint.

        112.    Allied denies the allegations contained in paragraph 112 of Count I of Plaintiffs’

 Second Amended Complaint.

                            COUNT II – PERMANENT NUISANCE

        113.    In response to paragraph 113 of Count II of Plaintiffs’ Second Amended

 Complaint, Allied incorporates by reference its answers and responses to each and every

 allegation contained in paragraphs 1 through 99 of the “FACTS” section, and 100 through 112 of

 Count I of Plaintiffs’ Second Amended Complaint.

        114.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 114 of Count II of Plaintiffs’ Second

 Amended Complaint and, therefore, denies the same.

        115.    Allied admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill, and Rock Road Industries, Inc. owned and operated the West Lake Landfill. Allied




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 denies the remaining allegations contained in paragraph 115 of Count II of Plaintiffs’ Second

 Amended Complaint.

        116.    Allied denies the allegations contained in paragraph 116 of Count II of Plaintiffs’

 Second Amended Complaint.

        117.    Allied denies the allegations contained in paragraph 117 of Count II of Plaintiffs’

 Second Amended Complaint.

        118.    Allied denies the allegations contained in paragraph 118 of Count II of Plaintiffs’

 Second Amended Complaint.

        119.    Paragraph 119 of Count II of Plaintiffs’ Second Amended Complaint states legal

 conclusions and, therefore, requires no response from Allied. IF and to the extent a response is

 deemed to be required by the Court, Allied denies the allegations contained in paragraph 119 of

 Count II of Plaintiffs’ Second Amended Complaint.

        120.    Allied denies the allegations contained in paragraph 120 of Count II of Plaintiffs’

 Second Amended Complaint.

        121.    Allied denies the allegations contained in paragraph 121 of Count II of Plaintiffs’

 Second Amended Complaint.

        122.    Allied denies the allegations contained in paragraph 122 of Count II of Plaintiffs’

 Second Amended Complaint.

        123.    Allied denies the allegations contained in paragraph 123 of Count II of Plaintiffs’

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        124.    Allied denies the allegations contained in paragraph 124 of Count II of Plaintiffs’

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                           COUNT III – TEMPORARY NUISANCE

        125.    In response to paragraph 125 of Plaintiffs’ Second Amended Complaint, Allied

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99of the “FACTS” section, 100 through 112 of Count I, and 113 through

 124 of Count II of Plaintiffs’ Second Amended Complaint.

        126.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 126 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        127.    Allied admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Allied denies that Rock Road Industries, Inc. exists. Allied denies each and every

 allegation in paragraph 127 of Plaintiffs’ Second Amended Complaint not specifically admitted.

        128.    Allied denies the allegations contained in paragraph 128 of Plaintiffs’ Second

 Amended Complaint.

        129.    Allied denies the allegations contained in paragraph 129 of Plaintiffs’ Second

 Amended Complaint.

        130.    Allied denies the allegations contained in paragraph 130 of Plaintiffs’ Second

 Amended Complaint.

        131.    Allied denies the allegations contained in paragraph 131 of Plaintiffs’ Second

 Amended Complaint.

        132.    Allied denies the allegations contained in paragraph 132 of Plaintiffs’ Second

 Amended Complaint.

        133.    Allied denies the allegations contained in paragraph 133 of Plaintiffs’ Second

 Amended Complaint.




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        134.    Allied denies the allegations contained in paragraph 134 of Plaintiffs’ Second

 Amended Complaint.

                                  COUNT IV – NEGLIGENCE

        135.    In response to paragraph 135 of Plaintiffs’ Second Amended Complaint, Allied

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III of Plaintiffs’ Second Amended Complaint.

        136.    Allied denies the allegations contained in paragraph 136 of Plaintiffs’ Second

 Amended Complaint.

        137.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 137 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        138.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 138 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        139.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 139 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        140.    Allied denies the allegations contained in paragraph 140 of Plaintiffs’ Second

 Amended Complaint.

        141.    Allied denies the allegations contained in paragraph 141 of Plaintiffs’ Second

 Amended Complaint.




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       142.   Allied denies the allegations contained in paragraph 142 of Plaintiffs’ Second

 Amended Complaint.

       143.   Allied denies the allegations contained in paragraph 143 of Plaintiffs’ Second

 Amended Complaint.

       144.   Allied denies the allegations contained in paragraph 144 of Plaintiffs’ Second

 Amended Complaint.

       145.   Allied denies the allegations contained in paragraph 145 of Plaintiffs’ Second

 Amended Complaint.

       146.   Allied denies the allegations contained in paragraph 146 of Plaintiffs’ Second

 Amended Complaint.

       147.   Allied denies the allegations contained in paragraph 147 of Plaintiffs’ Second

 Amended Complaint.

       148.   Allied denies the allegations contained in paragraph 148 of Plaintiffs’ Second

 Amended Complaint.

       149.   Allied denies the allegations contained in paragraph 149 of Plaintiffs’ Second

 Amended Complaint.

       150.   Allied denies the allegations contained in paragraph 150 of Plaintiffs’ Second

 Amended Complaint.

       151.   Allied denies the allegations contained in paragraph 151 of Plaintiffs’ Second

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       152.   Allied denies the allegations contained in paragraph 152 of Plaintiffs’ Second

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                           COUNT V – NEGLIGENCE PER SE




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        153.    In response to paragraph 153 of Plaintiffs’ Second Amended Complaint, Allied

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III and 135 through 152 of Count IV of Plaintiffs’

 Second Amended Complaint.

        154.    Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in Paragraph 154 of Count IV of Plaintiffs’ Second

 Amended Complaint and, therefore, denies the same.

        155. Allied denies the allegations contained in paragraph 155 of Count IV of Plaintiffs’

 Second Amended Complaint.

        156. Allied denies the allegations contained in paragraph 156 of Count IV of Plaintiffs’

 Second Amended Complaint.

        157. Allied is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 157 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        158.    Paragraph 158 of Count IV of Plaintiffs’ Second Amended Complaint states legal

 conclusions and, therefore, requires no response from Allied. If and to the extent a response is

 deemed to be required by the Court, Allied denies the allegations contained in paragraph 158 of

 Count IV of Plaintiffs’ Second Amended Complaint.

        159. Allied denies the allegations contained in paragraph 159 of Count IV of Plaintiffs’

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        160. Allied denies the allegations contained in paragraph 160 of Count IV of Plaintiffs’

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        161. Allied denies the allegations contained in paragraph 161 of Count IV of Plaintiffs’

 Second Amended Complaint.

        162. Allied denies the allegations contained in paragraph 162 of Count IV of Plaintiffs’

 Second Amended Complaint.

        163. Allied denies the allegations contained in paragraph 163 of Count IV of Plaintiffs’

 Second Amended Complaint.

        164. Allied denies the allegations contained in paragraph 164 of Count IV of Plaintiffs’

 Second Amended Complaint.

                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY

        165.   In response to paragraph 165 of Plaintiffs’ Second Amended Complaint, Allied

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV and 153 through

 164 of Count V of Plaintiffs’ Second Amended Complaint.

        166. Allied denies the allegations contained in paragraph 166 of Count VI of Plaintiffs’

 Second Amended Complaint.

        167. Allied denies the allegations contained in paragraph 167 of Count VI of Plaintiffs’

 Second Amended Complaint.

        168. Allied denies the allegations contained in paragraph 168 of Count VI of Plaintiffs’

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        169. Allied denies the allegations contained in paragraph 169 of Count VI of Plaintiffs’

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        170. Allied denies the allegations contained in paragraph 170 of Count VI of Plaintiffs’

 Second Amended Complaint.

        171. Allied denies the allegations contained in paragraph 171 of Count VI of Plaintiffs’

 Second Amended Complaint.

        172. Allied denies the allegations contained in paragraph 172 of Count VI of Plaintiffs’

 Second Amended Complaint.

                             COUNT VII – INJUNCTIVE RELIEF

        173.   In response to paragraph 173 of Plaintiffs’ Second Amended Complaint, Allied

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV, 153 through 164 of

 Count V and 165 through 172 of Count VI of Plaintiffs’ Second Amended Complaint.

        174. Allied denies the allegations contained in paragraph 174 of Count VII of Plaintiffs’

 Second Amended Complaint.

        175. Allied denies the allegations contained in paragraph 175 of Count VII of Plaintiffs’

 Second Amended Complaint.

        176. Allied denies the allegations contained in paragraph 176 of Count VII of Plaintiffs’

 Second Amended Complaint.

        177. Allied denies the allegations contained in paragraph 177 of Count VII of Plaintiffs’

 Second Amended Complaint.

        178. Allied denies the allegations contained in paragraph 178 of Count VII of Plaintiffs’

 Second Amended Complaint. Further answering paragraph 178 of Plaintiffs’ Second Amended




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 Complaint Allied states that the injunctive relief sought by Plaintiffs is an independent basis for

 federal question jurisdiction.

        179. Allied denies the allegations contained in paragraph 179 of Count VII of Plaintiffs’

 Second Amended Complaint. Further answering paragraph 179 of Plaintiffs’ Second Amended

 Complaint Allied states that the injunctive relief sought by Plaintiffs is an independent basis for

 federal question jurisdiction.

        180. Allied denies the allegations contained in paragraph 180 of Count VII of Plaintiffs’

 Second Amended Complaint. Further answering paragraph 178 of Plaintiffs’ Second Amended

 Complaint Allied states that the injunctive relief sought by Plaintiffs is an independent basis for

 federal question jurisdiction.

                             COUNT XIII – PUNITIVE DAMAGES

        181.    In response to paragraph 181 of Plaintiffs’ Second Amended Complaint, Allied

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV, 153 through 164 of

 Count V, 165 through 172 of Count VI and 173 through 188 of Count VII of Plaintiffs’ Second

 Amended Complaint.

        182. Allied denies the allegations contained in paragraph 182 of Count XIII of

 Plaintiffs’ Second Amended Complaint.

        183. Allied denies the allegations contained in paragraph 183 of Count XIII of

 Plaintiffs’ Second Amended Complaint.

        184. Allied denies the allegations contained in paragraph 184 of Count XIII of

 Plaintiffs’ Second Amended Complaint.




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           185.   Allied denies that Plaintiffs are entitled to relief request in the “WHEREFORE”

 paragraph, including all subparts therefore, which immediately follows paragraph 184 of

 Plaintiffs’ Second Amended Complaint.

           186.   Allied denies each and every allegation contained in Plaintiffs’ Second Amended

 Complaint not specifically admitted.

                         AFFIRMATIVE AND/OR FURTHER DEFENSES

           Allied asserts that Plaintiffs’ claims are barred, in whole or in part, by the defenses set

 forth below. By setting forth these defenses, Allied does not assume the burden of proving any

 fact, issue, or element of a cause of action where such burden properly belongs to Plaintiffs.

 Moreover, nothing herein stated is intended or shall be construed as an acknowledgement that

 any particular issue or subject matter is relevant to Plaintiffs’ allegations. Allied reserves the

 right to plead any affirmative defense asserted by any co-defendant(s) or any and all affirmative

 defenses that may become evident or appreciated after investigation and discovery in this matter.

           1.     Plaintiffs have failed to state a claim against Allied upon which relief can be

 granted.

           2.     Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

 limitations, including but not limited to Mo. Rev. Stat. 516.120 and any limitations period which

 applies to actions under the Price-Anderson Act.

           3.     Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

 repose.

           4.     If Plaintiffs have been damaged, which is not hereby admitted, such damages

 were caused by unforeseeable, independent, intervening, and/or superseding events for which

 Allied is not legally responsible.



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        5.      Pleading in the alternative, if Plaintiffs have suffered any injury or damage, which

 is not hereby admitted, such injury or damage may have been caused or contributed to by the

 negligence or fault of persons or entities over whom this Defendant had no control, and such

 injuries or damages were not caused or contributed to by the negligence or fault of this

 Defendant or any of its agents, servants or employees.

        6.      Pleading in the alternative, if Plaintiffs suffered any injury or damage, which is

 not hereby admitted, the negligence or fault of the parties to this case should be compared by the

 trier-of-fact; further, any negligence or fault apportioned to Plaintiffs should act to bar any

 recovery or reduce any recovery in direct proportion to any such assessment of fault, all in

 accordance with the laws of the State of Missouri.

        7.      Pleading in the alternative, if Plaintiffs have suffered any injury or damage, which

 is not admitted, this Defendant requests that the negligence alleged by Plaintiffs against others

 including other Defendants, though not hereby admitted, be compared to the negligence or fault

 of this Defendant, to the extent that any such negligence is found to have caused or contributed

 to cause any injuries or damages alleged by Plaintiffs, and recovery against this Defendant

 should be reduced in direct proportion to such assessment of fault.

        8.      If Plaintiffs have been damaged, the negligence or fault of persons or entities, for

 whose conduct Allied is not legally responsible, must be compared, reducing or completely

 barring Plaintiffs’ alleged right to recover against Allied.

        9.      If Plaintiffs have been damaged, the damages were caused by operation of nature,

 idiosyncratic reaction(s), pre-existing condition(s), and/or subsequent injury over which Allied

 had no control.




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        10.     If Plaintiffs have been damaged, which is not admitted, any recovery is barred to

 the extent each Plaintiff voluntarily exposed himself or herself to a known risk. Any recovery

 should not include alleged damages that Plaintiffs could have avoided by reasonable care and

 diligence.

        11.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of assumption of

 the risk, by Plaintiffs’ failure to mitigate damages, and/or by Plaintiffs’ own conduct.

        12.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of consent,

 whether it be by Plaintiffs or other third parties who later approved the landfill’s activities.

        13.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of waiver and/or

 the doctrine of estoppel.

        14.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

        15.     Plaintiffs’ Second Amended Complaint and each purported cause of action therein

 are barred, in whole or in part, by the doctrine of unclean hands.

        16.     Plaintiffs failed to exhaust their administrative remedies.

        17.     Plaintiffs’ claims are barred, in whole or in part, because they at all times had

 actual and/or constructive knowledge of the circumstances upon which the Complaint is based,

 and the Plaintiffs accepted those circumstances.

        18.     Plaintiffs’ claims are barred, in whole or in part, because at all times and places

 mentioned in the Complaint, Allied complied with the state of the art, and therefore, Plaintiffs

 are not entitled to recover from Allied as a matter of law.

        19.     Plaintiffs’ claims are barred, in whole or in part, because the potential for injuries

 or damages alleged in the Complaint were not known to Allied, nor did Allied have reason to

 know of the risk of said harm.




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            20.   Allied has completely satisfied all legal duties, if any, with regard to the Plaintiffs

 and thus is released from liability.

            21.   Plaintiffs’ claims are barred, in whole or in part, by the doctrine of ratification.

            22.   Plaintiffs failed to join St. Louis Lambert Airport as a necessary or indispensable

 party to the extent the injunctive relief sought by Plaintiffs affects the airport’s negative

 easement at Bridgeton Landfill.

            23.   Plaintiffs failed to join the U.S. Environmental Protection Agency, the

 Department of Energy or other successor entities to the Atomic Energy Commission, and other

 federal agencies, which are indispensable parties for the claims made in this Complaint.

            24.   Plaintiffs’ request for injunctive relief is preempted as it attempts to shape and

 therefore challenge the remedy already underway under the Comprehensive Environmental

 Response, Compensation and Liability Act, 42 U.S.C. § 9604, and violates the timing of review

 provisions thereunder, 42 U.S.C. § 9613(h).

            25.   Plaintiffs’ claims should be dismissed for their failure to join indispensable

 parties.

            26.   The federal government, through federal statutes, has preempted the field of law

 applicable to the claims at issue. The activities referred to in the Complaint were and are

 controlled by federal law, which governs the nuclear industry at all times. Plaintiffs’ claims are

 thus preempted in whole or in part such that they fail to state a cause of action upon which relief

 can be granted.

            27.   Allied asserts any and all defenses, claims, credits, offsets, or remedies provided

 by the Price Anderson Act, 42 U.S.C. 2210, as amended, and reserves the right to amend its




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 Answer to file such further pleadings as are necessary to preserve and assert such defenses,

 claims, credits, offsets, or remedies.

         28.    Allied has at all times acted in conformance with applicable guidelines or

 regulations that establish the standard of care and has otherwise acted with due care and the

 caution of a reasonably prudent entity.

         29.    Allied acted reasonably, in good faith, and with the skill, prudence, and diligence

 exercised by a reasonably prudent actor at all times relevant to this action.

         30.    Allied conducted all actions in accordance with industry standards, government

 requirements, and the prevailing state of the art and technology in the industry at the time of the

 alleged act.

         31.    Plaintiffs’ claims are barred, in whole or in part, because the injuries and damages

 alleged were not known to Allied, nor did Allied have reason to know of the alleged risk of

 harm.

         32.    Any allegedly wrongful acts or omissions of Allied, if and to the extent such acts

 or omissions occurred, were legally excused or justified.

         33.    Plaintiffs’ claims are barred, in whole or in part, because Allied did not breach

 any duty to Plaintiffs.

         34.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs were not

 exposed to any substance allegedly caused by Allied’s acts sufficient to establish by a reasonable

 degree of probability that any such exposure caused any alleged injury, damage or loss.

         35.    Plaintiffs’ claims are barred, in whole or in part, because the damages Plaintiffs

 seek are too remote, indirect, and/or speculative.




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        36.     The Complaint and each purported cause of action therein are barred, in whole or

 in part, because the operations at issue were in existence and ongoing prior to the Plaintiffs

 purchasing and/or moving to their residence.

        37.     The Complaint and each purported cause of action therein are barred because the

 utility of the conduct of which Plaintiffs complain outweighs any alleged harm to Plaintiffs.

        38.     Plaintiffs’ claims are barred to the extent they rely on the retroactive application

 of statutes, rules, regulations or common-law standards of conduct, or otherwise seek to impose

 liability retroactively for conduct that was not actionable at the time it occurred, which violates

 the Constitutions of the United States and the State of Missouri.

        39.     To the extent Plaintiffs’ claims are based upon any theory providing for liability

 without proof of causation, they violate Allied’s rights under the United States Constitution

 and/or the Constitution of the State of Missouri, and the Constitution of any other state law that

 may be found to apply.

        40.     The punitive damages sought by Plaintiffs are not recoverable under the causes of

 action set forth in Plaintiffs’ Second Amended Complaint and Plaintiffs’ allegations are legally

 insufficient to support a claim for punitive damages.

        41.     Allied denies that Plaintiffs are entitled to recover punitive damages in this case

 because Allied’s conduct demonstrated reasonable care. Intent to injure, actual or constructive, is

 completely absent in this case. Allied did not act with actual malice, and no act or omission of

 Allied was done with reckless indifference or reckless disregard toward the rights or safety of

 others, and therefore any award of punitive damages is barred.




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        42.     Allied denies all allegations of wrongdoing and damages as alleged in the

 Complaint, but if in fact Plaintiffs did sustain damages, Plaintiffs’ damages do not include

 punitive damages.

        43.     Any assessment of punitive damages violates Allied’s constitutional rights under

 the Fifth, Sixth, Eighth, and Fourteenth Amendments of the United States Constitution, the

 Missouri Constitution Article 1, Sections 18A, 19, 21, and 22A, and any other applicable State

 Constitution in one or more of the following respects:

                a)     The guidelines, standards, and/or instructions for assessing punitive

 damages are vague, indefinite, and/or uncertain, supply no notice of the potential repercussions

 of any alleged conduct, set no limit on the damages that can be awarded, fail to require proof of

 every element beyond a reasonable doubt, are subject to the unbridled discretion of the jury, and

 do not allow adequate judicial review, thereby denying due process;

                b)     The assessment of punitive damages is criminal or penal in nature and,

 therefore, the rights given defendants in criminal proceedings are applicable;

                c)     The assessment of punitive damages amounts to the imposition of an

 excessive fine and/or cruel and unusual punishment;

                d)     The assessment of punitive damages exposes Allied to multiple

 punishments and fines for the same act;

                e)     The assessment of punitive damages constitutes double jeopardy;

                f)     The assessment of punitive damages discriminates in that corporate status,

 wealth, or net worth may be considered by the jury in determining the amounts of any such

 damage awards and different amounts can be awarded against different defendants for the same




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 act depending solely on the status or material wealth of the various defendants, thereby denying

 equal protection under the law;

                g)      The assessment of punitive damages does not provide an adequate

 procedure for the determination of punitive damages in violation of the equal protection and

 substantive and procedural due process requirements of the United States Constitution and

 applicable State Constitutions in violation of the United States Supreme Court’s decision in

 Pacific Mutual Ins. Co. v. Haslip;

                h)      The assessment of punitive damages constitutes an impermissible burden

 on interstate commerce; and

                i)      The assessment of punitive damages constitutes a violation of due process

 and other constitutional rights of Allied as set forth in the United States Supreme Court decisions

 in State Farm Mut. Auto. Ins. Co. v. Campbell, Pacific Mutual Ins. Co. v. Haslip, and BMW of

 North America, Inc. v. Gore; and the Missouri Supreme Court’s holding in Alcorn v. Union

 Pacific R.R. Co.

        44.     To the extent that any defense to punitive damages arousing out of Chapter 537 or

 other sections of the Missouri Revised Statutes accrues to the benefit of Allied, Allied reserves

 the right to assert the same should the facts warrant it.

        45.     Plaintiffs’ purported cause of action and alleged damages, if any, were not

 proximately caused by any act or omission of Allied.

        46.     If Plaintiffs recover from Allied, Allied is entitled to contribution, set-off, and/or

 indemnification, either in whole or in part, from all persons or entities whose negligence or fault

 proximately caused or contributed to cause Plaintiffs’ alleged damages.




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            47.   Plaintiffs’ claims are or may be barred, in whole or in part, to the extent that

 Plaintiffs have released, settled with, entered into an accord and satisfaction, or otherwise

 compromised their claims. Allied is entitled to a set-off for the entire amount of proceeds

 Plaintiffs have or may recover from other sources.

            48.   Pursuant to R.S.Mo. 537.060, if and to the extent that any other Defendant or

 party enter into a release agreement, covenant not to sue or note to enforce a judgment, or any

 other type of settlement agreement with Plaintiffs, this Defendant is entitled to have any

 judgments that may be rendered against it reduced by the stipulated amount of the agreement, or

 the amount of the consideration paid, whichever is greater.

            49.   If the property in question was exposed to any chemical or compound connected

 to this Defendant, which is specifically denied, then such exposure was inconsequential or de

 minimis, thus barring any recovery by the Plaintiffs.

            50.   This Defendant was at all times in full compliance with all applicable industry

 and regulatory standards and, therefore, had no further duty to warn.

            51.   Allied pleads all applicable limitation on Plaintiffs’ recovery of damages as to

 amount or type as may be applicable to this matter under Missouri law or other applicable law or

 statute.

            52.   Plaintiffs’ claims are barred to the extent Plaintiffs do not have standing to seek

 relief.

            53.   Allied hereby adopts and incorporates herein any other defense asserted by any

 other Defendant in this action.

            54.   Allied reserves the right to amend its Answer as discovery progresses to plead

 additional defenses, and to assert cross-claims, counterclaims or third-party claims.




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           55.    Plaintiffs claims are barred by the doctrines of collateral estoppel and res judicata.

           WHEREFORE, having fully answered Plaintiffs’ Second Amended Complaint, Allied

 Services, LLC requests that Plaintiffs take nothing by their Complaint, that the Second Amended

 Complaint be dismissed, that Allied be awarded its costs, expenses, and attorney’s fees incurred

 in the defense of this litigation, and for such other and further relief as the Court deems just and

 proper.

                                      DEMAND FOR JURY TRIAL

           Defendants Bridgeton Landfill, LLC, Republic Services, Inc., Allied Services, LLC, and

 Rock Road Industries, Inc.4 demand a jury trial on all claims for which they are entitled to a jury

 trial.




           4
          As of April 9, 2018, Rock Road Industries, Inc. formally merged into Bridgeton Landfill, LLC, a
 Delaware Limited Liability Company.


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 Dated: November 5, 2019                      LATHROP GAGE LLP



                                              By: /s/ William G. Beck
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                                                  ATTORNEYS FOR DEFENDANTS

                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 5, 2019, I electronically filed the foregoing document
 via the Court’s CM/ECF system, which will serve notice on all counsel of record.


                                                    /s/ William G. Beck
                                                 An Attorney for Defendants




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.                         )
                                                )
                                                )
               Plaintiffs,                      )
                                                )   Case No. 4:17-cv-00024-CDP
 vs.                                            )
                                                )
 BRIDGETON LANDFILL, LLC, et al.                )
                                                )
                                                )
               Defendants.                      )


         ANSWER OF SEPARATE DEFENDANT BRIDGETON LANDFILL, LLC
               TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Defendant Bridgeton Landfill, LLC (“Bridgeton”), for its Answer and Affirmative

 Defenses to Plaintiffs’ Second Amended Complaint (“Complaint”), states as follows:

        1.     Bridgeton denies the allegations contained in paragraph 1 of Plaintiffs’ Second

 Amended Complaint.

        2.     Bridgeton denies the allegations contained in paragraph 2 of Plaintiffs’ Second

 Amended Complaint.

        3.     Bridgeton denies the allegations contained in paragraph 3 of Plaintiffs’ Second

 Amended Complaint.

        4.     Bridgeton denies the allegations contained in paragraph 4 of Plaintiffs’ Second

 Amended Complaint.

        5.     Bridgeton denies the allegations contained in paragraph 5 of Plaintiffs’ Second

 Amended Complaint.

        6.     Bridgeton states that paragraph 6 of Plaintiffs’ Second Amended Complaint

 pleads no facts and instead makes assertions based on unsupported theories and legal conclusions
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 and, therefore, does not require a response. To the extent the Court deems a response to

 paragraph 6 necessary, Bridgeton denies the allegations contained therein.

        7.      Bridgeton denies the allegations contained in paragraph 7 of Plaintiffs’ Second

 Amended Complaint.

        8.      Bridgeton denies the allegations contained in paragraph 8 of Plaintiffs’ Second

 Amended Complaint.

        9.      Bridgeton moves to strike Paragraph 9 of Plaintiffs’ Second Amended Complaint

 because according to Plaintiffs it is “informational only” and therefore not part of its Second

 Amended Complaint. Further answering Paragraph 9 Bridgeton denies the allegations contained

 in paragraph 9 of Plaintiffs’ Second Amended Complaint.

                         JURISDICTION, AUTHORITY, AND VENUE

        10.     In response to paragraph 10 of Plaintiffs’ Second Amended Complaint, Bridgeton

 denies that the Twenty-First Judicial Circuit of the State of Missouri in St. Louis County has

 jurisdiction and authority over the claims made by Plaintiffs pursuant to the Price-Anderson Act.

 Bridgeton denies any jurisdiction over “state tort law claims” because any such purported claim

 is preempted by the Price-Anderson Act. Bridgeton denies that Plaintiffs have properly pleaded

 venue for this Court.

        11.     Answering Paragraph 11 Bridgeton admits that as of the dates this case was

 originally filed that diversity jurisdiction did not exist however Bridgeton denies that this Court

 is without subject matter jurisdiction. Bridgeton denies each fact not specifically admitted.

        12.     Answering paragraph 12 Bridgeton denies that venue is proper in the Twenty-

 First Judicial Circuit of the State of Missouri in St. Louis County. Bridgeton denies that

 Plaintiffs have adequately pleaded jurisdiction in this Court.




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        13.     Bridgeton denies the statement in Paragraph 13. Whether or not Plaintiffs

 voluntarily classify their causes of action as federal ones, their causes of action fit squarely in the

 framework of the Price-Anderson Act (“PAA” or “the Act”), 42 U.S.C. § 2011 et seq. Artful

 pleading cannot remedy the fact that Plaintiffs may sue “under the PAA or not at all.” McClurg

 v. MI Holdings, Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013).

        14.     Answering Paragraph 14 Bridgeton denies the assertion of Paragraph 14 that

 Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

        A.      Whether or not the Landfill is a licensed nuclear facility is irrelevant to whether

                the Price Anderson Act applies. Upon its review of cases from around the

                country, the court in Estate of Ware ex rel. Boyer v. Hospital of University of

                Pennsylvania, expressly rejected the view that a public liability claim under the

                PAA is “limited to nuclear incidents occurring at utilization and production

                facilities and other licensed facilities.” 73 F. Supp. 3d 530 (E.D. Pa. 2014); see,

                also, Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1503-04 (10th Cir. 1997)

                (“Congress intended to expand federal control over safety and liability issues

                involving the nuclear industry,” and the PAA created “a federal forum for any tort

                claim even remotely involving atomic energy production”); Cotromano, 7 F.

                Supp. 3d at 1257–58 (application of PAA is not limited to licensed activities).

        B.      Whether or not Defendants received a license to possess, transport, or dispose of

                any radioactive wastes on or in the Landfill is irrelevant to whether the Price

                Anderson Act applies. As noted above, a license is not required for the Price

                Anderson Act to apply. Further, the entity that deposited the RIM at the West

                Lake Landfill—Cotter Corporation—did, in fact, hold a source material license




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                    issued by the AEC, which authorized it to possess an unlimited amount of

                    uranium from December 3, 1969 to December 31, 1974. 1

            C.      Whether or not Defendants entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 is irrelevant to whether the

                    Price Anderson Act applies. The Act provides that a “person indemnified” by the

                    licensee and the federal government is “the person with whom an indemnity

                    agreement is executed or who is required to maintain a financial protection, and

                    any other person who may be liable for public liability.” 42 U.S.C. § 2014(t)

                    (emphasis added). Federal courts have held the Act’s plain meaning indicates the

                    PAA is not limited to parties to indemnification agreements. See, e.g., Acuna v.

                    Brown & Root, Inc., 200 F.3d 335, 339 (5th Cir. 2000) (“[O]ne purpose behind

                    the 1988 amendments was to expand the scope of federal jurisdiction beyond

                    actions arising from ‘extraordinary nuclear occurrences’ only.”); Estate of Ware v.

                    Hosp. of the Univ. of Pa., 73 F. Supp. 3d 519, 530–31 (E.D. Pa. 2014) (adopting

                    analysis of courts “which have concluded that possession of…an indemnification

                    agreement is unrelated to establishing jurisdiction under PAA”); Cotromano v.

                    United Techs. Corp., 7 F. Supp. 3d 1253, 1259 (S.D. Fla. 2014) (“Whether or not

                    Defendants have indemnification agreements with the federal government is not

                    dispositive of the applicability of Price-Anderson”); Carey v. Kerr-McGee Chem.

                    Corp., 60 F. Supp. 2d 800, 806 (N.D. Ill. 1999) (“there can be an [extraordinary

                    nuclear occurrence] to which no indemnity agreement applies.”).

            15.     Bridgeton denies the allegations of paragraph 15 of Plaintiffs’ Second Amended

 Complaint. The statement quoted from Defendants Rock Road and Bridgeton’s Memorandum in

 1
     Source Material License No. SUB-1022 is attached as Exhibit 1.


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 Support of Motion to Dismiss (the “Memorandum”) in Adams v. MI Holdings, Inc. (Eastern

 District of Missouri Case No. 4:12-cv-00641) (Doc. No. 15), are taken out of context and are

 distinguishable. The Adams Complaint incorrectly alleged Rock Road Industries, Inc. and

 Bridgeton Landfill, LLC “or their predecessors and/or agents have at all relevant times held such

 federal [Nuclear Regulatory Commission] licenses.” Eastern District of Missouri Case No. 4:12-

 cv-00641, Doc. No. 1 ¶ 65. A PAA claim was alleged based upon the possession of these

 licenses and activities in which Defendants Rock Road and Bridgeton were never involved. In

 their Memorandum in Support of Motion to Dismiss (E.D. Mo. Doc. No. 15), then-existing Rock

 Road and Bridgeton refuted the specific allegations appearing in the Adams Complaint and the

 purported effect of those allegations. The Defendants did not make a general statement of PAA

 applicability.

         16.      Bridgeton denies the allegations of paragraph16 of Plaintiffs’ Second Amended

 Complaint. Despite Plaintiffs’ attempt to frame their claims in strictly state law terms, Plaintiffs’

 Second Amended Complaint asserts a nuclear incident because they cite an alleged occurrence

 that caused bodily injury, disease, damage to property, or loss of use of property, within the

 United States, arising or resulting from the radioactive properties of material deposited at the

 West Lake Landfill. Because the factual allegations underlying Plaintiffs’ purported injuries all

 relate to the Defendants’ conduct in connection with nuclear and radioactive materials, Plaintiffs’

 claims arise out of an alleged nuclear incident and, pursuant to the PAA, a public liability action

 is the only remedy available for Plaintiffs’ alleged injuries. McClurg, 933 F. Supp. 2d at 1186.

         17.      Bridgeton denies the allegations of paragraph 17 of Plaintiffs’ Second Amended

 Complaint. A small number of courts in the Eastern District of Missouri have determined that

 the Price Anderson Act does not apply to the wastes at issue here. See, e.g., Strong v. Republic




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 Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017); Banks v. Cotter Corp., No. 4:18-CV-00624

 JAR, 2019 WL 1426259, at *6 (E.D. Mo. Mar. 29, 2019). Defendants respectfully challenge

 these decisions and assert that other federal courts have correctly interpreted the plain language

 of the Act, as well as the Congressional intent behind the 1988 amendments, to hold that neither

 a license nor an indemnity agreement is required for federal subject matter jurisdiction under the

 PAA.2 Even the decisions on which Plaintiffs rely have noted there is case law on both sides of

 the argument and chosen to apply a presumption in favor of remand.

          18.      Bridgeton denies the allegations of paragraph 18 of Plaintiffs’ Second Amended

 Complaint. The waste at issue is leached barium sulfate residue, a product of uranium

 processing by Mallinckrodt Chemical Company as part of its work for the United States Army

 related to the Manhattan Project. The leached barium sulfate residue, which is estimated to have

 contained approximately seven tons of uranium, was mixed with topsoil and then brought to the

 West Lake Landfill. Because the waste at issue contained uranium it meets the PAA definition

 of “source material.”3

          19.      Bridgeton denies the allegations of paragraph 19 of Plaintiffs’ Second Amended

 Complaint. The “mill tailings” that Plaintiffs reference throughout the Second Amended

 Complaint are leached barium sulfate residues, which meet the definition of “source material”

 under the Price Anderson Act.

          20.      Bridgeton denies the allegations of paragraph 20 of Plaintiffs’ Second Amended

 Complaint. Cotter’s disposal of the leached barium sulfate residues was undertaken pursuant to


 2
   In particular, Defendants note that the decisions on which Plaintiffs rely are based largely on a Magistrate Judge’s
 twenty-one-year-old ruling that has been overturned in its own Circuit, Gilberg v. Stepan Co., 24 F. Supp. 325
 (D.N.J. 1998). Gilberg mistakenly limited the PAA definitions by ignoring the sweeping 1988 amendments to the
 Act after Three Mile Island and held an indemnification agreement was a jurisdictional requirement. This case has
 been widely criticized in other circuits in more recent decisions.
 3
   The PAA defines “source material” as “(1) uranium, thorium, . . .; or (2) ores containing one or more of the
 foregoing materials[.]” 42 U.S.C.A. § 2014(z).


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 an appropriate federal license. Cotter’s source material license, issued by the Atomic Energy

 Commission, authorized it to possess an unlimited amount of uranium from December 3, 1969 to

 December 31, 1974. Further, when seeking to terminate its license, Cotter certified that the

 licensed material was lawfully disposed. In reliance on that representation, the AEC terminated

 Cotter’s license. Thus, Defendants are alleged to have received the waste material directly from

 Cotter, a licensed entity, pursuant to the terms of its licensure.

        21.     Bridgeton denies the allegations of paragraph 21 of Plaintiffs’ Second Amended

 Complaint including the allegation that “mill tailings” are at issue. As noted above, the leached

 barium sulfate residues Cotter disposed at West Lake Landfill are subject to the Price Anderson

 Act.

                                         II. THE PARTIES

                                               Plaintiffs

        22.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 22 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        23.     Bridgeton denies the allegations contained in paragraph 23 of Plaintiffs’ Second

 Amended Complaint.

                                              Defendants

        24.     Bridgeton admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Bridgeton denies that that Rock Road Industries, Inc. still exists. Bridgeton denies

 each and every other allegation of Paragraph 24 not specifically admitted.

        25.     Bridgeton denies it was formerly “Laidlaw Waste Systems.” Bridgeton admits it

 is a Delaware Limited Liability Company with its principle place of business in Arizona.



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 Bridgeton denies the remaining allegations contained in paragraph 25 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        26.     Bridgeton admits that Rock Road Industries, Inc. was a Missouri corporation and

 owns or owned the West Lake Landfill. Bridgeton denies the remaining allegations contained in

 paragraph 26 of Plaintiffs’ Second Amended Complaint, including all subparts thereof.

        27.     Bridgeton admits that Republic Services, Inc. is a Delaware corporation with its

 principal place of business in Arizona. Bridgeton acknowledges that Republic Services, Inc. is

 one of the larger providers of services in the solid waste industry and that it focuses on being a

 progressive contributor in the industry on both environmental and sustainability issues.

 Bridgeton denies the remaining allegations contained in paragraph 27 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        28.     Bridgeton admits that Allied Services, LLC is a Delaware limited liability

 company. Bridgeton denies the remaining allegations contained in paragraph 28 of Plaintiffs’

 Second Amended Complaint, including all subparts thereof.

        29.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth and falsity of the allegations contained in paragraph 29 of Plaintiffs’ Second Amended

 Complaint and therefore, denies the same. Bridgeton denies the remaining allegations contained

 in paragraph 29 of Plaintiffs’ Second Amended Complaint, including all subparts thereof.

                                             III. FACTS

        30.     Bridgeton denies the allegations contained in paragraph 30 of Plaintiffs’ Second

 Amended Complaint.

        31.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 31 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.


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        32.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 32 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        33.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 33 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        34.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 34 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        35.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 35 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        36.      Bridgeton is without information or knowledge sufficient to form a belief as to

 the truth or falsity of the allegations contained in paragraph 36 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        37.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 37 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        38.     Bridgeton denies the allegations contained in paragraph 38 of Plaintiffs’ Second

 Amended Complaint.

        39.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 39 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.




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        40.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 40 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        41.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 41 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        42.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 42 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        43.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 43 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        44.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 44 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        45.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 45 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        46.     Answering Paragraph 46 Bridgeton admits that Cotter, without authority from or

 knowledge on the part of Bridgeton, caused leached barium sulfate residue to be trucked to the

 Westlake Landfill in 1973. Defendant Bridgeton denies each and every allegation not

 specifically admitted.




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        47.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 47 of Plaintiffs’ Second Amended

 Complaint.

        48.     Bridgeton denies the allegations contained in paragraph 48 of Plaintiffs’ Second

 Amended Complaint.

        49.     Bridgeton denies the allegations contained in paragraph 49 of Plaintiffs’ Second

 Amended Complaint.

        50.     Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 50 of Plaintiffs’ Second Amended

 Complaint.

        51.     Bridgeton denies the allegations contained in paragraph 51 of Plaintiffs’ Second

 Amended Complaint.

        52.     Bridgeton denies the allegations contained in paragraph 52 of Plaintiffs’ Second

 Amended Complaint.

        53.     Bridgeton denies the allegations contained in paragraph 53 of Plaintiffs’ Second

 Amended Complaint.

        54.     Bridgeton denies the allegations contained in paragraph 54 of Plaintiffs’ Second

 Amended Complaint.

        55.     Bridgeton denies the allegations contained in paragraph 55 of Plaintiffs’ Second

 Amended Complaint.

        56.     Bridgeton denies the allegations contained in paragraph 56 of Plaintiffs’ Second

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        57.     Bridgeton denies the allegations contained in paragraph 57 of Plaintiffs’ Second

 Amended Complaint.

        58.     Bridgeton denies the allegations contained in paragraph 58 of Plaintiffs’ Second

 Amended Complaint.

        59.     Bridgeton moves to strike the allegations of Paragraph 59 because they are not

 necessary, according to Plaintiffs for their claims. Answering Paragraph 59 Bridgeton admits

 upon information and belief that Cotter did not obtain a transportation license to transport

 radioactive mill tailings to the West Lake Landfill. Bridgeton denies that the Leached Barium

 Sulfate Residue (“LBSR”) is mill tailings. Bridgeton denies that the LBSR is not source

 material. Bridgeton denies that the LBSR was not subject to Cotter’s license. Bridgeton denies

 each and every other allegation of paragraph 59 not specifically admitted.

        60.     Bridgeton denies the allegations contained in paragraph 60 of Plaintiffs’ Second

 Amended Complaint.

        61.     Bridgeton denies the allegations contained in paragraph 61 of Plaintiffs’ Second

 Amended Complaint.

        62.     Bridgeton denies the allegations contained in paragraph 62 of Plaintiffs’ Second

 Amended Complaint.

        63.     Bridgeton denies the allegations contained in paragraph 63 of Plaintiffs’ Second

 Amended Complaint.

        64.     Bridgeton denies the allegations contained in paragraph 64 of Plaintiffs’ Second

 Amended Complaint.

        65.     Bridgeton denies the allegations contained in paragraph 65 of Plaintiffs’ Second

 Amended Complaint.




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       66.   Bridgeton denies the allegations contained in paragraph 66 of Plaintiffs’ Second

 Amended Complaint.

       67.   Bridgeton denies the allegations contained in paragraph 67 of Plaintiffs’ Second

 Amended Complaint.

       68.   Bridgeton denies the allegations contained in paragraph 68 of Plaintiffs’ Second

 Amended Complaint.

       69.   Bridgeton denies the allegations contained in paragraph 69 of Plaintiffs’ Second

 Amended Complaint.

       70.   Bridgeton denies the allegations contained in paragraph 70 of Plaintiffs’ Second

 Amended Complaint.

       71.   Bridgeton denies the allegations contained in paragraph 71 of Plaintiffs’ Second

 Amended Complaint.

       72.   Bridgeton denies the allegations contained in paragraph 72 of Plaintiffs’ Second

 Amended Complaint.

       73.   Bridgeton denies the allegations contained in paragraph 73 of Plaintiffs’ Second

 Amended Complaint.

       74.   Bridgeton denies the allegations contained in paragraph 74 of Plaintiffs’ Second

 Amended Complaint.

       75.   Bridgeton denies the allegations contained in paragraph 75 of Plaintiffs’ Second

 Amended Complaint.

       76.   Bridgeton denies the allegations contained in paragraph 76 of Plaintiffs’ Second

 Amended Complaint.




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        77.    Bridgeton denies the allegations contained in paragraph 77 of Plaintiffs’ Second

 Amended Complaint.

        78.    Bridgeton denies the allegations contained in paragraph 78 of Plaintiffs’ Second

 Amended Complaint.

        79.    Bridgeton denies the allegations contained in paragraph 79 of Plaintiffs’ Second

 Amended Complaint.

        80.    Bridgeton denies the allegations contained in paragraph 80 of Plaintiffs’ Second

 Amended Complaint.

        81.    Bridgeton denies the allegations contained in paragraph 81 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        82.    Bridgeton denies the allegations contained in paragraph 82 of Plaintiffs’ Second

 Amended Complaint.

        83.    Bridgeton denies the allegations contained in paragraph 83 of Plaintiffs’ Second

 Amended Complaint.

        84.    Bridgeton denies the allegations contained in paragraph 84 of Plaintiffs’ Second

 Amended Complaint.

        85.    Bridgeton denies the allegations contained in paragraph 85 of Plaintiffs’ Second

 Amended Complaint.

        86.    Bridgeton denies the allegations contained in paragraph 86 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        87.    Bridgeton denies the allegations contained in paragraph 87 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.




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        88.    Bridgeton denies the allegations contained in paragraph 88 of Plaintiffs’ Second

 Amended Complaint.

        89.    Bridgeton denies the allegations contained in paragraph 89 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        90.    Bridgeton denies the allegations contained in paragraph 90 of Plaintiffs’ Second

 Amended Complaint.

        91.    Bridgeton denies the allegations contained in paragraph 91 of Plaintiffs’ Second

 Amended Complaint.

        92.    Bridgeton denies the allegations contained in paragraph 92 of Plaintiffs’ Second

 Amended Complaint.

        93.    Bridgeton denies the allegations contained in paragraph 93 of Plaintiffs’ Second

 Amended Complaint.

        94.    Bridgeton denies the allegations contained in paragraph 94 of Plaintiffs’ Second

 Amended Complaint.

        95.    Bridgeton denies the allegations contained in paragraph 95 of Plaintiffs’ Second

 Amended Complaint.

        96.    Bridgeton denies the allegations contained in paragraph 96 of Plaintiffs’ Second

 Amended Complaint.

        97.    Bridgeton denies the allegations contained in paragraph 97 of Plaintiffs’ Second

 Amended Complaint.

        98.    Bridgeton denies the allegations contained in paragraph 98 of Plaintiffs’ Second

 Amended Complaint.




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        99.     Bridgeton denies the allegations contained in paragraph 99 of Plaintiffs’ Second

 Amended Complaint.

                                     COUNT I – TRESPASS

        100.    In response to paragraph 100 of Count I of Plaintiffs’ Second Amended

 Complaint, Bridgeton incorporates by reference its answers and responses to each and every

 allegation contained in paragraphs 1 through 99 of the Second Amended Complaint.

        101.    Bridgeton is without knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 101 and therefore denies the allegations

 contained in paragraph 101 of Count I of Plaintiffs’ Second Amended Complaint.

        102.    Bridgeton admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Bridgeton denies that Rock Road Industries, Inc. currently exists. Bridgeton denies

 every allegation not specifically admitted contained in paragraph 102 of Count I of Plaintiffs’

 Second Amended Complaint.

        103.    Bridgeton denies the allegations contained in paragraph 103 of Count I of

 Plaintiffs’ Second Amended Complaint.

        104.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 104 of Count I of Plaintiffs’ Second

 Amended Complaint, and, therefore, denies the same.

        105.    Bridgeton denies the allegations contained in paragraph 105 of Count I of

 Plaintiffs’ Second Amended Complaint.

        106.    Bridgeton denies the allegations contained in paragraph 106 of Count I of

 Plaintiffs’ Second Amended Complaint.




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        107.    Bridgeton denies the allegations contained in paragraph 107 of Count I of

 Plaintiffs’ Second Amended Complaint.

        108.    Bridgeton denies the allegations contained in paragraph 108 of Count I of

 Plaintiffs’ Second Amended Complaint.

        109.    Bridgeton denies the allegations contained in paragraph 109 of Count I of

 Plaintiffs’ Second Amended Complaint.

        110.    Bridgeton denies the allegations contained in paragraph 110 of Count I of

 Plaintiffs’ Second Amended Complaint.

        111.    Bridgeton denies the allegations contained in paragraph 111 of Count I of

 Plaintiffs’ Second Amended Complaint.

        112.    Bridgeton denies the allegations contained in paragraph 112 of Count I of

 Plaintiffs’ Second Amended Complaint.

                            COUNT II – PERMANENT NUISANCE

        113.    In response to paragraph 113 of Count II of Plaintiffs’ Second Amended

 Complaint, Bridgeton incorporates by reference its answers and responses to each and every

 allegation contained in paragraphs 1 through 99 of the “FACTS” section, and 100 through 112 of

 Count I of Plaintiffs’ Second Amended Complaint.

        114.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 114 of Count II of Plaintiffs’ Second

 Amended Complaint and, therefore, denies the same.

        115.    Bridgeton admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill, and Rock Road Industries, Inc. owned and operated the West Lake Landfill. Bridgeton




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 denies the remaining allegations contained in paragraph 115 of Count II of Plaintiffs’ Second

 Amended Complaint.

        116.   Bridgeton denies the allegations contained in paragraph 116 of Count II of

 Plaintiffs’ Second Amended Complaint.

        117.   Bridgeton denies the allegations contained in paragraph 117 of Count II of

 Plaintiffs’ Second Amended Complaint.

        118.   Bridgeton denies the allegations contained in paragraph 118 of Count II of

 Plaintiffs’ Second Amended Complaint.

        119.   Paragraph 119 of Count II of Plaintiffs’ Second Amended Complaint states legal

 conclusions and, therefore, requires no response from Bridgeton. IF and to the extent a response

 is deemed to be required by the Court, Bridgeton denies the allegations contained in paragraph

 119 of Count II of Plaintiffs’ Second Amended Complaint.

        120.   Bridgeton denies the allegations contained in paragraph 120 of Count II of

 Plaintiffs’ Second Amended Complaint.

        121.   Bridgeton denies the allegations contained in paragraph 121 of Count II of

 Plaintiffs’ Second Amended Complaint.

        122.   Bridgeton denies the allegations contained in paragraph 122 of Count II of

 Plaintiffs’ Second Amended Complaint.

        123.   Bridgeton denies the allegations contained in paragraph 123 of Count II of

 Plaintiffs’ Second Amended Complaint.

        124.   Bridgeton denies the allegations contained in paragraph 124 of Count II of

 Plaintiffs’ Second Amended Complaint.




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                           COUNT III – TEMPORARY NUISANCE

        125.    In response to paragraph 125 of Plaintiffs’ Second Amended Complaint,

 Bridgeton incorporates by reference its answers and responses to each and every allegation

 contained in paragraphs 1 through 99of the “FACTS” section, 100 through 112 of Count I, and

 113 through 124 of Count II of Plaintiffs’ Second Amended Complaint.

        126.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 126 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        127.    Bridgeton admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Bridgeton denies that Rock Road Industries, Inc. exists. Bridgeton denies each and

 every allegation in paragraph 127 of Plaintiffs’ Second Amended Complaint not specifically

 admitted.

        128.    Bridgeton denies the allegations contained in paragraph 128 of Plaintiffs’ Second

 Amended Complaint.

        129.    Bridgeton denies the allegations contained in paragraph 129 of Plaintiffs’ Second

 Amended Complaint.

        130.    Bridgeton denies the allegations contained in paragraph 130 of Plaintiffs’ Second

 Amended Complaint.

        131.    Bridgeton denies the allegations contained in paragraph 131 of Plaintiffs’ Second

 Amended Complaint.

        132.    Bridgeton denies the allegations contained in paragraph 132 of Plaintiffs’ Second

 Amended Complaint.




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        133.    Bridgeton denies the allegations contained in paragraph 133 of Plaintiffs’ Second

 Amended Complaint.

        134.    Bridgeton denies the allegations contained in paragraph 134 of Plaintiffs’ Second

 Amended Complaint.

                                 COUNT IV – NEGLIGENCE

        135.    In response to paragraph 135 of Plaintiffs’ Second Amended Complaint,

 Bridgeton incorporates by reference its answers and responses to each and every allegation

 contained in paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113

 through 124 of Count II, and 125 through 134 of Count III of Plaintiffs’ Second Amended

 Complaint.

        136.    Bridgeton denies the allegations contained in paragraph 136 of Plaintiffs’ Second

 Amended Complaint.

        137.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 137 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        138.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 138 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        139.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 139 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        140.    Bridgeton denies the allegations contained in paragraph 140 of Plaintiffs’ Second

 Amended Complaint.




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        141.   Bridgeton denies the allegations contained in paragraph 141 of Plaintiffs’ Second

 Amended Complaint.

        142.   Bridgeton denies the allegations contained in paragraph 142 of Plaintiffs’ Second

 Amended Complaint.

        143.   Bridgeton denies the allegations contained in paragraph 143 of Plaintiffs’ Second

 Amended Complaint.

        144.   Bridgeton denies the allegations contained in paragraph 144 of Plaintiffs’ Second

 Amended Complaint.

        145.   Bridgeton denies the allegations contained in paragraph 145 of Plaintiffs’ Second

 Amended Complaint.

        146.   Bridgeton denies the allegations contained in paragraph 146 of Plaintiffs’ Second

 Amended Complaint.

        147.   Bridgeton denies the allegations contained in paragraph 147 of Plaintiffs’ Second

 Amended Complaint.

        148.   Bridgeton denies the allegations contained in paragraph 148 of Plaintiffs’ Second

 Amended Complaint.

        149.   Bridgeton denies the allegations contained in paragraph 149 of Plaintiffs’ Second

 Amended Complaint.

        150.   Bridgeton denies the allegations contained in paragraph 150 of Plaintiffs’ Second

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        151.   Bridgeton denies the allegations contained in paragraph 151 of Plaintiffs’ Second

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        152.    Bridgeton denies the allegations contained in paragraph 152 of Plaintiffs’ Second

 Amended Complaint.

                              COUNT V – NEGLIGENCE PER SE

        153.    In response to paragraph 153 of Plaintiffs’ Second Amended Complaint,

 Bridgeton incorporates by reference its answers and responses to each and every allegation

 contained in paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113

 through 124 of Count II, and 125 through 134 of Count III and 135 through 152 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        154.    Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in Paragraph 154 of Count IV of Plaintiffs’ Second

 Amended Complaint and, therefore, denies the same.

        155. Bridgeton denies the allegations contained in paragraph 155 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        156. Bridgeton denies the allegations contained in paragraph 156 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        157. Bridgeton is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 157 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        158.    Paragraph 158 of Count IV of Plaintiffs’ Second Amended Complaint states legal

 conclusions and, therefore, requires no response from Bridgeton. If and to the extent a response

 is deemed to be required by the Court, Bridgeton denies the allegations contained in paragraph

 158 of Count IV of Plaintiffs’ Second Amended Complaint.




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        159. Bridgeton denies the allegations contained in paragraph 159 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        160. Bridgeton denies the allegations contained in paragraph 160 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        161. Bridgeton denies the allegations contained in paragraph 161 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        162. Bridgeton denies the allegations contained in paragraph 162 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        163. Bridgeton denies the allegations contained in paragraph 163 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        164. Bridgeton denies the allegations contained in paragraph 164 of Count IV of

 Plaintiffs’ Second Amended Complaint.

                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY

        165.   In response to paragraph 165 of Plaintiffs’ Second Amended Complaint,

 Bridgeton incorporates by reference its answers and responses to each and every allegation

 contained in paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113

 through 124 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV and

 153 through 164 of Count V of Plaintiffs’ Second Amended Complaint.

        166. Bridgeton denies the allegations contained in paragraph 166 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        167. Bridgeton denies the allegations contained in paragraph 167 of Count VI of

 Plaintiffs’ Second Amended Complaint.




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        168. Bridgeton denies the allegations contained in paragraph 168 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        169. Bridgeton denies the allegations contained in paragraph 169 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        170. Bridgeton denies the allegations contained in paragraph 170 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        171. Bridgeton denies the allegations contained in paragraph 171 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        172. Bridgeton denies the allegations contained in paragraph 172 of Count VI of

 Plaintiffs’ Second Amended Complaint.

                            COUNT VII – INJUNCTIVE RELIEF

        173.   In response to paragraph 173 of Plaintiffs’ Second Amended Complaint,

 Bridgeton incorporates by reference its answers and responses to each and every allegation

 contained in paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113

 through 124 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV, 153

 through 164 of Count V and 165 through 172 of Count VI of Plaintiffs’ Second Amended

 Complaint.

        174. Bridgeton denies the allegations contained in paragraph 174 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        175. Bridgeton denies the allegations contained in paragraph 175 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        176. Bridgeton denies the allegations contained in paragraph 176 of Count VII of

 Plaintiffs’ Second Amended Complaint.




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        177. Bridgeton denies the allegations contained in paragraph 177 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        178. Bridgeton denies the allegations contained in paragraph 178 of Count VII of

 Plaintiffs’ Second Amended Complaint. Further answering paragraph 178 of Plaintiffs’ Second

 Amended Complaint Bridgeton states that the injunctive relief sought by Plaintiffs is an

 independent basis for federal question jurisdiction.

        179. Bridgeton denies the allegations contained in paragraph 179 of Count VII of

 Plaintiffs’ Second Amended Complaint. Further answering paragraph 179 of Plaintiffs’ Second

 Amended Complaint Bridgeton states that the injunctive relief sought by Plaintiffs is an

 independent basis for federal question jurisdiction.

        180. Bridgeton denies the allegations contained in paragraph 180 of Count VII of

 Plaintiffs’ Second Amended Complaint. Further answering paragraph 178 of Plaintiffs’ Second

 Amended Complaint Bridgeton states that the injunctive relief sought by Plaintiffs is an

 independent basis for federal question jurisdiction.

                             COUNT XIII – PUNITIVE DAMAGES

        181.    In response to paragraph 181 of Plaintiffs’ Second Amended Complaint,

 Bridgeton incorporates by reference its answers and responses to each and every allegation

 contained in paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113

 through 124 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV, 153

 through 164 of Count V, 165 through 172 of Count VI and 173 through 188 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        182. Bridgeton denies the allegations contained in paragraph 182 of Count XIII of

 Plaintiffs’ Second Amended Complaint.




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        183. Bridgeton denies the allegations contained in paragraph 183 of Count XIII of

 Plaintiffs’ Second Amended Complaint.

        184. Bridgeton denies the allegations contained in paragraph 184 of Count XIII of

 Plaintiffs’ Second Amended Complaint.

        185.    Bridgeton denies that Plaintiffs are entitled to relief request in the

 “WHEREFORE” paragraph, including all subparts therefore, which immediately follows

 paragraph 184 of Plaintiffs’ Second Amended Complaint.

        186.    Bridgeton denies each and every allegation contained in Plaintiffs’ Second

 Amended Complaint not specifically admitted.

                       AFFIRMATIVE AND/OR FURTHER DEFENSES

        Bridgeton asserts that Plaintiffs’ claims are barred, in whole or in part, by the defenses set

 forth below. By setting forth these defenses, Bridgeton does not assume the burden of proving

 any fact, issue, or element of a cause of action where such burden properly belongs to Plaintiffs.

 Moreover, nothing herein stated is intended or shall be construed as an acknowledgement that

 any particular issue or subject matter is relevant to Plaintiffs’ allegations. Bridgeton reserves the

 right to plead any affirmative defense asserted by any co-defendant(s) or any and all affirmative

 defenses that may become evident or appreciated after investigation and discovery in this matter.

        1.      Plaintiffs have failed to state a claim against Bridgeton upon which relief can be

 granted.

        2.      Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

 limitations, including but not limited to Mo. Rev. Stat. 516.120 and any limitations period which

 applies to actions under the Price-Anderson Act.




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           3.   Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

 repose.

           4.   If Plaintiffs have been damaged, which is not hereby admitted, such damages

 were caused by unforeseeable, independent, intervening, and/or superseding events for which

 Bridgeton is not legally responsible.

           5.   Pleading in the alternative, if Plaintiffs have suffered any injury or damage, which

 is not hereby admitted, such injury or damage may have been caused or contributed to by the

 negligence or fault of persons or entities over whom this Defendant had no control, and such

 injuries or damages were not caused or contributed to by the negligence or fault of this

 Defendant or any of its agents, servants or employees.

           6.   Pleading in the alternative, if Plaintiffs suffered any injury or damage, which is

 not hereby admitted, the negligence or fault of the parties to this case should be compared by the

 trier-of-fact; further, any negligence or fault apportioned to Plaintiffs should act to bar any

 recovery or reduce any recovery in direct proportion to any such assessment of fault, all in

 accordance with the laws of the State of Missouri.

           7.   Pleading in the alternative, if Plaintiffs have suffered any injury or damage, which

 is not admitted, this Defendant requests that the negligence alleged by Plaintiffs against others

 including other Defendants, though not hereby admitted, be compared to the negligence or fault

 of this Defendant, to the extent that any such negligence is found to have caused or contributed

 to cause any injuries or damages alleged by Plaintiffs, and recovery against this Defendant

 should be reduced in direct proportion to such assessment of fault.




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        8.      If Plaintiffs have been damaged, the negligence or fault of persons or entities, for

 whose conduct Bridgeton is not legally responsible, must be compared, reducing or completely

 barring Plaintiffs’ alleged right to recover against Bridgeton.

        9.      If Plaintiffs have been damaged, the damages were caused by operation of nature,

 idiosyncratic reaction(s), pre-existing condition(s), and/or subsequent injury over which

 Bridgeton had no control.

        10.     If Plaintiffs have been damaged, which is not admitted, any recovery is barred to

 the extent each Plaintiff voluntarily exposed himself or herself to a known risk. Any recovery

 should not include alleged damages that Plaintiffs could have avoided by reasonable care and

 diligence.

        11.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of assumption of

 the risk, by Plaintiffs’ failure to mitigate damages, and/or by Plaintiffs’ own conduct.

        12.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of consent,

 whether it be by Plaintiffs or other third parties who later approved Bridgeton’s activities.

        13.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of waiver and/or

 the doctrine of estoppel.

        14.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

        15.     Plaintiffs’ Second Amended Complaint and each purported cause of action therein

 are barred, in whole or in part, by the doctrine of unclean hands.

        16.     Plaintiffs failed to exhaust their administrative remedies.

        17.     Plaintiffs’ claims are barred, in whole or in part, because they at all times had

 actual and/or constructive knowledge of the circumstances upon which the Complaint is based,

 and the Plaintiffs accepted those circumstances.




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            18.   Plaintiffs’ claims are barred, in whole or in part, because at all times and places

 mentioned in the Complaint, Bridgeton complied with the state of the art, and therefore,

 Plaintiffs are not entitled to recover from Bridgeton as a matter of law.

            19.   Plaintiffs’ claims are barred, in whole or in part, because the potential for injuries

 or damages alleged in the Complaint were not known to Bridgeton, nor did Bridgeton have

 reason to know of the risk of said harm.

            20.   Bridgeton has completely satisfied all legal duties, if any, with regard to the

 Plaintiffs and thus is released from liability.

            21.   Plaintiffs’ claims are barred, in whole or in part, by the doctrine of ratification.

            22.   Plaintiffs failed to join St. Louis Lambert Airport as a necessary or indispensable

 party to the extent the injunctive relief sought by Plaintiffs affects the airport’s negative

 easement at Bridgeton Landfill.

            23.   Plaintiffs failed to join the U.S. Environmental Protection Agency, the

 Department of Energy or other successor entities to the Atomic Energy Commission, and other

 federal agencies, which are indispensable parties for the claims made in this Complaint.

            24.   Plaintiffs’ request for injunctive relief is preempted as it attempts to shape and

 therefore challenge the remedy already underway under the Comprehensive Environmental

 Response, Compensation and Liability Act, 42 U.S.C. § 9604, and violates the timing of review

 provisions thereunder, 42 U.S.C. § 9613(h).

            25.   Plaintiffs’ claims should be dismissed for their failure to join indispensable

 parties.

            26.   The federal government, through federal statutes, has preempted the field of law

 applicable to the claims at issue. The activities referred to in the Complaint were and are




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 controlled by federal law, which governs the nuclear industry at all times. Plaintiffs’ claims are

 thus preempted in whole or in part such that they fail to state a cause of action upon which relief

 can be granted.

        27.     Bridgeton asserts any and all defenses, claims, credits, offsets, or remedies

 provided by the Price Anderson Act, 42 U.S.C. 2210, as amended, and reserves the right to

 amend its Answer to file such further pleadings as are necessary to preserve and assert such

 defenses, claims, credits, offsets, or remedies.

        28.     Bridgeton has at all times acted in conformance with applicable guidelines or

 regulations that establish the standard of care and has otherwise acted with due care and the

 caution of a reasonably prudent entity.

        29.     Bridgeton acted reasonably, in good faith, and with the skill, prudence, and

 diligence exercised by a reasonably prudent actor at all times relevant to this action.

        30.     Bridgeton conducted all actions in accordance with industry standards,

 government requirements, and the prevailing state of the art and technology in the industry at the

 time of the alleged act.

        31.     Plaintiffs’ claims are barred, in whole or in part, because the injuries and damages

 alleged were not known to Bridgeton, nor did Bridgeton have reason to know of the alleged risk

 of harm.

        32.     Any allegedly wrongful acts or omissions of Bridgeton, if and to the extent such

 acts or omissions occurred, were legally excused or justified.

        33.     Plaintiffs’ claims are barred, in whole or in part, because Bridgeton did not breach

 any duty to Plaintiffs.




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         34.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs were not

 exposed to any substance allegedly caused by Bridgeton’s acts sufficient to establish by a

 reasonable degree of probability that any such exposure caused any alleged injury, damage or

 loss.

         35.    Plaintiffs’ claims are barred, in whole or in part, because the damages Plaintiffs

 seek are too remote, indirect, and/or speculative.

         36.    The Complaint and each purported cause of action therein are barred, in whole or

 in part, because the operations at issue were in existence and ongoing prior to the Plaintiffs

 purchasing and/or moving to their residence.

         37.    The Complaint and each purported cause of action therein are barred because the

 utility of the conduct of which Plaintiffs complain outweighs any alleged harm to Plaintiffs.

         38.    Plaintiffs’ claims are barred to the extent they rely on the retroactive application

 of statutes, rules, regulations or common-law standards of conduct, or otherwise seek to impose

 liability retroactively for conduct that was not actionable at the time it occurred, which violates

 the Constitutions of the United States and the State of Missouri.

         39.    To the extent Plaintiffs’ claims are based upon any theory providing for liability

 without proof of causation, they violate Bridgeton’s rights under the United States Constitution

 and/or the Constitution of the State of Missouri, and the Constitution of any other state law that

 may be found to apply.

         40.    The punitive damages sought by Plaintiffs are not recoverable under the causes of

 action set forth in Plaintiffs’ Second Amended Complaint and Plaintiffs’ allegations are legally

 insufficient to support a claim for punitive damages.




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        41.     Bridgeton denies that Plaintiffs are entitled to recover punitive damages in this

 case because Bridgeton’s conduct demonstrated reasonable care. Intent to injure, actual or

 constructive, is completely absent in this case. Bridgeton did not act with actual malice, and no

 act or omission of Bridgeton was done with reckless indifference or reckless disregard toward

 the rights or safety of others, and therefore any award of punitive damages is barred.

        42.     Bridgeton denies all allegations of wrongdoing and damages as alleged in the

 Complaint, but if in fact Plaintiffs did sustain damages, Plaintiffs’ damages do not include

 punitive damages.

        43.     Any assessment of punitive damages violates Bridgeton’s constitutional rights

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments of the United States Constitution, the

 Missouri Constitution Article 1, Sections 18A, 19, 21, and 22A, and any other applicable State

 Constitution in one or more of the following respects:

                a)      The guidelines, standards, and/or instructions for assessing punitive

 damages are vague, indefinite, and/or uncertain, supply no notice of the potential repercussions

 of any alleged conduct, set no limit on the damages that can be awarded, fail to require proof of

 every element beyond a reasonable doubt, are subject to the unbridled discretion of the jury, and

 do not allow adequate judicial review, thereby denying due process;

                b)      The assessment of punitive damages is criminal or penal in nature and,

 therefore, the rights given defendants in criminal proceedings are applicable;

                c)      The assessment of punitive damages amounts to the imposition of an

 excessive fine and/or cruel and unusual punishment;

                d)      The assessment of punitive damages exposes Bridgeton to multiple

 punishments and fines for the same act;




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                e)      The assessment of punitive damages constitutes double jeopardy;

                f)      The assessment of punitive damages discriminates in that corporate status,

 wealth, or net worth may be considered by the jury in determining the amounts of any such

 damage awards and different amounts can be awarded against different defendants for the same

 act depending solely on the status or material wealth of the various defendants, thereby denying

 equal protection under the law;

                g)      The assessment of punitive damages does not provide an adequate

 procedure for the determination of punitive damages in violation of the equal protection and

 substantive and procedural due process requirements of the United States Constitution and

 applicable State Constitutions in violation of the United States Supreme Court’s decision in

 Pacific Mutual Ins. Co. v. Haslip;

                h)      The assessment of punitive damages constitutes an impermissible burden

 on interstate commerce; and

                i)      The assessment of punitive damages constitutes a violation of due process

 and other constitutional rights of Bridgeton as set forth in the United States Supreme Court

 decisions in State Farm Mut. Auto. Ins. Co. v. Campbell, Pacific Mutual Ins. Co. v. Haslip, and

 BMW of North America, Inc. v. Gore; and the Missouri Supreme Court’s holding in Alcorn v.

 Union Pacific R.R. Co.

        44.     To the extent that any defense to punitive damages arousing out of Chapter 537 or

 other sections of the Missouri Revised Statutes accrues to the benefit of Bridgeton, Bridgeton

 reserves the right to assert the same should the facts warrant it.

        45.     Plaintiffs’ purported cause of action and alleged damages, if any, were not

 proximately caused by any act or omission of Bridgeton.




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            46.   If Plaintiffs recover from Bridgeton, Bridgeton is entitled to contribution, set-off,

 and/or indemnification, either in whole or in part, from all persons or entities whose negligence

 or fault proximately caused or contributed to cause Plaintiffs’ alleged damages.

            47.   Plaintiffs’ claims are or may be barred, in whole or in part, to the extent that

 Plaintiffs have released, settled with, entered into an accord and satisfaction, or otherwise

 compromised their claims. Bridgeton is entitled to a set-off for the entire amount of proceeds

 Plaintiffs have or may recover from other sources.

            48.   Pursuant to R.S.Mo. 537.060, if and to the extent that any other Defendant or

 party enter into a release agreement, covenant not to sue or note to enforce a judgment, or any

 other type of settlement agreement with Plaintiffs, this Defendant is entitled to have any

 judgments that may be rendered against it reduced by the stipulated amount of the agreement, or

 the amount of the consideration paid, whichever is greater.

            49.   If the property in question was exposed to any chemical or compound connected

 to this Defendant, which is specifically denied, then such exposure was inconsequential or de

 minimis, thus barring any recovery by the Plaintiffs.

            50.   This Defendant was at all times in full compliance with all applicable industry

 and regulatory standards and, therefore, had no further duty to warn.

            51.   Bridgeton pleads all applicable limitation on Plaintiffs’ recovery of damages as to

 amount or type as may be applicable to this matter under Missouri law or other applicable law or

 statute.

            52.   Plaintiffs’ claims are barred to the extent Plaintiffs do not have standing to seek

 relief.




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          53.     Bridgeton hereby adopts and incorporates herein any other defense asserted by

 any other Defendant in this action.

          54.     Bridgeton reserves the right to amend its Answer as discovery progresses to plead

 additional defenses, and to assert cross-claims, counterclaims or third-party claims.

          55.     Plaintiffs claims are barred by the doctrines of collateral estoppel and res judicata.

          WHEREFORE, having fully answered Plaintiffs’ Second Amended Complaint,

 Bridgeton Landfill, LLC requests that Plaintiffs take nothing by their Complaint, that the Second

 Amended Complaint be dismissed, that Bridgeton be awarded its costs, expenses, and attorney’s

 fees incurred in the defense of this litigation, and for such other and further relief as the Court

 deems just and proper.

                                      DEMAND FOR JURY TRIAL

          Defendants Bridgeton Landfill, LLC, Republic Services, Inc., Allied Services, LLC, and

 Rock Road Industries, Inc.4 demand a jury trial on all claims for which they are entitled to a jury

 trial.




          4
          As of April 9, 2018, Rock Road Industries, Inc. formally merged into Bridgeton Landfill, LLC, a
 Delaware Limited Liability Company.


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 Dated: November 5, 2019                      LATHROP GAGE LLP



                                              By: /s/ William G. Beck
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                                                  ATTORNEYS FOR DEFENDANTS

                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 5, 2019, I electronically filed the foregoing document
 via the Court’s CM/ECF system, which will serve notice on all counsel of record.


                                                    /s/ William G. Beck
                                                 An Attorney for Defendants




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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 MICHAEL DAILEY, et al.                           )
                                                  )
                                                  )
                 Plaintiffs,                      )
                                                  )   Case No. 4:17-cv-00024-CDP
 vs.                                              )
                                                  )
 BRIDGETON LANDFILL, LLC, et al.                  )
                                                  )
                                                  )
                 Defendants.                      )


              ANSWER OF SEPARATE DEFENDANT REPUBLIC SERVICES, INC.
                   TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

         Defendant Republic Services, Inc. (“Republic”), for its Answer and Affirmative Defenses

  to Plaintiffs’ Second Amended Complaint (“Complaint”), states as follows:

         1.      Republic denies the allegations contained in paragraph 1 of Plaintiffs’ Second

  Amended Complaint.

         2.      Republic denies the allegations contained in paragraph 2 of Plaintiffs’ Second

  Amended Complaint.

         3.      Republic denies the allegations contained in paragraph 3 of Plaintiffs’ Second

  Amended Complaint.

         4.      Republic denies the allegations contained in paragraph 4 of Plaintiffs’ Second

  Amended Complaint.

         5.      Republic denies the allegations contained in paragraph 5 of Plaintiffs’ Second

  Amended Complaint.

         6.      Republic states that paragraph 6 of Plaintiffs’ Second Amended Complaint pleads

  no facts and instead makes assertions based on unsupported theories and legal conclusions and,
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  therefore, does not require a response. To the extent the Court deems a response to paragraph 6

  necessary, Republic denies the allegations contained therein.

         7.      Republic denies the allegations contained in paragraph 7 of Plaintiffs’ Second

  Amended Complaint.

         8.      Republic denies the allegations contained in paragraph 8 of Plaintiffs’ Second

  Amended Complaint.

         9.      Republic moves to strike Paragraph 9 of Plaintiffs’ Second Amended Complaint

  because according to Plaintiffs it is “informational only” and therefore not part of its Second

  Amended Complaint. Further answering Paragraph 9 Republic denies the allegations contained

  in paragraph 9 of Plaintiffs’ Second Amended Complaint.

                          JURISDICTION, AUTHORITY, AND VENUE

         10.     In response to paragraph 10 of Plaintiffs’ Second Amended Complaint, Republic

  denies that the Twenty-First Judicial Circuit of the State of Missouri in St. Louis County has

  jurisdiction and authority over the claims made by Plaintiffs. pursuant to the Price-Anderson

  Act. Republic denies any jurisdiction over “state tort law claims” because any such purported

  claim is preempted by the Price-Anderson Act. Republic denies that Plaintiffs have properly

  pleaded venue for this Court.

         11.     Answering Paragraph 11 Republic admits that as of the dates this case was

  originally filed that diversity jurisdiction did not exist however Republic denies that this Court is

  without subject matter jurisdiction. Republic denies each fact not specifically admitted.

         12.     Answering paragraph 12 Republic denies that venue is proper in the Twenty-First

  Judicial Circuit of the State of Missouri in St. Louis County. Republic denies that Plaintiffs have

  adequately pleaded jurisdiction in this Court.




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         13.     Republic denies the statement in Paragraph 13. Whether or not Plaintiffs

  voluntarily classify their causes of action as federal ones, their causes of action fit squarely in the

  framework of the Price-Anderson Act (“PAA” or “the Act”), 42 U.S.C. § 2011 et seq. Artful

  pleading cannot remedy the fact that Plaintiffs may sue “under the PAA or not at all.” McClurg

  v. MI Holdings, Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013).

         14.     Answering Paragraph 14 Republic denies the assertion of Paragraph 14 that

  Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

         A.      Whether or not the Landfill is a licensed nuclear facility is irrelevant to whether

                 the Price Anderson Act applies. Upon its review of cases from around the

                 country, the court in Estate of Ware ex rel. Boyer v. Hospital of University of

                 Pennsylvania, expressly rejected the view that a public liability claim under the

                 PAA is “limited to nuclear incidents occurring at utilization and production

                 facilities and other licensed facilities.” 73 F. Supp. 3d 530 (E.D. Pa. 2014); see,

                 also, Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1503-04 (10th Cir. 1997)

                 (“Congress intended to expand federal control over safety and liability issues

                 involving the nuclear industry,” and the PAA created “a federal forum for any tort

                 claim even remotely involving atomic energy production”); Cotromano, 7 F.

                 Supp. 3d at 1257–58 (application of PAA is not limited to licensed activities).

         B.      Whether or not Defendants received a license to possess, transport, or dispose of

                 any radioactive wastes on or in the Landfill is irrelevant to whether the Price

                 Anderson Act applies. As noted above, a license is not required for the Price

                 Anderson Act to apply. Further, the entity that deposited the RIM at the West

                 Lake Landfill—Cotter Corporation—did, in fact, hold a source material license




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                     issued by the AEC, which authorized it to possess an unlimited amount of

                     uranium from December 3, 1969 to December 31, 1974. 1

             C.      Whether or not Defendants entered into an indemnification agreement with the

                     United States government under 42 U.S.C. § 2210 is irrelevant to whether the

                     Price Anderson Act applies. The Act provides that a “person indemnified” by the

                     licensee and the federal government is “the person with whom an indemnity

                     agreement is executed or who is required to maintain a financial protection, and

                     any other person who may be liable for public liability.” 42 U.S.C. § 2014(t)

                     (emphasis added). Federal courts have held the Act’s plain meaning indicates the

                     PAA is not limited to parties to indemnification agreements. See, e.g., Acuna v.

                     Brown & Root, Inc., 200 F.3d 335, 339 (5th Cir. 2000) (“[O]ne purpose behind

                     the 1988 amendments was to expand the scope of federal jurisdiction beyond

                     actions arising from ‘extraordinary nuclear occurrences’ only.”); Estate of Ware v.

                     Hosp. of the Univ. of Pa., 73 F. Supp. 3d 519, 530–31 (E.D. Pa. 2014) (adopting

                     analysis of courts “which have concluded that possession of…an indemnification

                     agreement is unrelated to establishing jurisdiction under PAA”); Cotromano v.

                     United Techs. Corp., 7 F. Supp. 3d 1253, 1259 (S.D. Fla. 2014) (“Whether or not

                     Defendants have indemnification agreements with the federal government is not

                     dispositive of the applicability of Price-Anderson”); Carey v. Kerr-McGee Chem.

                     Corp., 60 F. Supp. 2d 800, 806 (N.D. Ill. 1999) (“there can be an [extraordinary

                     nuclear occurrence] to which no indemnity agreement applies.”).

             15.     Republic denies the allegations of paragraph 15 of Plaintiffs’ Second Amended

  Complaint. The statement quoted from Defendants Rock Road and Bridgeton’s Memorandum in

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      Source Material License No. SUB-1022 is attached as Exhibit 1.


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  Support of Motion to Dismiss (the “Memorandum”) in Adams v. MI Holdings, Inc. (Eastern

  District of Missouri Case No. 4:12-cv-00641) (Doc. No. 15), are taken out of context and are

  distinguishable. The Adams Complaint incorrectly alleged Rock Road Industries, Inc. and

  Bridgeton Landfill, LLC “or their predecessors and/or agents have at all relevant times held such

  federal [Nuclear Regulatory Commission] licenses.” Eastern District of Missouri Case No. 4:12-

  cv-00641, Doc. No. 1 ¶ 65. A PAA claim was alleged based upon the possession of these

  licenses and activities in which Defendants Rock Road and Bridgeton were never involved. In

  their Memorandum in Support of Motion to Dismiss (E.D. Mo. Doc. No. 15), then-existing Rock

  Road and Bridgeton refuted the specific allegations appearing in the Adams Complaint and the

  purported effect of those allegations. The Defendants did not make a general statement of PAA

  applicability.

          16.      Republic denies the allegations of paragraph16 of Plaintiffs’ Second Amended

  Complaint. Despite Plaintiffs’ attempt to frame their claims in strictly state law terms, Plaintiffs’

  Second Amended Complaint asserts a nuclear incident because they cite an alleged occurrence

  that caused bodily injury, disease, damage to property, or loss of use of property, within the

  United States, arising or resulting from the radioactive properties of material deposited at the

  West Lake Landfill. Because the factual allegations underlying Plaintiffs’ purported injuries all

  relate to the Defendants’ conduct in connection with nuclear and radioactive materials, Plaintiffs’

  claims arise out of an alleged nuclear incident and, pursuant to the PAA, a public liability action

  is the only remedy available for Plaintiffs’ alleged injuries. McClurg, 933 F. Supp. 2d at 1186.

          17.      Republic denies the allegations of paragraph 17 of Plaintiffs’ Second Amended

  Complaint. A small number of courts in the Eastern District of Missouri have determined that

  the Price Anderson Act does not apply to the wastes at issue here. See, e.g., Strong v. Republic




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  Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017); Banks v. Cotter Corp., No. 4:18-CV-00624

  JAR, 2019 WL 1426259, at *6 (E.D. Mo. Mar. 29, 2019). Defendants respectfully challenge

  these decisions and assert that other federal courts have correctly interpreted the plain language

  of the Act, as well as the Congressional intent behind the 1988 amendments, to hold that neither

  a license nor an indemnity agreement is required for federal subject matter jurisdiction under the

  PAA.2 Even the decisions on which Plaintiffs rely have noted there is case law on both sides of

  the argument and chosen to apply a presumption in favor of remand.

           18.      Republic denies the allegations of paragraph 18 of Plaintiffs’ Second Amended

  Complaint. The waste at issue is leached barium sulfate residue, a product of uranium

  processing by Mallinckrodt Chemical Company as part of its work for the United States Army

  related to the Manhattan Project. The leached barium sulfate residue, which is estimated to have

  contained approximately seven tons of uranium, was mixed with topsoil and then brought to the

  West Lake Landfill. Because the waste at issue contained uranium it meets the PAA definition

  of “source material.”3

           19.      Republic denies the allegations of paragraph 19 of Plaintiffs’ Second Amended

  Complaint. The “mill tailings” that Plaintiffs reference throughout the Second Amended

  Complaint are leached barium sulfate residues, which meet the definition of “source material”

  under the Price Anderson Act.

           20.      Republic denies the allegations of paragraph 20 of Plaintiffs’ Second Amended

  Complaint. Cotter’s disposal of the leached barium sulfate residues was undertaken pursuant to


  2
    In particular, Defendants note that the decisions on which Plaintiffs rely are based largely on a Magistrate Judge’s
  twenty-one-year-old ruling that has been overturned in its own Circuit, Gilberg v. Stepan Co., 24 F. Supp. 325
  (D.N.J. 1998). Gilberg mistakenly limited the PAA definitions by ignoring the sweeping 1988 amendments to the
  Act after Three Mile Island and held an indemnification agreement was a jurisdictional requirement. This case has
  been widely criticized in other circuits in more recent decisions.
  3
    The PAA defines “source material” as “(1) uranium, thorium, . . .; or (2) ores containing one or more of the
  foregoing materials[.]” 42 U.S.C.A. § 2014(z).


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  an appropriate federal license. Cotter’s source material license, issued by the Atomic Energy

  Commission, authorized it to possess an unlimited amount of uranium from December 3, 1969 to

  December 31, 1974. Further, when seeking to terminate its license, Cotter certified that the

  licensed material was lawfully disposed. In reliance on that representation, the AEC terminated

  Cotter’s license. Thus, Defendants are alleged to have received the waste material directly from

  Cotter, a licensed entity, pursuant to the terms of its licensure.

         21.     Republic denies the allegations of paragraph 21 of Plaintiffs’ Second Amended

  Complaint including the allegation that “mill tailings” are at issue. As noted above, the leached

  barium sulfate residues Cotter disposed at West Lake Landfill are subject to the Price Anderson

  Act.

                                          II. THE PARTIES

                                                Plaintiffs

         22.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 22 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         23.     Republic denies the allegations contained in paragraph 23 of Plaintiffs’ Second

  Amended Complaint.

                                               Defendants

         24.     Republic admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

  Landfill. Republic denies that that Rock Road Industries, Inc. still exists. Republic denies each

  and every other allegation of Paragraph 24 not specifically admitted.

         25.     Republic denies Bridgeton Landfill, LLC was formerly “Laidlaw Waste

  Systems.” Republic admits Bridgeton Landfill, LLC is a Delaware Limited Liability Company



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  with its principle place of business in Arizona. Republic denies the remaining allegations

  contained in paragraph 25 of Plaintiffs’ Second Amended Complaint, including all subparts

  thereof.

         26.     Republic admits that Rock Road Industries, Inc. was a Missouri corporation and

  owns or owned the West Lake Landfill. Republic denies the remaining allegations contained in

  paragraph 26 of Plaintiffs’ Second Amended Complaint, including all subparts thereof.

         27.     Republic admits that it is a Delaware corporation with its principal place of

  business in Arizona. Republic acknowledges that it is one of the larger providers of services in

  the solid waste industry and that it focuses on being a progressive contributor in the industry on

  both environmental and sustainability issues. Republic denies the remaining allegations

  contained in paragraph 27 of Plaintiffs’ Second Amended Complaint, including all subparts

  thereof.

         28.     Republic admits that Allied Services, LLC is a Delaware limited liability

  company. Republic denies the remaining allegations contained in paragraph 28 of Plaintiffs’

  Second Amended Complaint, including all subparts thereof.

         29.     Republic is without information or knowledge sufficient to form a belief as to the

  truth and falsity of the allegations contained in paragraph 29 of Plaintiffs’ Second Amended

  Complaint and therefore, denies the same.

                                              III. FACTS

         30.     Republic denies the allegations contained in paragraph 30 of Plaintiffs’ Second

  Amended Complaint.

         31.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 31 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.


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         32.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 32 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         33.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 33 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         34.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 34 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         35.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 35 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         36.      Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 36 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         37.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 37 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.

         38.     Republic denies the allegations contained in paragraph 38 of Plaintiffs’ Second

  Amended Complaint.

         39.     Republic is without information or knowledge sufficient to form a belief as to the

  truth or falsity of the allegations contained in paragraph 39 of Plaintiffs’ Second Amended

  Complaint and, therefore, denies the same.




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        40.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 40 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        41.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 41 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        42.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 42 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        43.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 43 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        44.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 44 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        45.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 45 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        46.     Answering Paragraph 46 Republic admits that Cotter, without authority from or

 knowledge on the part of Republic, caused leached barium sulfate residue to be trucked to the

 Westlake Landfill in 1973. Defendant Republic denies each and every allegation not specifically

 admitted.




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        47.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 47 of Plaintiffs’ Second Amended

 Complaint.

        48.     Republic denies the allegations contained in paragraph 48 of Plaintiffs’ Second

 Amended Complaint.

        49.     Republic denies the allegations contained in paragraph 49 of Plaintiffs’ Second

 Amended Complaint.

        50.     Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 50 of Plaintiffs’ Second Amended

 Complaint.

        51.     Republic denies the allegations contained in paragraph 51 of Plaintiffs’ Second

 Amended Complaint.

        52.     Republic denies the allegations contained in paragraph 52 of Plaintiffs’ Second

 Amended Complaint.

        53.     Republic denies the allegations contained in paragraph 53 of Plaintiffs’ Second

 Amended Complaint.

        54.     Republic denies the allegations contained in paragraph 54 of Plaintiffs’ Second

 Amended Complaint.

        55.     Republic denies the allegations contained in paragraph 55 of Plaintiffs’ Second

 Amended Complaint.

        56.     Republic denies the allegations contained in paragraph 56 of Plaintiffs’ Second

 Amended Complaint.




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        57.     Republic denies the allegations contained in paragraph 57 of Plaintiffs’ Second

 Amended Complaint.

        58.     Republic denies the allegations contained in paragraph 58 of Plaintiffs’ Second

 Amended Complaint.

        59.     Republic moves to strike the allegations of Paragraph 59 because they are not

 necessary, according to Plaintiffs for their claims. Answering Paragraph 59 Republic admits

 upon information and belief that Cotter did not obtain a transportation license to transport

 radioactive mill tailings to the West Lake Landfill. Republic denies that the Leached Barium

 Sulfate Residue (“LBSR”) is mill tailings. Republic denies that the LBSR is not source material.

 Republic denies that the LBSR was not subject to Cotter’s license. Republic denies each and

 every other allegation of paragraph 59 not specifically admitted.

        60.     Republic denies the allegations contained in paragraph 60 of Plaintiffs’ Second

 Amended Complaint.

        61.     Republic denies the allegations contained in paragraph 61 of Plaintiffs’ Second

 Amended Complaint.

        62.     Republic denies the allegations contained in paragraph 62 of Plaintiffs’ Second

 Amended Complaint.

        63.     Republic denies the allegations contained in paragraph 63 of Plaintiffs’ Second

 Amended Complaint.

        64.     Republic denies the allegations contained in paragraph 64 of Plaintiffs’ Second

 Amended Complaint.

        65.     Republic denies the allegations contained in paragraph 65 of Plaintiffs’ Second

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        66.    Republic denies the allegations contained in paragraph 66 of Plaintiffs’ Second

 Amended Complaint.

        67.    Republic denies the allegations contained in paragraph 67 of Plaintiffs’ Second

 Amended Complaint.

        68.    Republic denies the allegations contained in paragraph 68 of Plaintiffs’ Second

 Amended Complaint.

        69.    Republic denies the allegations contained in paragraph 69 of Plaintiffs’ Second

 Amended Complaint.

        70.    Republic denies the allegations contained in paragraph 70 of Plaintiffs’ Second

 Amended Complaint.

        71.    Republic denies the allegations contained in paragraph 71 of Plaintiffs’ Second

 Amended Complaint.

        72.    Republic denies the allegations contained in paragraph 72 of Plaintiffs’ Second

 Amended Complaint.

        73.    Republic denies the allegations contained in paragraph 73 of Plaintiffs’ Second

 Amended Complaint.

        74.    Republic denies the allegations contained in paragraph 74 of Plaintiffs’ Second

 Amended Complaint.

        75.    Republic denies the allegations contained in paragraph 75 of Plaintiffs’ Second

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        76.    Republic denies the allegations contained in paragraph 76 of Plaintiffs’ Second

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        77.    Republic denies the allegations contained in paragraph 77 of Plaintiffs’ Second

 Amended Complaint.

        78.    Republic denies the allegations contained in paragraph 78 of Plaintiffs’ Second

 Amended Complaint.

        79.    Republic denies the allegations contained in paragraph 79 of Plaintiffs’ Second

 Amended Complaint.

        80.    Republic denies the allegations contained in paragraph 80 of Plaintiffs’ Second

 Amended Complaint.

        81.    Republic denies the allegations contained in paragraph 81 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        82.    Republic denies the allegations contained in paragraph 82 of Plaintiffs’ Second

 Amended Complaint.

        83.    Republic denies the allegations contained in paragraph 83 of Plaintiffs’ Second

 Amended Complaint.

        84.    Republic denies the allegations contained in paragraph 84 of Plaintiffs’ Second

 Amended Complaint.

        85.    Republic denies the allegations contained in paragraph 85 of Plaintiffs’ Second

 Amended Complaint.

        86.    Republic denies the allegations contained in paragraph 86 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        87.    Republic denies the allegations contained in paragraph 87 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.




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        88.    Republic denies the allegations contained in paragraph 88 of Plaintiffs’ Second

 Amended Complaint.

        89.    Republic denies the allegations contained in paragraph 89 of Plaintiffs’ Second

 Amended Complaint, including all subparts thereof.

        90.    Republic denies the allegations contained in paragraph 90 of Plaintiffs’ Second

 Amended Complaint.

        91.    Republic denies the allegations contained in paragraph 91 of Plaintiffs’ Second

 Amended Complaint.

        92.    Republic denies the allegations contained in paragraph 92 of Plaintiffs’ Second

 Amended Complaint.

        93.    Republic denies the allegations contained in paragraph 93 of Plaintiffs’ Second

 Amended Complaint.

        94.    Republic denies the allegations contained in paragraph 94 of Plaintiffs’ Second

 Amended Complaint.

        95.    Republic denies the allegations contained in paragraph 95 of Plaintiffs’ Second

 Amended Complaint.

        96.    Republic denies the allegations contained in paragraph 96 of Plaintiffs’ Second

 Amended Complaint.

        97.    Republic denies the allegations contained in paragraph 97 of Plaintiffs’ Second

 Amended Complaint.

        98.    Republic denies the allegations contained in paragraph 98 of Plaintiffs’ Second

 Amended Complaint.




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        99.     Republic denies the allegations contained in paragraph 99 of Plaintiffs’ Second

 Amended Complaint.

                                     COUNT I – TRESPASS

        100.    In response to paragraph 100 of Count I of Plaintiffs’ Second Amended

 Complaint, Republic incorporates by reference its answers and responses to each and every

 allegation contained in paragraphs 1 through 99 of the Second Amended Complaint.

        101.    Republic is without knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 101 and therefore denies the allegations

 contained in paragraph 101 of Count I of Plaintiffs’ Second Amended Complaint.

        102.    Republic admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Republic denies that Rock Road Industries, Inc. currently exists. Republic denies

 every allegation not specifically admitted contained in paragraph 102 of Count I of Plaintiffs’

 Second Amended Complaint.

        103.    Republic denies the allegations contained in paragraph 103 of Count I of

 Plaintiffs’ Second Amended Complaint.

        104.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 104 of Count I of Plaintiffs’ Second

 Amended Complaint, and, therefore, denies the same.

        105.    Republic denies the allegations contained in paragraph 105 of Count I of

 Plaintiffs’ Second Amended Complaint.

        106.    Republic denies the allegations contained in paragraph 106 of Count I of

 Plaintiffs’ Second Amended Complaint.




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        107.    Republic denies the allegations contained in paragraph 107 of Count I of

 Plaintiffs’ Second Amended Complaint.

        108.    Republic denies the allegations contained in paragraph 108 of Count I of

 Plaintiffs’ Second Amended Complaint.

        109.    Republic denies the allegations contained in paragraph 109 of Count I of

 Plaintiffs’ Second Amended Complaint.

        110.    Republic denies the allegations contained in paragraph 110 of Count I of

 Plaintiffs’ Second Amended Complaint.

        111.    Republic denies the allegations contained in paragraph 111 of Count I of

 Plaintiffs’ Second Amended Complaint.

        112.    Republic denies the allegations contained in paragraph 112 of Count I of

 Plaintiffs’ Second Amended Complaint.

                            COUNT II – PERMANENT NUISANCE

        113.    In response to paragraph 113 of Count II of Plaintiffs’ Second Amended

 Complaint, Republic incorporates by reference its answers and responses to each and every

 allegation contained in paragraphs 1 through 99 of the “FACTS” section, and 100 through 112 of

 Count I of Plaintiffs’ Second Amended Complaint.

        114.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 114 of Count II of Plaintiffs’ Second

 Amended Complaint and, therefore, denies the same.

        115.    Republic admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill, and Rock Road Industries, Inc. owned and operated the West Lake Landfill. Republic




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 denies the remaining allegations contained in paragraph 115 of Count II of Plaintiffs’ Second

 Amended Complaint.

        116.   Republic denies the allegations contained in paragraph 116 of Count II of

 Plaintiffs’ Second Amended Complaint.

        117.   Republic denies the allegations contained in paragraph 117 of Count II of

 Plaintiffs’ Second Amended Complaint.

        118.   Republic denies the allegations contained in paragraph 118 of Count II of

 Plaintiffs’ Second Amended Complaint.

        119.   Paragraph 119 of Count II of Plaintiffs’ Second Amended Complaint states legal

 conclusions and, therefore, requires no response from Republic. IF and to the extent a response

 is deemed to be required by the Court, Republic denies the allegations contained in paragraph

 119 of Count II of Plaintiffs’ Second Amended Complaint.

        120.   Republic denies the allegations contained in paragraph 120 of Count II of

 Plaintiffs’ Second Amended Complaint.

        121.   Republic denies the allegations contained in paragraph 121 of Count II of

 Plaintiffs’ Second Amended Complaint.

        122.   Republic denies the allegations contained in paragraph 122 of Count II of

 Plaintiffs’ Second Amended Complaint.

        123.   Republic denies the allegations contained in paragraph 123 of Count II of

 Plaintiffs’ Second Amended Complaint.

        124.   Republic denies the allegations contained in paragraph 124 of Count II of

 Plaintiffs’ Second Amended Complaint.




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                           COUNT III – TEMPORARY NUISANCE

        125.    In response to paragraph 125 of Plaintiffs’ Second Amended Complaint, Republic

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99of the “FACTS” section, 100 through 112 of Count I, and 113 through

 124 of Count II of Plaintiffs’ Second Amended Complaint.

        126.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 126 of Plaintiffs’ Second Amended

 Complaint and, therefore, denies the same.

        127.    Republic admits that Bridgeton Landfill, LLC owns and operates the Bridgeton

 Landfill. Republic denies that Rock Road Industries, Inc. exists. Republic denies each and

 every allegation in paragraph 127 of Plaintiffs’ Second Amended Complaint not specifically

 admitted.

        128.    Republic denies the allegations contained in paragraph 128 of Plaintiffs’ Second

 Amended Complaint.

        129.    Republic denies the allegations contained in paragraph 129 of Plaintiffs’ Second

 Amended Complaint.

        130.    Republic denies the allegations contained in paragraph 130 of Plaintiffs’ Second

 Amended Complaint.

        131.    Republic denies the allegations contained in paragraph 131 of Plaintiffs’ Second

 Amended Complaint.

        132.    Republic denies the allegations contained in paragraph 132 of Plaintiffs’ Second

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        133.    Republic denies the allegations contained in paragraph 133 of Plaintiffs’ Second

 Amended Complaint.

        134.    Republic denies the allegations contained in paragraph 134 of Plaintiffs’ Second

 Amended Complaint.

                                 COUNT IV – NEGLIGENCE

        135.    In response to paragraph 135 of Plaintiffs’ Second Amended Complaint, Republic

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III of Plaintiffs’ Second Amended Complaint.

        136.    Republic denies the allegations contained in paragraph 136 of Plaintiffs’ Second

 Amended Complaint.

        137.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 137 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        138.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 138 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        139.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 139 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        140.    Republic denies the allegations contained in paragraph 140 of Plaintiffs’ Second

 Amended Complaint.




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        141.   Republic denies the allegations contained in paragraph 141 of Plaintiffs’ Second

 Amended Complaint.

        142.   Republic denies the allegations contained in paragraph 142 of Plaintiffs’ Second

 Amended Complaint.

        143.   Republic denies the allegations contained in paragraph 143 of Plaintiffs’ Second

 Amended Complaint.

        144.   Republic denies the allegations contained in paragraph 144 of Plaintiffs’ Second

 Amended Complaint.

        145.   Republic denies the allegations contained in paragraph 145 of Plaintiffs’ Second

 Amended Complaint.

        146.   Republic denies the allegations contained in paragraph 146 of Plaintiffs’ Second

 Amended Complaint.

        147.   Republic denies the allegations contained in paragraph 147 of Plaintiffs’ Second

 Amended Complaint.

        148.   Republic denies the allegations contained in paragraph 148 of Plaintiffs’ Second

 Amended Complaint.

        149.   Republic denies the allegations contained in paragraph 149 of Plaintiffs’ Second

 Amended Complaint.

        150.   Republic denies the allegations contained in paragraph 150 of Plaintiffs’ Second

 Amended Complaint.

        151.   Republic denies the allegations contained in paragraph 151 of Plaintiffs’ Second

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        152.    Republic denies the allegations contained in paragraph 152 of Plaintiffs’ Second

 Amended Complaint.

                              COUNT V – NEGLIGENCE PER SE

        153.    In response to paragraph 153 of Plaintiffs’ Second Amended Complaint, Republic

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III and 135 through 152 of Count IV of Plaintiffs’

 Second Amended Complaint.

        154.    Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in Paragraph 154 of Count IV of Plaintiffs’ Second

 Amended Complaint and, therefore, denies the same.

        155. Republic denies the allegations contained in paragraph 155 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        156. Republic denies the allegations contained in paragraph 156 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        157. Republic is without information or knowledge sufficient to form a belief as to the

 truth or falsity of the allegations contained in paragraph 157 of Plaintiffs’ Second Amended

 Complaint, and, therefore, denies the same.

        158.    Paragraph 158 of Count IV of Plaintiffs’ Second Amended Complaint states legal

 conclusions and, therefore, requires no response from Republic. If and to the extent a response is

 deemed to be required by the Court, Republic denies the allegations contained in paragraph 158

 of Count IV of Plaintiffs’ Second Amended Complaint.




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        159. Republic denies the allegations contained in paragraph 159 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        160. Republic denies the allegations contained in paragraph 160 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        161. Republic denies the allegations contained in paragraph 161 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        162. Republic denies the allegations contained in paragraph 162 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        163. Republic denies the allegations contained in paragraph 163 of Count IV of

 Plaintiffs’ Second Amended Complaint.

        164. Republic denies the allegations contained in paragraph 164 of Count IV of

 Plaintiffs’ Second Amended Complaint.

                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY

        165.   In response to paragraph 165 of Plaintiffs’ Second Amended Complaint, Republic

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV and 153 through

 164 of Count V of Plaintiffs’ Second Amended Complaint.

        166. Republic denies the allegations contained in paragraph 166 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        167. Republic denies the allegations contained in paragraph 167 of Count VI of

 Plaintiffs’ Second Amended Complaint.




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        168. Republic denies the allegations contained in paragraph 168 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        169. Republic denies the allegations contained in paragraph 169 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        170. Republic denies the allegations contained in paragraph 170 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        171. Republic denies the allegations contained in paragraph 171 of Count VI of

 Plaintiffs’ Second Amended Complaint.

        172. Republic denies the allegations contained in paragraph 172 of Count VI of

 Plaintiffs’ Second Amended Complaint.

                             COUNT VII – INJUNCTIVE RELIEF

        173.   In response to paragraph 173 of Plaintiffs’ Second Amended Complaint, Republic

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV, 153 through 164 of

 Count V and 165 through 172 of Count VI of Plaintiffs’ Second Amended Complaint.

        174. Republic denies the allegations contained in paragraph 174 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        175. Republic denies the allegations contained in paragraph 175 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        176. Republic denies the allegations contained in paragraph 176 of Count VII of

 Plaintiffs’ Second Amended Complaint.




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        177. Republic denies the allegations contained in paragraph 177 of Count VII of

 Plaintiffs’ Second Amended Complaint.

        178. Republic denies the allegations contained in paragraph 178 of Count VII of

 Plaintiffs’ Second Amended Complaint. Further answering paragraph 178 of Plaintiffs’ Second

 Amended Complaint Republic states that the injunctive relief sought by Plaintiffs is an

 independent basis for federal question jurisdiction.

        179. Republic denies the allegations contained in paragraph 179 of Count VII of

 Plaintiffs’ Second Amended Complaint. Further answering paragraph 179 of Plaintiffs’ Second

 Amended Complaint Republic states that the injunctive relief sought by Plaintiffs is an

 independent basis for federal question jurisdiction.

        180. Republic denies the allegations contained in paragraph 180 of Count VII of

 Plaintiffs’ Second Amended Complaint. Further answering paragraph 178 of Plaintiffs’ Second

 Amended Complaint Republic states that the injunctive relief sought by Plaintiffs is an

 independent basis for federal question jurisdiction.

                             COUNT XIII – PUNITIVE DAMAGES

        181.    In response to paragraph 181 of Plaintiffs’ Second Amended Complaint, Republic

 incorporates by reference its answers and responses to each and every allegation contained in

 paragraphs 1 through 99 of the “FACTS” section, 100 through 112 of Count I, 113 through 124

 of Count II, and 125 through 134 of Count III, 135 through 152 of Count IV, 153 through 164 of

 Count V, 165 through 172 of Count VI and 173 through 188 of Count VII of Plaintiffs’ Second

 Amended Complaint.

        182. Republic denies the allegations contained in paragraph 182 of Count XIII of

 Plaintiffs’ Second Amended Complaint.




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        183. Republic denies the allegations contained in paragraph 183 of Count XIII of

 Plaintiffs’ Second Amended Complaint.

        184. Republic denies the allegations contained in paragraph 184 of Count XIII of

 Plaintiffs’ Second Amended Complaint.

        185.    Republic denies that Plaintiffs are entitled to relief request in the

 “WHEREFORE” paragraph, including all subparts therefore, which immediately follows

 paragraph 184 of Plaintiffs’ Second Amended Complaint.

        186.    Republic denies each and every allegation contained in Plaintiffs’ Second

 Amended Complaint not specifically admitted.

                       AFFIRMATIVE AND/OR FURTHER DEFENSES

        Republic asserts that Plaintiffs’ claims are barred, in whole or in part, by the defenses set

 forth below. By setting forth these defenses, Republic does not assume the burden of proving any

 fact, issue, or element of a cause of action where such burden properly belongs to Plaintiffs.

 Moreover, nothing herein stated is intended or shall be construed as an acknowledgement that

 any particular issue or subject matter is relevant to Plaintiffs’ allegations. Republic reserves the

 right to plead any affirmative defense asserted by any co-defendant(s) or any and all affirmative

 defenses that may become evident or appreciated after investigation and discovery in this matter.

        1.      Plaintiffs have failed to state a claim against Republic upon which relief can be

 granted.

        2.      Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

 limitations, including but not limited to Mo. Rev. Stat. 516.120 and any limitations period which

 applies to actions under the Price-Anderson Act.




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           3.   Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

 repose.

           4.   If Plaintiffs have been damaged, which is not hereby admitted, such damages

 were caused by unforeseeable, independent, intervening, and/or superseding events for which

 Republic is not legally responsible.

           5.   Pleading in the alternative, if Plaintiffs have suffered any injury or damage, which

 is not hereby admitted, such injury or damage may have been caused or contributed to by the

 negligence or fault of persons or entities over whom this Defendant had no control, and such

 injuries or damages were not caused or contributed to by the negligence or fault of this

 Defendant or any of its agents, servants or employees.

           6.   Pleading in the alternative, if Plaintiffs suffered any injury or damage, which is

 not hereby admitted, the negligence or fault of the parties to this case should be compared by the

 trier-of-fact; further, any negligence or fault apportioned to Plaintiffs should act to bar any

 recovery or reduce any recovery in direct proportion to any such assessment of fault, all in

 accordance with the laws of the State of Missouri.

           7.   Pleading in the alternative, if Plaintiffs have suffered any injury or damage, which

 is not admitted, this Defendant requests that the negligence alleged by Plaintiffs against others

 including other Defendants, though not hereby admitted, be compared to the negligence or fault

 of this Defendant, to the extent that any such negligence is found to have caused or contributed

 to cause any injuries or damages alleged by Plaintiffs, and recovery against this Defendant

 should be reduced in direct proportion to such assessment of fault.




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        8.      If Plaintiffs have been damaged, the negligence or fault of persons or entities, for

 whose conduct Republic is not legally responsible, must be compared, reducing or completely

 barring Plaintiffs’ alleged right to recover against Republic.

        9.      If Plaintiffs have been damaged, the damages were caused by operation of nature,

 idiosyncratic reaction(s), pre-existing condition(s), and/or subsequent injury over which

 Republic had no control.

        10.     If Plaintiffs have been damaged, which is not admitted, any recovery is barred to

 the extent each Plaintiff voluntarily exposed himself or herself to a known risk. Any recovery

 should not include alleged damages that Plaintiffs could have avoided by reasonable care and

 diligence.

        11.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of assumption of

 the risk, by Plaintiffs’ failure to mitigate damages, and/or by Plaintiffs’ own conduct.

        12.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of consent,

 whether it be by Plaintiffs or other third parties who later approved the landfill’s activities.

        13.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of waiver and/or

 the doctrine of estoppel.

        14.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

        15.     Plaintiffs’ Second Amended Complaint and each purported cause of action therein

 are barred, in whole or in part, by the doctrine of unclean hands.

        16.     Plaintiffs failed to exhaust their administrative remedies.

        17.     Plaintiffs’ claims are barred, in whole or in part, because they at all times had

 actual and/or constructive knowledge of the circumstances upon which the Complaint is based,

 and the Plaintiffs accepted those circumstances.




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            18.   Plaintiffs’ claims are barred, in whole or in part, because at all times and places

 mentioned in the Complaint, Republic complied with the state of the art, and therefore, Plaintiffs

 are not entitled to recover from Republic as a matter of law.

            19.   Plaintiffs’ claims are barred, in whole or in part, because the potential for injuries

 or damages alleged in the Complaint were not known to Republic, nor did Republic have reason

 to know of the risk of said harm.

            20.   Republic has completely satisfied all legal duties, if any, with regard to the

 Plaintiffs and thus is released from liability.

            21.   Plaintiffs’ claims are barred, in whole or in part, by the doctrine of ratification.

            22.   Plaintiffs failed to join St. Louis Lambert Airport as a necessary or indispensable

 party to the extent the injunctive relief sought by Plaintiffs affects the airport’s negative

 easement at Bridgeton Landfill.

            23.   Plaintiffs failed to join the U.S. Environmental Protection Agency, the

 Department of Energy or other successor entities to the Atomic Energy Commission, and other

 federal agencies, which are indispensable parties for the claims made in this Complaint.

            24.   Plaintiffs’ request for injunctive relief is preempted as it attempts to shape and

 therefore challenge the remedy already underway under the Comprehensive Environmental

 Response, Compensation and Liability Act, 42 U.S.C. § 9604, and violates the timing of review

 provisions thereunder, 42 U.S.C. § 9613(h).

            25.   Plaintiffs’ claims should be dismissed for their failure to join indispensable

 parties.

            26.   The federal government, through federal statutes, has preempted the field of law

 applicable to the claims at issue. The activities referred to in the Complaint were and are




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 controlled by federal law, which governs the nuclear industry at all times. Plaintiffs’ claims are

 thus preempted in whole or in part such that they fail to state a cause of action upon which relief

 can be granted.

         27.    Republic asserts any and all defenses, claims, credits, offsets, or remedies

 provided by the Price Anderson Act, 42 U.S.C. 2210, as amended, and reserves the right to

 amend its Answer to file such further pleadings as are necessary to preserve and assert such

 defenses, claims, credits, offsets, or remedies.

         28.    Republic has at all times acted in conformance with applicable guidelines or

 regulations that establish the standard of care and has otherwise acted with due care and the

 caution of a reasonably prudent entity.

         29.    Republic acted reasonably, in good faith, and with the skill, prudence, and

 diligence exercised by a reasonably prudent actor at all times relevant to this action.

         30.    Republic conducted all actions in accordance with industry standards, government

 requirements, and the prevailing state of the art and technology in the industry at the time of the

 alleged act.

         31.    Plaintiffs’ claims are barred, in whole or in part, because the injuries and damages

 alleged were not known to Republic, nor did Republic have reason to know of the alleged risk of

 harm.

         32.    Any allegedly wrongful acts or omissions of Republic, if and to the extent such

 acts or omissions occurred, were legally excused or justified.

         33.    Plaintiffs’ claims are barred, in whole or in part, because Republic did not breach

 any duty to Plaintiffs.




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         34.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs were not

 exposed to any substance allegedly caused by Republic’s acts sufficient to establish by a

 reasonable degree of probability that any such exposure caused any alleged injury, damage or

 loss.

         35.    Plaintiffs’ claims are barred, in whole or in part, because the damages Plaintiffs

 seek are too remote, indirect, and/or speculative.

         36.    The Complaint and each purported cause of action therein are barred, in whole or

 in part, because the operations at issue were in existence and ongoing prior to the Plaintiffs

 purchasing and/or moving to their residence.

         37.    The Complaint and each purported cause of action therein are barred because the

 utility of the conduct of which Plaintiffs complain outweighs any alleged harm to Plaintiffs.

         38.    Plaintiffs’ claims are barred to the extent they rely on the retroactive application

 of statutes, rules, regulations or common-law standards of conduct, or otherwise seek to impose

 liability retroactively for conduct that was not actionable at the time it occurred, which violates

 the Constitutions of the United States and the State of Missouri.

         39.    To the extent Plaintiffs’ claims are based upon any theory providing for liability

 without proof of causation, they violate Republic’s rights under the United States Constitution

 and/or the Constitution of the State of Missouri, and the Constitution of any other state law that

 may be found to apply.

         40.    The punitive damages sought by Plaintiffs are not recoverable under the causes of

 action set forth in Plaintiffs’ Second Amended Complaint and Plaintiffs’ allegations are legally

 insufficient to support a claim for punitive damages.




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        41.     Republic denies that Plaintiffs are entitled to recover punitive damages in this

 case because Republic’s conduct demonstrated reasonable care. Intent to injure, actual or

 constructive, is completely absent in this case. Republic did not act with actual malice, and no

 act or omission of Republic was done with reckless indifference or reckless disregard toward the

 rights or safety of others, and therefore any award of punitive damages is barred.

        42.     Republic denies all allegations of wrongdoing and damages as alleged in the

 Complaint, but if in fact Plaintiffs did sustain damages, Plaintiffs’ damages do not include

 punitive damages.

        43.     Any assessment of punitive damages violates Republic’s constitutional rights

 under the Fifth, Sixth, Eighth, and Fourteenth Amendments of the United States Constitution, the

 Missouri Constitution Article 1, Sections 18A, 19, 21, and 22A, and any other applicable State

 Constitution in one or more of the following respects:

                a)      The guidelines, standards, and/or instructions for assessing punitive

 damages are vague, indefinite, and/or uncertain, supply no notice of the potential repercussions

 of any alleged conduct, set no limit on the damages that can be awarded, fail to require proof of

 every element beyond a reasonable doubt, are subject to the unbridled discretion of the jury, and

 do not allow adequate judicial review, thereby denying due process;

                b)      The assessment of punitive damages is criminal or penal in nature and,

 therefore, the rights given defendants in criminal proceedings are applicable;

                c)      The assessment of punitive damages amounts to the imposition of an

 excessive fine and/or cruel and unusual punishment;

                d)      The assessment of punitive damages exposes Republic to multiple

 punishments and fines for the same act;




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                e)      The assessment of punitive damages constitutes double jeopardy;

                f)      The assessment of punitive damages discriminates in that corporate status,

 wealth, or net worth may be considered by the jury in determining the amounts of any such

 damage awards and different amounts can be awarded against different defendants for the same

 act depending solely on the status or material wealth of the various defendants, thereby denying

 equal protection under the law;

                g)      The assessment of punitive damages does not provide an adequate

 procedure for the determination of punitive damages in violation of the equal protection and

 substantive and procedural due process requirements of the United States Constitution and

 applicable State Constitutions in violation of the United States Supreme Court’s decision in

 Pacific Mutual Ins. Co. v. Haslip;

                h)      The assessment of punitive damages constitutes an impermissible burden

 on interstate commerce; and

                i)      The assessment of punitive damages constitutes a violation of due process

 and other constitutional rights of Republic as set forth in the United States Supreme Court

 decisions in State Farm Mut. Auto. Ins. Co. v. Campbell, Pacific Mutual Ins. Co. v. Haslip, and

 BMW of North America, Inc. v. Gore; and the Missouri Supreme Court’s holding in Alcorn v.

 Union Pacific R.R. Co.

        44.     To the extent that any defense to punitive damages arousing out of Chapter 537 or

 other sections of the Missouri Revised Statutes accrues to the benefit of Republic, Republic

 reserves the right to assert the same should the facts warrant it.

        45.     Plaintiffs’ purported cause of action and alleged damages, if any, were not

 proximately caused by any act or omission of Republic.




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            46.   If Plaintiffs recover from Republic, Republic is entitled to contribution, set-off,

 and/or indemnification, either in whole or in part, from all persons or entities whose negligence

 or fault proximately caused or contributed to cause Plaintiffs’ alleged damages.

            47.   Plaintiffs’ claims are or may be barred, in whole or in part, to the extent that

 Plaintiffs have released, settled with, entered into an accord and satisfaction, or otherwise

 compromised their claims. Republic is entitled to a set-off for the entire amount of proceeds

 Plaintiffs have or may recover from other sources.

            48.   Pursuant to R.S.Mo. 537.060, if and to the extent that any other Defendant or

 party enter into a release agreement, covenant not to sue or note to enforce a judgment, or any

 other type of settlement agreement with Plaintiffs, this Defendant is entitled to have any

 judgments that may be rendered against it reduced by the stipulated amount of the agreement, or

 the amount of the consideration paid, whichever is greater.

            49.   If the property in question was exposed to any chemical or compound connected

 to this Defendant, which is specifically denied, then such exposure was inconsequential or de

 minimis, thus barring any recovery by the Plaintiffs.

            50.   This Defendant was at all times in full compliance with all applicable industry

 and regulatory standards and, therefore, had no further duty to warn.

            51.   Republic pleads all applicable limitation on Plaintiffs’ recovery of damages as to

 amount or type as may be applicable to this matter under Missouri law or other applicable law or

 statute.

            52.   Plaintiffs’ claims are barred to the extent Plaintiffs do not have standing to seek

 relief.




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          53.     Republic hereby adopts and incorporates herein any other defense asserted by any

 other Defendant in this action.

          54.     Republic reserves the right to amend its Answer as discovery progresses to plead

 additional defenses, and to assert cross-claims, counterclaims or third-party claims.

          55.     Plaintiffs claims are barred by the doctrines of collateral estoppel and res judicata.

          WHEREFORE, having fully answered Plaintiffs’ Second Amended Complaint, Republic

 Services, Inc. requests that Plaintiffs take nothing by their Complaint, that the Second Amended

 Complaint be dismissed, that Republic be awarded its costs, expenses, and attorney’s fees

 incurred in the defense of this litigation, and for such other and further relief as the Court deems

 just and proper.

                                      DEMAND FOR JURY TRIAL

          Defendants Bridgeton Landfill, LLC, Republic Services, Inc., Allied Services, LLC, and

 Rock Road Industries, Inc.4 demand a jury trial on all claims for which they are entitled to a jury

 trial.




          4
          As of April 9, 2018, Rock Road Industries, Inc. formally merged into Bridgeton Landfill, LLC, a
 Delaware Limited Liability Company.


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 Dated: November 5, 2019                      LATHROP GAGE LLP



                                              By: /s/ William G. Beck
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                                                  Clayton, Missouri 63105
                                                  Telephone:        (314) 613-2800
                                                  Telecopier:       (314) 613-2801
                                                  psilva@lathropgage.com

                                                  ATTORNEYS FOR DEFENDANTS

                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 5, 2019, I electronically filed the foregoing document
 via the Court’s CM/ECF system, which will serve notice on all counsel of record.


                                                    /s/ William G. Beck
                                                 An Attorney for Defendants




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                            EXHIBIT 1
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  I             (1.--a"                               UNITED STATES
                                                ATOMIC .ENERGY COMMISSION


                                                      SlUICE EATEIIAL UCENSE
              Pursuant to the Atomic Energy Act of 1954, and Title 10, Code of Federal Regulations, Chapter 1,
           Part 40, "Licensing of Source Materia1," and in reliance on statements and representations heretofore
           made by the licensee, a license is hereby issued authorizing the licensee to receive, possess and import
           the source material designatted below; to use much material for the purpose(s) and at tiae place(s)
           designated below; and to deliver or transfer muck material to persons authorized to receive it In
           accordance with the regulations in said Part. This license shaUl be deemed to contain thle conditions
           specified in Section 183 of the Atomic Ensrqy Act of 1954 and is subject to aUl applicable rules,
           regulation., and orders of the Atomic Energy Commisson, now or hereafter in efiect, including Title 10,
           Code of Federal Regulations, Chapter 1, Part 20, "Standards for Protection Against Radiation," and
           to any conditions specified below.
   t

                                          Licensee                                          3. License No.
                                                                                                     SUB-I1022
            1. Name          Cotter Corpoat'aion
                                                                                            4. Expiration Date
           2. Address        P. 0. Box 1000                                                          Decetber 31, 1974
                             Roswell, Ne        Mexico         88201
                                                                                            5. Docket No.
                                                                                                     40-BOSS

           6. Source Material                                          17. Maximum quantity of source material which
                  (Irunium                                                 license. may posess at any one time under
                                                                                  this license
                                                                                  Unlimited


                                                       CONDITIONS
           8. AuthariwdL use (Unless otherwise upecified, the authorized place of use is the licensee's address
              stated in Item 2 above.)
                  For use in accordance with the procedures described in the licensee's
                  ap~plication dated Decetber 16,                1969.

       9.         Authorized place of use:               Th.    licensee's facility located at 9200 Lattty
                 Avenue, Hazelvood, Missouri,




                                                                       For the U. S. ATOMIC EN•ERGY COMMISION'

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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

   MICHAEL DAILEY, et al.,                            )
                                                      )
           Plaintiffs,                                )
                                                      )
           v.                                         )           Case No. 4:17 CV 24 CDP
                                                      )
   BRIDGETON LANDFILL, LLC, et al.,                   )
                                                      )
           Defendants.                                )

                              PLAINTIFFS’ MOTION TO REMAND

          Plaintiffs, through undersigned counsel, respectfully ask this Court to remand this case to

  state court.

          Defendants removed this case claiming federal question jurisdiction under the Price-

  Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq, and the Comprehensive Environmental

  Response, Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9601, et seq. In three

  factually similar cases, this court has squarely addressed the question of whether the PAA applies

  when Defendants do not have an applicable license or indemnity agreement covering the alleged

  activities. In all three cases, this court determined that there cannot be a nuclear incident under the

  PAA without such an applicable license or indemnity agreement. It was further determined that

  Defendants do not have an applicable license or indemnity agreement and remanded each matter

  back to state court. See Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017);

  Banks v. Cotter Corp., No. 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D. Mo. Mar. 29, 2019);

  Kitchin v. Bridgeton Landfill, LLC, 389 F. Supp. 3d 600, 606 (E.D. Mo. 2019). Two of these cases,

  Strong and Kitchin, are nearly identical to this case as they involve the same landfills and the same

  radioactive wastes. Moreover, in addition to determining that the court lacked subject matter
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  jurisdiction under the PAA, the Kitchin decision determined that the court also lacked jurisdiction

  under CERCLA.

         Neither the PAA or CERCLA applies and these are state law claims, not claims based on

  a law or treaty of the United States. This Court does not have jurisdiction. Plaintiffs’ Memorandum

  in Support of this Motion is filed contemporaneously herewith and sets forth in more detail the

  reasons why this Court does not have jurisdiction.

         WHEREFORE, Plaintiffs respectfully ask this Court to remand this case to state court.



                                ORAL ARGUMENT REQUESTED

         Pursuant to Local Rule 78-4.02, Plaintiffs request oral argument on their Motion to

  Remand. Oral argument is warranted to provide the opportunity to further discuss the important

  issues presented, the parties’ position on these issues, and the cited case law. In particular, oral

  argument will afford the parties an opportunity to discuss and answer any questions the Court may

  have regarding the specific pleading deficiencies.

                                                Respectfully Submitted,

                                                /s/ Celeste Brustowicz
                                                Stuart H. Smith (LSBA 17805), Pro Hac Vice
                                                Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
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                                                ATTORNEYS FOR PLAINTIFFS,
                                                MICHAEL AND ROBBIN DAILEY
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 12, 2019, I electronically filed the foregoing document

  with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing

  to counsel of record.

                                              /s/ Celeste Brustowicz
                                              Celeste Brustowicz (LSBA 16835), Pro Hac Vice
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

  MICHAEL DAILEY, et al.,                              )
                                                       )
         Plaintiffs,                                   )
                                                       )
         v.                                            )        Case No. 4:17 CV 24 CDP
                                                       )
  BRIDGETON LANDFILL, LLC, et al.,                     )
                                                       )
         Defendants.                                   )

        MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO REMAND

   I.    INTRODUCTION

         This case belongs in state court. No federal questions are invoked or are at issue; federal

 diversity jurisdiction does not exist. Defendants attempts to create federal subject matter

 jurisdiction should be rebuffed.

         This matter was initially filed on November 15, 2016 in the 21st Judicial Circuit of the State

 of Missouri alleging state law claims related to radioactive mill-tailings wastes dumped in the West

 Lake Landfill. Defendants removed claiming federal question jurisdiction under the Price-

 Anderson Act (“PAA”) and the Comprehensive Environmental Response, Compensation, and

 Liability Act (“CERCLA”).

         Plaintiffs prior lead counsel, who has since withdrawn, filed a Motion to Remand (Doc No.

 48) but erroneously withdrew it before this court ruled. Then, both Defendants’ counsel and

 Plaintiffs’ prior lead counsel believed that the PAA applied giving this Court federal subject matter

 jurisdiction.

         On April 21, 2017, Plaintiffs’ prior lead counsel erroneously amended the state court

 Petition to assert claims under the PAA as well as state law causes of action based on the same

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 facts and circumstances alleged in the Original Petition. Defendants filed Motions to Dismiss the

 Amended Complaint on May 12, 2017. On October 27, 2017, this Court granted Defendants’

 Motions to Dismiss with respect to Plaintiffs’ state law claims and denied Defendants’ Motion to

 Dismiss with respect to Plaintiffs erroneously pled PAA claims. The Court reasoned that

 “[a]lthough the Eighth Circuit has not addressed the issue of PAA preemption of state-law claims,

 numerous other courts have found that the PAA is the sole avenue for recovery when a public

 liability action for a nuclear incident is plead”. (Doc. No. 89) (emphasis added)

        In early 2018, undersigned counsel took over as lead counsel for the Daileys and quickly

 determined that the PAA is not applicable because Defendants do not meet the jurisdictional

 prerequisites. Defendants do not have, and never had, any license or indemnity agreement covering

 the activities complained of – the unauthorized dumping and acceptance of radioactive wastes at

 a facility not designed or licensed for the disposal of such wastes. Accordingly, on March 27, 2018,

 Plaintiffs filed a motion for leave to amend to withdraw the PAA claims, reinstate state law claims

 and remand this matter to state court because the court lacks jurisdiction under the PAA.

        On April 8, 2019, this Court denied Plaintiffs motion for leave to amend to withdraw the

 PAA claims, reinstate state law claims and remand to state court. This court indicated that the

 Eighth Circuit has stated quite clearly that “granting leave to amend a complaint where the plaintiff

 has not submitted a proposed amended complaint is inappropriate.” (Doc. No. 156) (citations

 omitted). This Court further indicated that it would be “inappropriate to grant a motion to remand

 based on an unfiled complaint…On this basis, therefore, I will deny the motion to amend and to

 remand.” This Court allowed Plaintiffs until April 29, 2019 to either file a motion to dismiss the

 case without prejudice or to file a renewed motion for leave to file a Second Amended Complaint,

 accompanied by the proposed amended complaint.



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         On April 29, 2019, Plaintiffs filed a renewed motion for leave to file a Second Amended

 Complaint and attached a proposed amended complaint. This motion was granted on October 22,

 2019 at which time Plaintiffs were ordered to file a motion to remand within twenty-one days.

 Accordingly, Plaintiffs file this motion to remand.

         In three factually similar cases, this court has had the opportunity to squarely address the

 question of whether a “nuclear incident” under the PAA requires the alleged unlawful conduct to

 have arisen from NRC-licensed activities or under a DOE contract with indemnification

 agreements. In all three cases, this court determined that there cannot be a nuclear incident under

 the PAA without such an applicable license or indemnity agreement. It was further determined

 that Defendants do not have an applicable license or indemnity agreement and remanded each

 matter back to state court. See Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759 (E.D. Mo.

 2017); Banks v. Cotter Corp., No. 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D. Mo. Mar. 29,

 2019); Kitchin v. Bridgeton Landfill, LLC, 389 F. Supp. 3d 600, 606 (E.D. Mo. 2019). 1 Two of

 these cases, Strong and Kitchin, are nearly identical to this case as they involve the same landfills

 and the same radioactive wastes. Moreover, in addition to determining that the court lacked subject

 matter jurisdiction under the PAA, the Kitchin decision determined that the court also lacked

 jurisdiction under CERCLA.

  II.    LAW AND ANALYSIS

         A. Federal Question Jurisdiction

         Federal courts are courts of limited jurisdiction and “they possess only that power

 authorized by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,




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  The Kitchin matter was appealed to the Eight Circuit based on CAFA’s “local controversy” exception, which is not
 at issue here.

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 377 (1994). “It is to be presumed that a cause lies outside this limited jurisdiction, and the burden

 of establishing the contrary rests upon the party asserting jurisdiction.” Id.(citations omitted).

        The party seeking removal and opposing remand carries the heavy burden of establishing

 federal subject-matter jurisdiction by a preponderance of the evidence. Kokkonen, 511 U.S. at 377,

 114 S.Ct. 1673; In re Prempro Prods. Liab. Litig., 591 F.3d 613, 620 (8th Cir. 2010). All doubt

 must be resolved in favor of remand to state court. In re Prempro, 591 F.3d at 620. “If at any time

 before final judgment it appears that the district court lacks subject matter jurisdiction, the case

 shall be remanded.” 28 U.S.C. § 1447(c).

         The basis for federal jurisdiction exists only when a federal question is presented on the

 face of plaintiff’s properly pleaded complaint, rather than from any defenses asserted by

 Defendants. Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987). Plaintiffs are the “masters”

 of their claims and “may avoid federal jurisdiction by exclusive reliance on state law.” Id.

        B. The Price-Anderson Act Does Not Apply to Plaintiffs Claims

        As previously determined in Strong, Banks and Kitchin, there cannot be a nuclear incident

 under the PAA without an applicable license or indemnity agreement. Strong, 283 F. Supp. 3d at

 772; Banks, 2019 WL 1426259, at *6; Kitchin, 389 F. Supp. 3d at 611. As further determined by

 Strong, Banks and Kitchin, defendants do not have the requisite license or indemnification

 agreement to trigger the PAA and its exclusive federal court jurisdiction. Strong, 283 F. Supp. 3d

 at 774; Banks, 2019 WL 1426259, at *9; Kitchin, 389 F. Supp. 3d at 613. Simply put, “[n]one of

 the defendants here is an indemnitee or licensee as contemplated under the PAA, and their alleged

 conduct does not arise from NRC-licensed activity or under a DOE contract with indemnification.

 The PAA therefore does not apply to plaintiffs’ claims, and defendants have failed to meet their

 burden of establishing federal-question jurisdiction under the PAA” Id. at 613-614.



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            1. Background and Purpose of the Price-Anderson Act

        In 1954, Congress enacted the Atomic Energy Act (“AEA”) to encourage private sector

 involvement in atomic energy. The AEA provided for federal regulation and licensing of private

 construction, ownership, and operation of commercial nuclear power reactors. Pac. Gas & Elec.

 Co. v. State Energy Res. Conservation & Dev. Comm’n, 461 U.S. 190 (1983). In 1957, Congress

 amended the AEA with the PAA “which provided certain federal licensees with a system of private

 insurance, government indemnification, and limited liability for claims of ‘public liability.’” El

 Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473 (1999).

        The PAA was enacted to meet two basic objectives: 1) remove the deterrent to private

 sector participation in atomic energy presented by the threat of potentially enormous liability in

 the event of a catastrophic nuclear accident, and 2) ensure that adequate funds are available to the

 public to satisfy liability claims if such an accident were to occur. NRC, The Price–Anderson Act—

 Crossing the Bridge to the Next Century: A Report to Congress at xii (August 1, 1998). Congress

 accomplished these goals by 1) requiring that licensees provide financial protection, 2)

 indemnifying the nuclear power industry as necessary, and 3) capping total liability in the event of

 an incident. Id. While the PAA has been amended since in enactment, these amendments have not

 changed the statutory framework of the PAA, i.e. the licensing/indemnity scheme.

        In 1998, the NRC prepared a report to Congress which detailed the need for continuation

 or modification of the PAA. In Part 1 of this report, the NRC provides an overview of the PAA

 system and discussed the scope of the PAA. According to the NRC, the PAA only applies to the

 following categories of licensees: 1) licensees of nuclear power plants having a rated capacity of

 100MW(e) or more, 2) licensees authorized to operate nuclear reactors of less than 10 MW(t)

 capacity, 3) federal agencies licensed to operate nuclear reactors, 4) state-owned educational



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 institutions, 4) plutonium processing and fuel fabrication facilities, and 5) radiopharmaceutical

 licensees. Critically, subsequent to 1977, the NRC also evaluated whether it should exercise its

 discretionary authority and require financial protection for materials licensees other than those

 processing plutonium and the NRC decided that “no apparent need existed to extend Price-

 Anderson to other classes of materials licensees.” NRC, The Price–Anderson Act—

 Crossing the Bridge to the Next Century: A Report to Congress at 4-5 (August 1, 1998).

          Put simply, “[t]he scope of Price-Anderson coverage includes any nuclear incident in the

 course of transportation of nuclear fuel to a reactor site, the storage of fuel at a site, the operation

 of reactors including discharges of radioactive emissions or effluents, the storage of nuclear wastes

 at reactor sites, and the transportation of radioactive material from reactors.” NRC, The Price–

 Anderson Act—Crossing the Bridge to the Next Century: A Report to Congress at xii (August 1,

 1998).

             2. The Price-Anderson Act Does Not Apply Without an Applicable License or
                Indemnity Agreement

          The PAA’s jurisdictional provision, 42 U.S.C. § 2210(n)(2), provides in relevant part:

          “With respect to any public liability action arising out of or resulting from a nuclear
          incident, the United States district court in the district where the nuclear incident
          takes place, ... shall have original jurisdiction without regard to citizenship of any
          party or the amount in controversy ...”

          A “public liability action” is “any suit asserting public liability.” 42 U.S.C. § 2014(hh).

 “Public liability” means “any legal liability arising out of or resulting from a nuclear

 incident[.]” 42 U.S.C. § 2014(w). “Accordingly, only lawsuits that involve ‘nuclear incidents’ as

 defined by the PAA are subject to PAA federal question jurisdiction.” Kitchin, 389 F. Supp. 3d at

 610-11 (citations omitted). A “nuclear incident” is defined in 42 U.S.C. § 2014(q) as:

          any occurrence, including an extraordinary nuclear occurrence, within the United
          States causing, within or outside the United States, bodily injury, sickness, disease,

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        or death, or loss of or damage to property, or loss of use of property, arising out of
        or resulting from the radioactive, toxic, explosive, or other hazardous properties of
        source, special nuclear, or byproduct material… provided further, That as the term
        is used in section 2210(d)of this title, it shall include any such occurrence outside
        the United States if such occurrence involves source, special nuclear, or byproduct
        material owned by, and used by or under contract with, the United States: And
        provided further, That as the term is used in section 2210(c) of this title, it shall
        include any such occurrence outside both the United States and any other nation if
        such occurrence arises out of or results from the radioactive, toxic, explosive, or
        other hazardous properties of source, special nuclear, or byproduct material
        licensed pursuant to subchapters V, VI, VII, and IX of this division, which is used
        in connection with the operation of a licensed stationary production or utilization
        facility or which moves outside the territorial limits of the United States in transit
        from one person licensed by the Nuclear Regulatory Commission to another person
        licensed by the Nuclear Regulatory Commission.

                 i.   Statutory Construction Dictates that the Price-Anderson Act Does Not
                      Apply Without an Applicable License or Indemnity Agreement

        In ascertaining the plain meaning of a statute, the Court relies on established rules of

 statutory interpretation, looking not only to the particular statutory language at issue, but also the

 design of the statute as a whole. DeBough v. Shulman, 799 F.3d 1210, 1212 (8th Cir. 2015); United

 States v. I.L., 614 F.3d 817, 820-21 (8th Cir. 2010) (citations omitted). “It is a fundamental

 principle of statutory construction (and, indeed, of language itself) that the meaning of a word

 cannot be determined in isolation. but must be drawn from the context in which it is used.” Textron

 Lycoming Reciprocating Engine Div. v. United Auto., Aerospace and Agric. Implement Workers

 of Am., 523 U.S. 653, 657(1998) (quoting Deal v. United States, 508 U.S. 129, 132, (1993)).

        As pointed out in the Kitchin case, the definition of “nuclear incident” refers to the use of

 the term in §§ 2210(c) and (d), which govern the PAA’s indemnification plan for NRC licensees

 and DOE contractors. Section 2210(c) requires the NRC, “with respect to licenses issued between

 August 30, 1954, and December 31, 2025,” to “agree to indemnify and hold harmless the

 licensee and other persons indemnified ... from public liability arising from nuclear incidents[.]

 ... Such a contract of indemnification shall cover public liability arising out of or in connection

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 with the licensed activity.” 42 U.S.C. § 2210(c) (emphasis added). Section 2210(d) requires the

 DOE to enter into indemnification agreements with “any person who may conduct activities under

 a contract with the Department of Energy that involve the risk of public liability[.]” 42 U.S.C. §

 2210(d)(1)(A) (emphasis added)

        As articulated in Kitchin, 389 F. Supp. 3d at 612:

        when the definition is read in toto and in conjunction with § 2210, “nuclear
        incidents” are those occurrences within and outside the United States that arise from
        activities conducted under DOE contracts or in connection with NRC-licensed
        activity. When considered with the plain text of § 2210(c) and (d) – that public
        liability actions can arise only from activities under a contract with the DOE or in
        connection with NRC-licensed activity – I must agree with the court's observation
        in Strong that “the terms ‘nuclear incident’ and ‘occurrence’ are inextricably
        intertwined with ‘licenses’ and ‘indemnification agreements,’ thus suggesting
        licenses and indemnification agreements are an integral part of the PAA's statutory
        scheme[.]” Strong, 283 F. Supp. 3d at 771. In light of this, I also agree with
        the Strong court's conclusion that, therefore, “there cannot be a nuclear incident
        without an applicable license or indemnity agreement.”

        Applying a different statutory analysis, the Strong and Banks decisions reach the same

 conclusion that there cannot be a nuclear incident without an applicable license or indemnity

 agreement. Strong and Banks found the reasoning from Gilberg v. Stepan Co., 24 F. Supp.2d 325,

 343 (D. N.J. 1998), to be persuasive and found it significant that the definition of nuclear incident

 uses “occurrence” together with the clause “including an extraordinary nuclear occurrence.” An

 “extraordinary nuclear occurrence” is in relevant part “any event causing a discharge…from its

 intended place of confinement in amounts off-site, or causing radiation levels offsite…” 42 U.S.C.

 § 2014(q). As used in the definition of extraordinary nuclear occurrence, “offsite” means “away

 from ‘the location’ or ‘the contract location’ as defined in the applicable Nuclear Regulatory

 Commission or the Secretary of Energy…indemnity agreement, entered into pursuant to section

 2210.” Id.




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         As a matter of statutory construction, because of the proximity to and interrelationship

 between the word “occurrence” and the phrase “extraordinary nuclear occurrence”, it was reasoned

 that “the occurrence which underlies a ‘nuclear incident,’ can only be an event at ‘the location’ or

 ‘the contract location’ as that term is defined in an indemnity agreement entered into under § 2210.

 Banks, 2019 WL 1426259, at *7. Thus, “[i]n the absence of an indemnification agreement, entered

 into under 42 U.S.C. § 2210 and covering the activities which gave rise to the liability alleged,

 there can be no ‘occurrence,’ that is, no event at the site of ‘licensed activity,’ that would constitute

 a “nuclear incident.” Strong, 283 F. Supp. 3d at 767 (citing Gilberg, 24 F. Supp.2d at 340).

         Strong and Banks acknowledge that there are varied and conflicting opinions regarding

 what is required for federal subject matter jurisdiction pursuant to the PAA. However, “[g]iven the

 conflicting interpretations of the PAA regarding whether there must be a license or an indemnity

 agreement for the PAA to apply and, hence, for a federal court to have subject matter jurisdiction,

 and considering that conflicts should be resolved by finding no federal preemption, the Court finds

 that this matter should be resolved in favor of finding that there cannot be federal jurisdiction under

 the PAA without a license or an indemnity agreement.” Strong, 283 F. Supp. 3d at 772; See also

 Cook v. Rockwell International, Corp., 790 F.3d 1088, 1094 (10th Cir. 2015).

                ii.    Legislative History Dictates that the Price-Anderson Act Does Not
                       Preempt Plaintiffs’ State Law Claims

         Review of the legislative history of the PAA supports the conclusion that the PAA does

 not apply without an applicable license or indemnity agreement. As defined by Congress itself,

 “[t]he Price-Anderson system is a comprehensive, compensation-oriented system of liability

 insurance for Department of Energy contractors and Nuclear Regulatory Commission

 licensees operating nuclear facilities.” S. Rep. No. 100-70, 14, 1988 U.S.C.C.A.N. 1424, 1426

 (emphasis added).

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        Moreover, S. REP. NO. 85–296, 1957 WL 5103, at *1817–18 (May 9, 1957), is instructive:

        IT WAS NOT THOUGHT THAT AN INCIDENT WOULD NECESSARILY
        HAVE TO OCCUR WITHIN ANY RELATIVELY SHORT PERIOD OF TIME
        .... THE OCCURRENCE WHICH IS THE SUBJECT OF THIS DEFINITION IS
        THAT EVENT AT THE SITE OF THE LICENSED ACTIVITY, OR ACTIVITY
        FOR WHICH THE COMMISSION HAS ENTERED IN TO A CONTRACT,
        WHICH MAY CAUSE DAMAGE, RATHER THAN THE SITE WHERE THE
        DAMAGE MAY PERHAPS BE CAUSED. THE SITE MUST BE WITHIN THE
        UNITED STATES.... IT DOES NOT MATTER WHAT LICENSE MAY BE
        APPLICABLE IF THE OCCURENCE IS WITHIN THE UNITED
        STATES.... THE INDEMNIFICATION AGREEMENTS ARE INTENDED TO
        COVER DAMAGES CAUSED BY NUCLEAR INCIDENTS FOR WHICH THERE
        MAY BE LIABILITY NO MATTER WHEN THE DAMAGE IS DISCOVERED,
        I.E., EVEN AFTER THE END OF THE LICENSE. THAT IS WHY THE
        DEFINITION OF ‘NUCLEAR INCIDENT’ HAS THE PHRASE ‘ANY
        OCCURENCE * * * CAUSING BODILY INJURY, SICKNESS, DISEASE, OR
        DEATH’ AND WHY THE DEFINITION OF ‘PUBLIC LIABILITY’ IS TIED TO
        ANY LEGAL LIABILITY ARISING OUT OF, OR RESULTING FROM, A
        NUCLEAR INCIDENT. (emphasis added)

        It is implicit in the language of the above quoted legislative history that the terms “nuclear

 incident” and “occurrence” are inextricably intertwined with “licenses” and “indemnification

 agreements,” thus suggesting licenses and indemnification agreements are an integral part of the

 PAA's statutory scheme and that there cannot be a nuclear incident without an applicable license

 or indemnity agreement. Strong, 283 F. Supp. 3d at 770-71; Banks, 2019 WL 1426259, at *7.

            3. Defendants Do Not Have an Applicable License or Indemnity Agreement

        The only possible license Defendants could argue confers jurisdiction under the PAA is

 Cotter Corporation’s 1969 “source material” license. However, all courts that have considered this

 issue have determined that Cotter’s license does not support subject matter jurisdiction under the

 PAA for the landfills at issue as well as for the radioactive wastes at issue.

        In Strong, a case dealing with the exact same landfills and the exact same radioactive

 waste, the court determined that “assuming that a license is required for federal subject matter

 jurisdiction pursuant to the PAA, the Court fails to see how Cotter’s Source Material License

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 applies to Plaintiffs’ claims.” Strong, 283 F. Supp. 3d at 772. The Court further reasoned that “to

 the extent the material at issue is uranium mill tailings, in 1969, when Cotter obtained the Source

 Material License, and, in 1973, when the Landfills allegedly accepted the material at issue, the

 definition of ‘byproduct material’ did not include uranium or thorium mill tailings. It was not until

 1978 that Congress expanded the definition of “byproduct material” to include uranium and

 thorium mill tailings.” Id. at 772-73.

        Here, throughout the Second Amended Complaint, Plaintiffs have specifically alleged that

 the materials at issue are mill tailings and that these wastes were generated from the processing of

 uranium ore in downtown St. Louis. (ECF. No. 166 ¶¶ 3, 91) Plaintiffs further allege that their

 “claims do not fall within the Jurisdiction of the Price Anderson Act because the mill tailings that

 Cotter disposed of and the Landfill Defendants accepted were not at the time subject to the Atomic

 Energy Act and the Price Anderson Act.” (ECF No. 166 at ¶ 19)

        Further, “[r]egardless of whether uranium mill tailings are the radioactive wastes at issue

 in this case or whether plaintiffs properly pled that they are, Cotter’s license nevertheless does not

 affect [the] determination that the PAA does not apply to plaintiffs’ claims.” Kitchin, 389 F. Supp.

 3d at 613. As pointed out in Kitchin, Cotter’s license authorized it to receive, possess and import

 the source material, to use such material for the purpose(s) and the place(s) designated, i.e. 9200

 Latty Avenue, and to deliver or transfer such material to persons authorized to receive it. As in

 Kitchin, plaintiffs’ damages here arise from defendants’ unauthorized disposal and receipt of the

 material and their unauthorized use of the material at an unauthorized site. “Cotter’s Source

 Material License did not cover its delivery or transfer of the material to such unauthorized entities.

 Nor did it cover defendants’ activities at the Landfill. Cotter’s license therefore does not provide




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 basis for federal subject matter jurisdiction under the PAA.” Kitchin, 389 F. Supp. 3d at 613; See

 also Banks 2019 WL 1426259, at *9.

             4. Defendants’ Own Judicial Admissions Negate Federal Jurisdiction

         Defendants Rock Road Industries and Bridgeton Landfill, LLC previously, and correctly,

 declared that the PAA does not apply because the West Lake Landfill is not a licensed nuclear

 facility. Below are quoted admissions argued by Rock Road Industries and Bridgeton Landfill,

 LLC in Paulette M. Adams, et al., v. MI Holdings, Inc., et al, Case No. 4:12-cv-00641-JCH, a case

 involving the same radioactive wastes at issue here:

         “Rock Road and Bridgeton Landfill, as owners of the West Lake Landfill, are, nor
         have they ever been Nuclear Regulatory Commission licensees.” 2

         “Count One, arising under the Price-Anderson Act, is wholly inapplicable to Rock
         Road and Bridgeton Landfill, as the West Lake Landfill is not a nuclear facility
         subject to licensing by the Nuclear Regulatory Commission.” 3

         “the West Lake Landfill and defendants Rock Road and Bridgeton Landfill are not,
         and have not ever been, subject to the Price-Anderson Act, 42. U.S.C. 2011, et
         seq.” 4

         “Rock Road and Bridgeton Landfill have never been engaged in the development,
         use, and control of atomic energy within the terms of the Atomic Energy Act, and
         are not now, nor were they ever, Nuclear Regulatory Commission (“NRC”)
         licensees” 5

             5. Applying the Price-Anderson Act to Every Case Involving Nuclear Material
                or Radiation Leads to Absurd Results

         In their notice of removal Defendants argue that “the factual allegations undergirding

 Plaintiffs’ purported injuries all relate to the Defendants’ conduct in connection with nuclear and

 radioactive materials. As a result, Plaintiffs’ claims arise out of an alleged nuclear incident[.]”


 2 Defendants Rock Road Industries and Bridgeton Landfill, LLC’s Memorandum in Support of Motion to Dismiss
 (Doc 15), Adams v. MI Holdings, Inc., Case No. 4:12-cv-00641-JCH at page 2.
 3 Id at page 3.
 4 Id at page 10.
 5 Id at page 10.


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 (Doc. 1 at ¶ 42). This approach ignores the history, structure, language and purpose of the PAA

 and would lead to absurd results. “Nothing in the PAA – either originally enacted or through its

 evolution – provides that it is, or was intended to be, the exclusive remedy for all claims involving

 nuclear radiation.” Kitchin, 389 F. Supp. 3d at 612.

        Under Defendants’ approach, the PAA covers all nuclear tortfeasors under any conceivable

 circumstance. It would cover the properly licensed and indemnified owner of a nuclear plant, as

 well as any corporate opportunist who foregoes licensing and regulations to conduct operations at

 a discount, and even those who seek to do evil. Such an extreme result was not Congress’ intent

 and is not supported by the language of the PAA. This Court should resist Defendants’ invitation

 to depart from the purpose and language of the PAA by assigning an interpretation that would have

 absurd consequences.

            6. Applying Price-Anderson Act Preemption to Encompass all State Law
               Claims Involving Radiation Violates the Due Process Clause

        The Due Process Clause of the United States Constitution prevents the government from

 taking away long-held common law rights, especially property rights such as recourse for nuisance,

 without providing a reasonable alternative remedy. The Supreme Court of the United States

 considered a due process challenge to the PAA’s preemption provisions in Duke Power Co. v.

 Carolina Envtl. Study Group, Inc. 438 U.S. 59, 88 (U.S. 1978). The Court held that the

 requirements of the Due Process Clause were satisfied, in part because the PAA provided “a

 reasonably just substitute for the common-law or state tort law remedies it replaces.” Id. It reached

 this decision in part based on the fact that the indemnity provisions of PAA provided “assurance”

 of available funds to satisfy potential radiation claims. Id. at 90-91.

        Defendants’ position is that all state-law claims for lost property that in any way involve

 damage from radiation are preempted by the PAA—including those not covered by

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 indemnification. Adopting this position would mean that the PAA deprives injured claimants of

 their common law property rights without any substitute. Per the Supreme Court’s analysis in Duke

 Power, this would be an unconstitutional due process violation.

        C. CERCLA Does Not Provide a Basis for Federal Question Jurisdiction Under the
           Facts Alleged.

        Plaintiffs do not cite CERCLA as a basis for their claims or seek reimbursement of response

 costs or any other form of relief available under its provisions. Plaintiffs are not requesting relief

 that would interfere with the EPA’s remediation plans and their claims do not challenge the

 effectiveness of the remediation plans. Nor do plaintiffs seek specific action that could conflict

 with the remediation process. Plaintiffs are seeking relief under common law theories that have

 long been recognized by Missouri courts as a basis of recovery from parties responsible for

 personal injury and property damage occurring as a result of the release of hazardous substances.

 E.g., Elam v. Alcolac, Inc., 765 S.W.2d 42 (Mo. Ct. App. 1988) (nuisance, negligence); Kansas

 City v. W.R. Grace & Co., 778 S.W.2d 264 (Mo. Ct. App. 1989) (negligence, strict liability, civil

 conspiracy), abrogated on other grounds by Ellison v. Fry, 437 S.W.3d 762 (Mo. banc 2014).

        Defendants assert that this Court also has federal question jurisdiction because Plaintiffs

 seek injunctive relief challenging a CERCLA cleanup in progress at the West Lake Landfill

 Superfund Site and that Plaintiffs’ allegations regarding radioactive contamination at their property

 inherently bring the property under the EPA’s jurisdiction because Plaintiffs allege the property

 contains contamination from the Superfund Site. (Doc. 1 at ¶ 45,46) This argument was considered

 and rejected in Kitchin which reasoned that:

        To take defendants' argument to its logical conclusion, then, even with a properly-
        pled claim under 42 U.S.C. § 9607, private property owners could themselves be
        liable under CERCLA because their contaminated property, for which they
        otherwise would seek to recover reimbursement for response costs, would itself be



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         a “facility” even without release of hazardous material from their property. This is
         not a logical reading of CERCLA, nor does it further CERCLA's intended purpose.

 Kitchin, 389 F. Supp. 3d at 615.

         As in Kitchin, plaintiffs are not seeking relief that would require defendants to take action

 that would overlap with, alter or contradict any EPA remedy that is being reviewed and/or taken

 at the site under CERCLA. Nor do the causes of action set forth in Plaintiffs’ Second Amended

 Complaint depend on the resolution of substantial questions regarding response-cost liabilities or

 other obligations imposed by CERCLA. Accordingly, defendants have failed to meet their burden

 of establishing that Plaintiffs’ Second Amended Complaint raises any actually disputed and/or

 substantial issues arising under CERCLA. Kitchin, 389 F. Supp. 3d at 615.

  III.   CONCLUSION

         Contrary to Defendants’ arguments, this court lack jurisdiction over Plaintiffs’ state law

 claims. Three decisions from this court in factually similar cases have already determined that

 there is no subject matter jurisdiction under the PAA. One of these decisions dealing with same

 landfill and the same wastes also determined that CERCLA does not provide a basis for federal

 question jurisdiction. This matter should be no different.

         The PAA does not apply because Defendants do not possess an applicable license or

 indemnity agreement and Plaintiffs have alleged that no “nuclear incident” giving rise to PAA

 jurisdiction has occurred. CERCLA does not provide jurisdiction because the relief sought by

 Plaintiffs does not interfere with CERCLA and does not constitute a “challenge” to the EPA’s

 cleanup plan. Based on the fact that removal statutes are strictly construed and any doubts about

 the correctness of removal are resolved in favor of state court jurisdiction and remand, this matter

 must be remanded to Missouri state court because the defendants have not carried their heavy

 burden of establishing jurisdiction.

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                                             Respectfully Submitted,

                                             /s/ Celeste Brustowicz
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                                             MICHAEL AND ROBBIN DAILEY



                                CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2019, I electronically filed the foregoing document

 with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing

 to counsel of record.



                                             /s/ Celeste Brustowicz
                                             Celeste Brustowicz (LSBA 16835), Pro Hac Vice




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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


  MICHAEL DAILEY and ROBBIN DAILEY,

                                 Plaintiffs,              Case No. 4:17-cv-00024

             v.
                                                          ORAL ARGUMENT REQUESTED
  BRIDGETON LANDFILL, LLC, REPUBLIC
  SERVICES, INC., ALLIED SERVICES, LLC,
  ROCK ROAD INDUSTRIES, INC., COTTER
  CORPORATION,

                                 Defendants.


           COTTER CORPORATION (N.S.L.)’s1 MOTION TO DISMISS PLAINTIFFS’
            SECOND AMENDED COMPLAINT AND MEMORANDUM IN SUPPORT

      I.     INTRODUCTION

             Plaintiffs Michael and Robbin Dailey’s (“Plaintiffs”) Second Amended Complaint

  (“SAC”), which contains entirely state-law claims, should be dismissed with prejudice because

  those claims are preempted by the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq. When

  examining Plaintiffs’ First Amended Complaint (“FAC”), this Court found that the PAA

  preempted Plaintiffs’ state-law claims. See Dailey v. Bridgeton Landfill, LLC, 299 F. Supp. 3d

  1090, 1098-99 (E.D. Mo. 2017). Although the SAC has been revised to remove the express

  PAA claim so that, on its face, it contains only state-law claims, preemption still applies because

  the allegations in the SAC still assert a “nuclear incident” within the meaning of the PAA. Just

  as with the FAC, Plaintiffs allege that their damages stem from radioactive contamination.

  Liability for such claims is governed and preempted by the PAA, which provides an exclusive,

  retroactive, federal public liability cause of action for all tort claims stemming from nuclear

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      Improperly pled as Cotter Corporation.
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  incidents and radiation injuries. As a result, Counts I – VIII of the SAC, which are premised on

  state law and allege radiation injuries, are preempted by the PAA and should be dismissed. And

  even assuming Plaintiffs had asserted a public liability claim, Plaintiffs failed to allege an

  essential element for such a claim: namely, exposure to radiation in excess of federal radiation

  dose limits. Cotter’s motion should be granted, and the SAC should be dismissed with prejudice.

      II.   ALLEGATIONS IN THE SECOND AMENDED COMPLAINT

            Plaintiffs allege that their house has been “contaminated with radioactive material” that

  was “generated from the processing of uranium ores.” See Dkt. 166 ¶¶ 1, 3, 7. This radioactive

  material originated seven decades ago, when a government contractor 2 began “processing,

  handling, and storing radioactive materials in the St. Louis area,” including “uranium ores.” See

  id. ¶ 1; see generally id. ¶¶ 39-58. The processing of these uranium ores allegedly produced

  “hazardous, toxic, carcinogenic, radioactive mill tailing waste.” Id. This hazardous, toxic, and

  radioactive material, which was generated from uranium processing, was then allegedly dumped

  “into the West Lake Landfill.” See id. Testing by the federal government now allegedly

  confirms that “the same radioactive mill tailings wastes generated in the processing of uranium

  ores in the St. Louis area” have contaminated “the areas around the West Lake and Bridgeton

  Landfills.” Dkt. 166 ¶ 3; see also id. ¶¶ 74-80, 86. One of these contaminated areas is allegedly

  Plaintiffs’ residence, which “is contaminated with the radioactive material from the Landfill.”

  Id. at ¶ 7; see also id. ¶¶ 89-97. In short, Plaintiffs contend that their property “is contaminated

  by radioactive material,” that this contamination is linked to radioactive emissions from the

  Landfill, that “[t]he contamination was caused by Defendants’ improper handling, storage, and

  disposal of radioactive materials,” and that the contamination resulted in damage to their


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   That contractor’s corporate successor, Mallinckrodt LLC, was originally a party to this action,
  but has since settled with Plaintiffs and been dismissed. See Dkt. 120 & 122; Dkt. 166 at 7, fn. 6.
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  property. See id. ¶¶ 89-99. Based on these allegations, Plaintiffs assert claims for: Trespass

  (Count I); Permanent Nuisance (Count II); Temporary Nuisance (Count III); Negligence (Count

  IV); Negligence Per Se (Count V); Strict Liability/Absolute Liability (Count VI); Injunctive

  Relief (Count VII) and Punitive Damages (Count VIII). In addition to statutory, punitive and

  exemplary damages, Plaintiffs seek monetary damages “for the loss and use of enjoyment of

  Plaintiffs’ property; annoyance and discomfort; damage to Plaintiffs’ personal property; the

  diminution in market value of Plaintiffs’ property; as well as the costs and expenses incurred as a

  result of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

  relocation.”   Id. at p. 38. Plaintiffs also seek “appropriate injunctive and equitable relief,

  including medical monitoring.” Id. at p. 39.

  III.   LEGAL STANDARD

         “Pursuant to Rule 12(b)(6), ‘a complaint must contain sufficient factual matter, accepted

  as true, to ‘state a claim to relief that is plausible on its face.’” Haney v. Portfolio Recovery

  Assocs. LLC, 837 F.3d 918, 924 (8th Cir. 2016) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009)). “A claim has facial plausibility when the plaintiffs plead factual content that allows the

  court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

  Id. (internal quotations omitted). “A pleading that offers labels and conclusions or a formulaic

  recitation of the elements of a cause of action will not do.” Iqbal, 566 U.S. at 679 (internal

  quotations omitted).    Therefore, “[t]he reviewing court must accept the plaintiff’s factual

  allegations as true and construe them in the plaintiff’s favor, but is not required to accept the

  legal conclusions the plaintiff draws from the facts alleged.” Thompson v. Allergan USA, Inc.,

  993 F. Supp. 1007, 1011 (E.D. Mo. 2014) (citing Iqbal, 566 U.S. at 678; Retro Television

  Network, Inc. v. Luken Commc’ns, LLC, 696 F.3d 766, 768-79 (8th Cir. 2012)).



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           Rule 12(b)(6) is an appropriate procedural vehicle for seeking the dismissal of a

  complaint on the basis of federal preemption. Dougherty v. Source Naturals, Inc., 148 F. Supp.

  3d 831, 835 (E.D. Mo. 2015) (citing Brinkley v. Pfizer, Inc., 772 F.3d 1133, 1139 (8th Cir.

  2014); Moretti v. Mut. Pharm. Co., 518 F. App’x 486, 487 (8th Cir. 2013)); see also Thompson,

  993 F. Supp. 2d at 1014 (granting defendant’s motion to dismiss, pursuant to Rule 12(b)(6), on

  the basis of federal preemption of state-law claims).

  IV.      THE PRICE-ANDERSON ACT PREEMPTS PLAINTIFFS’ CLAIMS

           Plaintiffs’ SAC should be dismissed pursuant to Rule 12(b)(6) because each and every

  cause of action that Plaintiffs assert against Cotter is preempted by the PAA. When this Court

  previously dismissed Plaintiffs’ state law claims from the FAC, it joined the “many appellate

  courts” that have held that the PAA “preempts state-law claims when a nuclear incident is

  alleged.” Dailey v. Bridgeton Landfill, LLC, 299 F. Supp. 3d 1090, 1098 (E.D. Mo. 2017).

  Although Plaintiffs have removed their express PAA claim (Count I of the FAC), the PAA still

  preempts all claims in the SAC. Plaintiffs cannot escape the application of that Act by simply

  scrubbing its name from the pleading. Their claims are still, at their essence, PAA claims, and

  the PAA still preempts all state-law claims in the SAC, requiring their dismissal.

        a. The State Law Claims in the SAC Are Preempted by the Price-Anderson Act

          i. The PAA Preempts All Claims that Allege a “Nuclear Incident”

           The PAA provides for preemption of state law claims whenever a “nuclear incident” has

  occurred. Indeed, this Court previously recognized as much, noting that:

           other appellate courts have exhaustively examined this issue following the 1988
           amendments to the PAA, and they have found federal preemption of state-law
           claims for nuclear incidents. See In re Berg Litig., 293 F.3d 1127, 1132 (9th Cir.
           2002) (public liability action as “exclusive means” of pursuing a nuclear incident
           claim); Roberts v. Florida Power & Light Co., 146 F.3d 1305, 1306 (11th Cir.
           1998) (PAA creates “exclusive” federal cause of action); Nieman v. NLO, Inc.,
           108 F.3d 1546, 1553 (6th Cir. 1997) (PAA preempts state law claims and they

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            “cannot stand as separate causes of action”); Kerr–McGee Corp. v. Farley, 115
            F.3d 1498, 1504 (10th Cir. 1997) (PAA as the “sole remedy” for claims involving
            atomic energy production); O’Conner v. Commonwealth Edison Co., 13 F.3d
            1090, 1100 (7th Cir. 1994) (a federal cause of action for a nuclear safety claim
            “supplants” the prior state cause of action); In re TMI Litig. Cases Consol. II (TMI
            II), 940 F.2d 832, 854 (3d Cir. 1991) (a nuclear incident claim is “compensable
            under the [PAA] or it is not compensable at all.”).

  Dailey, 299 F. Supp. 3d at 1097 (emphasis added).3 This Court joined these “many appellate

  courts” and held that the PAA “preempts state-law claims when a nuclear incident is alleged.”

  Id. at 1098 (emphasis added). Although the SAC no longer contains an expressly pled PAA

  count, it has not fundamentally changed, as the essence of the SAC is still a PAA claim.

  Accordingly, this Court’s prior ruling applies equally to the allegations in the SAC.

          ii. The SAC Alleges a Nuclear Incident

            Under the PAA, a nuclear incident involves “bodily injury, sickness, disease, or death, or

  loss of or damage to property, or loss of use of property, arising out of or resulting from the

  radioactive, toxic, explosive, or other hazardous properties of source, special nuclear, or

  byproduct material.” 42 U.S.C. § 2014(q). “The term ‘source material’ means (1) uranium,

  thorium, or any other material which is determined by the Commission pursuant to the

  provisions of section 2091 of [Title 42] to be source material.” 42 U.S.C. § 2014(z). Likewise,

  the implementing regulation broadly defines source material as “Uranium or thorium, or any

  combination thereof, in any physical or chemical form.”           10 C.F.R. § 40.4.     Given these

  definitions, the SAC clearly alleges a nuclear incident because it claims that Plaintiffs’ property

  damage arose from uranium and thorium.

            For example, in the opening paragraph of the SAC, Plaintiffs allege that companies

  processed, handled, and stored “radioactive materials in the St. Louis area,” including “uranium

  ores.” Dkt. 166 at ¶ 1. This radioactive material was eventually allegedly dumped “into the

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      See also Dkt. 33 at 6-10, Dkt. 72 at 5-9, for additional discussion of why the PAA applies here.
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  West Lake Landfill.” See id. Allegedly, testing by the federal government has confirmed that

  the radioactive material in the Landfill has contaminated “the areas around the West Lake and

  Bridgeton Landfills.” Id. at ¶ 3. One of these contaminated areas is allegedly Plaintiffs’

  residence, which “is contaminated with the radioactive material from the Landfill.              The

  radioactive material consists of high levels of Uranium (U-238) decay products, including

  Thorium (Th-230), Lead (Pb-210), and Radon (Ra-226).” Id. at ¶ 7.

         In a transparent attempt to plead around the PAA, Plaintiffs allege that the waste

  deposited in the Landfill was not in fact “source material,” but “radioactive mill tailings wastes.”

  See, e.g., id. at ¶¶ 1, 3-4. Plaintiffs further contend that the PAA does not apply to mill tailings

  wastes. See id. at ¶¶ 19, 21.4 The Court should reject Plaintiffs’ artful pleading. First, their

  contention that this material was mill tailings (and thus, not source material) is belied by the

  Source Material License that the Atomic Energy Commission (“AEC”) issued to Cotter. See

  Dkt. 64-5. This license expressly stated that it was for source material. See id. Indeed, the fact

  that the material was “source material” is underscored by Plaintiffs’ FAC. There, Plaintiffs

  explicitly alleged that “Cotter transferred source material from Latty Avenue to the West Lake

  Landfill.” See Dkt. 70 at ¶ 62 (emphasis added). Just because Plaintiffs have removed the

  phrase “source material” from their SAC does not change what that material is.

         Second, even if one accepts Plaintiffs’ characterization, “mill tailings” are a “byproduct

  material” under the Atomic Energy Act, 42 U.S.C. § 2014(e)(2), which also are covered under

  the PAA. See 42 U.S.C. § 2014(q) (covering “source, special nuclear, or byproduct material”).



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    Paragraphs 19-20 rely on “Exhibit 1 – Declaration of Richard B. Stewart (April 24, 2018),
  which is not attached to the amended pleading filed on the docket and should not be considered
  as part of the SAC. This same affidavit is the subject of a prior motion to strike, which was
  denied as moot when the Court permitted Plaintiffs to refile their motion for leave to amend. See
  Dkt. 158. Cotter reserves all objections to that exhibit.
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  Finally, Plaintiffs’ allegations that the PAA does not apply to the material that was deposited in

  the Landfill are legal conclusions, see Dkt. 166 at ¶¶ 19, 21, and this Court “is not required to

  accept the legal conclusions the plaintiff draws from the facts alleged.” Thompson, 993 F. Supp.

  at 1011 (citing Iqbal, 566 U.S. at 678; Retro Television, 696 F.3d at 768-79).

         For these reasons, this Court should reject Plaintiffs’ attempts to plead around the PAA.

  Both the AEC and Plaintiffs’ FAC acknowledged that the material Cotter handled was “source

  material,” and Plaintiffs’ renaming it “mill tailings” in the SAC does not change this fact.

      iii. Consistent with the Reasoning in the Court’s October 27, 2017 Opinion, the State-
           Law Claims in the SAC Are Preempted

         This Court’s reasoning in its previous opinion finding that the PAA preempted the FAC’s

  permanent and temporary nuisance claims applies equally to the SAC’s state-law claims. This

  Court found that the nuisance claims were preempted by the PAA, noting “almost every

  paragraph of the amended complaint in these two state-law counts mentions the radioactive

  contamination. These allegations fall under the PAA’s definition of ‘nuclear incident.’” Dailey,

  299 F. Supp. 3d at 1099 (citing Dkt. 70 at ¶¶ 100–36 p. 34–38). Because the FAC nuisance

  counts are nearly identical to the SAC’s nuisance counts, compare Dkt. 70 at ¶¶ 100–36 p. 34–38

  with Dkt. 166 at ¶¶ 113-134,5 it necessarily follows that the PAA also preempts the SAC counts.

         Although the SAC contains additional counts for trespass, negligence, negligence per se,

  and strict liability, this Court’s previous reasoning shows that they, too, are preempted. As with

  the nuisance counts, almost every paragraph of the SAC in these state-law counts mentions

  radioactive contamination. See Dkt. 166 at ¶¶ 103-11, 136-40, 142-45, 147-48, 154-63, 166-72.

  5
    The sole difference between the FAC and SAC nuisance counts is that the SAC no longer
  contains the allegation that “Defendants’ tortious acts have contaminated the Dailey Home with
  radioactive-cancer causing materials such as Uranium and Thorium.” See Dkt. 70 at ¶¶ 112, 136
  p. 35, 37. The deletion of these references to uranium and thorium is a blatant attempt to plead
  around the PAA’s definition of “source material.” See 42 U.S.C. § 2014(z) (defining “source
  material” to include uranium and thorium).
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  Therefore, these allegations “undoubtedly” fall under the PAA’s definition of “nuclear incident”

  and are preempted. Dailey, 299 F. Supp. 3d at 1099.

     b. Neither a License Nor an Indemnity Agreement Are Required for the PAA to Apply

         Plaintiffs’ contention that their “claims do not fall within the scope of the [PAA because]

  Defendants have never received a license to possess, transport, or dispose of any radioactive

  wastes on or in the Landfill” and “have never entered into an indemnification agreement with the

  United States government under 42 U.S.C. § 2210 with respect to the complained activities,” see

  Dkt. 166 at ¶ 14, should be rejected because it relies on a tortured reading of the statute, and has

  been rejected by courts across the country.

         First, the PAA does not require defendants to have a license for preemption to apply.

  Rather, “[i]n passing the [PAA], Congress recognized that a nuclear incident might be caused by

  any number of participants in the nuclear industry beyond the actual licensee.” O’Conner v.

  Commonwealth Edison Co., 807 F. Supp. 1376, 1378 (C.D. Ill. 1992), aff’d, 13 F.3d 1090 (7th

  Cir. 1994). Indeed, numerous courts have expressly rejected the contention that “the PAA is

  limited to nuclear incidents occurring at [nuclear power plants] and other licensed facilities.”

  See Estate of Ware v. Hosp. of Univ. of Pa., 73 F. Supp. 3d 519, 530 (E.D. Pa. 2014) (citation

  and internal quotation marks omitted) (involving a nuclear incident occurring at a university

  research facility), aff’d, 871 F.3d 273 (3d Cir. 2017); see also Cotromano v. United Techs. Corp.,

  7 F. Supp. 3d 1253, 1258 (S.D. Fla. 2014) (“Thus, demonstration of a license for radioactive

  materials is not a prerequisite to federal jurisdiction under the plain language of the [PAA].”);

  Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800, 804 (N.D. Ill. 1999) (rejecting argument

  to limit PAA to release from a facility licensed by the NRC).

         Plaintiffs’ reliance on Strong v. Republic Services, Inc., 283 F. Supp. 3d 759 (E.D. Mo.

  2017) (Hamilton, J.) is misplaced, see Dkt. 166 at ¶ 17 & n.3, because Strong’s holding that a
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  license is a prerequisite is based almost exclusively on Gilberg v. Stepan Co., 24 F. Supp. 2d 325

  (D.N.J. 1998), a case that has routinely been criticized and was recently rejected by the Third

  Circuit, hereby removing any persuasive authority it may have had. See Ware, 871 F.3d at 283

  (agreeing with the Fifth Circuit that Gilberg “misses” the purpose of the 1988 amendments [to

  the PAA] and relies “‘on faulty statutory interpretation and [is] contrary to Congressional

  intent’” (quoting Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir. 2000))), cert. denied,

  138 S. Ct. 2018 (2018).6 Plaintiffs’ reliance on Banks v. Cotter Corp., No. 4:18-cv-00624, 2019

  WL 1426259 (E.D. Mo. Mar. 29, 2019) is similarly misplaced, because Banks relied on Strong.7

  This Court should not join the now-defunct reasoning of Gilberg, but rather, in keeping with the

  PAA’s plain language and Congress’s intent, find that the PAA is “broad enough to create a

  federal forum for any tort claims even remotely involving atomic energy production.” See Kerr-

  McGee Corp. v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997).

         Second, contrary to Plaintiffs’ assertion at paragraphs 14 and 17 of the SAC that a

  nuclear incident can occur only if a defendant had an indemnification agreement with the

  government – which also comes from the now-defunct and often criticized Gilberg – such an

  agreement is not a prerequisite for the PAA to apply. Indeed, as with the license issue discussed



  6
    The U.S. District Court for the Southern District of Florida has rejected Strong’s finding. In
  Pinares v. United Technologies Corp., the plaintiffs relied solely on Strong for the proposition
  that the PAA requires a license or indemnity agreement. See No. 9:10-cv-80883, Dkt. 345 at 24
  (S.D. Fla. June 6, 2018). Finding that the PAA preempted plaintiffs’ claims, the court rejected
  plaintiffs’ license/indemnity contention, relying on the same cases Cotter relies on herein. See
  Pinares v. United Techs. Corp., No. 9:10-cv-80883, 2018 U.S. Dist. LEXIS 195073, at *14 n.5
  (S.D. Fla. Nov. 14, 2018).
  7
     Importantly, Banks and Strong both involved motions to remand, and the only issue
  conclusively decided by a remand order is the forum. See Kircher v. Putnam Funds Tr., 547
  U.S. 633, 647 (2006). Moreover, the court in Banks did not definitely find that a license was a
  jurisdictional prerequisite of the PAA. Rather, the court stated that it was faced with
  “‘competing preemption narratives,’” and it had a “‘duty to accept the reading that disfavored
  preemption.’” See Banks, 2019 WL 1426259, at *8 (citation omitted).
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 above, most courts addressing this issue have flatly rejected Plaintiffs’ argument. See Ware, 871

 F.3d at 282-83 (rejecting Gilberg’s contention that the PAA “only covers defendants that have

 indemnity agreements with the NRC”); Acuna, 200 F.3d at 339 (“There is nothing in the

 definition of ‘nuclear incident’ which suggests it should be contingent on . . . whether the facility

 is covered under the separate indemnification portions of the Act.”); Cotromano, 7 F. Supp. 3d

 at 1259 (“Whether or not Defendants have indemnification agreements with the federal

 government is not dispositive of the applicability of Price-Anderson to this case.”). Similarly,

 none of the statutory definitions limit the jurisdiction over nuclear claims to defendants that had

 an indemnification agreement. See 42 U.S.C. § 2014(w) (“public liability”); id. at § 2014(hh)

 (“public liability action”); id. at § 2014(q) (“nuclear incident”). In addition, Congress included

 “indemnification” language in other portions of the statute, see, e.g., id. at § 2210(a)–(b), but

 excluded it from the jurisdictional definitions. This evinces Congress’s intention and purpose to

 exclude indemnification as a jurisdictional prerequisite. See United States v. Gonzales, 520 U.S.

 1, 5 (1997).

        Nor should this Court be persuaded by Strong’s finding that an indemnity agreement is a

 jurisdictional prerequisite. In addition to relying on the often-criticized Gilberg, Strong erred in

 its consideration of the PAA’s legislative history. After examining the legislative history of the

 1957 amendments, the court mistakenly concluded that “the terms ‘nuclear incident’ and

 ‘occurrence’ are inextricably intertwined with ‘licenses’ and ‘indemnification agreements,’ thus

 suggesting . . . there cannot be a nuclear incident without an applicable license or indemnity

 agreement.” See Strong, 283 F. Supp. 3d at 770-71.

        This was an error for two reasons. First, as the court expressly acknowledged, the 1957

 amendments were “prior to the 1988 Amendments to the PAA.” Id. at 770. Because the term



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 “nuclear incident” was not added to the PAA’s jurisdictional provision until 1988, any

 statements using the words “nuclear incident” thirty-one years before cannot possibly shed light

 on its meaning. Second, had the court simply read just one paragraph further in the Senate

 Report, its error would have been revealed, as the following text shows that even in 1957,

 Congress intended the PAA’s jurisdiction to extend to other entities:

          The definition “person indemnified” means more than just the person with
          whom the indemnity agreement is executed. . . . The phrase “person
          indemnified” also covers any other persons who may be liable. . . . [I]t is not
          meant to be limited solely to those who may be found liable due to their
          contractual relationship with the licensee. In the hearings, the question of
          protecting the public was raised where some unusual incident, such as negligence
          in maintaining an airplane motor, should cause an airplane to crash into a reactor
          and thereby cause damage to the public. Under this bill the public is protected
          and the airplane company can also take advantage of the indemnification and
          other proceedings. The proposed AEC limitation to those in privity with the
          licensee was reconsidered by the Commission, and the Commission decided to
          accept the premise of the original bills which would make the person
          indemnified any person who might be found liable, regardless of the
          contractual relation.

 S. REP. NO. 85-296 (May 9, 1957), reprinted in 1957 U.S.C.C.A.N. 1803, 1818 (1957)

 (emphasis added). Contrary to Strong, this legislative history corroborates the plain text of the

 statute and cases that have found no indemnity agreement is required. For this additional reason,

 an indemnity agreement is not required for the PAA to apply. 8

     V.   BECAUSE THE PAA PREEMPTS PLAINTIFFS’ SUBSTANTIVE STATE-LAW
          CLAIMS, THEIR CLAIMS FOR INJUNCTIVE RELIEF AND PUNITIVE
          DAMAGES SHOULD BE DISMISSED

          Because the PAA preempts Plaintiffs’ trespass, permanent nuisance, temporary nuisance,


 8
   Cotter acknowledges that in Kitchin v. Bridgeton Landfill, LLC – another remand decision –
 Judge Perry ruled that (1) the PAA applies “only to public liability claims arising out of NRC-
 licensed activity or DOE-contracted activity operating indemnification agreements.” 389 F.
 Supp. 3d 600, 612-13 (E.D. Mo. 2019) (citations omitted). Cotter was not a party to Kitchin, and
 that opinion, therefore, is not binding on Cotter. Regardless, for the reasons discussed above,
 Kitchin was wrongly decided because the PAA does not require defendants to have a license or
 indemnification agreement for it to apply.
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 negligence, negligence per se, and strict liability claims, they cannot sustain claims for injunctive

 relief or punitive damages. As such, Counts VII and VIII9 of the SAC should be dismissed.

       a. Plaintiffs’ Injunctive Relief Claim Should Be Dismissed

          Injunctive relief constitutes a remedy, not an independent cause of action. See Church v.

 Missouri, 268 F. Supp. 3d 992, 1022 (W.D. Mo. 2017) (citing Goerlitz v. City of Maryville, 333

 S.W.3d 450, 455 (Mo. banc 2011) (“[A]n injunction is a remedy and not a cause of action[.]”).

 “Thus, a request for such [a] remed[y] ‘must be based on some recognized and pleaded legal

 theory.’” Id. (quoting Goerlitz, 333 S.W.3d at 455). Since the PAA preempts each of Plaintiffs’

 substantive claims for trespass, permanent nuisance, temporary nuisance, negligence, negligence

 per se, and strict liability, these claims should be dismissed. Thus, Plaintiffs cannot obtain

 injunctive relief because there are no longer any viable and operative legal theories independent

 of their claim for injunctive relief, see id., and Count VII of the SAC should be dismissed.

       b. Plaintiffs’ Punitive Damages Claim Should Be Dismissed

          “Punitive damages cannot constitute an independent cause of action. They can only be

 an incident of another cause of action.” Landum v. Livingston, 394 S.W.3d 573, 578 (Mo. App.

 1965).     “Before punitive damages can be recovered there must be a cause of action for

 compensatory damages.” Id.; see also Compton v. Williams Bros. Pipeline Co., 499 S.W.2d 795,

 797 (Sup. Ct. Mo. 1973) (stating that it is well established “that actual or nominal damages must

 be recovered before punitive damages can be recovered”). Here, as set forth above, the only

 causes of action against Cotter that could give rise to a claim for punitive damages should be

 dismissed as preempted by the PAA. As such, Count VIII of the SAC should be dismissed.




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     Plaintiffs’ incorrectly number their Eighth Count as “Count XIII.” See Dkt. 166 at ¶¶ 181-84.
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  VI.   PLAINTIFFS HAVE NOT, AND CANNOT, ALLEGE SUFFICIENT FACTS TO
        SUPPORT A CLAIM FOR PUBLIC LIABILITY UNDER THE PAA

        Assuming arguendo Plaintiffs have pled a PAA public liability claim, the SAC’s factual

 allegations are nonetheless insufficient to support such a claim. Namely, Plaintiffs have failed to

 allege exposure to radiation in exceedance of federal dose limits. Further, Plaintiffs have not

 identified any federal nuclear safety regulations that Cotter may have breached.

        Courts throughout the country are in near-universal agreement that liability for purposes

 of the PAA is defined by a federal standard of care derived from federal nuclear safety

 regulations. See, e.g., Roberts v. Fla. Power & Light Co., 146 F.3d 1305, 1308 (11th Cir. 1998)

 (stating “federal safety regulations conclusively establish the duty of care owed in a public

 liability action”); O’Conner, 13 F.3d at 1105 (“the federal regulations must provide the sole

 measure of the defendants’ duty in a public liability cause of action.”); In re TMI II, 940 F.2d

 832, 859-60 (3d Cir. 1991) (concluding federal permissible dose limits would apply as “states are

 preempted from imposing a non-federal duty in tort, because any state duty would infringe upon

 pervasive federal regulation in the field of nuclear safety, and thus would conflict with federal

 law”); see also McClurg v. MI Holdings, Inc., 933 F. Supp. 2d 1179, 1187 (E.D. Mo. 2013) (to

 assert PAA public liability claim, plaintiffs must allege violation of federal radiation dose limit

 because “the maximum permissible radiation dose levels set by federal safety standards establish

 the duty of care for radiation injuries”). Indeed, in McClurg, the district court observed that

 “every Circuit Court” to address the issue – namely the Third, Sixth, Seventh, Ninth, Tenth, and

 Eleventh Circuits – has held “that the maximum permissible radiation dose levels set by federal

 safety standards establish the duty of care for radiation injures, and that imposing a non-federal

 duty would conflict with [the PAA].” Id.




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        While this Court previously declined to dismiss Plaintiffs’ PAA claims, finding that

 “application of a specific federal dosing standard of care at this stage in the litigation is

 premature,” see Dailey, 299 F. Supp. 3d at 1101, that conclusion was premised on the Court’s

 reluctance to extend the federal dose limit requirement to property damage claims. Id. at 1100-

 1101. The law is clear that the federal dose limits apply to both personal injury and property

 damage claims, however. See Reeves v. Commonwealth Edison Co., No. 06-cv-5540, 2008 WL

 239030, at *4 (N.D. Ill. Jan. 28, 2008) (noting that O’Conner v. Commonwealth Edison Co., 13

 F.3d 1090, 1105 (7th Cir. 1994) “mandates that federal regulations provide the applicable

 standard of care in a public liability action, whether or not the claim is for property damages)

 (emphasis added)); see also Adkins v. Chevron Corp., 960 F. Supp. 2d 761, 769 (E.D. Tenn.

 2012) (noting that regardless of whether a plaintiff alleges personal injury, property damage, or

 both as a result of radiation exposure, “every circuit court of appeals to address the question . . .

 has held that [a] plaintiff must prove a dose in excess of the federal permissible dose limits in

 order to show a breach of duty in a public liability action under the [PAA]”); Carey, 60 F. Supp.

 2d at 809-11 (adopting 10 C.F.R. § 20.1301 (Dose Limits for Individual Members of the Public)

 as “sole duty owed to landowners” in an action for trespass and nuisance claims for property

 damage, and granting defendants’ motion for summary judgment because “plaintiffs have

 presented no evidence that thorium tailings in excess of the NRC dose limits were released.”).

        Although the Court previously distinguished these cases because they involved licensed

 facilities, the pertinent question is whether a case is a public liability action. If it is, then the

 federal dose standards must apply, regardless of whether the damages were to persons or to

 property. See Smith v. Carbide & Chems. Corp., 5:97-cv-3, 2009 WL 3007127, at *3 (W.D. Ky.

 Sept. 16, 2009) (in property damage case, agreeing “with the clear weight of authority that holds



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 that federal regulatory standards preempt state statutory or common-law standards in Price-

 Anderson public liability actions”). Were it otherwise, this “would undermine the purpose of a

 comprehensive and exclusive federal scheme for nuclear incident liability.’” Id. (quoting In re

 Hanford Nuclear Reservation Litig., 534 F.3d 986, 1003 (9th Cir. 2008)).

        Plaintiffs’ failure to plead this “essential element of their claim” is fatal. Adkins, 960 F.

 Supp. at 769. Plaintiffs’ claims, which are preempted by the PAA, require dismissal because

 they have not alleged exposure to radiation in excess of federal dose limits, nor have they

 identified any federal nuclear safety regulations or standards that Cotter may have breached.

 VII.   DISMISSAL SHOULD BE WITH PREJUDICE

        The three years that this case has been before this Court have seen three different

 complaints, and a fourth is not warranted. A court may deny leave to amend where there has

 been undue delay, failure to cure deficiencies by amendment, and undue prejudice to the

 defendant. See Streambend Props. II, LLC v. Ivy Tower Minneapolis, LLC, 781 F.3d 1003,

 1015-16 (8th Cir. 2015). Allowing a fourth pleading would cause undue delay by dragging this

 case, which was originally filed in state court in 2016, into its fourth year. This would prejudice

 Cotter, as it has to expend significant time and resources every time Plaintiffs decide to change

 their legal theories, as well as create a further imposition on this Court. Plaintiffs initially relied

 only on state law claims in their initial complaint. When they filed the FAC, they did a 180-

 degree turn and advanced a PAA claim. They then did another about-face with the SAC,

 returning to their original state-law claims. They should not be allowed to reverse course again.

VIII.   CONCLUSION

        For the foregoing reasons, the Court should grant Cotter’s motion and dismiss Plaintiffs’

 Second Amended Complaint with prejudice.



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 Dated: November 12, 2019                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2019, I electronically filed the foregoing document

 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

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                                                            /s/ John McGahren




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

   MICHAEL DAILEY, et al.,                         )
                                                   )
          Plaintiffs,                              )
                                                   )
          v.                                       )          Case No. 4:17 CV 24 CDP
                                                   )
   BRIDGETON LANDFILL, LLC, et al.,                )
                                                   )
          Defendants.                              )

               PLAINTIFFS’ UNOPPOSED MOTION TO STAY PROCEEDINGS

         Come now, Robbin and Michael Dailey, through undersigned counsel, and hereby move

  this court for an order staying all proceedings, including Cotter Corporation’s Motion to Dismiss

  Plaintiffs’ Second Amended Complaint (Doc No. 175), pending resolution of Plaintiffs’ currently

  pending Motion to Remand (Doc. No. 174).

                                              Respectfully Submitted,

                                              /s/ Celeste Brustowicz
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                                              Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
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         I hereby certify that on November 25, 2019, I electronically filed the foregoing document

  with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing

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                                              /s/ Celeste Brustowicz
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

  MICHAEL DAILEY and ROBBIN DAILEY,

                             Plaintiffs,
                                                    Case No. 4:17-cv-00024
         v.
                                                    ORAL ARGUMENT REQUESTED
  BRIDGETON LANDFILL, LLC, REPUBLIC
  SERVICES, INC., ALLIED SERVICES, LLC,
  ROCK ROAD INDUSTRIES, INC., COTTER
  CORPORATION,

                             Defendants.




          DEFENDANT COTTER CORPORATION (N.S.L.)’S MEMORANDUM
          OF LAW IN OPPOSITION TO PLAINTIFFS’ MOTION TO REMAND
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         Defendant Cotter Corporation (N.S.L.) (“Cotter”) (improperly pleaded as Cotter

  Corporation), by and through its undersigned counsel, respectfully submits this memorandum of

  law in opposition to Plaintiffs’ Motion to Remand (Dkt. 174).

    I.   PRELIMINARY STATEMENT

         Plaintiffs’ Motion to Remand must be denied because their arguments are based on an

  incorrect reading of the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq. Contrary to

  Plaintiffs’ contentions – which are rooted in heavily criticized and generally rejected case law –

  neither a license nor an indemnification agreement is required for there to be a “nuclear incident”

  under the PAA, or for a finding of federal jurisdiction pursuant to the PAA. Rather, Plaintiffs’

  state law claims are preempted, and federal jurisdiction is proper, because their Second Amended

  Complaint (“SAC”) asserts that Cotter is liable for a nuclear incident in which the hazardous

  properties of radioactive material caused them property damage. Numerous courts have rejected

  the flawed analysis that Plaintiffs employ, and neither the plain text of the PAA nor its legislative

  history support their contentions. Furthermore, Plaintiffs do not come close to demonstrating that

  PAA preemption of their state law claims would be arbitrary and irrational, and thus, their Due

  Process Clause argument fails. For these reasons, remand is not warranted, and Plaintiffs’ motion

  must be denied.

   II.   LEGAL STANDARD FOR COMPLETE PREEMPTION

         “Generally, an action arises under federal law only if issues of federal law are raised in the

  plaintiff’s well-pleaded complaint.” Hull v. Fallon, 188 F.3d 939, 942 (8th Cir. 1999) (citing

  Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 63 (1987)). “An exception to this rule is the

  ‘complete preemption’ doctrine. This doctrine provides that ‘to the extent that Congress has

  displaced a plaintiff’s state law claim a plaintiff’s attempt to utilize the displaced state law is




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  properly ‘recharacterized’ as a complaint arising under federal law.’” Id. (quoting Rice v. Panchal,

  65 F.3d 637, 640 n.2 (7th Cir. 1995)).         Complete preemption not only “confer[s] federal

  jurisdiction, it also limits claims and remedies exclusively to those provided by” the federal statute.

  Id. (citing Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 54 (1987); Kuhl v. Lincoln Nat’l Health

  Plan of Kansas City, Inc., 999 F.2d 298, 302 (8th Cir. 1993)). Per this exception, the District Court

  should not accept Plaintiffs’ characterization of their claims, but rather it should examine the

  “essence” of the claims to determine if they rest on a cause of action provided by federal law. See

  Hull, 188 F.3d at 942 (finding that ERISA preempted the plaintiff’s state law claims because

  “although [his] characterization of his claims sound in medical malpractice, the essence of his

  claims rests on the denial of benefits”). When determining if Plaintiffs’ claims are preempted, the

  District Court should determine whether a finding of non-preemption “‘would pose an obstacle to

  the purposes and objectives of Congress.’” Id. (quoting Pilot Life, 481 U.S. at 52).

         The PAA is a federal statute that provides for complete preemption whenever plaintiffs

  plead that a “nuclear incident” has occurred. Indeed, this Court previously recognized as much,

  noting that:

         other appellate courts have exhaustively examined this issue following the 1988
         amendments to the PAA, and they have found federal preemption of state-law
         claims for nuclear incidents. See In re Berg Litig., 293 F.3d 1127, 1132 (9th Cir.
         2002) (public liability action as “exclusive means” of pursuing a nuclear incident
         claim); Roberts v. Florida Power & Light Co., 146 F.3d 1305, 1306 (11th Cir.
         1998) (PAA creates “exclusive” federal cause of action); Nieman v. NLO, Inc., 108
         F.3d 1546, 1553 (6th Cir. 1997) (PAA preempts state law claims and they “cannot
         stand as separate causes of action”); Kerr-McGee Corp. v. Farley, 115 F.3d 1498,
         1504 (10th Cir. 1997) (PAA as the “sole remedy” for claims involving atomic
         energy production); O’Conner v. Commonwealth Edison Co., 13 F.3d 1090, 1100
         (7th Cir. 1994) (a federal cause of action for a nuclear safety claim “supplants” the
         prior state cause of action); In re TMI Litig. Cases Consol. II (TMI II), 940 F.2d
         832, 854 (3d Cir. 1991) (a nuclear incident claim is “compensable under the [PAA]
         or it is not compensable at all.”).




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  Dailey v. Bridgeton Landfill, LLC, 299 F. Supp. 3d 1090, 1097 (E.D. Mo. 2017). By this ruling,

  this Court joined the “many appellate courts” holding that the PAA “preempts state-law claims

  when a nuclear incident is alleged.” Id. at 1098.

  III.   PLAINTIFFS’ READING OF THE PAA IS INCORRECT

         a. The Plain Text of the PAA, Coupled With the Intent of the 1988 Amendments,
            Shows That Plaintiffs’ Claims Are Preempted

         By focusing on the PAA, as enacted in 1954 and amended in 1957, (see Dkt. 174-1 at 5,

  10), and zeroing in on the term “extraordinary nuclear occurrence,” Plaintiffs ignore that

  Congress’s 1988 amendments to the PAA “deliberately increased the scope of the Act’s coverage.”

  Estate of Ware v. Hosp. of Univ. of Pa., 871 F.3d 273, 279 (3d Cir. 2017) (citing Acuna v. Brown

  & Root Inc., 200 F.3d 335, 339 (5th Cir. 2000)), cert. denied, 138 S. Ct. 2018 (2018). Prior to

  these amendments, federal jurisdiction under the PAA was automatically conferred only when

  claims arose out of an “extraordinary nuclear occurrence.” Acuna, 200 F.3d at 339. Due to the

  substantiality requirements of this phrase, only a limited number of cases qualified for PAA

  jurisdiction prior to the 1988 amendments. See 42 U.S.C. § 2014(j) (requiring a finding that a

  discharge or dispersal of nuclear material “has resulted or will probably result in substantial

  damages” (emphasis added)). Following the nuclear accident at Three Mile Island, however, the

  shortcomings of the PAA’s narrow applicability were exposed, as claims could not be consolidated

  in federal court. El Paso Natural Gas Co. v. Neztsosie, 526 U.S. 473, 477 (1999). As a result,

  Congress amended the PAA to broaden federal jurisdiction. Id. In doing so, Congress took

  “another step toward federalizing the law applicable to nuclear accidents.” Ware, 871 F.3d at 279.

  Congress also made those changes retroactive. Pub. L. No. 100-408 § 20(b)(1), 102 Stat. 1084

  (“The amendments governing judicial review of claims arising out of a [nuclear incident] shall

  apply to incidents occurring before, on, or after the date of the enactment of this Act.”).



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         In relevant part, the PAA’s current scope is not limited to solely “extraordinary nuclear

  occurrences,” but rather, provides that:

         With respect to any public liability action arising out of or resulting from a
         nuclear incident,1 the United States district court in the district where the nuclear
         incident takes place . . . shall have original jurisdiction without regard to the
         citizenship of any party or the amount in controversy. Upon motion of the defendant
         . . . any such action pending in any State court . . . shall be removed . . . to the United
         States district court having venue under this subsection.

  42 U.S.C. § 2210(n)(2) (emphasis added). “Public liability action,” in turn, is defined as “any suit

  asserting public liability.” 42 U.S.C. § 2014(hh). “Public liability” means “any legal liability

  arising out of or resulting from a nuclear incident or precautionary evacuation . . . .” Id. § 2014(w).

  And “nuclear incident” is defined as:

         any occurrence, including an extraordinary nuclear occurrence, within the United
         States causing, within or outside the United States, bodily injury, sickness, disease,
         or death, or loss of or damage to property, or loss of use of property, arising out of
         or resulting from the radioactive, toxic, explosive, or other hazardous properties of
         source, special nuclear, or byproduct material . . . .

  Id. at § 2014(q) (emphasis added).

         Although the term “occurrence” is not separately defined, when a separate definition is

  lacking, courts give terms their “ordinary meaning” as found in dictionaries. See Kingdomware

  Techs., Inc. v. United States, 136 S. Ct. 1969, 1978 (2016) (using Black’s Law Dictionary (10th

  ed. 2014) to supply meaning to the term “contract”). “Occurrence” simply means “[s]omething

  that happens or takes place.” Black’s Law Dictionary 1109 (8th ed. 2004); see also Ware, 871

  F.3d at 281 (applying Webster’s Third New International Dictionary (1993) definition of

  “occurrence,” which includes “‘something that takes place’” or “‘the action or process of


  1
    Prior to the 1988 amendments, the phrase “extraordinary nuclear occurrence” appeared in this
  definition. With those amendments, however, Congress broadened the PAA’s reach by “striking
  ‘an extraordinary nuclear occurrence’ each place it appear[ed] and inserting ‘a nuclear incident.’”
  Pub. L. 100-408 at § 11(a)(1)(A)-(B).


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  happening or taking place’” (quoting Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800, 805

  (N.D. Ill. 1999))).

          Given the meaning of these definitions, and Congress’s intent to broaden the scope of the

  PAA with the 1988 amendments, it is clear that the PAA preempts Plaintiffs’ claims, as all of the

  jurisdictional prerequisites are met. First, because Plaintiffs seek to hold Cotter accountable for

  “legal liability” arising out of a nuclear incident, this matter involves a “public liability action.”

  42 U.S.C. § 2014(w), (hh). Second, this matter arose out of a “nuclear incident” because something

  happened – i.e., an “occurrence” – that allegedly caused “damage to property . . . arising out of . .

  . radioactive . . . properties of source, special nuclear, or byproduct material.” Id. at § 2014(q); see

  also Dkt. 166 at ¶ 7 (noting that Plaintiffs’ residence “is contaminated with the radioactive material

  from the Landfill.”). The plain text of the PAA demands nothing more in order for jurisdiction to

  be conferred, and this should be the end of the inquiry. See Ware, 871 F.3d at 279 (citation omitted)

  (stating that the PAA now provides “federal jurisdiction over any actions ‘asserting public

  liability,’ arising from a ‘nuclear incident,’ which generally includes any ‘occurrence’ causing

  physical harm resulting from radioactive properties of nuclear material”). Indeed, even Cook v.

  Rockwell – a case which Plaintiffs claim greatly aids their cause – acknowledges the simplicity of

  the PAA’s jurisdictional provision: “[A] public liability action is a suit in which a party asserts that

  another party bears any legal liability arising out of an incident in which the hazardous properties

  of radioactive material caused bodily injury, sickness, or property damage.’” 790 F.3d 1088,

  1094-95 (10th Cir. 2015) (quoting Cotroneo v. Shaw Env’t & Infrastructure, Inc., 639 F.3d 186,

  194 (5th Cir. 2011)) (emphasis added). Rather than facing this plain language, however, Plaintiffs




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 engage in a convoluted effort of statutory interpretation that improperly attempts to nullify the

 1988 amendments.2

             i. Plaintiffs Wrongly Read the 1988 Amendments Out of the PAA

        By claiming that the narrow phrase “extraordinary nuclear occurrence” places limits on the

 broader term “occurrence,” see Dkt. 174-1 at 8-10, Plaintiffs ignore the 1988 amendments, which

 were undisputedly enacted to broaden the scope of PAA preemption. El Paso, 526 U.S. at 477;

 Ware, 871 F.3d at 279; Acuna, 200 F.3d at 339. As discussed above, prior to these amendments,

 jurisdiction was conferred on federal courts only when there was an “extraordinary nuclear

 occurrence.” Acuna, 200 F.3d at 339. But if Plaintiffs are correct that “occurrence” and

 “extraordinary nuclear occurrence” should be given similar meanings, thus limiting preemption to

 only certain narrow circumstances, the 1988 amendments would be meaningless. This cannot

 possibly be the correct reading of the PAA, because it would violate two canons of statutory

 construction.3

        First, using the term “extraordinary nuclear occurrence” to define and limit “occurrence”

 would violate the canon that courts should “‘give effect to every clause and word’ of the Act.”

 Sester v. United States, 566 U.S. 231, 239 (2012) (quoting United States v. Menasche, 348 U.S.

 528, 538-39 (1955)); United States v. Johnson, 703 F.3d 464, 468 (8th Cir. 2013) (citation omitted)


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   The Court should not be misled by Plaintiffs’ attempt at a “parade of horribles” argument.
 Contrary to their assertion, Cotter is not arguing that the PAA should apply to “every case
 involving nuclear materials or radiation.” (Dkt. 174-1 at 12-13.) Rather, the PAA squarely applies
 to this case because it involves source material from the Manhattan Project. (See, e.g., Dkt. 166
 at 1, 7, 39-41, 44-45, 86.)
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   Plaintiffs’ reading of the PAA also ignores the usage of the word “including” in the definition of
 “nuclear incident.” As discussed above, “nuclear incidents” are defined to encompass “any
 occurrence, including an extraordinary nuclear occurrence.” 42 U.S.C. § 2014(q) (emphasis
 added). Given Congress’s usage of the word “including,” this clearly shows that “occurrences”
 are a large set of happenings, which consist of, but are not limited to, the smaller subset of
 “extraordinary nuclear occurrences.”


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  (noting that this is a “‘cardinal principle of statutory construction’”). Second, by narrowly

  interpreting “occurrence” in the face of Congress’s intent to broaden PAA jurisdiction, Plaintiffs’

  construction would violate the canon that a definition “must not be given a restrictive meaning

  which frustrate[s] the congressional intent.” First Nat’l Bank in Plant City, Fla. v. Dickinson, 396

  U.S. 122, 134 (1969); Foothill Presbyterian Hosp. v. Shalala, 152 F.3d 1132, 1134 (9th Cir. 1998)

  (citation omitted) (“[W]e must reject constructions that are contrary to clear congressional intent

  or that frustrate the policy that Congress sought to implement.”). For these reasons, this Court

  should reject Plaintiffs’ attempt to read the term “occurrence” out of the PAA and should instead

  effectuate Congress’s intent of broadening the PAA’s jurisdictional reach.

             ii. Numerous Courts Have Criticized the Same Analysis Advanced by Plaintiffs
                 Here, and Rejected the Case on Which They Rely

         In an effort to limit “occurrence” to the more narrowly defined “extraordinary nuclear

  occurrence,” Plaintiffs employ the flawed analysis from Gilberg v. Stepan Co., 24 F. Supp. 2d 325

  (D.N.J. 1998). Plaintiffs not only heavily cite to it, but they also fail to inform the Court that the

  Third Circuit recently rejected Gilberg, thereby removing any persuasive authority it may have

  had. See Ware, 871 F.3d at 283 (agreeing with the Fifth Circuit that Gilberg “misses” the purpose

  of the 1988 amendments and relies “‘on faulty statutory interpretation and [is] contrary to

  Congressional intent’” (quoting Acuna, 200 F.3d at 339)).

         In addition to joining the Fifth Circuit’s rejection of Gilberg, the Third Circuit is now in

  accord with district courts from the Eleventh and Seventh Circuits that have noted flaws in

  Gilberg’s reasoning. See, e.g., Cotromano v. United Techs. Corp., 7 F. Supp. 3d 1253, 1258 (S.D.

  Fla. 2014) (“A plain reading of the [PAA] contradicts the Gilberg court’s flawed reasoning . . . .”);

  Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800, 806 (N.D. Ill. 1999) (noting that there

  “are, in fact, numerous problems with the path Gilberg takes,” faulting its “use of a narrowing



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  term to restrict what was obviously intended to be a broader term,” and finding its “restrictive

  reading of the plain wording of the statute is at odds with Congress’ intent”). This Court should

  follow the Third Circuit’s more recent decision rejecting the reasoning of Plaintiffs and Gilberg

  and find, in keeping with the PAA’s plain language and Congress’s intent, that the PAA is “broad

  enough to create a federal forum for any tort claims even remotely involving atomic energy

  production.” Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997). For these

  reasons, this Court should reject Plaintiffs’ analysis and find that this Court has jurisdiction under

  the PAA.

         b. A License or Indemnity Agreement Is Not a Prerequisite for Jurisdiction

         Plaintiffs’ argument that a license or indemnity agreement is required in order for there to

  have been a “nuclear incident” relies on a tortured (and incorrect) reading of the statute. This

  Court should not be misled by Plaintiffs’ contention, because acceptance of their analysis would

  nullify the purpose of the 1988 amendments. Moreover, the analysis Plaintiffs adopt has been

  repeatedly criticized and rejected by numerous courts.

              i. A License Is Not a Jurisdictional Prerequisite

         Contrary to Plaintiffs’ contention, the PAA does not require a license as a jurisdictional

  prerequisite. Rather, “[i]n passing the [PAA], Congress recognized that a nuclear incident might

  be caused by any number of participants in the nuclear industry beyond the actual licensee.”

  O’Conner v. Commonwealth Edison Co., 807 F. Supp. 1376, 1378 (C.D. Ill. 1992), aff’d, 13 F.3d

  1090 (7th Cir. 1994). Indeed, numerous courts have expressly rejected the contention that “the

  PAA is limited to nuclear incidents occurring at utilization and production facilities and other

  licensed facilities.” Estate of Ware v. Hosp. of Univ. of Pa., 73 F. Supp. 3d 519, 530 (E.D. Pa.

  2014) (citation and internal quotation marks omitted) (involving a nuclear incident occurring at a

  university research facility), aff’d, 871 F.3d 273 (3d Cir. 2017); see also Cotromano, 7 F. Supp.


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 3d at 1258 (“Thus, demonstration of a license for radioactive materials is not a prerequisite to

 federal jurisdiction under the plain language of the [PAA].”); Carey, 60 F. Supp. 2d at 804

 (rejecting argument to limit application of PAA to only the facility licensed by the NRC).

           That these courts have rejected Plaintiffs’ license contention is not surprising, because none

 of the statutory definitions limit the jurisdiction over nuclear claims to licensed activity. 42 U.S.C.

 § 2014(w) (“public liability”), § 2014(hh) (“public liability action”). Critically, in other provisions

 of the PAA, Congress expressly used terms such as “licensed activity,” “licensed facility,” and

 “facility subject to licensing.”       See, e.g., 42 U.S.C. § 2201(m) (“agreements regarding

 production”); 42 U.S.C. § 2284(a) (“sabotage of nuclear facilities or fuel”). As the Supreme Court

 has ruled, where “Congress includes particular language in one section of a statute but omits it in

 another section of the same Act, it is generally presumed that Congress acts intentionally and

 purposefully in the disparate inclusion or exclusion.” United States v. Gonzales, 520 U.S. 1, 5

 (1997).     Applying this canon of construction to the PAA, this means that Congress acted

 “intentionally and purposefully” by excluding any licensing requirement from the PAA’s

 jurisdictional provisions. Cotromano, 7 F. Supp. 3d at 1257-58 (adopting this analysis regarding

 the PAA).

           Equally unavailing is Plaintiffs’ argument that Congress’s definition of “nuclear incident”

 supports their contention that a license is needed for a nuclear incident to occur. Their reading is

 incorrect because it ignores the definition’s distinction between occurrences happening “within the

 United States” and “outside the United States.” See 42 U.S.C. § 2014(q). The general definition

 of “nuclear incident,” which applies to occurrences happening “within the United States,” does not

 condition jurisdiction on possession of a license. Id. It is other parts of the definition, which apply

 to occurrences happening “outside the United States,” that reference licensed materials and




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 persons. Id. These latter definitions, however, are not applicable to this case because there is no

 dispute that the nuclear incident took place within the United States, in Missouri.

        Plaintiffs’ reliance on three cases from this District which have held that a license is a

 jurisdictional prerequisite is also misplaced. The first of these cases to be decided, Strong v.

 Republic Services, Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017) (Hamilton, J.), was wrongly decided

 because Strong’s holding that a license is a prerequisite is based almost exclusively on Gilberg v.

 Stepan Co., 24 F. Supp. 2d 325 (D.N.J. 1998), which, as discussed above, has been routinely

 criticized and was recently rejected by the Third Circuit, thereby removing any persuasive

 authority it may have had. Ware, 871 F.3d at 283. Since Strong was decided, furthermore, at least

 one court has declined to follow that case’s ruling. In Pinares v. United Technologies Corp., the

 plaintiffs relied solely on Strong for the proposition that the PAA requires a license or indemnity

 agreement. See No. 9:10-cv-80883, Dkt. 345 at 24 (S.D. Fla. June 6, 2018). Finding that the PAA

 preempted plaintiffs’ claims, the U.S. District Court for the Southern District of Florida rejected

 plaintiffs’ contention that the PAA requires a license or indemnity agreement, relying on the same

 cases Cotter relies on herein. Pinares v. United Techs. Corp., No. 9:10-cv-80883, 2018 U.S. Dist.

 LEXIS 195073, at *14 n.5 (S.D. Fla. Nov. 14, 2018). Moreover, Cotter – the license-holder – was

 not a party to Strong in 2017 and, as a result, did not have an opportunity to brief the jurisdictional

 issues before Judge Hamilton, as it does here.

        Plaintiffs’ reliance on the opinion issued in Banks v. Cotter Corp., No. 4:18-cv-00624,

 2019 WL 1426259 (E.D. Mo. Mar. 29, 2019) is similarly misplaced, because Banks heavily relied

 on Strong and Gilberg. Additionally, as with the original Strong decision, Cotter – the license-

 holder – was not a party to Kitchin or the briefing in that case, Kitchin v. Bridgeton Landfill, LLC,

 389 F. Supp. 3d 600 (E.D. Mo. 2019), and did not have a chance to raise the arguments contained




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 herein. To the extent the opinions in Banks and Kitchin relied on Strong, which in turn relied on

 the now-defunct reasoning of Gilberg, they were wrongly decided. This Court should not join

 their incorrect reasoning but, rather, should find that a license is not a PAA jurisdictional

 prerequisite.

            ii. Assuming, Arguendo, That a License Is a Jurisdictional Prerequisite, Cotter’s
                Source Material License Confers This Court With Jurisdiction

        Although the PAA does not condition jurisdiction on the possession of a license, Plaintiffs’

 fixation on this point is simply a red herring, as they admit that Cotter possessed a source material

 license. See Dkt. 174-1 at 10. Pointing to Strong, Plaintiffs attempt to sidestep this admission by

 claiming that Cotter’s license did not cover “uranium mill tailings,” which they claim are the

 wastes that are allegedly at issue in this case.4 Id. (citing Dkt. 166 at ¶ 3, 91). The Court should

 reject Plaintiffs’ attempt to plead around the PAA because their contention that this material was

 uranium mill tailings (and thus, not source material) is belied by the actual Source Material License

 that the Atomic Energy Commission (“AEC”) issued to Cotter for the materials located at the Latty

 Avenue property. See Dkt. 64-5. By way of background, on February 14, 1966, the AEC issued

 License No. SMA-862 for Continental Mining & Milling Co. to possess and take other actions

 with “source material.” Dkt. 64-2. The source material is described in the license as “uranium

 and thorium” of up to “125,000 tons of residues . . . .” Id.. The AEC also issued licenses for these

 source materials in 1963, 1966, and 1969. See Dkt. 64-3, 64-4, 64-5. The license issued to Cotter

 expressly stated that the material at Latty Avenue – which included the material that Plaintiffs


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  Strong did not conclude that Cotter’s 1969 license could not support jurisdiction under the PAA.
 Rather, Judge Hamilton merely found that Cotter’s license did not extend to uranium mill tailings,
 while simultaneously declining to determine, based on the record before it, whether the radioactive
 materials allegedly in the landfill were, in fact, uranium mill tailings. Strong, 283 F. Supp. 3d at
 772-73. As set forth herein, this Court can conclude that the material is source material, not
 uranium mill tailings.


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 allege was disposed of at West Lake Landfill – was source material. Id.5 The term ‘source

 material,’ moreover, means (1) uranium, thorium, or any other material which is determined by

 the Commission pursuant to the provisions of section 2091 of [Title 42] to be source material.” 42

 U.S.C. § 2014(z). Likewise, the implementing regulation broadly defines source material as

 “Uranium or thorium, or any combination thereof, in any physical or chemical form.” 10 C.F.R.

 § 40.4; see also Dkt. 175 at 5-7 (discussing how the allegations in the SAC describe harm from

 source material, including uranium and its decay products). Indeed, the fact that the material was

 “source material” is underscored by Plaintiffs’ First Amended Complaint (“FAC”). There,

 Plaintiffs explicitly alleged that “Cotter transferred source material from Latty Avenue to the

 West Lake Landfill.” Dkt. 70 at ¶ 62 (emphasis added). Just because Plaintiffs have removed the

 phrase “source material” from their SAC does not change what that material is.

        Equally meritless are Plaintiffs’ contentions that Cotter’s license authorized it only “to

 receive, possess and import source material” and that Cotter was not authorized to dispose of “the

 material at an unauthorized site.” See Dkt. 174-1 at 11; see also Dkt. 166 at ¶ 59 (“Cotter failed

 to obtain a license from any governmental authority to transport radioactive mill tailings wastes to

 the West Lake Landfill.”). Plaintiffs are incorrect because Cotter did not need a license to dispose

 of the material in the landfill. 42 U.S.C. § 2092. Tellingly, Plaintiffs’ SAC has removed reference

 to § 2092, which is the PAA provision governing transport of source material. Compare Dkt. 166

 at ¶ 59, with Dkt. 70 ¶ 62. Plaintiffs’ omission is no doubt intentional, as that provision provides:

        Unless authorized by a general or specific license issued by the Commission which
        the Commission is authorized to issue, no person may transfer or receive in
        interstate commerce, transfer, deliver, receive possession of or title to, or import
        into or export from the United States any source material after removal from its


 5
  Cotter’s Source Material License No. SUB-1022 was terminated on November 13, 2014. Dkt.
 64-6.


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         place of deposit in nature, except that licenses shall not be required for quantities
         of source material which, in the opinion of the Commission, are unimportant.

 42 U.S.C. § 2092 (emphasis added). For the following reasons, the quantity of source material

 that Cotter disposed of met the definition of “unimportant quantities.”

         The NRC has determined that whenever a person transfers “source material in any chemical

 mixture, compound, solution, or alloy in which the source material is by weight less than one-

 twentieth of 1 percent (0.05 percent) of the mixture, compound, solution or alloy,” that “person is

 exempt from . . . the requirements for a license.” 10 C.F.R. § 40.13(a) (“Unimportant quantities

 of source material”). This regulation has been in place since the 1960s. See 26 Fed. Reg. 284

 (Jan. 14, 1961). Given this definition, the administrative record for the West Lake Landfill

 Superfund Site shows that the material Cotter disposed of was an “unimportant quantity,” and thus,

 not subject to licensing requirements. The 8700 tons of leached barium sulfate residue (“LBSR”)

 that Cotter disposed of contained 0.05-0.1 percent source material (uranium) prior to being

 combined with 39,000 tons of soil. (Remedial Investigation Addendum, West Lake Landfill,

 Operable Unit 1, at 159-61, available at https://semspub.epa.gov/work/07/30352110.pdf.) Thus,

 when the soil was added to the LBSR, it created a mixture that reduced the percentage of source

 material to between 0.01%-0.02%. This amount is well below NRC’s “unimportant quantity”

 threshold of “less than one-twentieth of 1 percent (0.05 percent) of the mixture.” See 10 C.F.R. §

 40.13(a). For this reason, Cotter was not required to obtain a license to transport the LBSR to the

 landfill.

         Regardless, this Court has already ruled in this case that the PAA applies even though

 Cotter allegedly did not have a license that allowed it to transport source material to the Landfill.

 This Court previously ruled that the PAA claim in Plaintiffs’ FAC preempted their state-law

 claims. Dailey, 299 F. Supp. 3d at 1097-99. Importantly, the FAC alleged that “Cotter failed to



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 obtain a license from the Atomic Energy Commission (AEC) or its successor the Nuclear

 Regulatory Commission (NRC) to transport radioactive wastes to the West Lake Landfill.” Dkt.

 70 at ¶ 60; see also id. at ¶ 62 (“Cotter transferred source material from Latty Avenue to the West

 Lake Landfill without a license in violation of 42 U.S.C. § 2092.”).

        This allegation is almost word-for-word the same as the SAC’s allegation that “Cotter

 failed to obtain a license from any governmental authority to transport radioactive mill tailings

 wastes to the West Lake Landfill.” Dkt. 166 at ¶ 59. Additionally, Plaintiffs raised this point in

 their brief opposing Defendants’ motion to dismiss the FAC. Dkt. 77 at 9 (“Likewise, as Plaintiffs

 note in their Complaint, Defendants violated 42 USC § 2092 by the unlicensed transfer of source

 material to the Landfill.” (citing Dkt. 70 at ¶ 62)). Plaintiffs overlook this previous ruling, which

 should apply to the instant motion.

        For these reasons, this Court should join the numerous courts that have found that a license

 is not a PAA jurisdictional prerequisite. Even if this Court finds that a license is a prerequisite, it

 still has jurisdiction because Cotter was exempt from any licensing requirement by virtue of the

 “unimportant quantities” exemption.

            iii. An Indemnity Agreement Is Not a Jurisdictional Prerequisite

        Contrary to Plaintiffs’ assertion that a nuclear incident can occur only if a defendant had

 an indemnification agreement with the government – which also comes from the now-rejected

 Gilberg – such an agreement is not a jurisdictional prerequisite. Indeed, as with the license issue,

 most courts that have addressed this issue have flatly rejected Plaintiffs’ argument. Ware, 871

 F.3d at 282-83 (rejecting Gilberg’s contention that the PAA “only covers defendants that have

 indemnity agreements with the NRC”); Acuna, 200 F.3d at 339 (“There is nothing in the definition

 of ‘nuclear incident’ which suggests it should be contingent on . . . whether the facility is covered

 under the separate indemnification portions of the Act.”); Cotromano, 7 F. Supp. 3d at 1259


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 (“Whether or not Defendants have indemnification agreements with the federal government is not

 dispositive of the applicability of Price-Anderson to this case.”); Carey, 60 F. Supp. 2d at 806

 (“The inclusion of the phrase [‘to which an indemnity agreement applies’] clearly indicates

 Congress’ belief that there can be an [extraordinary nuclear occurrence] to which no indemnity

 agreement applies.”).

        Plaintiffs’ contention must also be rejected because the same canon of construction that

 undercuts their license argument also undercuts this indemnification assertion. Specifically, none

 of the statutory definitions limit the jurisdiction over nuclear claims to defendants that had an

 indemnification agreement. 42 U.S.C. § 2014(w) (“public liability”), § 2014(hh) (“public liability

 action”), § 2014(q) (“nuclear incident”). In other provisions of the PAA, Congress expressly used

 terms such as “indemnification,” “indemnities,” “indemnitor,” and “persons indemnified.” See,

 e.g., 42 U.S.C. § 2210(a)-(c). Because Congress included indemnification language in certain

 portions of the statute, but excluded it from the jurisdictional definitions, this evinces Congress’s

 intent to exclude indemnification as a jurisdictional prerequisite. See Gonzales, 520 U.S. at 5.

         Plaintiffs’ argument also ignores the PAA’s definition of “persons indemnified,”6 which

 is “the person with whom an indemnity agreement is executed or who is required to maintain

 financial protection, and any other person who may be liable for public liability.” 42 U.S.C. §

 2014(t)(1) (emphasis added). Were the Court to accept Plaintiffs’ contention that PAA jurisdiction

 is conferred on only those with an indemnification agreement, the entire clause “and any other

 person who may be liable for public liability” would be meaningless. Stated differently, even if

 indemnification were a jurisdictional prerequisite under the PAA – which, as discussed above, it


 6
  As discussed in the preceding paragraph, Congress used the term “persons indemnified” in a
 number of places of the PAA, but it does not appear in the provision vesting U.S. district courts
 with jurisdiction. 42 U.S.C. § 2210(n)(2).


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 is not – the definition of “persons indemnified” is sufficiently broad that Defendants here would

 still fall within that definition.

         Nor should this Court be persuaded by Strong’s finding that an indemnity agreement is a

 jurisdictional prerequisite. In addition to relying on the now-rejected Gilberg, Strong erred in its

 consideration of the PAA’s legislative history. After examining the legislative history of the 1957

 amendments, including the 1957 Senate Report, the court mistakenly concluded that “the terms

 ‘nuclear incident’ and ‘occurrence’ are inextricably intertwined with ‘licenses’ and

 ‘indemnification agreements,’ thus suggesting . . . there cannot be a nuclear incident without an

 applicable license or indemnity agreement.” Strong, 283 F. Supp. 3d at 770-71. This was an error

 because the term “nuclear incident” was not added to the PAA’s jurisdictional provision until 1988.

 Therefore, any statements from the 1957 Senate Report using the words “nuclear incident” thirty-

 one years earlier does not shed light on its meaning. Second, had the court read one paragraph

 further in the Senate Report, it would have seen that even in 1957, Congress intended the PAA’s

 jurisdiction to extend to entities other than those who possessed an indemnity agreement:

          The definition “person indemnified” means more than just the person with whom
          the indemnity agreement is executed. . . . [and] also covers any other persons
          who may be liable. . . . [I]t is not meant to be limited solely to those who may be
          found liable due to their contractual relationship with the licensee. In the hearings,
          the question of protecting the public was raised where some unusual incident, such
          as negligence in maintaining an airplane motor, should cause an airplane to crash
          into a reactor and thereby cause damage to the public. Under this bill the public
          is protected and the airplane company can also take advantage of the
          indemnification and other proceedings. The proposed AEC limitation to those in
          privity with the licensee was reconsidered by the Commission, and the
          Commission decided to accept the premise of the original bills which would make
          the person indemnified any person who might be found liable, regardless of the
          contractual relation.




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 S. REP. NO. 85-296 (May 9, 1957), reprinted in 1957 U.S.C.C.A.N. 1803, 1818 (1957) (emphasis

 added). This legislative history confirms the plain text of the statute and the cases that have found

 no indemnity agreement is required.

        Plaintiffs also fail to take into account that the PAA expressly states that the AEC/NRC

 may require indemnity agreements, but does not mandate that all source material license holders

 hold such agreements. Specifically:

        Each license issued under section 2133 or 2134 of this title and each construction
        permit issued under section 2235 of this title shall, and each license issued under
        section 2073, 2093, or 2111 of this title may, . . . have as a condition of the license
        a requirement that the licensee have and maintain financial protection of such type
        and in such amounts as the Nuclear Regulatory Commission . . . shall require in
        accordance with subsection (b) of this section to cover public liability claims.
        Whenever such financial protection is required, it may be a further condition of
        the license that the licensee execute and maintain an indemnification
        agreement in accordance with subsection (c) of this section.

 42 U.S.C. § 2210(a) (emphasis added). Section 2093 (referenced in the block quote) pertains to

 source material licenses. Thus, indemnification agreements may be a condition for a licensee but

 are not required in every instance that the AEC/NRC issues a source material license.7

  IV.   PAA PREEMPTION OF PLAINTIFFS’ STATE LAW CLAIMS WOULD NOT
        VIOLATE DUE PROCESS

        Plaintiffs do not, and cannot, meet their burden of establishing that PAA preemption of

 their state law claims would violate the Due Process Clause of the Fifth Amendment. The


 7
   Rather than acknowledge this provision, Plaintiffs instead mistakenly rely on a 1998 report by
 NRC to Congress. Dkt. 174-1 at 5-6. This report was submitted for the purpose of reauthorizing
 NRC indemnity provisions, not to reauthorize the PAA as a whole. If anything, this report shows
 that the PAA applies to entities without indemnification agreements, noting that from “1957 to
 December 1997, claims for 195 alleged incidents involving nuclear material under various liability
 policies were filed. Most, but not all, of the reported claims experience is related to indemnified
 nuclear facilities.” NRC, The Price-Anderson Act – Crossing the Bridge to the Next Century: A
 Report        to     Congress       at     xix      (Aug.      1,       1998),     available     at
 https://www.nrc.gov/docs/ML1217/ML12170A857.pdf (emphasis added). As this report shows,
 facilities lacking indemnification agreements were still able to file claims.


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 “liability-limitation provision” of the PAA has been described as “a classic example of an

 economic regulation.” Duke Power Co. v. Carolina Envtl. Study Grp., 438 U.S. 59, 83 (1978)

 (citing Usery v. Turner Elkhorn Mining Co., 438 U.S. 1, 15 (1976)). Thus, the PAA “‘come[s] to

 the Court with a presumption of constitutionality, and . . . the burden is on one complaining of a

 due process violation to establish that the legislature has acted in an arbitrary and irrational way.’”

 Id. (quoting Usery, 428 U.S. at 15). Rather than attempting to meet this high burden, Plaintiffs

 instead resort to mischaracterizing the U.S. Supreme Court’s Duke Power holding.

        Although Plaintiffs contend otherwise, the Court found that the Due Process Clause does

 not necessarily require that a Congressional act “either duplicate the recovery at common law or

 provide a reasonable substitute remedy.” Duke Power, 438 U.S. at 88 (“Initially, it is not at all

 clear that the Due Process Clause in fact requires that a legislatively enacted compensation scheme

 either duplicate the recovery at common law or provide a reasonable substitute remedy.”). The

 Court further explained that its “‘cases have clearly established that a person has no property, no

 vested interest, in any rules of the common law.’” Id. at 88 n.32 (citation omitted). The Court

 also observed that, if the Constitution did require duplication of recovery or a “reasonable

 substitute remedy,” the PAA provided such a substitute. Id. at 88 (citations omitted). In other

 words, even if Plaintiffs were correct that the PAA cannot take away any rights without providing

 a “reasonable substitute remedy,” their argument still fails, because the PAA does provide such a

 substitute. Moreover, subsequent cases confirm that the PAA does not take away any rights.

 Rather, it “transforms” actions based on state law claims that seek to impose public liability into

 federal actions – regardless of how those claims are titled by plaintiffs. See Neztsosie, 526 U.S. at

 484. For these reasons, Plaintiffs have not come close to meeting their high burden regarding their

 argument that PAA preemption of their state law claims would violate their due process rights.




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   V.   CONCLUSION

        Because Plaintiffs seek to hold Cotter liable for damages arising out of a nuclear incident,

 their motion to remand must be denied, as this Court has jurisdiction. Nothing in the text of the

 statute or its legislative history shows that possession of a license or indemnity agreement is a

 jurisdictional prerequisite. The few cases that have found otherwise are either no longer good law

 or rely on faulty statutory construction. Finally, preemption of Plaintiffs’ state law claims would

 not violate due process. For these reasons, Plaintiffs’ motion must be denied.




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 Dated: November 26, 2019                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 26, 2019, I electronically filed the foregoing document

 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

 filing to counsel of record.

                                                            /s/ John McGahren




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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MICHAEL DAILEY, et al.,                             )
                                                     )
                 Plaintiffs,                         )
                                                     )
 vs.                                                 )   Case No. 4:17-cv-00024-CDP
                                                     )
 BRIDGETON LANDFILL, LLC, et al.,                    )
                                                     )
                 Defendants.                         )


                     DEFENDANTS BRIDGETON LANDFILL, LLC,
                REPUBLIC SERVICES, INC. AND ALLIED SERVICES, LLC’S
                   RESPONSE TO PLAINTIFFS’ MOTION TO REMAND

  I.     INTRODUCTION AND SUMMARY

         This Court should not remand this case. It has subject matter jurisdiction over the claims

  because no matter how artfully the Plaintiffs try to plead around it, they require application of the

  national standard of care under the Price-Anderson Act (“PAA”). This issue has been briefed

  numerous times in this case and elsewhere. Defendants Bridgeton Landfill, LLC (“Bridgeton”),

  Republic Services, Inc. (“Republic”), and Allied Services, LLC (“Allied”) ask that if there is any

  question whether this Court has jurisdiction over the Plaintiffs claims then at a minimum, the

  Court certify the case for interlocutory appeal to the 8th Circuit.

  II.    LEGAL STANDARD

         Federal courts “have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States.” 28 U.S.C.A. § 1331. “A civil action filed in a

  state court may be removed to federal court if the claim is one ‘arising under’ federal law.”

  Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 6 (2003) (citing § 1441). “Congress, and not the

  Judiciary, defines the scope of federal jurisdiction within the constitutionally permissible
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  bounds.” New Orleans Pub. Serv., Inc. v. Council of City of New Orleans, 491 U.S. 350, 359

  (1989). If Plaintiffs have a cause of action, it is under the PAA because their claim is for damage

  arising from radioactive material and they plead a nuclear incident.

  III.   ARGUMENT

         A.       The text, structure, purpose, and history of the Price-Anderson Act indicates
                  that Congress intended to grant federal jurisdiction over any action alleging
                  liability for bodily injury or property damage resulting from the radioactive
                  or toxic properties of atomic material or waste.

                  1.      The PAA transforms into a federal action any public liability action
                          arising out of or resulting from a nuclear incident.

         The Court need not reach any analysis other than the plain meaning of the Act to find that

  Plaintiffs have artfully pleaded a PAA claim subject to determination in a federal forum. When a

  statute’s plain meaning is unambiguous, the court’s inquiry begins and ends with the text. Nat’l

  Ass’n of Mfrs. v. Dep’t of Def., 138 S. Ct. 617, 631 (2018). With respect to any public liability

  action arising out of or resulting from a nuclear incident, the United States District Court in the

  district where the nuclear incident takes place, or in the case of a nuclear incident taking place

  outside the United States, the United States District Court for the District of Columbia, shall

  have original jurisdiction without regard to the citizenship of any party or the amount in

  controversy.” 42 U.S.C. § 2210(n)(2) (emphasis added).

             A “public liability action” is defined as “any suit asserting public liability.” 42
              U.S.C. § 2014(hh).

             A “public liability” is “any legal liability arising out of or resulting from a
              nuclear incident[.]” 42 U.S.C. § 2014(w) (emphasis added).

         A “nuclear incident” is “any occurrence, including an extraordinary nuclear occurrence,

  within the United States causing, within or outside the United States, bodily injury, sickness,

  disease, or death, or loss of or damage to property, or loss of use of property, arising out of or

  resulting from the radioactive, toxic, explosive, or other hazardous properties of source, special


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  nuclear, or byproduct material.” 42 U.S.C.A. § 2014(q) (emphasis added). Because

  “occurrence” is not further defined in the statute, the phrase must be given its ordinary meaning.

  Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800, 805-06 (N.D. Ill. 1999). “[O]ccurrence”

  simply means “happening or event” . . . . Id. at 805-06.

            Source material means “(1) uranium, thorium, or any other material which is determined

  by the Commission pursuant to the provisions of section 2091 of this title to be source material;

  or (2) ores containing one or more of the foregoing materials, in such concentration as the

  Commission may by regulation determine from time to time.” 42 U.S.C.A. § 2014(z) (emphasis

  added).

            Byproduct material means “(1) any radioactive material (except special nuclear material)

  yielded in or made radioactive by exposure to the radiation incident to the process of producing

  or utilizing special nuclear material; (2) the tailings or wastes produced by the extraction or

  concentration of uranium or thorium from any ore processed primarily for its source material

  content; . . .” 42 U.S.C.A. § 2014(e).

                   2.     The PAA provides for removal to a federal court as of right if a
                          putative PAA action is brought in a state court.

            The statute provides that a PAA claim “shall be removed” to the federal courts. 42 U.S.C.

  § 2014(n)(2). With that provision, Congress expressed “an unmistakable preference for a federal

  forum, at the behest of the defending party, both for litigating a Price–Anderson claim on the

  merits and for determining whether a claim falls under Price–Anderson when removal is

  contested.” El Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473, 484 (1999). In 2018, the Eighth

  Circuit in Halbrook v. Mallinckrodt, LLC, 88 F.3d 971, 977 (8th Cir. 2018) ruled Congress

  “spoke clearly” when stating that a PAA cause of action arises under federal law and creates a




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  federal cause of action. Defendants adopt and incorporate their prior briefing at Doc. No. 129

  delving further into the case law.

         As the Supreme Court has explained, “By its unusual preemption provision, see 42

  U.S.C. § 2014(hh), the Price–Anderson Act transforms into a federal action ‘any public liability

  action arising out of or resulting from a nuclear incident,’ § 2210(n)(2).” El Paso Nat. Gas Co. v.

  Neztsosie, 526 U.S. 473, 484 (1999). The Supreme Court has emphasized that the PAA “not

  only gives federal courts jurisdiction over tort actions arising out of nuclear accidents but also

  expressly provides for removal of such actions brought in state court even when they assert only

  state-law claims.” Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 6 (2003) (emphasis added).

         Where, as here, “an area of state law has been completely pre-empted, any claim

  purportedly based on that pre-empted state law is considered, from its inception, a federal claim,

  and therefore arises under federal law.” Caterpillar Inc. v. Williams, 482 U.S. 386, 393 (1987).

  In this context, the Supreme Court has observed that:

         It may seem odd that, for purposes of determining whether removal was proper, we
         analyze a claim brought under state law, in state court, by a party who has
         continuously objected to district court jurisdiction over its case, as if that party had
         been trying to get original federal court jurisdiction all along. That irony, however,
         is a more-or-less constant feature of the removal statute, under which a case is
         removable if a federal district court could have taken jurisdiction had the same
         complaint been filed.

  Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Tr. for S. California, 463 U.S. 1,

  20, 103 S. Ct. 2841, 2852, 77 L. Ed. 2d 420 (1983) (citing Wechsler, Federal Jurisdiction and

  the Revision of the Judicial Code, 13 Law & Contemp. Prob. 216, 234 (1948)).

         Thus, if Plaintiffs allege that their injuries were caused by exposure to radioactive

  material (as demonstrated below), their claims “arise under” the PAA, e.g.:

         This suit is a “public liability action” as defined by the PAA, because the plaintiffs
         allege that they suffered injuries and illnesses due to their exposure to radiation,
         and because they assert that the defendants bear legal liability arising out of these


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          incidents of exposure to radiation. Since it is a “public liability action,” it is to be
          treated as arising under federal law: “A public liability action shall be deemed to
          be an action arising under section 2210 of this title ....” 42 U.S.C. § 2014(hh).

  Cotroneo v. Shaw Env’t & Infrastructure, Inc., 639 F.3d 186, 194 (5th Cir. 2011).

          Here, Plaintiffs’ claims fit squarely within the broadly-defined term “public liability

  action.” In their second amended petition, Plaintiffs allege as follows:

             The radioactive material at issue in this case includes “uranium ore.” ECF No.
              166 at 25. See § 2014(z) (“source material” includes “uranium” and “ores
              containing” uranium).

             Plaintiffs’ injuries arise out of or are a result of “hazardous, toxic,
              carcinogenic, radioactive mill tailings wastes resulting from the processing of
              these ores[.]” ECF No. 166 at 1. See § 2014(q) (“nuclear incident” means an
              injury “arising out of or resulting from the radioactive, toxic, explosive, or
              other hazardous properties of source, special nuclear, or byproduct material.”).

             Defendants mishandled “these hazardous, toxic, carcinogenic, radioactive mill
              tailings wastes[.]” ECF No. 166 at 1.

             “[R]adioactive material” was “negligently dumped [by Defendants] in an area
              surrounded by peaceful neighborhoods and playgrounds[.]” Id. at 2.

             The Dailey’s property “is contaminated with radioactive material from the
              Landfill.” Id. at 3.

             “Defendants’ negligent acts and omissions were a direct and proximate cause
              of Plaintiffs’ injuries.” Id. at 34.

             “Plaintiffs are entitled to recover damages for damage to property and/or loss
              of use of property.” Id. at 34.

  Plaintiffs’ assert liability against Defendants for damage to property and/or loss of use of

  property arising out of or resulting from a radioactive and toxic properties of uranium ores and

  mill tailings. As such, their claims fall within the Price-Anderson Act’s broad grant of federal

  jurisdiction.




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         The labels and conclusions that Plaintiffs attach to their claims (or remove from their

  complaint) are irrelevant to the question of jurisdiction under the PAA. See Dudek v. Prudential

  Sec., Inc., 295 F.3d 875, 879 (8th Cir. 2002).

                 3.      There is no presumption against federal jurisdiction under the PAA
                         because, in enacting the PAA, Congress expressed an unmistakable
                         preference for a federal forum, at the behest of the defending party.

         The Eastern District’s decisions in Kitchin, Strong, and Banks relied on a presumption

  against federal jurisdiction. There is no presumption against federal jurisdiction under the Price-

  Anderson Act. In enacting the PAA, Congress “expressed an unmistakable preference for a

  federal forum, at the behest of the defending party[.]” El Paso Nat. Gas Co. v. Neztsosie, 526

  U.S. 473, 484–85 (1999). “Any generalized sense of comity toward nonfederal courts is

  obviously displaced by the provisions for preemption and removal from state courts, which are

  thus accorded neither jot nor tittle of deference.” Id. at 485. “The situation here is the rare one in

  which statutory provisions for conversion of state claims to federal ones and removal to federal

  courts express congressional preference for a federal forum.” Id. at 485, n.7.

                 4.      Neither a license nor indemnity agreement is a requirement for
                         federal jurisdiction under the PAA because the PAA does not “clearly
                         state” that a license or indemnity agreement is jurisdictional.

         Jurisdictional statutes “speak to the power of the court rather than to the rights or

  obligations of the parties.” Landgraf v. USI Film Products, 511 U.S. 244, 274, 114 S.Ct. 1483,

  128 L.Ed.2d 229 (1994) (citation omitted). In recent years, the Supreme Court has cracked down

  on courts that attach the “jurisdictional” label to rules and requirements that are not truly

  jurisdictional, and has instructed courts to apply the following test: “A rule is jurisdictional if the

  Legislature clearly states that a threshold limitation on a statute’s scope shall count as




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  jurisdictional.” Gonzalez v. Thaler, 565 U.S. 134, 141 (2012) (cleaned up) (emphasis added). 1, 2

  “Other rules, even if important and mandatory, we have said, should not be given the

  jurisdictional brand.” Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 435 (2011).

           For example, Title VII prohibits an employer from discriminating against an employee on

  the basis of sex, and Title VII’s numerosity requirement defines an employer as a person having

  “fifteen or more employees.” The numerosity requirement is not a component of federal

  jurisdiction because neither the jurisdictional provision nor the numerosity provision clearly state

  that the latter counts as jurisdictional. Arbaugh v. Y&H Corp., 546 U.S. 500, 515-16, and n. 11

  (2006). Likewise, under section 411 of the Copyright Act, a copyright holder may not bring a

  suit for infringement in federal court under the Act until the copyright holder has registered its

  claim pursuant to section 411 of the Act. Per the Supreme Court: “We must consider whether §

  411(a) ‘clearly states’ that its registration requirement is ‘jurisdictional.’ Arbaugh, supra, at 515,

  126 S.Ct. 1235. It does not.” Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154, 163 (2010). The

  Court explained that federal jurisdiction does not depend on compliance with the registration

  provisions because the Act does not condition its jurisdictional grant “on whether copyright

  holders have registered their works before suing for infringement.” Id. at 164–65.

           Here, the PAA grants jurisdiction through two provisions, 42 U.S.C. § 2014(hh), and

  § 2210(n)(2). Neither provision “clearly states” that a license or indemnity agreement is

  “jurisdictional.” Past decisions from the Eastern District of Missouri have stated that the PAA’s


           1
              See Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154, 161 (2010) (“Our recent cases evince a marked desire
  to curtail such ‘drive-by jurisdictional rulings,’ ibid., which too easily can miss the ‘critical difference[s]’ between
  true jurisdictional conditions and non-jurisdictional limitations on causes of action.”).
            2
              See also In re Hanford Nuclear Reservation Litig., 534 F.3d 986, 1009 (9th Cir. 2008) (“Although in Berg
  we referred to bodily injury as a jurisdictional prerequisite, id. at 1131–33, we used the term ‘jurisdictional’ in the
  loose sense, perhaps too loose, to mean that medical monitoring claims were not compensable under the PAA absent
  physical injury. We have been guilty of such expansive use of the term before. . . . The district court in this case
  clearly had subject matter jurisdiction under the PAA to decide the issue; the district court simply did not have the
  power to grant the relief requested because the plaintiffs have not suffered any physical injury.”)


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  substantive provisions are “inextricably intertwined,” with its jurisdictional provisions because

  of apparent cross-references between them. But “[m]ere proximity will not turn a rule that

  speaks in non-jurisdictional terms into a jurisdictional hurdle.” Gonzalez v. Thaler, 565 U.S. 134,

  146 (2012) (“§ 2253(c)(2) is non-jurisdictional, even though it too cross-references § 2253(c)(1)

  and is cross-referenced by § 2253(c)(3).”).

           Those prior decisions in the Eastern District of Missouri also noted that the PAA was

  primarily concerned with regulating licensing and indemnity agreements, but the licensing and

  indemnity provisions of the PAA, “even if important and mandatory,” Shinseki, 562 U.S. at 435,

  do not speak to the court’s subject matter jurisdiction and must be treated as non-jurisdictional.

  See also United States v. Kwai Fun Wong, 135 S. Ct. 1625, 1633 (2015) (“even assuming

  legislative history alone could provide a clear statement (which we doubt), none does so here”);

  Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718 (2017) (“we will not presume . . . that

  . . . the statute’s overarching goal must be the law”).

           In this case, the Court’s jurisdiction under the PAA does not depend on whether any

  Defendant possessed a licensing or indemnity agreement under the PAA. The case should not be

  remanded on that basis.3


           3
             Bridgeton, Republic and Allied note that the Court may have an alternative basis for jurisdiction, at least
  for the purpose of determining whether Plaintiffs are entitled to some of the relief they seek. Federal courts have
  “exclusive original jurisdiction over all controversies arising under” CERCLA, “without regard to the citizenship of
  the parties or the amount in controversy.” 42 U.S.C.A. § 9613(b). Federal jurisdiction under 42 U.S.C. § 9613(b) is
  more expansive than only those claims expressly created by CERCLA, and covers any challenge to a CERCLA
  cleanup. See generally Fort Ord Toxics Project, Inc. v. Cal. Envt’l Prot. Agency, 189 F.3d 828, 832 (9th Cir. 1999);
  Lehman Bros, Inc. v. City of Lodi, 333 F. Supp. 2d 895 (E.D. CA. 2004)(Court had jurisdiction extended beyond
  claims created by CERCLA). In paragraph 26 of their Second Amended Complaint the Plaintiffs allege continuing
  contamination of their property “during the proposed cleanup.” The “proposed cleanup” is inescapably the EPA’s
  clean up remedy for the West Lake Landfill. By seeking relief in a court that could impact the chosen remedy they
  have potentially interfered with CERCLA. This Court should maintain jurisdiction if for no other reason than to
  conduct proceedings regarding the propriety of a claim than can impact a CERCLA remedy. See McClellan
  Ecological Seepage Situation v. Perry, 47 F.3d 325, 330 (9th Cir. 1995) (“MESS, for all practical purposes, seeks to
  improve on the CERCLA cleanup as embodied in the Interagency Agreement. Its action qualifies as a ‘challenge’ to
  the cleanup.”). This basic issue is now before the United States Supreme Court on a writ of certiorari from the
  Supreme court of Montana. There the Montana Court allowed a state court case regarding a Superfund smelter cite


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           B.       The Court Should Certify Its Ruling for Interlocutory Review.

           This case is a strong case for interlocutory appeal under 28 U.S.C. § 1292(b). As detailed

  here and in the multiple briefings filed before the Court, there is ample case law supporting the

  PAA’s preemptive scope. If for any reason the Court is inclined to remand, the decision will

  necessarily rest on a determination that Plaintiffs may pursue state law claims and forgo the PAA

  and, hence, that the PAA does not preempt state law. Thus, the decision will involve a

  controlling question of law as to which there is substantial ground for difference of opinion. The

  time to have these issues heard in a federal appellate court is now—not after a state court trial,

  and multiple levels of state appellate courts.

           Application of the PAA is a critical question as it determines not only the venue and

  jurisdiction but also the standard of care. See, e.g., Roberts v. Fla. Power & Light Co., 146 F.3d

  1305, 1308 (11th Cir. 1998); O’Conner v. Commonwealth Edison, 13 F.3d at 1090, 1105 (7th

  Cir. 1994); In re TMI Litig. Cases Consol. II, 940 F.2d 832, 859-60 (3d Cir. 1991); McClurg v.

  MI Holdings, Inc., 933 F. Supp. 2d 1179, 1187 (E.D. Mo. 2013); Corcoran v. New York Power

  Authority, 935 F. Supp. 376, 387 (S.D.N.Y. 1996); Carey, 60 F. Supp. 2d at 807-08.

           The scope of the PAA’s application to numerous cases in this District has repeatedly

  evaded review. See Banks v. Cotter Corp., No. 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D.

  Mo. Mar. 29, 2019) (remand order); Marc Czapla, et al. v. Republic Servs., Inc., et al. E.D.Mo.

  Case No. 4:18-cv-00357-JAR Doc. No. 41 (remand order); Strong, et al. v. Republic Servs., Inc.,

  et al., 283 F. Supp. 3d 759 (E.D. Mo. 2017) (remand order). 4 Hence, granting leave to amend



  to proceed despite that some of the remedies sought would impact the CERCLA remedy. The case is Atlantic
  Richfield Company v. Gregory A. Christian, et al, In the United State Supreme Court, No. 17-1498.
           4
             This Court in John C. Kitchin et al. v. Bridgeton Landfill, LLC, et al., Case No. 4:18-cv-00672-CDP, also
  ruled on the scope of the PAA and remanded the case. The complete remand order in that case is appealable under
  28 U.S.C. §§ 1453(c) and 1291 because of the Class Action Fairness Act (“CAFA”) and is currently being briefed
  before the Eighth Circuit Court of Appeals on CAFA grounds.


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 may set the stage for an unappealable remand order. An immediate appeal of the order would

 materially advance the litigation by providing appellate determination of the PAA’s scope.

 Allowing the Court’s order to be appealed would also help resolve the conflict between the

 Eastern District of Missouri cases and the decisions detailed above ruling regarding the PAA’s

 broad preemptive scope.

 IV.    CONCLUSION

        Defendants properly removed this case to federal court under the Price-Anderson Act and

 CERCLA. The Court should deny the Motion to Remand but if it is included to grant it then it

 should certify the case for immediate interlocutory appeal.



 Dated: November 26, 2019                             Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 26, 2019, I electronically filed the foregoing document
 via the Court’s CM/ECF system, which will serve notice on all counsel of record.

                                                     s/ William G. Beck
                                                     An attorney for Defendants




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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

   MICHAEL DAILEY, et al.,                             )
                                                       )
          Plaintiffs,                                  )
                                                       )
          v.                                           )         Case No. 4:17 CV 24 CDP
                                                       )
   BRIDGETON LANDFILL, LLC, et al.,                    )
                                                       )
          Defendants.                                  )

  PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITIONS TO PLAINTIFFS’ MOTION
                             TO REMAND

    I.   Introduction

         This case properly belongs in Saint Louis County Circuit Court. Plaintiffs sue only under

  state law and no federal laws are applicable or essential to their claims. The Court must view

  Plaintiffs’ Second Amended Complaint as it truly is – an action for damages under Missouri state

  law – and not as Defendants seek to characterize it. The Price Anderson Act (“PAA”) cannot apply

  because Plaintiffs are not asserting a public liability action because there has been no “nuclear

  incident” as statutorily defined. Without an appropriate and applicable federal license or an

  indemnification agreement, there is no “nuclear incident” and thus no “public liability action”

  under the PAA. Likewise, the Comprehensive Environmental Response, Compensation, and

  Liability Act (“CERCLA”) cannot apply because Plaintiffs claims do not amount to a CERCLA

  “challenge.” Federal courts are courts of limited jurisdiction and Defendants simply have not

  carried their burden of establishing that federal jurisdiction is proper. Given that all doubts as to

  whether remand is proper should favor remand, this matter belongs in Saint Louis County,

  Missouri State Court. Moreover, when faced with “competing preemption narratives,” the Court


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  has the “duty to accept the reading that disfavors preemption.” Cook v. Rockwell Int’l Corp., 790

  F.3d 1088, 1094 (10th Cir. 2015) (citing Bates v. Dow Agrosciences LLC,544 U.S. 431, 449, 125

  S.Ct. 1788, 161 L.Ed.2d 687 (2005). This duty is only “heightened” where (as here) the area of

  law in question is one of traditional state regulation like public health and safety. Id. at 1094 (citing

  Riegel v. Medtronic, Inc., 552 U.S. 312, 334, 128 S.Ct. 999, 169 L.Ed.2d 892 (2008).

   II.    The Price Anderson Act Does Not Apply to Plaintiffs’ Claims

          “At the threshold of every action asserting liability growing out of a nuclear incident, then,

  there is a federal definitional matter to be resolved: Is this a public liability action? If the answer

  to that question is “yes,” the provisions of the Price–Anderson Act apply[.]” In re TMI Litig. Cases

  Consol. II, 940 F.2d 832, 854–55 (3d Cir. 1991). Here, there is no applicable license or indemnity

  agreement that would trigger the PAA.

          While this Court has determined the PAA preempts state law when the PAA is plead, this

  Court has not considered whether the PAA should apply in the first place. Plaintiffs contend that

  the PAA does not apply and this Court lacks subject matter jurisdiction, thus requiring remand. As

  determined by three factually related cases in this Court, the PAA does not apply because the

  Defendants lack an appropriate federal license or indemnity agreement needed to trigger the PAA

  and its exclusive federal jurisdiction. See Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759 (E.D.

  Mo. 2017); Banks v. Cotter Corp., No. 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D. Mo. Mar.

  29, 2019); Kitchin v. Bridgeton Landfill, LLC, 389 F. Supp. 3d 600, 606 (E.D. Mo. 2019).

              a. The PAA Does Not Apply Without a License or Indemnity Agreement

          As determined in Strong, Banks and Kitchin, the PAA does not apply under the facts of

  this case because defendants do not have an appropriate license or indemnity agreement that would

  apply to the complained of activity. Defendants take issue with these decisions because of their



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  reliance on Gilberg v. Stepan Co., 24 F. Supp. 2d 325 (D.N.J. 1998), which has been criticized by

  other courts. It is important to note that this court has acknowledged that there are conflicting

  opinions, yet even so has determined that the PAA does not apply under these circumstances. See

  Banks, 2019 WL 1426259, at *6; Strong, 283 F. Supp. 3d 759, 767 (E.D. Mo. 2017).

         Moreover, this Court in Kitchin conducted an independent analysis of the language of the

  PAA and without any reliance on Gilberg or its reasoning reached the same conclusion that “there

  cannot be a nuclear incident without an applicable license or indemnity agreement” Kitchin , 389

  F. Supp. 3d 600, 612 (E.D. Mo. 2019) (citing Strong, 283 F. Supp. 3d at 771.) As stated in Kitchin,

  “when the definition [of ‘nuclear incident’] is read in toto and in conjunction with § 2210, ‘nuclear

  incidents’ are those occurrences within and outside the United States that arise from activities

  conducted under DOE contracts or in connection with NRC-licensed activity.” Kitchin, 389 F.

  Supp. 3d 600, 612 (E.D. Mo. 2019). The Court in Kitchin also reviewed the legislative history of

  the PAA and found it to support this conclusion.

             b. Defendants Do Not Have an Applicable License or Indemnity Agreement

         Defendants assert that Cotter’s 1969 source material license provides a basis for the

  application of the PAA under these circumstances. However, this Court has squarely addressed

  this issue and determined that this exact license does not support subject matter jurisdiction under

  the PAA for this exact same landfill as well as for these exact same radioactive wastes. See Strong,

  283 F. Supp. 3d at 772; Kitchin, 389 F. Supp. 3d at 613.

         In Strong the court determined that “assuming that a license is required for federal subject

  matter jurisdiction pursuant to the PAA, the Court fails to see how Cotter’s Source Material

  License applies to Plaintiffs’ claims.” Strong, 283 F. Supp. 3d at 772. The Court reasoned that “to

  the extent the material at issue is uranium mill tailings, in 1969, when Cotter obtained the Source



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  Material License, and, in 1973, when the Landfills allegedly accepted the material at issue, the

  definition of ‘byproduct material’ did not include uranium or thorium mill tailings. It was not until

  1978 that Congress expanded the definition of “byproduct material” to include uranium and

  thorium mill tailings.” Id. at 772-73. Plaintiffs here have affirmatively plead that the wastes at

  issue are in fact mill tailings.

          Even so, “[r]egardless of whether uranium mill tailings are the radioactive wastes at issue

  in this case or whether plaintiffs properly pled that they are, Cotter’s license nevertheless does not

  affect [the] determination that the PAA does not apply to plaintiffs’ claims.” Kitchin, 389 F. Supp.

  3d at 613. Cotter’s license authorized it to receive, possess and import the source material, to use

  such material for the purpose(s) and the place(s) designated, i.e. 9200 Latty Avenue, and to deliver

  or transfer such material to persons authorized to receive it. Plaintiffs’ damages here arise from

  defendants’ unauthorized disposal and receipt of the material and their unauthorized use of the

  material at an unauthorized site. “Cotter’s Source Material License did not cover its delivery or

  transfer of the material to such unauthorized entities. Nor did it cover defendants’ activities at the

  Landfill. Cotter’s license therefore does not provide basis for federal subject matter jurisdiction

  under the PAA.” Kitchin, 389 F. Supp. 3d at 613.

          Interestingly, Cotter claims that they “did not need a license to dispose of the material in

  the landfill.” Doc No. 180 at p. 12. In other words, Cotter maintains that their license permitted

  them to dump thousands of tons of radioactive wastes into the West Lake Landfill. A municipal

  landfill that has no liner and was never designed for the disposition of radioactive wastes and which

  has been determined to be a Superfund Site based on the presence of these wastes.

          Cotter bases this argument on the contention that the wastes dumped were “unimportant.”

  However, even if this argument were true, which it is not, the basis for federal jurisdiction must



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  be apparent from the face of Plaintiffs’ well-pleaded complaint, rather than from any defenses

  asserted by Defendants. Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987). When no federal

  question appears on the face of the complaint, federal courts do not have jurisdiction. M. Nahas &

  Co. v. First National Bank of Hot Springs, 930 F.2d 608, 611 (8th Cir. 1991). Here, the argument

  proposed by Cotter and the information used to support the argument does not appear in Plaintiffs

  complaint and it cannot be considered by this Court when determining whether jurisdiction is

  proper. Plaintiffs have alleged that Cotter failed to get the proper authorization before dumping

  these radioactive wastes into the landfill.

         It is important to note that if Cotter is correct, they concede that the wastes disposed of

  were “not subject to licensing requirements.” Doc. No. 180 at p. 13. Accordingly, as with mill

  tailings, these wastes would not provide a basis for jurisdiction under the PAA.

             c.    Defendants’ Interpretation of the 1988 Amendments is Incorrect and Leads
                  to Absurd Results

         Plaintiffs do not dispute that the 1988 Amendments expanded federal jurisdiction –

  however, not to the extent of disregarding common sense and safety. The 1988 Amendments

  expanded the PAA to nuclear incidents not considered to be “substantial.” They did not erase the

  entire statutory framework, i.e. the licensing/indemnity scheme. If Congress had intended such a

  radical change it would have been exhaustively featured in the legislative history.

         This court has already analyzed the 1988 Amendments and has determined that “nothing

  in the 1988 amendments alter the purpose of the PAA, which is to provide a compensation plan

  and liability assessment for nuclear incidents arising out of DOE-contracted activity and NRC-

  licensed activity. Kitchin, 389 F. Supp. 3d 600, 612 (E.D. Mo. 2019). As stated in Banks,

         It is clear that the 1988 amendments were enacted to expand the scope of federal
         jurisdiction to a broader class of nuclear liability cases than those arising just from
         extraordinary nuclear occurrences as well as to provide for consolidation of those

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          claims in federal court. However, in light of the PAA’s concerns related to liability
          limitation and indemnification, the Court is not convinced that the 1988
          amendments were meant to extend the reach of the PAA to activities not covered
          by applicable licenses or indemnity agreements. Defendants’ construction
          overlooks the original purposes and framework of the AEA and the PAA - to
          require those involved in the nuclear industry to obtain licenses and maintain
          financial protections.

  Banks v. Cotter Corp., 2019 WL 1426259, at *8.

          Defendant Cotter relies on Estate of Ware v. Hosp. of the Univ. of Pa., 871 F.3d 273 (3d

  Cir. 2017) (“Estate of Ware II”), to assert that following the 1988 amendments, federal jurisdiction

  exists for any occurrence causing physical harm resulting from the radioactive properties of

  nuclear material. Estate of Ware II acknowledged that the PAA is “complicated” and

  “interlocking”. Id. at 279. The court also acknowledged that the 1988 Amendments expanded the

  scope of the PAA, but not to the extent that Defendants suggest: “None of this is to say that the

  Act applies to all harm occurring from nuclear material in any situation whatsoever….we do not

  decide whether the possession of a license….might affect the Act's applicability to a particular

  case. We note only that [this] implicit limitation on the Price–Anderson Act's scope would not

  preclude its application here.” Id. at 284-285

          It is important to note that according to the NRC, the PAA applies to state-owned

  educational institutions. The same is not true for materials licensees other than those processing

  plutonium. NRC, The Price–Anderson Act—Crossing the Bridge to the Next Century: A Report to

  Congress at 4-5 (August 1, 1998). In Estate of Ware II, the University of Pennsylvania is a state-

  owned institution and they possessed a license for exact activity for which they were being sued.

  On the other hand, Cotter only had a materials license for materials other than plutonium and they

  are being sued for activities that fall outside the scope of said license.




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         Defendants also misplace their reliance on Acuna v. Brown & Root Inc., 200 F.3d 335 (5th

  Cir. 2000), to support their broad view of PAA jurisdiction. In Acuna, the court stated that

  “[u]ranium extraction and processing are part of the nuclear weapons and power industries, and

  therefore come within the ambit of § 2210(n)(2)” Id. at 340. The landfill that is the subject of this

  litigation is not part of the nuclear weapons and power industries and as such does not come within

  the ambit of § 2210(n)(2). Moreover, Acuna did not consider the “complicated” and “interlocking

  nature” of the PAA.

         To understand the 1988 Amendments, the changes made must be considered in the context

  of the entire statutory framework. The AEA provides for federal regulation and licensing of private

  construction, ownership, and operation of commercial nuclear power reactors. Pac. Gas & Elec.

  Co. v. State Energy Res. Conservation & Dev. Comm’n, 461 U.S. 190, 103 S. Ct. 1713, 75 L. Ed.

  2d 752 (1983). The PAA amended the AEA to “provide certain federal licensees with a system of

  private insurance, government indemnification, and limited liability for claims of ‘public

  liability’.” El Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473, 119 S. Ct. 1430, 143 L. Ed. 2d 635

  (1999) (emphasis added). The PAA was designed to cushion liability risks for participating

  licensees and contractors conducting their nuclear related activities in accordance with federal

  licensing and regulatory requirements. See George T. Mazuzan and J. Samuel Walker, THE

  BEGINNINGS OF NUCLEAR REGULATION 1946-62 103 (1984).

         Defendants erroneously assert that because they bear liability due to hazardous properties

  of radioactive material causing property damage, the Plaintiffs’ claims are governed by the PAA.

  Such a proposition throws the entire statutory frame out the window. Under Defendants’

  interpretation, any time the hazardous properties of radioactive material cause damage, the PAA

  applies and defendants are entitled to seek shelter behind the PAA’s system that provides for



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  limited liability and government indemnification. If Defendants are correct, corporations with no

  governmental ties or authorization whatsoever would be encouraged to forego licensing and

  insurance requirements.

         Defendants ignore the entire foundation on which the PAA is built. Here, the Court “must

  look at the [Price Anderson] Amendments Act in the context of the entire federal statutory scheme

  of nuclear power. O'Conner v. Commonwealth Edison Co., 13 F.3d 1090, 1095 (7th Cir.1994),

  cert. denied, 512 U.S. 1222, 114 S.Ct. 2711, 129 L.Ed.2d 838 (1994). Defendants assert it was

  Congress’ intent in enacting the 1988 amendments to wipe away decades of legislation and

  regulations that form the framework on which this country ensures that radioactive materials are

  handled properly by licensed facilities. The Court should decline Defendants’ invitation to adopt

  their absurd arguments. It bears repeating that the PAA does not afford protections to private

  entities and persons engaged in activities that lack the authority, license, or permission

  contemplated under the Act.

             d. Defendants' Interpretation Would Violate Due Process

         Defendant Cotter argues that the PAA provides a reasonable substitute remedy to Plaintiffs

  state law claims. Cotter supports this argument by asserting that the PAA “transforms” actions

  based on state law claims into federal actions. However, if it is determined that the PAA applies

  and that it preempts Plaintiffs state law claims, there is no doubt that this raises a serious

  constitutional problem. Congress cannot simply eliminate longstanding common law rights

  without providing any reasonable alternative remedy unless there is a “compelling” reason to do

  so. PruneYard Shopping Ctr. v. Robins, 447 U.S. 74, 93–94, 100 S.Ct. 2035, 64 L.Ed.2d 741

  (1980) (Marshall, J., concurring).




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         The Plaintiffs in Cook v. Rockwell Int’l Corp. proposed a similar argument that Plaintiffs

  propose here. 790 F.3d 1088 (10th Cir. 2015) As stated by now Supreme Court Justice Neil

  Gorsuch, “[t]his of course is no trivial argument, but because we find the defendants’ reading of

  the statute unconvincing on its own terms it is also one we happily need not reach or resolve.” Id.

  at 1099. Here, this Court should find unconvincing Defendants’ arguments as they relate to the

  PAA’s application in the absence of an applicable license or indemnity agreement and there should

  be no need to resolve the due process issue. However, if this Court determines that the PAA applies

  and it preempts Plaintiffs state law claims, then the court must consider this not so trivial argument.

  III.   CERCLA Does Not Provide a Basis for Federal Question Jurisdiction

         In a footnote, the Landfill Defendants cite Fort Ord Toxics Project, Inc. v. Cal. Envt’l Prot.

  Agency, 189 F.3d 828, 832 (9th Cir. 1999) and Lehman Bros, Inc. v. City of Lodi, 333 F. Supp. 2d

  895 (E.D. CA. 2004) to support there contention that Plaintiffs claims constitute a “challenge” to

  the EPA’s cleanup plan at the landfill and thus CERCLA provides an alternative basis for

  jurisdiction. The Landfill Defendants made this same argument and cited these same cases in

  Kitchin and the Court determined that CERCLA does not provide a basis for jurisdiction under

  essentially the same facts. Kitchin, 389 F. Supp. 3d at 615. The Landfill Defendants also cite

  McClellan Ecological Seepage Situation v. Perry, 47 F.3d 325, 330 (9th Cir. 1995) to support their

  contention that Plaintiffs claims constitute a “challenge” to the EPA’s cleanup plan at the landfill.

  In McClellan Plaintiffs sought to improve on a CERCLA cleanup which was determined to be a

  “challenge” to the cleanup. Here, Plaintiffs are not seeking to improve on the EPA’s cleanup plan.

  Simply put, Defendants have not and cannot point to anything in the Second Amended Complaint

  that would require defendants to take action that would overlap with, alter, challenge or contradict

  any EPA remedy that is being reviewed and/or taken at the Landfill.



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  IV.     Appellate Review of a District Court’s Order Remanding a Case is Impermissible

          Here, the Landfill Defendants are requesting review of a remand order which has yet to be

 issued. However, the Landfill Defendants fail to recognize that “[a]n order remanding a case to the

 State court from which it was removed is not reviewable on appeal or otherwise, except that an

 order remanding a case to the State court from which it was removed pursuant to section 1442 or

 1443 of this title shall be reviewable by appeal or otherwise.” 28 U.S.C. § 1447(d).1 This matter

 was not removed pursuant to section 1442 or 1443. As such, the law is explicit that a decision to

 remand this case would not be reviewable on appeal or otherwise. “Reviewability of a remand

 order depends entirely upon the trial court's stated grounds for its decision to remand. Remand

 after removal is controlled by § 1447(c), which provides that ‘[i]f ... it appears that the district

 court lacks subject matter jurisdiction, the case shall be remanded....’ Through the prohibitory

 effect of 28 U.S.C. § 1447(d), remand orders under § 1447(c) are not reviewable on appeal, by

 mandamus, or otherwise, except in civil rights cases.” Tillman v. CSX Transp., Inc., 929 F.2d 1023,

 1026 (5th Cir. 1991) (internal citations omitted). Despite the Landfills’ assertion that 28 U.S.C. §

 1292 would allow them to appeal a remand order, they cannot escape the restrictions governing

 the procedure for removal found in 28 U.S.C. § 1447(d). Simply put, the text of 1447(d) forbids

 appellate review of a district court order remanding a case to state court.

          Defendants own brief opposing Plaintiffs’ Motion to Remand confirms this result as they

 argue that “granting leave to amend may set the stage for an unappealable remand order.” Doc.



 1
  “As a general matter, appellate review of orders remanding cases to state court is not permitted, as specified by 28
 U.S.C. 1447(d).” S.Rep. No. 109–14, at 49 (2005).


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 No. 181 at pages 9-10 (emphasis added). Here, leave to amend has been granted and the only

 decision left to be made is whether remand is proper, a decision that is unappealable under §

 1447(d). It is telling that Defendants offer no basis in law as to how this matter could be certified

 for appellate review.

   V.   Conclusion

        Despite Defendants attempt to create federal jurisdiction where none exists, this matter

 belongs in state court. The PAA nor CERCLA are essential to Plaintiffs’ claims and they do not

 preempt Plaintiffs’ state law causes of action. On its face, the PAA is not a model of clarity and

 the cases interpreting it are nuanced. There are, however, three recent decisions from this Court

 involving the same Defendants, the same landfills, and the same radioactive wastes. Those cases

 have all been remanded back to state court. This case should be remanded as well.

        Defendants have not carried their burden of establishing that jurisdiction is proper under

 the PAA or CERCLA, especially considering that any doubts about the correctness of removal are

 resolved in favor of state court jurisdiction and remand and that when faced with competing

 preemption arguments the court has a duty to accept the reading that disfavors preemption.

        This Court should ignore the Landfill Defendants’ attempt to circumvent 28 U.S.C. §

 1447(d) which prohibits the review of remand orders on appeal or otherwise.


                                               Respectfully Submitted,

                                               /s/ Celeste Brustowicz
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                                               Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                               Celeste Brustowicz (LSBA 16835), Pro Hac Vice
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                                             ATTORNEYS FOR PLAINTIFFS,
                                             MICHAEL AND ROBBIN DAILEY




                                CERTIFICATE OF SERVICE

        I hereby certify that on December 10, 2019, I electronically filed the foregoing document

 with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing

 to counsel of record.

                                             /s/ Celeste Brustowicz
                                             Celeste Brustowicz (LSBA 16835), Pro Hac Vice




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

  MICHAEL DAILEY, et al.,                         )
                                                  )
               Plaintiffs,                        )
                                                  )
        v.                                        )    Case No. 4:17 CV 24 CDP
                                                  )
  BRIDGETON LANDFILL, LLC, et al.,                )
                                                  )
               Defendants.                        )

                  MEMORANDUM AND ORDER OF REMAND

        After filing their second amended complaint in this removed case, plaintiffs

  Michael and Robbin Dailey move to remand this action to state court for lack of

  federal subject-matter jurisdiction. Because this Court neither currently has nor

  ever had subject-matter jurisdiction over this action, I will remand the case to state

  court under 28 U.S.C. § 1447(c).

                                      Background

        Husband and wife plaintiffs, Michael and Robbin Dailey, seek damages and

  injunctive relief for radioactive contamination of their home allegedly caused by

  neighboring West Lake Landfill, located in North St. Louis County, Missouri. The

  Daileys assert that their property has been damaged by soil, dust, and air

  contamination from improper generation, handling, storage, and disposal of
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  radioactive materials by several corporate defendants.1 The remaining defendants

  in this action are the owners and operators of the Landfill – namely Bridgeton

  Landfill, LLC; Republic Services, Inc.; Allied Services, LLC; and Rock Road

  Industries, Inc. (collectively, “the Landfill Defendants”) – as well as a waste

  generator and disposer, Cotter Corporation.

         The Daileys originally filed this suit in St. Louis County Circuit Court in

  November 2016, pleading state-law claims of trespass, permanent nuisance,

  temporary nuisance, negligence, negligence per se, strict liability, and medical

  monitoring. On January 6, 2017, defendants invoked federal-question jurisdiction

  under 28 U.S.C. § 1331 and removed the action to this Court, arguing that the

  allegations in the state-court petition arise under federal law – specifically the

  Price-Anderson Act (PAA) as amended in 1988, 42 U.S.C. §§ 2010, et seq., which

  provides a federal compensation regime for damages resulting from a nuclear

  incident; and the Comprehensive Environmental Response, Compensation, and

  Liability Act (CERCLA), 42 U.S.C. §§ 9601, et seq., which established a federal

  “Superfund” to clean up uncontrolled or abandoned hazardous-waste sites, and

  provides for liability of persons responsible for releases of hazardous waste at

  these sites.


  1
    The detailed history of the events and circumstances that allegedly caused this radioactive
  contamination is set out in my Memorandum and Order entered October 27, 2017, and is
  incorporated herein. (See ECF 89 at pp. 3-5.)
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         Shortly after removal, defendants moved to dismiss the case, arguing, first,

  that the PAA preempted the Daileys’ state-law claims and, second, that the petition

  failed to state a PAA claim because it failed to allege an essential element, that is,

  that the Daileys were exposed to radiation in excess of federal dose limits.2 Before

  responding to the motions to dismiss, the Daileys moved to remand the case to

  state court, arguing that their petition did not plead any federal claims, that the

  PAA did not apply to the claims, and that no “nuclear incident” (which is required

  for a PAA claim) was pled or could be inferred from the petition’s factual

  averments.

        After the motion to remand was fully briefed, the Daileys abruptly withdrew

  the motion without explanation. Thereafter, in lieu of a response to defendants’

  pending motions to dismiss, the Daileys filed an amended complaint (with

  defendants’ consent), which restated the factual averments nearly verbatim from

  their original state-court petition. In an apparent nod to defendants’ motions to

  dismiss, however, the Daileys added a new factual allegation that the radioactive

  material contaminated their property at specific dosage levels greater than what

  relevant federal safety regulations allowed. Accordingly, in addition to state-law

  claims of nuisance and strict liability for abnormally dangerous activity, the

  Daileys added a separate and distinct claim for relief under the PAA, that is, that

  2
   Although defendants invoked CERCLA as a basis for removal, none of the defendants
  addressed CERCLA in their motions to dismiss.
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  defendants’ conduct caused a “nuclear incident” or a series of “nuclear incidents”

  under the PAA, thus making this a “‘public liability action’ arising under 42 U.S.C.

  § 2210 asserting legal liability resulting from a ‘nuclear incident[.]’” (ECF 70 at ¶

  105.)

           On defendants’ renewed motions to dismiss the amended complaint, I

  dismissed the Daileys’ state-law claims as being preempted by the explicitly pled

  PAA claim. To the extent defendants argued that the PAA claim failed on its face

  as well because it did not adequately allege exposure to radiation in excess of the

  relevant federal standards, I determined that the federal dose limit did not appear to

  apply to the claim raised here, that is, “a property damage claim against a non-

  NRC3 licensed facility.” (ECF 89 at p. 19.) On this basis, I allowed the Daileys’

  PAA-captioned claim to proceed.

           In the meanwhile, another judge of this Court determined that the “nuclear

  incidents” to which the PAA applies are only those occurrences involving NRC

  licensees or those with an indemnity agreement as described in the statute. See

  generally Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017).

  Where neither an NRC licensee nor an indemnity agreement is involved, there can

  be no “nuclear incident” under the PAA and thus no federal subject-matter

  jurisdiction under the PAA. Id.


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      Nuclear Regulatory Commission.
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          In both their state-court petition and amended complaint, the Daileys made

  the factual averment that the Landfill was not a licensed nuclear facility. And in

  their amended complaint, they alleged that Cotter did not hold the required license

  to transport radioactive waste to the Landfill. Moreover, the Daileys never alleged

  at any time that any defendant operated under an indemnity agreement as

  contemplated by the PAA.

          After the Court’s determination in Strong, the Daileys moved to amend their

  complaint again, seeking to eliminate the PAA claim first asserted in their

  amended complaint and to reinstate their state-law claims as originally pled in their

  state-court petition. In support of their motion to amend, the Daileys argued that

  the PAA never applied to this action from the outset because defendants never

  possessed the appropriate federal license or indemnity agreement needed to trigger

  the PAA. I granted leave to file this second amended complaint on October 22,

  2019.

          The second amended complaint tracks the factual averments and allegations

  made in the original state-court petition, expands the explanation regarding the mill

  tailings Cotter allegedly transported to and disposed of at the Landfill, and omits

  the first amended complaint’s allegations regarding levels of contamination

  meeting federal standards. The claims for relief are those set out in the original

  petition, namely, state-law claims of trespass, permanent nuisance, temporary


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  nuisance, negligence, negligence per se, strict liability/absolute liability, injunctive

  relief (medical monitoring), and punitive damages. And the second amended

  complaint goes to great lengths to disavow any connection to federal law,

  explicitly stating that the claims are not within the scope of the PAA given

  defendants’ lack of a required license and the absence of an indemnification

  agreement, as well as the exclusion of mill tailings as covered substances under the

  PAA or the Atomic Energy Act during the relevant period.

        The Daileys now move to remand the action to state court, arguing that this

  Court lacks federal subject-matter jurisdiction.

                                        Discussion

        Federal courts are courts of limited jurisdiction. Kokkonen v. Guardian Life

  Ins. Co. of Am., 511 U.S. 375, 377 (1994). “It is to be presumed that a cause lies

  outside this limited jurisdiction, and the burden of establishing the contrary rests

  upon the party asserting jurisdiction.” Id. (citations omitted).

        A federal district court may exercise removal jurisdiction only where the

  court would have had original subject-matter jurisdiction had the action initially

  been filed there. Krispin v. May Dep’t Stores Co., 218 F.3d 919, 922 (8th Cir.

  2000) (citing 28 U.S.C. § 1441(b)). For actions removed on the basis of federal-

  question jurisdiction, “[t]he presence or absence of [such] jurisdiction is governed

  by the ‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists


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  only when a federal question is presented on the face of the plaintiff’s properly

  pleaded complaint.” Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987). “[A]

  case may not be removed to federal court on the basis of a federal defense[.]” Id.

  at 393 (emphasis in Caterpillar).

        The party invoking removal jurisdiction and opposing remand carries the

  burden of establishing federal subject-matter jurisdiction by a preponderance of the

  evidence. Kokkonen, 511 U.S. at 377; In re Prempro Prods. Liab. Litig., 591 F.3d

  613, 620 (8th Cir. 2010). Generally, a court must resolve all doubts about federal

  jurisdiction in favor of remand to state court. In re Prempro, 591 F.3d at 620. “If

  at any time before final judgment it appears that the district court lacks subject

  matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c).

  A.    No Federal-Question Jurisdiction Under the PAA

        Several judges in this Court, including me, have held that a “nuclear

  incident” under the PAA requires that the alleged unlawful conduct must have

  arisen from NRC-licensed activities or under a contract with the Department of

  Energy (DOE) with agreements of indemnification. Strong v. Republic Servs.,

  Inc., 283 F. Supp. 3d 759, 772 (E.D. Mo. 2017); Kitchin v. Bridgeton Landfill,

  LLC, 389 F. Supp. 3d 600, 612-13 (E.D. Mo. 2019); Banks v. Cotter Corp., No.

  4:18-CV-00624 JAR, 2019 WL 1426259, at *6 (E.D. Mo. Mar. 29, 2019). As the

  reasoning in those cases explains, there cannot be a nuclear incident under the


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  PAA without an applicable NRC license or DOE indemnity agreement.4

         None of the defendants here is an indemnitee or licensee as contemplated

  under the PAA, and their alleged conduct does not arise from NRC-licensed

  activity or under a DOE contract with indemnification. The Daileys have never

  alleged such jurisdictional facts, either in state court or here, and indeed have

  consistently pled facts that preclude application of the PAA. With the absence of

  these PAA-required jurisdictional facts, federal subject-matter jurisdiction under

  the PAA never existed from the outset.

         Attaching a PAA moniker to the first amended complaint did not change this

  circumstance. A complaint cannot be amended to produce federal jurisdiction

  where none actually existed before. Newman-Green, Inc. v. Alfonzo-Larrain, 490

  U.S. 826, 831-32 (1989). And the mere assertion of a federal claim where there is

  an actual lack of required jurisdictional facts cannot confer federal subject-matter

  jurisdiction over the action. Id. (a district court cannot remedy defective

  jurisdictional facts); CU Capital Mkt. Solutions., LLC v. Olden Lane Sec., LLC,

  No. 18-2597-DDC-KGG, 2019 WL 2612940, at *7-8 (D. Kan. June 26, 2019). See

  also GenoSource, LLC v. Inguran, LLC, No. 18-CV-113-CJW-KEM, 2019 WL

  2041661, at *3 (N.D. Iowa Apr. 11, 2019) (amended complaint does not allege


  4
   Defendants argue that these cases were wrongly decided, but I do not agree. I continue to
  believe the cases are correct so I will not reconsider their reasoning, which I fully adopt for this
  case.
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  facts that would give rise to federal-question jurisdiction regardless of whether

  plaintiff asserted it). Therefore, regardless of the specifically-pled PAA claim, the

  amended complaint could not and did not cure the lack of federal subject-matter

  jurisdiction over this action.

        Required jurisdictional facts for a PAA claim – that the alleged unlawful

  conduct arose from either NRC-licensed activities or a DOE contract with

  indemnification – never existed in this action. Accordingly, the PAA never

  applied to the Daileys’ claims. Kitchin, 389 F. Supp. 3d at 612-13; Strong 283 F.

  Supp. 3d at 772; Banks, 2019 WL 1426259, at *6.

        Defendant Cotter Corporation argues, however, that it handled, processed,

  and transported the radioactive wastes to the Landfill pursuant to a Source Material

  License issued to it by the Atomic Energy Commission (AEC) (now licensed by

  the NRC) in 1969. Cotter contends that, therefore, to the extent a license is

  required for exclusive federal jurisdiction under the PAA, the Daileys’ claims

  involve radioactive materials that were handled and disposed of by an AEC

  licensee, making the licensed activity inextricably part of the claims and thus

  within the PAA. I disagree.

        Cotter’s 1969 Source Material License authorized it to “receive, possess and

  import the source material [uranium]; to use such material for the purpose(s) and at

  the place(s) designated [9200 Latty Avenue, Hazelwood, Missouri]; and to deliver


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 or transfer such material to persons authorized to receive it[.]” (ECF 64-5,

 Feingold Decl., Exh. D.) As alleged by the Daileys throughout this litigation, their

 damages do not arise from the use of the radioactive material at the Latty Site, but

 rather from the Landfill Defendants’ unauthorized receipt of the material and their

 unauthorized use of the material at an unauthorized site, the Landfill. Cotter’s

 Source Material License did not cover its delivery or transfer of the material to

 such unauthorized entities. Nor did it cover the Landfill Defendants’ activities at

 the Landfill. Cotter’s license therefore does not provide a basis for federal subject-

 matter jurisdiction under the PAA. See Kitchin, 389 F. Supp. 3d at 613; Banks,

 2019 WL 1426259, at *9.

          Somewhat incongruously, Cotter also argues that it did not need a license to

 transport the radioactive material at issue in this case because the quantities of such

 material it deposited at the Landfill were “unimportant” under 42 U.S.C. § 2092.5

 An “unimportant” quantity of source material for which persons are exempt from

 federal regulatory licensing is that which is “by weight less than one-twentieth of 1

 percent (0.05 percent) of the mixture, compound, solution or alloy.” 10 C.F.R. §


 5
     Section 2092 provides:

          Unless authorized by a general or specific license issued by the Commission, which
          the Commission is authorized to issue, no person may transfer or receive in
          interstate commerce, transfer, deliver, receive possession of or title to, or import
          into or export from the United States any source material after removal from its
          place of deposit in nature, except that licenses shall not be required for quantities
          of source material which, in the opinion of the Commission, are unimportant.
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 40.13(a). Referring to a “Remedial Investigation Addendum, West Lake Landfill,”

 Cotter avers that the level of source material in the soil mixture it delivered to the

 Landfill was less than the 0.05 percent required for federal licensing. (ECF 180 at

 p. 13.) Assuming arguendo that Cotter was indeed exempt from federal licensing

 requirements for the conduct alleged here, the lack of a license removes the alleged

 conduct from PAA governance and exclusive federal jurisdiction given that NRC

 licensing or a DOE indemnification agreement is required to invoke the PAA and

 federal jurisdiction. Cotter’s defense does not provide federal subject-matter

 jurisdiction over this action.

        None of the defendants in this action is an indemnitee or licensee as

 contemplated under the PAA, and their alleged conduct does not arise from NRC-

 licensed activity or under a DOE contract with indemnification. The PAA

 therefore does not apply to the Daileys’ claims.

 B.     No Federal-Question Jurisdiction Under CERCLA

        In their removal petition, defendants asserted that the injunctive relief sought

 in the Daileys’ state-court petition constituted a CERCLA challenge because such

 relief would interfere with the EPA’s remediation plans at the federal Superfund

 site. They further argued that because the Daileys allege that the Landfill is the

 source of the radioactive contamination found on their properties, and the Landfill

 is a federal Superfund site over which the EPA has exclusive jurisdiction, then the


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 EPA likewise has exclusive jurisdiction over their property under CERCLA.

        Nothing in the Daileys’ original state-court petition or amended complaints

 shows that they are requesting relief that would interfere with the EPA’s

 remediation plans. Although the Daileys refer to the Landfill as a Superfund site,

 they do not expressly challenge the effectiveness of the Landfill remedy, request

 modification of the remedial plan, or seek specific action that could conflict with

 the remediation process. And defendants offer no explanation as to how the

 requested relief would alter EPA’s plans in a way that is somehow inconsistent

 with any particular federal obligation or requirement. The Daileys do not cite

 CERCLA as a basis for their claims; nor do they seek reimbursement of response

 costs or any other form of relief available under its provisions. Nor does CERCLA

 completely preempt the Daileys’ claims or otherwise foreclose them from relying

 on common law theories for the relief they seek. See Kitchin, 389 F. Supp. 3d at

 614-15.

        Defendants’ argument that the EPA has exclusive jurisdiction over the

 Landfill Superfund site and thus over any private property that is contaminated

 with hazardous substances from the Superfund site was squarely rejected in

 Kitchin, and I reject it here for the same reasons. 389 F. Supp. 3d at 614-15.

        Finally, to the extent defendants contend that the EPA nevertheless has

 exclusive jurisdiction over the Landfill Superfund site, nothing in the Daileys’


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 allegations raised throughout this litigation shows that they seek relief that would

 require defendants to take action that would overlap with, alter, or contradict any

 EPA remedy that is being reviewed and/or or taken at the site under CERCLA.

 The Daileys’ claims do nothing to take away from the EPA’s jurisdiction over the

 Superfund site. And CERCLA does not completely preempt state tort liability for

 damages caused by the release of hazardous substances. The causes of action the

 Daileys pursue do not necessarily depend on resolution of substantial questions

 regarding response-cost liabilities or other obligations imposed by CERCLA. Nor

 have defendants demonstrated that the Daileys are making a CERCLA challenge

 by requesting relief that would interfere with the EPA’s remediation plans. See

 Kitchin, 389 F. Supp. 3d at 614-15, and cases cited therein.

        Throughout this litigation, the Daileys never raised any actually disputed

 and/or substantial issues arising under CERCLA. I therefore reject defendants’

 contention that CERCLA provides a basis for federal subject-matter jurisdiction

 over this cause of action. I will not further address the CERCLA argument raised

 in defendants’ response to the Daileys’ pending motion to remand (ECF 181 at p. 8

 n.3), given that it was mentioned only by way of a footnote. See Ritchie Capital

 Mgmt., L.L.C. v. Jeffries, 653 F.3d 755, 763 n.4 (8th Cir. 2011).

                                      Conclusion

        I do not have federal-question jurisdiction over this action under either the


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 PAA or CERCLA. And defendants provide no other argument or evidence

 establishing any other basis for federal subject-matter jurisdiction. Accordingly,

 the case shall be remanded to state court. 28 U.S.C. § 1447(c). In light of this

 determination, I need not address the Daileys’ argument that applying the PAA to

 their claims would deprive them of due process. Further, because this remand

 order is based on § 1447(c) for lack of subject-matter jurisdiction, the court of

 appeals would lack jurisdiction to review it. In re Atlas Van Lines, Inc., 209 F.3d

 1064, 1066 (8th Cir. 2000); 28 U.S.C. § 1447(d). I will therefore deny defendants’

 request that I certify the order for interlocutory appeal.

        Accordingly,

        IT IS HEREBY ORDERED that plaintiffs Michael and Robbin Daileys’

 Motion to Remand [174] is GRANTED.

        IT IS FURTHER ORDERED that this case is REMANDED to the Circuit

 Court of St. Louis County, Missouri, from which it was removed. All other

 motions that remain pending in this action are reserved for ruling by that court.




                                         _______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE


 Dated this 23rd day of March, 2020.
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Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 256 of 449 PageID #: 2840




               IN THE TWENTY FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                                     ST. LOUIS COUNTY

 MICHAEL DAILEY, and                   )
 ROBBIN DAILEY,                        )
                                       )
 Plaintiffs,                           )
                                       )       Case No. 16SL-CC04240
 v.                                    )
                                       )
 BRIDGETON LANDFILL, LLC, et al.,      )
                                       )
 Defendants.                           )

                                      ENTRY OF APPEARANCE

         COMES NOW, Anthony D. Gray of Johnson Gray, LLC and enters his appearance on

 behalf of Plaintiffs in the above-captioned matter.

 Dated: April 10, 2020
                                                               Respectfully submitted,



                                                               Anthony D. Gray, #51534
                                                               Attorney for Defendant
                                                               319 North 4th Street, Suite 212
                                                               St. Louis, MO 63102
                                                               (314) 385-9500 tel
                                                               (314) 594-2052 fax


                                      CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 10, 2020, a true and accurate copy of the
 foregoing was served by filing it in the court’s electronic Case.net filing and notification system,
 which will provide notice to all parties and attorneys of record.



                                                               Anthony D. Gray
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  Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 257 of 449 PageID #: 2841

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Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 258 of 449 PageID #: 2842




                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI


 MICHAEL DAILEY and ROBBIN DAILEY,

               Plaintiffs,
                                                              Case No. 16SL-CC04240
         v.                                                       Division No. 11

 BRIDGETON LANDFILL, LLC, et al.,

                Defendants.


                                  ENTRY OF APPEARANCE

        The undersigned attorneys enter their appearance on behalf of Defendant Cotter

 Corporation (N.S.L.) without waiver of jurisdictional or other defenses.

        Dated: April 9, 2020                         Respectfully submitted,

                                                     /s/ Brian O. Watson
                                                     RILEY SAFER HOLMES & CANCILA LLP
                                                     Edward Casmere, #64326MO
                                                     Brian O. Watson, #68678MO
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                                                     bwatson@rshc-law.com
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          The undersigned attorney certifies on April 9, 2020, these papers were filed through

 Missouri Court’s eFiling system, which will serve an electronic copy upon all counsel of record.

                                                    Respectfully submitted,

                                                    /s/ Brian O. Watson
                                                    RILEY SAFER HOLMES & CANCILA LLP
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                                                    Brian O. Watson, #68678MO
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      IN THE TWENTY FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 MICHAEL DAILEY, and                           )
 ROBBIN DAILEY,                                )
                                               )
                Plaintiffs,                    )
                                               )       Case No. 16SL-CC04240
 v.                                            )
                                               )
 BRIDGETON LANDFILL, LLC, et al.,              )
                                               )
                Defendants.                    )

                                   ENTRY OF APPEARANCE

        COMES NOW Nathaniel R. Carroll of Keane Law, LLC and enters his appearance on

 behalf of Plaintiffs in the above-captioned matter.

 Dated: April 7, 2020                                  Respectfully submitted,

                                                       KEANE LAW LLC

                                               By:     /s/ Nathaniel R. Carroll
                                                       Ryan A. Keane, # 62112
                                                       Nathaniel R. Carroll, # 67988
                                                       7777 Bonhomme Ave, Ste 1600
                                                       St. Louis, MO 63105
                                                       Ph: (314) 391-4700
                                                       Fx: (314) 244-3778
                                                       ryan@keanelawllc.com
                                                       nathaniel@keanelawllc.com
                                                       Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 7, 2020, a true and accurate copy of the
 foregoing was served by filing it in the court’s electronic Case.net filing and notification system,
 which will provide notice to all parties and attorneys of record.


                                                       /s/ Nathaniel R. Carroll




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      IN THE TWENTY FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 MICHAEL DAILEY, and                            )
 ROBBIN DAILEY,                                 )
                                                )
                Plaintiffs,                     )
                                                )       Case No. 16SL-CC04240
 v.                                             )
                                                )
 BRIDGETON LANDFILL, LLC, et al.,               )
                                                )
                Defendants.                     )

                                   ENTRY OF APPEARANCE

        COMES NOW Ryan A. Keane of Keane Law, LLC and enters his appearance on behalf

 of Plaintiffs in the above-captioned matter.

 Dated: April 7, 2020                                   Respectfully submitted,

                                                        KEANE LAW LLC

                                                By:     /s/ Ryan A. Keane
                                                        Ryan A. Keane, # 62112
                                                        Nathaniel R. Carroll, # 67988
                                                        7777 Bonhomme Ave, Ste 1600
                                                        St. Louis, MO 63105
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                                                        Fx: (314) 244-3778
                                                        ryan@keanelawllc.com
                                                        nathaniel@keanelawllc.com
                                                        Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 7, 2020, a true and accurate copy of the
 foregoing was served by filing it in the court’s electronic Case.net filing and notification system,
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                                                        /s/ Ryan A. Keane




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     IN THE TWENTY FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                           ST. LOUIS COUNTY

 MICHAEL DAILEY, and ROBBIN DAILEY, )
                                    )
      Plaintiffs,                   )
                                    )
 v.                                 )                          Case No. 16SL-CC04240
                                    )
 BRIDGETON LANDFILL, LLC, et al.,   )
                                    )
      Defendants.                   )

                                      NOTICE OF REMAND

        Plaintiffs Michael Dailey and Robbin Dailey, through their undersigned counsel, hereby

 respectfully notify this honorable Court that on March 23, 2020, the United States District Court

 for the Eastern District of Missouri has entered its order remanding this matter to the Circuit Court

 of St. Louis County under 28 U.S.C. §1447(c). See Dailey et al. v. Bridgeton Landfill, LLC, et al.,

 No. 4:17-cv-00024-CDP, Docket No. 186, Memorandum and Order of Remand (Mar. 23, 2020).

 Plaintiffs attach a copy of said Order hereto as Exhibit 1.

 Dated: April 7, 2020                              Respectfully submitted,

                                                   KEANE LAW LLC

                                                   /s/ Nathaniel R. Carroll
                                                   Ryan A. Keane, #62112
                                                   Nathaniel R. Carroll, #67988
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                                                   nathaniel@keanelawllc.com
                                                   Attorneys for Plaintiffs




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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 7, 2020, a true and accurate copy of the
 foregoing was served by filing it in the court’s electronic Case.net filing and notification system,
 which will provide notice to all parties and attorneys of record.

                                                   /s/ Nathaniel R. Carroll




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

  MICHAEL DAILEY, et al.,                         )
                                                  )
               Plaintiffs,                        )
                                                  )
        v.                                        )    Case No. 4:17 CV 24 CDP
                                                  )
  BRIDGETON LANDFILL, LLC, et al.,                )
                                                  )
               Defendants.                        )

                  MEMORANDUM AND ORDER OF REMAND

        After filing their second amended complaint in this removed case, plaintiffs

  Michael and Robbin Dailey move to remand this action to state court for lack of

  federal subject-matter jurisdiction. Because this Court neither currently has nor

  ever had subject-matter jurisdiction over this action, I will remand the case to state

  court under 28 U.S.C. § 1447(c).

                                      Background

        Husband and wife plaintiffs, Michael and Robbin Dailey, seek damages and

  injunctive relief for radioactive contamination of their home allegedly caused by

  neighboring West Lake Landfill, located in North St. Louis County, Missouri. The

  Daileys assert that their property has been damaged by soil, dust, and air

  contamination from improper generation, handling, storage, and disposal of
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  radioactive materials by several corporate defendants.1 The remaining defendants

  in this action are the owners and operators of the Landfill – namely Bridgeton

  Landfill, LLC; Republic Services, Inc.; Allied Services, LLC; and Rock Road

  Industries, Inc. (collectively, “the Landfill Defendants”) – as well as a waste

  generator and disposer, Cotter Corporation.

         The Daileys originally filed this suit in St. Louis County Circuit Court in

  November 2016, pleading state-law claims of trespass, permanent nuisance,

  temporary nuisance, negligence, negligence per se, strict liability, and medical

  monitoring. On January 6, 2017, defendants invoked federal-question jurisdiction

  under 28 U.S.C. § 1331 and removed the action to this Court, arguing that the

  allegations in the state-court petition arise under federal law – specifically the

  Price-Anderson Act (PAA) as amended in 1988, 42 U.S.C. §§ 2010, et seq., which

  provides a federal compensation regime for damages resulting from a nuclear

  incident; and the Comprehensive Environmental Response, Compensation, and

  Liability Act (CERCLA), 42 U.S.C. §§ 9601, et seq., which established a federal

  “Superfund” to clean up uncontrolled or abandoned hazardous-waste sites, and

  provides for liability of persons responsible for releases of hazardous waste at

  these sites.


  1
    The detailed history of the events and circumstances that allegedly caused this radioactive
  contamination is set out in my Memorandum and Order entered October 27, 2017, and is
  incorporated herein. (See ECF 89 at pp. 3-5.)
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         Shortly after removal, defendants moved to dismiss the case, arguing, first,

  that the PAA preempted the Daileys’ state-law claims and, second, that the petition

  failed to state a PAA claim because it failed to allege an essential element, that is,

  that the Daileys were exposed to radiation in excess of federal dose limits.2 Before

  responding to the motions to dismiss, the Daileys moved to remand the case to

  state court, arguing that their petition did not plead any federal claims, that the

  PAA did not apply to the claims, and that no “nuclear incident” (which is required

  for a PAA claim) was pled or could be inferred from the petition’s factual

  averments.

        After the motion to remand was fully briefed, the Daileys abruptly withdrew

  the motion without explanation. Thereafter, in lieu of a response to defendants’

  pending motions to dismiss, the Daileys filed an amended complaint (with

  defendants’ consent), which restated the factual averments nearly verbatim from

  their original state-court petition. In an apparent nod to defendants’ motions to

  dismiss, however, the Daileys added a new factual allegation that the radioactive

  material contaminated their property at specific dosage levels greater than what

  relevant federal safety regulations allowed. Accordingly, in addition to state-law

  claims of nuisance and strict liability for abnormally dangerous activity, the

  Daileys added a separate and distinct claim for relief under the PAA, that is, that

  2
   Although defendants invoked CERCLA as a basis for removal, none of the defendants
  addressed CERCLA in their motions to dismiss.
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  defendants’ conduct caused a “nuclear incident” or a series of “nuclear incidents”

  under the PAA, thus making this a “‘public liability action’ arising under 42 U.S.C.

  § 2210 asserting legal liability resulting from a ‘nuclear incident[.]’” (ECF 70 at ¶

  105.)

           On defendants’ renewed motions to dismiss the amended complaint, I

  dismissed the Daileys’ state-law claims as being preempted by the explicitly pled

  PAA claim. To the extent defendants argued that the PAA claim failed on its face

  as well because it did not adequately allege exposure to radiation in excess of the

  relevant federal standards, I determined that the federal dose limit did not appear to

  apply to the claim raised here, that is, “a property damage claim against a non-

  NRC3 licensed facility.” (ECF 89 at p. 19.) On this basis, I allowed the Daileys’

  PAA-captioned claim to proceed.

           In the meanwhile, another judge of this Court determined that the “nuclear

  incidents” to which the PAA applies are only those occurrences involving NRC

  licensees or those with an indemnity agreement as described in the statute. See

  generally Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017).

  Where neither an NRC licensee nor an indemnity agreement is involved, there can

  be no “nuclear incident” under the PAA and thus no federal subject-matter

  jurisdiction under the PAA. Id.


  3
      Nuclear Regulatory Commission.
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          In both their state-court petition and amended complaint, the Daileys made

  the factual averment that the Landfill was not a licensed nuclear facility. And in

  their amended complaint, they alleged that Cotter did not hold the required license

  to transport radioactive waste to the Landfill. Moreover, the Daileys never alleged

  at any time that any defendant operated under an indemnity agreement as

  contemplated by the PAA.

          After the Court’s determination in Strong, the Daileys moved to amend their

  complaint again, seeking to eliminate the PAA claim first asserted in their

  amended complaint and to reinstate their state-law claims as originally pled in their

  state-court petition. In support of their motion to amend, the Daileys argued that

  the PAA never applied to this action from the outset because defendants never

  possessed the appropriate federal license or indemnity agreement needed to trigger

  the PAA. I granted leave to file this second amended complaint on October 22,

  2019.

          The second amended complaint tracks the factual averments and allegations

  made in the original state-court petition, expands the explanation regarding the mill

  tailings Cotter allegedly transported to and disposed of at the Landfill, and omits

  the first amended complaint’s allegations regarding levels of contamination

  meeting federal standards. The claims for relief are those set out in the original

  petition, namely, state-law claims of trespass, permanent nuisance, temporary


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  nuisance, negligence, negligence per se, strict liability/absolute liability, injunctive

  relief (medical monitoring), and punitive damages. And the second amended

  complaint goes to great lengths to disavow any connection to federal law,

  explicitly stating that the claims are not within the scope of the PAA given

  defendants’ lack of a required license and the absence of an indemnification

  agreement, as well as the exclusion of mill tailings as covered substances under the

  PAA or the Atomic Energy Act during the relevant period.

        The Daileys now move to remand the action to state court, arguing that this

  Court lacks federal subject-matter jurisdiction.

                                        Discussion

        Federal courts are courts of limited jurisdiction. Kokkonen v. Guardian Life

  Ins. Co. of Am., 511 U.S. 375, 377 (1994). “It is to be presumed that a cause lies

  outside this limited jurisdiction, and the burden of establishing the contrary rests

  upon the party asserting jurisdiction.” Id. (citations omitted).

        A federal district court may exercise removal jurisdiction only where the

  court would have had original subject-matter jurisdiction had the action initially

  been filed there. Krispin v. May Dep’t Stores Co., 218 F.3d 919, 922 (8th Cir.

  2000) (citing 28 U.S.C. § 1441(b)). For actions removed on the basis of federal-

  question jurisdiction, “[t]he presence or absence of [such] jurisdiction is governed

  by the ‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists


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  only when a federal question is presented on the face of the plaintiff’s properly

  pleaded complaint.” Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987). “[A]

  case may not be removed to federal court on the basis of a federal defense[.]” Id.

  at 393 (emphasis in Caterpillar).

        The party invoking removal jurisdiction and opposing remand carries the

  burden of establishing federal subject-matter jurisdiction by a preponderance of the

  evidence. Kokkonen, 511 U.S. at 377; In re Prempro Prods. Liab. Litig., 591 F.3d

  613, 620 (8th Cir. 2010). Generally, a court must resolve all doubts about federal

  jurisdiction in favor of remand to state court. In re Prempro, 591 F.3d at 620. “If

  at any time before final judgment it appears that the district court lacks subject

  matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c).

  A.    No Federal-Question Jurisdiction Under the PAA

        Several judges in this Court, including me, have held that a “nuclear

  incident” under the PAA requires that the alleged unlawful conduct must have

  arisen from NRC-licensed activities or under a contract with the Department of

  Energy (DOE) with agreements of indemnification. Strong v. Republic Servs.,

  Inc., 283 F. Supp. 3d 759, 772 (E.D. Mo. 2017); Kitchin v. Bridgeton Landfill,

  LLC, 389 F. Supp. 3d 600, 612-13 (E.D. Mo. 2019); Banks v. Cotter Corp., No.

  4:18-CV-00624 JAR, 2019 WL 1426259, at *6 (E.D. Mo. Mar. 29, 2019). As the

  reasoning in those cases explains, there cannot be a nuclear incident under the


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  PAA without an applicable NRC license or DOE indemnity agreement.4

         None of the defendants here is an indemnitee or licensee as contemplated

  under the PAA, and their alleged conduct does not arise from NRC-licensed

  activity or under a DOE contract with indemnification. The Daileys have never

  alleged such jurisdictional facts, either in state court or here, and indeed have

  consistently pled facts that preclude application of the PAA. With the absence of

  these PAA-required jurisdictional facts, federal subject-matter jurisdiction under

  the PAA never existed from the outset.

         Attaching a PAA moniker to the first amended complaint did not change this

  circumstance. A complaint cannot be amended to produce federal jurisdiction

  where none actually existed before. Newman-Green, Inc. v. Alfonzo-Larrain, 490

  U.S. 826, 831-32 (1989). And the mere assertion of a federal claim where there is

  an actual lack of required jurisdictional facts cannot confer federal subject-matter

  jurisdiction over the action. Id. (a district court cannot remedy defective

  jurisdictional facts); CU Capital Mkt. Solutions., LLC v. Olden Lane Sec., LLC,

  No. 18-2597-DDC-KGG, 2019 WL 2612940, at *7-8 (D. Kan. June 26, 2019). See

  also GenoSource, LLC v. Inguran, LLC, No. 18-CV-113-CJW-KEM, 2019 WL

  2041661, at *3 (N.D. Iowa Apr. 11, 2019) (amended complaint does not allege


  4
   Defendants argue that these cases were wrongly decided, but I do not agree. I continue to
  believe the cases are correct so I will not reconsider their reasoning, which I fully adopt for this
  case.
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  facts that would give rise to federal-question jurisdiction regardless of whether

  plaintiff asserted it). Therefore, regardless of the specifically-pled PAA claim, the

  amended complaint could not and did not cure the lack of federal subject-matter

  jurisdiction over this action.

        Required jurisdictional facts for a PAA claim – that the alleged unlawful

  conduct arose from either NRC-licensed activities or a DOE contract with

  indemnification – never existed in this action. Accordingly, the PAA never

  applied to the Daileys’ claims. Kitchin, 389 F. Supp. 3d at 612-13; Strong 283 F.

  Supp. 3d at 772; Banks, 2019 WL 1426259, at *6.

        Defendant Cotter Corporation argues, however, that it handled, processed,

  and transported the radioactive wastes to the Landfill pursuant to a Source Material

  License issued to it by the Atomic Energy Commission (AEC) (now licensed by

  the NRC) in 1969. Cotter contends that, therefore, to the extent a license is

  required for exclusive federal jurisdiction under the PAA, the Daileys’ claims

  involve radioactive materials that were handled and disposed of by an AEC

  licensee, making the licensed activity inextricably part of the claims and thus

  within the PAA. I disagree.

        Cotter’s 1969 Source Material License authorized it to “receive, possess and

  import the source material [uranium]; to use such material for the purpose(s) and at

  the place(s) designated [9200 Latty Avenue, Hazelwood, Missouri]; and to deliver


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 or transfer such material to persons authorized to receive it[.]” (ECF 64-5,

 Feingold Decl., Exh. D.) As alleged by the Daileys throughout this litigation, their

 damages do not arise from the use of the radioactive material at the Latty Site, but

 rather from the Landfill Defendants’ unauthorized receipt of the material and their

 unauthorized use of the material at an unauthorized site, the Landfill. Cotter’s

 Source Material License did not cover its delivery or transfer of the material to

 such unauthorized entities. Nor did it cover the Landfill Defendants’ activities at

 the Landfill. Cotter’s license therefore does not provide a basis for federal subject-

 matter jurisdiction under the PAA. See Kitchin, 389 F. Supp. 3d at 613; Banks,

 2019 WL 1426259, at *9.

          Somewhat incongruously, Cotter also argues that it did not need a license to

 transport the radioactive material at issue in this case because the quantities of such

 material it deposited at the Landfill were “unimportant” under 42 U.S.C. § 2092.5

 An “unimportant” quantity of source material for which persons are exempt from

 federal regulatory licensing is that which is “by weight less than one-twentieth of 1

 percent (0.05 percent) of the mixture, compound, solution or alloy.” 10 C.F.R. §


 5
     Section 2092 provides:

          Unless authorized by a general or specific license issued by the Commission, which
          the Commission is authorized to issue, no person may transfer or receive in
          interstate commerce, transfer, deliver, receive possession of or title to, or import
          into or export from the United States any source material after removal from its
          place of deposit in nature, except that licenses shall not be required for quantities
          of source material which, in the opinion of the Commission, are unimportant.
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 40.13(a). Referring to a “Remedial Investigation Addendum, West Lake Landfill,”

 Cotter avers that the level of source material in the soil mixture it delivered to the

 Landfill was less than the 0.05 percent required for federal licensing. (ECF 180 at

 p. 13.) Assuming arguendo that Cotter was indeed exempt from federal licensing

 requirements for the conduct alleged here, the lack of a license removes the alleged

 conduct from PAA governance and exclusive federal jurisdiction given that NRC

 licensing or a DOE indemnification agreement is required to invoke the PAA and

 federal jurisdiction. Cotter’s defense does not provide federal subject-matter

 jurisdiction over this action.

        None of the defendants in this action is an indemnitee or licensee as

 contemplated under the PAA, and their alleged conduct does not arise from NRC-

 licensed activity or under a DOE contract with indemnification. The PAA

 therefore does not apply to the Daileys’ claims.

 B.     No Federal-Question Jurisdiction Under CERCLA

        In their removal petition, defendants asserted that the injunctive relief sought

 in the Daileys’ state-court petition constituted a CERCLA challenge because such

 relief would interfere with the EPA’s remediation plans at the federal Superfund

 site. They further argued that because the Daileys allege that the Landfill is the

 source of the radioactive contamination found on their properties, and the Landfill

 is a federal Superfund site over which the EPA has exclusive jurisdiction, then the


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 EPA likewise has exclusive jurisdiction over their property under CERCLA.

        Nothing in the Daileys’ original state-court petition or amended complaints

 shows that they are requesting relief that would interfere with the EPA’s

 remediation plans. Although the Daileys refer to the Landfill as a Superfund site,

 they do not expressly challenge the effectiveness of the Landfill remedy, request

 modification of the remedial plan, or seek specific action that could conflict with

 the remediation process. And defendants offer no explanation as to how the

 requested relief would alter EPA’s plans in a way that is somehow inconsistent

 with any particular federal obligation or requirement. The Daileys do not cite

 CERCLA as a basis for their claims; nor do they seek reimbursement of response

 costs or any other form of relief available under its provisions. Nor does CERCLA

 completely preempt the Daileys’ claims or otherwise foreclose them from relying

 on common law theories for the relief they seek. See Kitchin, 389 F. Supp. 3d at

 614-15.

        Defendants’ argument that the EPA has exclusive jurisdiction over the

 Landfill Superfund site and thus over any private property that is contaminated

 with hazardous substances from the Superfund site was squarely rejected in

 Kitchin, and I reject it here for the same reasons. 389 F. Supp. 3d at 614-15.

        Finally, to the extent defendants contend that the EPA nevertheless has

 exclusive jurisdiction over the Landfill Superfund site, nothing in the Daileys’


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 allegations raised throughout this litigation shows that they seek relief that would

 require defendants to take action that would overlap with, alter, or contradict any

 EPA remedy that is being reviewed and/or or taken at the site under CERCLA.

 The Daileys’ claims do nothing to take away from the EPA’s jurisdiction over the

 Superfund site. And CERCLA does not completely preempt state tort liability for

 damages caused by the release of hazardous substances. The causes of action the

 Daileys pursue do not necessarily depend on resolution of substantial questions

 regarding response-cost liabilities or other obligations imposed by CERCLA. Nor

 have defendants demonstrated that the Daileys are making a CERCLA challenge

 by requesting relief that would interfere with the EPA’s remediation plans. See

 Kitchin, 389 F. Supp. 3d at 614-15, and cases cited therein.

        Throughout this litigation, the Daileys never raised any actually disputed

 and/or substantial issues arising under CERCLA. I therefore reject defendants’

 contention that CERCLA provides a basis for federal subject-matter jurisdiction

 over this cause of action. I will not further address the CERCLA argument raised

 in defendants’ response to the Daileys’ pending motion to remand (ECF 181 at p. 8

 n.3), given that it was mentioned only by way of a footnote. See Ritchie Capital

 Mgmt., L.L.C. v. Jeffries, 653 F.3d 755, 763 n.4 (8th Cir. 2011).

                                      Conclusion

        I do not have federal-question jurisdiction over this action under either the


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 PAA or CERCLA. And defendants provide no other argument or evidence

 establishing any other basis for federal subject-matter jurisdiction. Accordingly,

 the case shall be remanded to state court. 28 U.S.C. § 1447(c). In light of this

 determination, I need not address the Daileys’ argument that applying the PAA to

 their claims would deprive them of due process. Further, because this remand

 order is based on § 1447(c) for lack of subject-matter jurisdiction, the court of

 appeals would lack jurisdiction to review it. In re Atlas Van Lines, Inc., 209 F.3d

 1064, 1066 (8th Cir. 2000); 28 U.S.C. § 1447(d). I will therefore deny defendants’

 request that I certify the order for interlocutory appeal.

        Accordingly,

        IT IS HEREBY ORDERED that plaintiffs Michael and Robbin Daileys’

 Motion to Remand [174] is GRANTED.

        IT IS FURTHER ORDERED that this case is REMANDED to the Circuit

 Court of St. Louis County, Missouri, from which it was removed. All other

 motions that remain pending in this action are reserved for ruling by that court.




                                         _______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE


 Dated this 23rd day of March, 2020.
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                      IN THE CIRCUIT COURT OF SAINT LOUIS COUNTY
                                   STATE OF MISSOURI


 MICHAEL DAILEY and ROBBIN DAILEY,                       Cause No. 16SL-CC04240

                                      Plaintiffs,        JURY TRIAL DEMANDED

          v.

 BRIDGETON LANDFILL, LLC, REPUBLIC
 SERVICES, INC., ALLIED SERVICES, LLC,
 ROCK ROAD INDUSTRIES, INC., MI
 HOLDINGS, INC., MALLINCKRODT, INC.,
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY, and
 EXELON CORPORATION,

                                      Defendants.


                           NOTICE OF REMOVAL TO FEDERAL COURT

          PLEASE TAKE NOTICE THAT Defendant Cotter Corporation (N.S.L), improperly

 named as Cotter Corporation, with the consent of Defendants Bridgeton Landfill, LLC

 (“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied Services”),

 Rock Road Industries, Inc. (“Rock Road”), MI Holdings, Inc. (“MI”), Mallinckrodt, Inc.

 (“Mallinckrodt, Inc.”), Commonwealth Edison Company (“ComEd”), and Exelon Corporation

 (“Exelon”), through undersigned counsel, hereby certify that on January 6, 2017, it caused to be

 filed a Notice of Removal of this action in the United States District Court for the Eastern

 District of Missouri on January 6, 2017.

          A copy of the said Notice of Removal is attached hereto as Exhibit 1.




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                                      Respectfully submitted,

                                      BRYAN CAVE LLP

          Dated: January 6, 2017             /s/ Erin L. Brooks_____________

                                             BRYAN CAVE LLP

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                                             ATTORNEYS FOR DEFENDANT
                                             COTTER CORP. (N.S.L.)




       Notice of Removal received
       and filed.




                 January 11, 2017




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                                      CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2017, the foregoing was electronically filed, which will
 provide notice to all counsel of record, and a copy sent via FedEx to:




          TIMOTHY DANIEL DEFEO
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                      IN THE CIRCUIT COURT OF SAINT LOUIS COUNTY
                                   STATE OF MISSOURI


 MICHAEL DAILEY and ROBBIN DAILEY,                       Cause No. 16SL-CC04240

                                      Plaintiffs,        JURY TRIAL DEMANDED

          v.

 BRIDGETON LANDFILL, LLC, REPUBLIC
 SERVICES, INC., ALLIED SERVICES, LLC,
 ROCK ROAD INDUSTRIES, INC., MI
 HOLDINGS, INC., MALLINCKRODT, INC.,
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY, and
 EXELON CORPORATION,

                                      Defendants.


                           NOTICE OF REMOVAL TO FEDERAL COURT

          PLEASE TAKE NOTICE THAT Defendant Cotter Corporation (N.S.L), improperly

 named as Cotter Corporation, with the consent of Defendants Bridgeton Landfill, LLC

 (“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied Services”),

 Rock Road Industries, Inc. (“Rock Road”), MI Holdings, Inc. (“MI”), Mallinckrodt, Inc.

 (“Mallinckrodt, Inc.”), Commonwealth Edison Company (“ComEd”), and Exelon Corporation

 (“Exelon”), through undersigned counsel, hereby certify that on January 6, 2017, it caused to be

 filed a Notice of Removal of this action in the United States District Court for the Eastern

 District of Missouri on January 6, 2017.

          A copy of the said Notice of Removal is attached hereto as Exhibit 1.




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                                      Respectfully submitted,

                                      BRYAN CAVE LLP

          Dated: January 6, 2017             /s/ Erin L. Brooks_____________

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                                             ATTORNEYS FOR DEFENDANT
                                             COTTER CORP. (N.S.L.)




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                                      CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2017, the foregoing was electronically filed, which will
 provide notice to all counsel of record, and a copy sent via FedEx to:




          TIMOTHY DANIEL DEFEO
          DEFEO & KOLKER, LLC
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          KANSAS CITY, MO 64108

          Attorney for Plaintiffs

                                                      /s/ Erin L. Brooks_________________




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


 MICHAEL DAILEY and ROBBIN DAILEY,                     Civil Action No.

                               Plaintiffs,             _______________________

          v.

 BRIDGETON LANDFILL, LLC, REPUBLIC
 SERVICES, INC., ALLIED SERVICES, LLC,
 ROCK ROAD INDUSTRIES, INC., MI
 HOLDINGS, INC., MALLINCKRODT, INC.,
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY, and
 EXELON CORPORATION,

                               Defendants.


                                    NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, and any other applicable laws, Defendant

 Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter Corporation), on its own

 behalf and on behalf of (and with the consent of) the other named defendants Bridgeton Landfill,

 LLC (“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied

 Services”), Rock Road Industries, Inc. (“Rock Road”), Mallinckrodt LLC (incorrectly named as

 MI Holdings, Inc. and Mallinckrodt, Inc. ) (“Mallinckrodt”), Commonwealth Edison Company

 (“ComEd”), and Exelon Corporation (“Exelon”) (Cotter and the other named defendants

 collectively, “Defendants”), hereby give notice of removal of this action from the Circuit Court

 of St. Louis County, Missouri, to the United States District Court for the Eastern District of

 Missouri, Eastern Division. Copies of the defendants’ respective Consents to Removal are

 appended hereto as Exhibit D. As grounds for removal, Defendants state as follows:




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                                         INTRODUCTION

          1.      On or about November 15, 2016, Plaintiffs Michael Dailey and Robbin Dailey

 (“Plaintiffs”) filed a complaint (the “Complaint”) in the Circuit Court of St. Louis County,

 Missouri, Twenty First Judicial Circuit, thereby commencing the action styled, Michael Dailey

 and Robbin Dailey v. Bridgeton Landfill, LLC, Republic Services, Inc., Allied Services, LLC,

 Rock Road Industries, Inc., MI Holdings, Inc., Mallinckrodt, Inc., Cotter Corporation,

 Commonwealth Edison Company, and Exelon Corporation, Case No. 16SL-CC04240. A copy

 of the Complaint together with all materials filed in connection with this matter is attached

 hereto as Exhibit A.

          2.      In their Complaint, Plaintiffs allege that, as a result of Defendants’ collective

 conduct over the span of several decades, radioactive materials were released into the

 environment in and around the Bridgeton and West Lake Landfills located in Bridgeton,

 Missouri (the “Landfill”), contaminating Plaintiffs’ property with radioactive materials and

 causing various forms of property damage. See generally, Exh. A, ¶¶ 33-99.

          3.      Plaintiffs’ seven-count Complaint seeks injunctive and monetary relief for

 damages suffered as a result of trespass, permanent nuisance, temporary nuisance, negligence,

 negligence per se, and strict liability injuries, and asserts a claim for medical monitoring.

          4.      As a result of the alleged conduct by Defendants, Plaintiffs contend that they are

 entitled to monetary recovery stemming from: the loss of use of enjoyment of their property;

 annoyance and discomfort; damage to their personal property; diminution in the market value of

 their property; costs and expenses incurred as a result of Plaintiffs’ exposure to radioactive

 emissions, including the cost of remediation and relocation; statutory damages under Missouri

 state law; punitive and exemplary damages; and costs and attorneys’ fees. See Exh. A, pp. 46-



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 47.    Additionally, Plaintiffs seek injunctive relief in the form of medical and scientific

 monitoring of their home and property, as well as environmental testing, clean-up, and continued

 medical testing. See Exh. A. ¶¶ 8, 177.

          5.      Several related lawsuits alleging similar exposure to radioactive materials in St.

 Louis County are pending under lead docket McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-

 AGF (E.D. Mo.) (filed February 28, 2012).

                                              PARTIES

          6.      Plaintiffs are Missouri citizens who own real and personal property located in

 Bridgeton, Missouri. Exh. A, ¶ 11, p. 47.

          7.      Plaintiffs assert that MI Holdings, Inc. and Mallinckrodt, Inc. are the corporate

 successors to the businesses formerly known as Mallinckrodt Missouri, Mallinckrodt Chemical

 Works, Mallinckrodt Nuclear Corporation. See Exh. A, ¶¶ 15, 21-24. However, MI Holdings,

 Inc., formerly known as Mallinckrodt, Inc. (a Missouri Corporation), is not currently associated

 with Mallinckrodt LLC, the successor in interest to Mallinckrodt Chemical Works. Mallinckrodt

 LLC and MI Holdings, Inc., formerly known as Mallinckrodt, Inc. (a Missouri Corporation)

 consent to the removal of this action.

          8.      Plaintiffs maintain that Mallinckrodt is responsible for the radioactive

 contamination of Plaintiffs’ property, stemming from the uranium processing operations

 undertaken by its corporate predecessors in and around St. Louis, Missouri. See generally Exh.

 A, ¶ 25, 44-51, 66, 87, 90-99.




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          9.      Plaintiffs assert that Cotter is a subsidiary of or otherwise related to limited

 liability entities ComEd, Exelon, and Exelon Generation, LLC (“Exelon Generation”)1. See Exh.

 A, ¶¶ 15, 28-32.

          10.     Plaintiffs allege that Cotter, ComEd, Exelon, and Exelon Generation are

 responsible for the radioactive contamination of Plaintiffs’ property, stemming from Cotter’s

 handling, storage and disposal of radioactive materials generated from Mallinckrodt’s uranium

 processing operations in St. Louis. See generally Exh. A, ¶¶ 29-32, 52-55, 59, 66, 87, 90-99.

          11.     Plaintiffs allege that Bridgeton and Rock Road own or owned the Landfill, with

 Allied Services as the Landfill’s operator, and Republic as the owner, overseer, and director of

 environmental decisions and conduct of Bridgeton, Rock Road and Allied Services, as well as

 operator of the Landfill. See Exh. A, ¶¶ 14, 16-20.

          12.     Plaintiffs contend that Bridgeton, Rock Road, Allied Services, and Republic are

 responsible for the radioactive contamination of Plaintiffs’ property, stemming from their

 operation and maintenance of the Landfill and the radioactive materials contained therein. See

 generally Exh. A, ¶¶ 16-20, 56-65, 68-70, 82-85, 88, 89-99.

                                        FACTUAL BACKGROUND

          13.     According to their Complaint, Plaintiffs maintain that, from 1942 to 1957,

 Mallinckrodt’s corporate predecessors conducted uranium processing operations on behalf of the

 United States government in a facility located in downtown St. Louis (the “Downtown Site”).

 Exh. A, ¶ 44-45.

          14.     According to Plaintiffs, in the late 1940s, the United States government purchased

 a 21.7-acre tract of land near the Lambert airport to store radioactive waste, scraps and

 1
  Although Plaintiffs refer to Exelon Generation as a defendant in two paragraphs of their Complaint, see generally
 Exh. A, ¶¶ 28, 32 (“Defendants”), the Complaint does not list Exelon Generation in its caption or otherwise name it
 as a party.

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 byproducts generated by Mallinckrodt. Exh. A, ¶ 48. This site is commonly referred to as the

 St. Louis Airport Site (“SLAPS”).

          15.     Plaintiffs maintain that following the purchase of SLAPS by the government and

 through to 1957, Mallinckrodt continued to process uranium and ship resulting radioactive waste,

 scrap and by-products for storage at SLAPS. Exh. A, ¶¶ 49-50.

          16.     Plaintiffs contend that in the 1960s, certain radioactive materials that had been

 stored at SLAPS, including 8,700 tons of leached barium sulfate, which allegedly contained

 approximately seven tons of uranium, were moved to a storage site on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”). Allegedly, certain of those materials were

 subsequently purchased by Cotter. Exh. A, ¶¶ 51-52.

          17.     Plaintiffs allege that Cotter ultimately mixed the 8,700 tons of leached barium

 sulfate with approximately 38,000 tons of radioactively contaminated soil, attempted to market

 the mixture as a suitable “daily cover” for Landfill operations, and, in 1973, disposed of this

 material in the Landfill. Exh. A, ¶ 54, 59.

          18.     Plaintiffs claim that the Landfill was “never an adequate storage or disposal site

 for this highly radioactive contaminated waste,” and that as a result “surrounding communities

 are now contaminated.” Exh. A, ¶¶ 60-61.

          19.     Plaintiffs assert that all “Defendants caused or contributed to improper generation,

 handling, storage, and disposal of an estimated 500,000 cubic yards of radioactive wastes in the .

 . . Landfill,” that those Defendants who owned and operated the Landfill improperly spread

 waste throughout the Landfill, that Defendants failed to prevent off-site contamination by not

 exercising necessary precautions, and that the staff working at the Landfill were and remain

 unqualified to handle or dispose of radioactive wastes in a safe manner. Exh. A, ¶¶ 66-69.



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           20.    Plaintiffs further maintain that Bridgeton, Rock Road, Allied Services, and

 Republic have allowed subsurface fires to spread uncontrolled near the Landfill, and contend that

 should these fires reach radioactively contaminated portions of the Landfill, the result may be

 increased exposure to airborne and waterborne radioactive contaminants. Exh. A, ¶¶ 71-79.

           21.    Moreover, Plaintiffs assert that “Defendants have violated standards for protection

 against radiation” and that “Defendants’ negligent generation, handling, storage and disposal of

 radioactive wastes and radioactive soil as daily cover caused dangerous contaminants to be

 deposited in several areas throughout the Landfill site,” allegedly rendering these materials

 “highly susceptible to off-site migration of radioactive materials,” and allegedly resulting in

 waterborne and airborne contamination of communities surrounding the Landfill. Exh. A. ¶ 81-

 86, 88.

           22.    Plaintiffs also maintain that, in addition to emissions from the Landfill, “decades

 of careless and reckless hauling and storage of wastes” resulted in the contamination of homes

 and businesses near the Landfill. Exh. A, ¶ 87.

           23.    Ultimately, Plaintiffs contend that their property “is contaminated by radioactive

 material,” that this contamination is linked to radioactive emissions from the Landfill (as well as

 from materials spilled during transport to the Landfill), that “[t]he contamination was caused by

 Defendants’ improper generation, handling, storage, and disposal of radioactive materials,” and

 that the contamination resulted in damage to their property. See Exh. A, ¶¶ 90-99.

                        FEDERAL QUESTION JURISDICTION EXISTS

           24.    Pursuant to 28 U.S.C. § 1331, this Court has subject-matter jurisdiction over this

 action because it “arises under” federal law, and in particular, the Price-Anderson Act (“PAA”),

 42 U.S.C. § 2011 et seq., which completely preempts Plaintiffs’ state-law causes of action. In



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 light of this complete preemption of Plaintiffs’ state-law causes of action, the Court has federal

 question jurisdiction over this action.

          25.     “Ordinarily, determining whether a particular case arises under federal law turns

 on the well-pleaded complaint rule,” which provides that:

          “whether a case is one arising under the Constitution or law or treaty of the
          United States, in the sense of the jurisdictional statute[,] . . . must be determined
          from what necessarily appears in the plaintiff’s statement of his own claim in the
          bill or declaration, unaided by anything alleged in anticipation of avoidance of
          defenses which it is thought the defendant may interpose.”

 Aetna Health Inc. v. Davila, 542 U.S. 200, 207 (2004) (quoting Taylor v. Anderson, 234 U.S. 74,

 75-76 (1914).

          26.     Pursuant to the complete pre-emption doctrine, while “a defendant may not

 [generally] remove a case to federal court unless the plaintiff’s complaint establishes that the

 case arises under federal law,” the Supreme Court has recognized that a “state claim may be

 removed” if “a federal statute wholly displaces the state-law cause of action through complete

 pre-emption.” Id. (alteration in original); see Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 8

 (2003). “This is so because ‘[w]hen the federal statute completely pre-empts the state-law cause

 of action, a claim which comes within the scope of that cause of action, even if pleaded in terms

 of state law, is in reality based on federal law.’” Davila, 542 U.S. at 207-08 (quoting Beneficial

 Nat. Bank, 539 U.S. at 8.

          27.     Further, under the artful pleading doctrine, a federal court will have jurisdiction if

 a plaintiff has carefully drafted the complaint so as to avoid naming a federal statute as a basis

 for the claim, and the claim is in fact based on a federal statute. See Franchise Tax Bd. v.

 Constr. Laborers, 463 U.S. 1, 22 (1983) (“A plaintiff may not avoid federal jurisdiction by

 omitting from the complaint federal law essential to his or her claim or by casting in state terms a

 claim that can be made only under federal law.”).

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          28.     Indeed, the artful pleading doctrine permits courts to “delve beyond the face of

 the state court complaint and find federal question jurisdiction” by “recharacteriz[ing] a

 plaintiff’s state-law claim as a federal claim.” Precision Pay Phones v. Qwest Comms. Corp.,

 210 F. Supp. 2d 1106, 1112-13 (N.D. Cal. 2002) (citing Hunter v. United Van Lines, 746 F.2d

 635, 640 (9th Cir. 1985)); see also State ex rel. Nixon v. Coeur D’Alene Tribe, 164 F.3d 1102,

 1109 n. 4 (8th Cir. 1999) (stating that under the artful pleading doctrine, federal courts have

 subject matter jurisdiction over purported state law claims if a plaintiff failed to plead a federal

 right or immunity that is an essential element of cause of action); Missouri v. Webb, No.

 4:11CV1237, 2012 WL 1033414, at *3 (E.D. Mo. Mar. 27, 2012) (observing that “[u]nder the

 ‘artful pleading’ doctrine . . . a plaintiff may not defeat removal by failing to plead federal

 questions that are essential elements of the plaintiff’s claim,” and stating that “[o]nce an area of

 state law has been completely pre-empted by the operation of a federal statute, any claim

 purportedly based on that pre-empted state law is considered, from its inception, a federal claim,

 and therefore arises under federal law”).

 I.       The PAA Provides an Exclusive, Retroactive Federal Cause of Action that
          Completely Preempts Plaintiffs’ State-Law Claims

          29.     Plaintiffs’ state-law claims alleging that Defendants improperly generated,

 handled, stored, and disposed of radioactive materials at the Landfill arise from a nuclear

 incident and, as a result, liability in this matter is governed by the PAA, which completely

 preempts all state-law causes of action related to nuclear incidents. Plaintiffs’ state-law claims

 have been completely displaced by the PAA and, therefore, Defendants may remove this action

 to federal court.




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          A.      Federal Preemption Under the PAA

          30.     In 1988, Congress amended the PAA to create a federal “public liability” cause of

 action for injuries to persons and property arising out of or resulting from any “nuclear incident.”

 See 42 U.S.C. §§ 2014(hh), 2014(w); Pub. L. No. 100-408 § 20 (b)(1), 102 Stat. 1084.

          31.     A public liability action under the PAA is the exclusive, retroactive federal cause

 of action governing liability for injuries arising out of nuclear incidents. Pub. L. No. 100-408 §

 20 (b)(1), 102 Stat. 1084 (“The amendments governing judicial review of claims arising out of a

 [nuclear incident] shall apply to incidents occurring before, on, or after the date of the enactment

 of this Act.”); O’Conner v. Commonwealth Edison Co., 13 F.3d 1090, 1099-1100 (7th Cir. 1994)

 (holding that under the PAA, as amended, “a state cause of action is not merely transferred to

 federal court; instead, a new federal cause of action supplants the prior state cause of action.”).

          32.     Indeed, virtually every circuit court to address the issue has concluded that “the

 Price-Anderson Act completely preempts state law causes of action for public liability arising

 out of or resulting from a nuclear incident.” Adkins v. Chevron Corp., 960 F. Supp. 2d 761, 767-

 68 (E.D. Tenn. 2012) (canvassing federal case law and observing that the Third, Seventh, Ninth,

 Tenth and Eleventh Circuits are in agreement with the Sixth Circuit’s conclusion that the PAA

 completely preempts state law causes of action); see also In re Berg Litig., 293 F.3d 1127, 1132

 (9th Cir. 2002) (observing that a PAA public liability action is plaintiff's “exclusive means” for

 pursuing claims arising from a nuclear incident); Roberts v. Florida Power & Light Co., 146

 F.3d 1305, 1306 (11th Cir. 1998) (“Congress passed the Price–Anderson Amendments Act of

 1988 . . . creating an exclusive federal cause of action for radiation injury.”); Kerr–McGee Corp.

 v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997) (observing that the PAA’s provisions “appear

 broad enough to create a federal forum for any tort claim even remotely involving atomic energy

 production. The PAA on its face provides the sole remedy for the torts alleged . . .”); O’Conner,

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 13 F.3d at 1100, 1105 (stating that “a new federal cause of action supplants the prior state cause

 of action . . . . [S]tate regulation of nuclear safety, through either legislation or negligence

 actions, is preempted by federal law.”); In re TMI Litig. Cases Consol. II, 940 F.2d 832, 854 (3d

 Cir. 1991) (“After the Amendments Act, no state cause of action based upon public liability

 exists. A claim growing out of any nuclear incident is compensable under the terms of the

 Amendments Act or it is not compensable at all.”).2

          33.      As observed by the Seventh Circuit, the 1988 amendments to the PAA “‘create[d]

 a federal cause of action which did not exist prior to the Act, establishe[d] federal jurisdiction for

 that cause of action, and channel[ed] all legal liability to federal courts through the cause of

 action.’” O’Conner, 13 F.3d at 1101 (quoting In re TMI Litig., 940 F.2d at 856-57); see also 42

 U.S.C. § 2210(n)(2) (“With respect to any public liability action arising out of or resulting from a

 nuclear incident, the United States district court in the district where the nuclear incident takes

 place . . . shall have original jurisdiction without regard to the citizenship of any party or the

 amount in controversy.”).           Indeed, “‘[b]y creating this federal program which requires the

 application of federal law, Congress sought to effect uniformity, equity and efficiency in the

 disposition of public liability claims,’” and “‘[w]ith the federal jurisdiction and removal

 provisions set forth in the [1988 amendments], Congress ensured that all claims resulting from a

 given nuclear incident would be governed by the same law, provided for the coordination of all

 phases of litigation and the orderly distribution of funds.’” O’Conner, 13 F.3d at 1101 (quoting

 In re TMI Litig., 940 F.2d at 856-57).


 2
   Although in Cook v. Rockwell Int’l Corp., 790 F.3d 1088, 1996-99 (10th Circuit 2015), the Tenth Circuit found
 that in specific, limited circumstances not at issue here, a plaintiff’s state-law causes of action arising from “lesser
 nuclear occurrences” may not be preempted by the PAA, the overwhelming majority of courts to address the issue
 have concluded that the PAA preempts any state-law causes of action arising from or related to nuclear incidents
 and radiation injuries. In the instant case, the factual allegations in Plaintiffs’ complaint amount to a putative claim
 for public liability arising from a nuclear incident. Whether that claim has been adequately pleaded is not the topic
 of this application, and Defendants reserve their right to challenge the adequacy of Plaintiffs’ claims.

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          34.     This is so because the complex federal scheme envisioned by the PAA included

 “pervasive federal regulation” that “occupied the entire field of nuclear safety concerns.” In re

 TMI Litig., 940 F.2d at 858.

          35.     In sum, “the field of nuclear safety has been occupied by federal regulation; there

 is no room for state law.” O’Conner, 13 F.3d at 1105.

          B.      Plaintiffs Allege Harms that Constitute a Nuclear Incident and, Therefore,
                  Their State-Law Causes of Action Are Preempted

          36.     In the instant case, the allegations in Plaintiffs’ Complaint arise from a “nuclear

 incident” as defined by the PAA.

          37.     Pursuant to the PAA, a “nuclear incident” is broadly defined as “any occurrence .

 . . within the United States causing . . . bodily injury, sickness, disease, or death, or loss of or

 damage to property, or loss of use of property, arising out of or resulting from the radioactive,

 toxic, explosive, or other hazardous property of source, special nuclear, or byproduct material.”

 42 U.S.C. § 2014(q).

          38.     This case arises from an alleged nuclear incident because the basis for Plaintiffs’

 Complaint, and the state-law causes of action therein, is their contention that Plaintiffs’ property

 “is contaminated by radioactive material,” that this contamination is linked to radioactive

 emissions from the Landfill (as well as from materials spilled during transport to the Landfill),

 that “[t]he contamination was caused by Defendants’ improper generation, handling, storage, and

 disposal of radioactive materials,” and that the contamination has caused damage to Plaintiffs’

 property. See Exh. A, ¶¶ 90-99.

          39.     More specifically, Plaintiffs allege Mallinckrodt is responsible for the radioactive

 contamination of Plaintiffs’ property, based on the uranium processing operations undertaken by

 its predecessors. See Exh. A, ¶ 25, 44-51, 66, 87, 90-99.


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          40.     Plaintiffs maintain that Cotter, ComEd, Exelon, and Exelon Generation are

 responsible for the radioactive contamination of Plaintiffs’ property based on Cotter’s handling,

 storage and disposal of radioactive materials generated from Mallinckrodt’s uranium processing.

 See Exh. A, ¶¶ 29-32, 52-55, 59, 66, 87, 90-99.

          41.     Plaintiffs assert that Bridgeton, Rock Road, Allied Services, and Republic are

 responsible for the radioactive contamination of Plaintiffs’ property as a result of their operation

 and maintenance of the Landfill and the radioactive materials contained therein. See Exh. A, ¶¶

 16-20, 56-65, 68-70, 82-85, 88, 89-99.

          42.     In short, the factual allegations undergirding Plaintiffs’ purported injuries all

 relate to the Defendants’ conduct in connection with nuclear and radioactive materials. As a

 result, Plaintiffs’ claims arise out of an alleged nuclear incident and, pursuant to the PAA, a

 public liability action is the “exclusive federal cause of action” for Plaintiffs’ alleged “radiation

 injur[ies],” Roberts, 146 F.3d at 1306.

          43.     Given that Plaintiffs’ injuries arise from an alleged nuclear incident, liability in

 this matter is therefore governed by the PAA.

          44.     Accordingly, removal to federal court on the basis of federal question jurisdiction

 is appropriate because the PAA completely preempts Plaintiffs’ state-law causes of action, and

 Plaintiffs’ claim for radiation injuries, although pleaded in terms of state law, are “in reality

 based on federal law,” Davila, 542 U.S. at 207-08.

 II.      Federal Question Jurisdiction Exists Under the Comprehensive Environmental
          Response, Compensation, and Liability Act

          45.     This Court also has federal question jurisdiction because Plaintiffs seek injunctive

 relief challenging a Comprehensive Environmental Response, Compensation, and Liability Act




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 (“CERCLA”), 42 U.S.C. § 9601 et seq., cleanup in progress at the West Lake Landfill and the

 Bridgeton Landfill, both part of the West Lake Landfill Superfund Site (“Superfund Site”).

          46.     These challenges to a CERCLA cleanup in progress create a separate basis for

 federal question jurisdiction under 28 U.S.C. § 1331.

          47.     The Complaint artfully fails to mention that the West Lake Landfill and the

 Bridgeton Landfills are part of the Superfund Site, which the United States Environmental

 Protection Agency (the “EPA”) placed on the National Priorities List (“NPL”) in 1990. See

 https://www.epa.gov/mo/west-lake-landfill.

          48.     With limited exceptions not applicable here, a district court “shall have exclusive

 jurisdiction over all controversies arising under [CERCLA].” 42 U.S.C. § 9613(b).

          49.     In keeping with the broad interpretation of the goals and purposes of CERCLA,

 federal jurisdiction under 42 U.S.C. § 9613(b) is more expansive than only those claims

 expressly created by CERCLA, and covers any challenge to a CERCLA cleanup. Fort Ord

 Toxics Project, Inc. v. Cal. Envt’l Prot. Agency, 189 F.3d 828, 832 (9th Cir. 1999).

          50.     When claims asserted by a party, including state-law claims, interfere with the

 “primary objectives of CERCLA which include ‘effectuating quick cleanups of hazardous waste

 sites’ and ‘encouraging voluntary private action to remedy environmental hazards,’” and threaten

 to “circumvent the goals of CERCLA,” such claims constitute a challenge to CERCLA and

 “compels [the federal court] to exercise jurisdiction.” Lehman Bros. Inc. v. City of Lodi, 333 F.

 Supp. 2d 895, 904-06 (E.D. Cal. 2004) (quoting Fireman’s Fund Ins. Co. v. City of Lodi, 296 F.

 Supp. 2d 1197, 1217 (E.D. Cal. 2003)).

          51.     Accordingly, in order to best effectuate the intent of Congress to promote the

 swift execution of CERCLA cleanups, the exclusive federal jurisdiction provision of 42 U.S.C. §



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 9613(b) is interpreted to cover any challenge to a CERCLA cleanup, including a challenge to, or

 interference with, the goals and purposes of CERCLA. See Fort Ord, 189 F.3d at 832; Lehman

 Bros. Inc., 333 F. Supp. 2d at 905-06.

          52.     Plaintiffs allege that their property is contaminated with radioactive wastes from

 the Superfund Site: “[t]his radioactive contamination on Plaintiffs’ property migrated from the

 Landfill . . . .” Exh. A, ¶ 98; see also Exh. A, ¶¶ 91-97 (“Defendants’ Radioactive Particles

 Contaminated the Plaintiffs’ Property”). Indeed, every count in the Complaint can easily be

 viewed as stemming from allegations regarding radioactive waste at the Superfund Site. E.g.

 Exh. A, ¶¶ 112 (Count I); 120 (Count II); 131 (Count III); 140, 141 (Count IV); 153 (Count V);

 165 (Count VI); 173 (Count VII).

          53.     Plaintiffs seek “appropriate injunctive relief” and allude to worsening conditions

 “if [the waste] is not physically removed.” Exh. A, ¶ 43, p. 47 ¶ (f). Plaintiffs allege Defendants

 have not properly handled the waste or remediated issues arising from the waste. Exh. A, ¶¶ 66-

 70. Further, Plaintiffs speculate as to issues or impacts which may occur in the future with the

 waste at the Site. Exh. A, ¶¶ 71-80. For example, Plaintiffs allege concern if the radioactive

 waste meets a subsurface exothermic chemical reaction at the Bridgeton Landfill. Exh. A, ¶¶ 74,

 75.

          54.     These requests are a challenge to the ongoing investigation and cleanup that is

 being conducted by certain of the Defendants, under the direction of the EPA, in accordance with

 CERCLA.

          55.     Plaintiffs’ allegations regarding radioactive contamination at their property

 inherently bring the property under the EPA’s jurisdiction because Plaintiffs allege the property

 contains contamination from the Superfund Site.



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          56.     The EPA has already asserted its jurisdiction over the alleged contamination of

 the Dailey home and neighboring areas, advising Plaintiffs’ counsel two days after receiving a

 copy of the Complaint that the EPA “is developing a plan for sampling dusts and soil at the

 Dailey home and other areas in Bridgeton.        The EPA will utilize this data to inform the

 development of a sampling plan.” Exh. B, ¶ 3 (November 17, 2016 letter from Alyse Stoy); see

 also Exh. C (“West Lake Update”, December 8, 2016, available at, https://semspub.epa.gov/

 work/07/30303396.pdf, describing the EPA’s sampling at the nearby residences as “part of an

 ongoing comprehensive approach by the agency to address potential environmental health con-

 cerns in the area . . .”). The EPA stated it “has also requested all documents and information

 regarding Plaintiffs’ data collection and analysis,” further demonstrating EPA’s jurisdiction over

 this issue. Exh. B, ¶ 3.

          57.     The Complaint presents a challenge to CERCLA because the relief Plaintiffs seek

 would interfere with the cleanup that is currently progressing under CERCLA, would

 compromise the objectives of CERCLA, and would directly contravene the primary objective of

 encouraging voluntary action, with federal oversight, to remedy environmental hazards.

          58.     Here, the EPA – a federal agency with particular expertise in the area of

 environmental remediation – has jurisdiction over all radiologically impacted material (“RIM”)

 from the Superfund Site. Thus, under Plaintiffs’ allegations that their property has RIM from the

 Superfund Site, any relief sought in this Complaint would interfere with the EPA’s jurisdiction

 and potentially subject Defendants to inconsistent judgments.

          59.     Plaintiffs’ claims concerning “radioactive waste” and any alleged failure to

 properly remediate the same at the Superfund Site and requesting “appropriate injunctive relief”




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 therefore require resolution of significant questions of federal law over which the exercise of

 jurisdiction in this Court is appropriate and over which this Court has exclusive jurisdiction.

 III.      Notice of Removal Is Timely

           60.    Plaintiffs filed their Complaint on November 15, 2016.

           61.    Defendant MI Holdings, Inc., formerly known as Mallinckrodt, Inc. was served

 on behalf of MI Holdings, Inc. and Mallinckrodt, Inc. on December 7, 2016; Defendants

 Bridgeton, Republic, Allied Services, and Rock Road were served on December 7, 2016;

 Defendant Cotter was served on December 14, 2016; and Defendants ComEd and Exelon were

 served on December 16, 2016.

           62.    This Notice of Removal is timely because it is filed within thirty (30) days of

 service of the Complaint upon all Defendants, and within one year of the commencement of this

 action.

           63.    Further, no previous request has been made for the relief requested in this Notice.

 IV.       Removal to This Judicial District is Proper, and Defendants Have Complied With
           All Procedural Requirements for Removal

           64.    Pursuant to 28 U.S.C. §§ 1441(a) and 1446(a), the Eastern Division of the United

 States District Court for the Eastern District of Missouri is the proper venue to which to remove

 this matter because the Circuit Court for St. Louis County, Missouri is located within the Eastern

 Division of this judicial district. See Local Rule 3-2.07(A)(1) (“The Eastern Division comprises

 the counties of . . . Saint Louis, and the City of Saint Louis”).

           65.    Venue is also proper pursuant to Local Rule 3-2.07(B)(3) because the lawsuit is a

 civil action brought against multiple defendants, some of which are non-residents, and the claims

 for relief arose in Bridgeton, St. Louis County, Missouri.




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          66.     As required by 28 U.S.C. § 1446(a) and Local Rule 81-2.03, true and correct

 copies of all pleadings on file with the Circuit Court of St. Louis County to date are attached

 hereto. Defendants are unaware of the existence of any additional process, pleadings, or orders

 other than those included in the exhibits attached hereto. There are no motions pending before

 the Circuit Court of St. Louis County, Missouri in connection with this matter, nor are there any

 hearings or conferences presently scheduled.

          67.     Pursuant to Local Rules 3-2.03 and 3-2.09, attached hereto are Defendants’ Civil

 Cover Sheet and the Original Filing Form. Defendants’ Disclosure of Organizational Interests

 Certificates will be separately filed by the individual Defendants.

          68.     Written notice of the filing of this Notice of Removal will be promptly served on

 Plaintiffs’ counsel, and a copy has been filed with the Clerk of the Circuit Court of St. Louis

 County.

          69.     Defendants’ Notice to Clerk of Filing Notice of Removal will also be promptly

 filed with the Clerk of the Circuit Court of St. Louis County.

          70.     This matter is related to a number of similar lawsuits under lead docket McClurg

 v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF (E.D. Mo.) (filed February 28, 2012). In those

 lawsuits (which are currently in the expert discovery phase), the plaintiffs seek damages under

 the PAA for injuries sustained as a result of alleged exposure to radioactive materials handled by

 Mallinckrodt’s predecessors in interest, and Cotter in St. Louis, County. The alleged exposures

 and contamination in all of the cases consolidated in the McClurg case are similarly focused on

 radioactive exposure in St. Louis County at the nearby properties Coldwater Creek, SLAPS,

 Latty Avenue, and other properties, and are premised on public liability claims under the PAA.




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 The cases consolidated under McClurg are currently assigned to Honorable Audrey G. Fleissig,

 U.S.D.J.

          71.     Defendants hereby reserve their rights to assert any and all defenses to Plaintiffs’

 Complaint.

          72.     Defendants hereby reserve the right to amend or supplement this Notice of

 Removal.

          73.     Defendants have not answered the Complaint in state court.

          74.     Defendants Bridgeton, Republic, Allied Services, Rock Road, Mallinckrodt,

 ComEd, and Exelon are actively participating in, and consent to the removal of, this matter and

 Cotter’s filing of this Notice of Removal.

                                           CONCLUSION

          WHEREFORE, in light of the foregoing, Defendant Cotter, along with Defendants

 Bridgeton, Republic, Allied Services, Rock Road, Mallinckrodt, ComEd, and Exelon,

 respectfully remove this action now pending in the Circuit Court of St. Louis County, State of

 Missouri, to this Court.

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following parties:



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SERVICE PARTY:STEPHEN MICHAEL STRUM, Attorney for Defendant
SERVICE EMAIL: sstrum@spvg.com, sstrum@sandbergphoenix.com



SERVICE PARTY:KEVIN M CARNIE, Attorney for Plaintiff
SERVICE EMAIL: kcarnie@simonlawpc.com
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 356 of 449 PageID #: 2940
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 357 of 449 PageID #: 2941
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 358 of 449 PageID #: 2942
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 359 of 449 PageID #: 2943
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 360 of 449 PageID #: 2944
                                                                                      Electronically Filed - St Louis County - November 29, 2016 - 11:22 AM
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 361 of 449 PageID #: 2945




                      IN THE TWENTY-FIRST JUDICIAL CIRCUIT
                            OF THE STATE OF MISSOURI
                               IN ST. LOUIS COUNTY


 MICHAEL DAILEY
 and ROBBIN DAILEY,
       Plaintiffs,

 vs.

 BRIDGETON LANDFILL, LLC,
 Serve at:
        The Corporation Company
        Resident Agent for Bridgeton Landfill, LLC
        120 South Central Avenue
        Clayton, MO 63105

 REPUBLIC SERVICES, INC.,                               Cause No. 16SL-CC04240
 Serve at:
        CT Corporation Services
        Registered Agent for Republic Services, Inc.
        2390 E. Camelback Road
        Phoenix, AZ 85016
                                                        Division No.
 ALLIED SERVICES, LLC,
 Serve at:                                              JURY TRIAL DEMANDED
        The Corporation Company
        Resident Agent for Allied Services, LLC
        120 South Central Avenue
        Clayton, MO 63105

 ROCK ROAD INDUSTRIES, INC.,
 Serve at:
        C T Corporation System
        Resident Agent for Rock Road Industries, Inc.
        120 South Central Avenue
        Clayton, MO 63015

 MI HOLDINGS, INC.,
 Serve at:
        C T Corporation System
        Resident Agent for MI Holdings, Inc.
        120 South Central Avenue
        Clayton, MO 63105
                                                                                                   Electronically Filed - St Louis County - November 29, 2016 - 11:22 AM
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 362 of 449 PageID #: 2946




 MALLINCKRODT, INC.,
 Serve at:
        CT Corporation System
        Resident Agent for Mallinckrodt, Inc.
        120 South Central Avenue
        Clayton, MO 63105

 COTTER CORPORATION,
 Serve at:
        The Corporation Company
        Resident Agent for Cotter Corporation
        7700 E. Arapahoe Road, Suite 220
        Centennial, CO 80112

 COMMONWEALTH EDISON COMPANY,
 Serve at:
        Corporate Creations Network IN
        Resident Agent for Commonwealth Edison Company
        350 S. Northwest Highway, Suite 300
        Park Ridge, IL 60068

 and

 EXELON CORPORATION,
 Serve at:
        Corporate Creations Network IN
        Resident Agent for Exelon Corporation
        350 S. Northwest Highway, Suite 300
        Park Ridge, IL 60068

        Defendants.



                         NOTICE OF FILING FOR SERVICE FEES


        COMES NOW Plaintiffs, Michael Dailey and Robbin Dailey, by and through their

 counsel and submits the fee for service of $36 per Defendant ($180.00) for service by St. Louis

 County Sheriff.
                                                                                      Electronically Filed - St Louis County - November 29, 2016 - 11:22 AM
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 363 of 449 PageID #: 2947




 Dated: November 29, 2016


                                      Respectfully submitted,


                                      /s/ Daniel T. DeFeo
                                      Daniel T. DeFeo, MO # 35161
                                      DeFeo & Kolker, LLC
                                      1627 Main Street
                                      Suite 801
                                      Kansas City, Missouri 64108

                                      Richard S. Lewis
                                      Michaela Spero
                                      Hausfeld LLP
                                      1700 K Street, NW
                                      Suite 650
                                      Washington, DC 20006

                                      Michael Stag
                                      Smith Stag, LLC
                                      One Canal Place
                                      365 Canal St. #2850
                                      New Orleans, LA 70130

                                      Barry J. Cooper, Jr.
                                      Cooper Law Firm, L.L.C.
                                      508 St. Philip Street
                                      New Orleans, LA 70116

                                      Winston Calvert, MO #57421
                                      W. Calvert, LLC
                                      7700 Bonhomme Ave, Suite 350
                                      St. Louis, MO 63105

                                      Steven J Stolze (Mo. Bar No. 39795)
                                      Holland Law
                                      300 N Tucker, Suite 800
                                      St Louis, MO 63102
                                                                                               Electronically Filed - St Louis County - November 29, 2016 - 11:22 AM
  Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 364 of 449 PageID #: 2948

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



SERVICE PARTY:DANIEL TIMOTHY DEFEO, Attorney for Plaintiff
SERVICE EMAIL: ddefeo@defeokolker.com
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 365 of 449 PageID #: 2949

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                          vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Property Damage                                             CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BRIDGETON LANDFILL, LLC
                                      Alias:
  R/A: THE CORPORATION CO.
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        29-NOV-2016                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary                                                                            SHERIFF FEE
     Supplemental Surcharge        $   10.00                                                                  PAID
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9251        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 366 of 449 PageID #: 2950

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9251   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 367 of 449 PageID #: 2951


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9251   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 368 of 449 PageID #: 2952

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                          vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Property Damage                                             CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: ALLIED SERVICES, LLC
                                      Alias:
  R/A: THE CORPORATION CO.
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        29-NOV-2016                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary                                                                               SHERIFF FEE
     Supplemental Surcharge        $   10.00                                                                      PAID
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9252        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 369 of 449 PageID #: 2953

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



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parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9252   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 370 of 449 PageID #: 2954


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
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communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

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representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

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the parties.

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on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
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Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

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a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9252   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 371 of 449 PageID #: 2955

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                          vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Property Damage                                             CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: ROCK ROAD INDUSTRIES, INC.
                                      Alias:
  R/A: CT CORPORATION SYSTEM
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        29-NOV-2016                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary                                                                              SHERIFF FEE
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
                                                                                                                PAID
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9253        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 372 of 449 PageID #: 2956

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
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their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9253   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 373 of 449 PageID #: 2957


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9253   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 374 of 449 PageID #: 2958

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                          vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Property Damage                                             CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MI HOLDINGS, INC.
                                      Alias:
  R/A: CT CORPORATION SYSTEM
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        29-NOV-2016                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary                                                                                SHERIFF FEE
     Supplemental Surcharge        $   10.00                                                                       PAID
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9254        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 375 of 449 PageID #: 2959

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9254   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 376 of 449 PageID #: 2960


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

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    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

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a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9254   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 377 of 449 PageID #: 2961

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                          vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Property Damage                                             CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MALLINCKRODT, INC.
                                      Alias:
  R/A: CT CORPORATION SYSTEM
  120 SOUTH CENTRAL AVENUE
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        29-NOV-2016                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       JJ
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary                                                                            SHERIFF FEE
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
                                                                                                               PAID
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9255        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 378 of 449 PageID #: 2962

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

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in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
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panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
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a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9255   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 379 of 449 PageID #: 2963


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counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

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settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

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witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
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Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

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a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 16-SMCC-9255   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 380 of 449 PageID #: 2964

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                         vs.    KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Property Damage                                                                                                                     (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: REPUBLIC SERVICES, INC.
                              Alias:
  R/A: CT CORPORATION SVCS
  2390 E. CAMELBACK ROAD
  PHOENIX, AZ 85016
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   18-NOV-2016                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 SMB
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-978           1         (16SL-CC04240)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 381 of 449 PageID #: 2965
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-978     2        (16SL-CC04240)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 382 of 449 PageID #: 2966


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-978   3    (16SL-CC04240)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 383 of 449 PageID #: 2967


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-978   4   (16SL-CC04240)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 384 of 449 PageID #: 2968

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                         vs.    KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Property Damage                                                                                                                     (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: COTTER CORPORATION
                              Alias:
  R/A: CT CORPORATION CO.
  7700 E. ARAPAHOE ROAD, STE 220
  CENTENNIAL, CO 80112
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   18-NOV-2016                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 SMB
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-979           1         (16SL-CC04240)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 385 of 449 PageID #: 2969
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-979     2        (16SL-CC04240)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 386 of 449 PageID #: 2970


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-979   3    (16SL-CC04240)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 387 of 449 PageID #: 2971


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-979   4   (16SL-CC04240)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 388 of 449 PageID #: 2972

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                         vs.    KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Property Damage                                                                                                                     (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: COMMONWEALTH EDISON COMPANY
                              Alias:
  R/A: CORPORATE CREATIONS NET
  350 S. NW HIGHWAY, STE. 300
  PARK RIDGE, IL 60068
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   18-NOV-2016                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 SMB
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-980           1         (16SL-CC04240)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 389 of 449 PageID #: 2973
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-980     2        (16SL-CC04240)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 390 of 449 PageID #: 2974


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-980   3    (16SL-CC04240)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 391 of 449 PageID #: 2975


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-980   4   (16SL-CC04240)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 392 of 449 PageID #: 2976

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 16SL-CC04240
 ELLEN LEVY SIWAK
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 MICHAEL DAILEY                                                 DANIEL TIMOTHY DEFEO
                                                                1627 MAIN STREET
                                                                SUITE 801
                                                         vs.    KANSAS CITY, MO 64108
 Defendant/Respondent:                                          Court Address:
 BRIDGETON LANDFILL, LLC                                        ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Property Damage                                                                                                                     (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: EXELON CORPORATION
                              Alias:
  R/A: CORPORATE CREATIONS NET
  350 S. NW HIGHWAY, STE. 300
  PARK RIDGE, IL 60068
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   18-NOV-2016                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 SMB
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-981           1         (16SL-CC04240)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 393 of 449 PageID #: 2977
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-981     2        (16SL-CC04240)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 394 of 449 PageID #: 2978


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

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     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

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 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
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OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-981   3    (16SL-CC04240)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
        Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 395 of 449 PageID #: 2979


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

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representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

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procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
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on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
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  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 16-SMOS-981   4   (16SL-CC04240)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
                                                                                      Electronically Filed - St Louis County - November 15, 2016 - 03:04 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-5 Filed: 01/28/22 Page: 396 of 449 PageID #: 2980
                                                                       16SL-CC04240

                      IN THE TWENTY-FIRST JUDICIAL CIRCUIT
                            OF THE STATE OF MISSOURI
                               IN ST. LOUIS COUNTY


 MICHAEL DAILEY
 and ROBBIN DAILEY,
       Plaintiffs,

 vs.

 BRIDGETON LANDFILL, LLC,
 Serve at:
        The Corporation Company
        Resident Agent for Bridgeton Landfill, LLC
        120 South Central Avenue
        Clayton, MO 63105

 REPUBLIC SERVICES, INC.,                               Cause No.
 Serve at:
        CT Corporation Services
        Registered Agent for Republic Services, Inc.
        2390 E. Camelback Road
        Phoenix, AZ 85016
                                                        Division No.
 ALLIED SERVICES, LLC,
 Serve at:                                              JURY TRIAL DEMANDED
        The Corporation Company
        Resident Agent for Allied Services, LLC
        120 South Central Avenue
        Clayton, MO 63105

 ROCK ROAD INDUSTRIES, INC.,
 Serve at:
        C T Corporation System
        Resident Agent for Rock Road Industries, Inc.
        120 South Central Avenue
        Clayton, MO 63015

 MI HOLDINGS, INC.,
 Serve at:
        C T Corporation System
        Resident Agent for MI Holdings, Inc.
        120 South Central Avenue
        Clayton, MO 63105
                                                                                                Electronically Filed - St Louis County - November 15, 2016 - 03:04 PM
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 MALLINCKRODT, INC.,
 Serve at:
        CT Corporation System
        Resident Agent for Mallinckrodt, Inc.
        120 South Central Avenue
        Clayton, MO 63105

 COTTER CORPORATION,
 Serve at:
        The Corporation Company
        Resident Agent for Cotter Corporation
        7700 E. Arapahoe Road, Suite 220
        Centennial, CO 80112

 COMMONWEALTH EDISON COMPANY,
 Serve at:
        Corporate Creations Network IN
        Resident Agent for Commonwealth Edison Company
        350 S. Northwest Highway, Suite 300
        Park Ridge, IL 60068

 and

 EXELON CORPORATION,
 Serve at:
        Corporate Creations Network IN
        Resident Agent for Exelon Corporation
        350 S. Northwest Highway, Suite 300
        Park Ridge, IL 60068

        Defendants.



                                            PETITION

        COME NOW Plaintiffs Michael Dailey Robbin Dailey, by and through their counsel, and

 for their Petition and causes of action against Defendants Bridgeton Landfill, LLC, Republic

 Services, Inc., Allied Services, L.L.C., Rock Road Industries, Inc., MI Holdings, Inc.,



                                                 2
                                                                                                      Electronically Filed - St Louis County - November 15, 2016 - 03:04 PM
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 Mallinckrodt, Inc., Cotter Corporation, Commonwealth Edison Company, and Exelon

 Corporation, state and allege as follows:

        1.      Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated

 uranium with high levels of radium from Africa. This special ore was extremely toxic—more so

 than the ores available from anywhere else in the world. Despite the fact that these materials

 were some of the most harmful on Earth, Defendants moved them around St. Louis, treating the

 radioactive materials with less care than a reasonable person might give in moving common

 household garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

 to the St. Louis Airport, then to Hazelwood. The radioactive waste was finally dumped like trash

 into the West Lake Landfill—a Landfill that experts indicate is not even suitable for garbage.

        2.      Since then, that radioactive material, negligently dumped in an area surrounded

 by peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms

 and dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood;

 kids who want nothing more than to play in the backyard; and small business owners who had

 invested everything to build the American dream for their families. These everyday St. Louisans

 now find their lives disrupted, their kids sick, their homes contaminated, their businesses

 upended, and their properties worthless. They find their once-quaint neighborhoods filled with

 technicians testing and prodding their backyards and the dust of their vacuum cleaners to identify

 the quantity and the toxicity of the radioactive material Defendants have dumped into their lives.



                                                 3
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        3.      Tests now confirm that the areas around the West Lake and Bridgeton Landfills

 (referred to herein as the “Landfill” which consists of several inactive landfills including West

 Lake and Bridgeton) are contaminated with the same radioactive materials that Defendants

 brought from Africa, profited from in contracting for the Manhattan Project, and then carelessly

 and recklessly dumped in a Landfill, and otherwise spilled into the neighborhoods in transit and

 temporary storage. The off-site radioactive waste found today in the businesses and homes

 surrounding the Landfill has the fingerprint (or profile) of the highly toxic uranium ore from

 Africa processed in St. Louis and dumped into and around the Landfill.

        4.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central

 nervous system, and immune system in addition to numerous cancers. Illnesses such as cancers

 or birth defects may take a number of years after exposure to the radioactive material to appear.

        5.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused.              Instead, Defendants have hidden behind

 misstatements and omissions, misleading the public about the widespread contamination

 Defendants have caused and minimizing the immense risks to public health and safety that

 resulted from Defendants’ actions.

        6.      It is time that Defendants finally be held accountable for their reckless and

 tortious conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a

 few of the victims.



                                                  4
                                                                                                   Electronically Filed - St Louis County - November 15, 2016 - 03:04 PM
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        7.     Plaintiffs Michael Dailey and Robbin Dailey (hereinafter “Plaintiffs”) own

 property in Bridgeton, Missouri that Defendants contaminated. The Dailey Property, including

 the land and Plaintiffs’ home (hereinafter “Dailey Home”), is contaminated with radioactive

 material from the Landfill. The radioactive material consists of high levels of Uranium (U-238)

 decay products, including Thorium (Th-230), Lead (Pb-210), and Radon (Ra-226). Dusts inside

 the Dailey Home were shown to contain radioactive Th-230 at levels at least two hundred times

 higher than Background levels, as depicted in the graphic immediately below.




        8.     Plaintiffs Michael Dailey and Robbin Dailey have sustained significant damages

 as a result of Defendants’ conduct.     Defendants should remediate the Dailey Home and


                                               5
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 compensate Plaintiffs for their damages, and provide further relief as set forth below in this

 Petition.

                         JURISDICTION, AUTHORITY, AND VENUE

         9.     This court has jurisdiction and authority over the subject matter and the parties in

 this case pursuant to Mo. Rev. State. §§ 27.060 and 526.010. Plaintiffs do not allege causes of

 actions arising under laws of the United States.

         10.    Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010.5., because

 Defendants’ conduct giving rise to this action took place in St. Louis County.

                                        THE PLAINTIFFS

         11.    Plaintiffs Michael Dailey and Robbin Dailey are Missouri citizens who own real

 property located at 3550 El Ferrol Court, Bridgeton, Missouri (the “Dailey Property”). Plaintiffs

 purchased the home in 1999. The property is approximately 0.25 acres in St. Louis County

 adjacent to what is now the Landfill in Bridgeton, Missouri, more fully described as follows: Lot

 18 in Subdivision Spanish Village Plat Two.

         12.    As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Dailey Property and the loss of use and enjoyment of the

 property. Plaintiffs first learned that the Dailey Property was contaminated with radioactive

 material in 2016.

                                       THE DEFENDANTS

         13.    In this Petition, the defendants in this lawsuit are categorized into two groups.

         14.    The first group is the Landfill Defendants, which includes both owners and

 operators of the Landfill:

                                                    6
                                                                                                   Electronically Filed - St Louis County - November 15, 2016 - 03:04 PM
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              A. Landfill Owner Defendants

                     i. Bridgeton Landfill, LLC, which owns the Bridgeton and West Lake

                        Landfills; and

                     ii. Rock Road Industries, Inc., which owned or owns the West Lake Landfill.

              B. Landfill Operator Defendants

                     i. Republic Services, Inc., which owns, oversees, and directs the

                        environmental decisions and conduct of Bridgeton Landfill, LLC, Allied

                        Services, L.L.C., and Rock Road Industries, Inc., and operates the

                        Bridgeton and West Lake Landfills; and

                     ii. Allied Services, L.L.C., which operates Bridgeton and West Lake

                        Landfills.

        15.      The second group is the Radioactive Waste Defendants, which includes waste

 generators and waste disposers:

              A. Radioactive Waste Generator Defendants

                     i. M Holdings, Inc., which is one of two successors to Mallinckrodt;

                     ii. Mallinckrodt, Inc., which is the other successor to Mallinckrodt;

              B. Radioactive Waste Disposer Defendants, which include haulers, storers, and

                 disposers:

                     i. Cotter Corporation, which purchased the radioactive mill tailings waste

                        residues from the Hazelwood Interim Storage Site and shipped those

                        wastes to the West Lake Landfill for disposal as clean fill;



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                       ii. Commonwealth Edison Company (“ComEd”), which was the parent

                           company of Cotter which agreed to indemnify Cotter for liability; and

                      iii. Exelon Corporation, which is the parent company of ComEd.

                                   THE LANDFILL DEFENDANTS

          16.      Since at least November 2010, the Landfill Defendants have owned and operated

 the Bridgeton and West Lake Landfills.

          17.      Republic Services, Inc. (“Republic”) is a Delaware corporation with its principal

 place of business in the State of Arizona that carries on continuous and systematic business

 activities within the State of Missouri.

                A. Republic describes itself as “the second largest provider of services in the

                   domestic non-hazardous solid waste industry, as measured by revenue as well as a

                   Fortune 500 company, publicly traded on the New York Stock Exchange (NYSE;

                   RSF).”1 Despite Republic’s record of violations and the widespread injuries

                   resulting from Republic’s conduct, Republic promises the public that it lives by

                   “high environmental and sustainability standards.”2

                B. Republic’s presence in Missouri is immense, servicing more than 300 cities and

                   towns throughout the state, including many in St. Louis County.3 Republic

                   continuously and systematically avails itself of the protection of Missouri laws in




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     https://www.republicservices.com/about-us
 2
     http://www.republicservices.com/customer-support/facilities
 3
     https://www.republicservices.com/locations/missouri

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                   St. Louis County courts, and regularly appears to defend itself in lawsuits tried

                   here.4

                C. This lawsuit arises out of damages that resulted from Republic’s acts and

                   omissions within the State of Missouri. Since 2008, Republic and its subsidiaries

                   have maintained daily operational and managerial control over the management

                   and environmental decisions of the Bridgeton and West Lake Landfills, decisions

                   which gave rise to the violations of law and damage to property alleged in this

                   Petition. Republic did so directly and through its subsidiaries Allied Services,

                   LLC, Bridgeton Landfill LLC, and Rock Road Industries, Inc.

          18.      Allied Services, LLC (“Allied”), a Delaware limited liability company with its

 principal place of business in the state of Arizona, is a wholly-owned subsidiary of Republic

 Services, Inc., that continuously and systematically conducts business in the State of Missouri

 under its own name and under the fictitious name “Republic Services of Bridgeton.”

                A. Allied conducts daily operations of the Bridgeton Landfill and the West Lake

                   Landfill.

                B. Allied regularly and routinely avails itself of the protection of Missouri laws in St.

                   Louis County courts, and regularly appears to defend itself in lawsuits tried here.5

                C. This lawsuit arises out of damages that resulted from Allied’s acts and omissions

                   within the State of Missouri. Since 2008, Allied has maintained daily operational

                   and managerial control over the management and environmental decisions of the

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                   Bridgeton and West Lake Landfills, decisions which gave rise to the violations of

                   law and damage to property alleged in this Petition.

          19.      Bridgeton Landfill, LLC formerly “Laidlaw Waste Systems” (“Landfill Owner”),

 is a Missouri limited liability company with its principle place of business in the State of

 Missouri. It continuously and systematically conducts business activities in the State of

 Missouri.

                A. Upon information and belief, Bridgeton Landfill, LLC owns the Bridgeton

                   Landfill and the West Lake Landfill.

                B. Bridgeton Landfill has continuously and systematically availed itself of the

                   protection of Missouri laws in St. Louis County courts, and regularly appears to

                   defend itself in lawsuits tried here.6

                C. This lawsuit arises out of damages that resulted from Bridgeton Landfill’s acts

                   and omissions within the State of Missouri. Specifically, since 2008, Bridgeton

                   Landfill has owned, operated and maintained daily operational and managerial

                   control over the management and environmental decisions of the Bridgeton

                   Landfill and the West Lake Landfill, which gave rise to the violations of law and

                   damage to property alleged in this Petition.

          20.      Rock Road Industries, Inc. (“Rock Road”) is a Missouri corporation with its

 principal place of business in St. Louis, Missouri. Rock Road is a wholly-owned subsidiary of




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 Republic Services, Inc. that continuously and systematically conducts business in the State of

 Missouri.

        A.       This lawsuit arises out of damages that resulted from Rock Road Industries, Inc.’s

        acts and omissions within the State of Missouri. Upon information and belief Rock Road

        Industries, Inc. owns the West Lake Landfill along with Bridgeton Landfill, LLC. Rock

        Road Industries has maintained daily operational and managerial control over the

        management and environmental decisions of the West Lake Landfill, decisions which

        gave rise to the violations of law and damage to property alleged in this Petition.

                         THE RADIOACTIVE WASTE DEFENDANTS

        21.      The Radioactive Waste Defendants generated and improperly disposed of the

 radioactive waste throughout the St. Louis area. They improperly disposed of a significant

 portion of that waste in the West Lake Landfill.

        22.      The Radioactive Waste Generator Defendants are described below.

        23.      This lawsuit involves several Mallinckrodt entities, some of which are now

 defunct and some of which still exist and are defendants herein.

              A. There are two Mallinckrodt Defendants, MI Holdings, Inc., and Mallinckrodt, Inc.

                 Defendant Mallinckrodt, Inc., individually and as successor-in-interest to

                 Mallinckrodt Missouri, is a Delaware corporation with its principal place of

                 business in Mansfield, Massachusetts. Upon information and belief, in 1986,

                 Mallinckrodt Missouri was broken up and sold to MI Holdings, Inc. and

                 Mallinckrodt, Inc. Upon information and belief, Mallinckrodt Chemical Works is

                 now known as or has been merged into MI Holdings and/or Mallinckrodt, Inc.

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                   Both Mallinckrodt Defendants carry on continuous and systematic business

                   operations in the State of Missouri. Both Mallinckrodt Defendants regularly and

                   routinely avail themselves of the protection of Missouri laws in St. Louis County

                   courts, and regularly appears to defend itself in lawsuits tried here. 7

                B. This lawsuit arises out of damages that resulted from the Mallinckrodt

                   Defendants’ conduct including acts and omissions within the State of Missouri, as

                   well as the acts and omissions of the predecessors of the Mallinckrodt

                   Defendants, which gave rise to the violations of law and damage to property

                   alleged in the Petition.

          24.      On information and belief, MI Holdings, Inc. and Mallinckrodt, Inc. are

 successors to the businesses formerly known as Mallinckrodt Missouri, Mallinckrodt Chemical

 Works, and Mallinckrodt Nuclear Corporation. Accordingly, both Mallinckrodt Defendants are

 sued individually and as successors to Mallinckrodt Missouri, Mallinckrodt Chemical Works,

 and Mallinckrodt Nuclear Corporation.

          25.      This lawsuit arises out of damages that resulted from the Mallinckrodt

 Defendants’ conduct including acts and omissions within the State of Missouri, as well as the

 acts and omissions of the predecessors of the Mallinckrodt Defendants, which gave rise to the

 violations of law and damage to property alleged in the Petition.




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        26.      Any reference in this Petition to Mallinckrodt Chemical Works, Mallinckrodt

 Missouri, or Mallinckrodt Nuclear Corporation should be treated as an allegation against both

 Mallinckrodt, Inc. and MI Holdings, Inc., unless specifically stated otherwise.

        27.      Mallinckrodt Chemical Works and Mallinckrodt Nuclear Corporation will be

 referenced together as “Mallinckrodt” whereas the term “Mallinckrodt Defendants” refers to MI

 Holdings, Inc., and Mallinckrodt, Inc.

        28.      The Radioactive Waste Disposer Defendants are described below.

 There are four defendants that relate in some way to Cotter Corporation, the owner and disposer

 of the radioactive mill tailings residue wastes: Cotter Corporation (“Cotter”), Commonwealth

 Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon Corporation (“Exelon”),

 and Exelon Generation Company, LLC (“Exelon Generation”)

        29.       Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place

 of business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation.     It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

              A. Cotter continuously and systematically carries on business activities in the State

                 of Missouri in its own name, through its parent companies ComEd and Exelon, as

                 well as through its subsidiary General Atomics, Inc.

              B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                 conduct including acts and omissions within the State of Missouri, as well as the

                 acts and omissions of the predecessors of the Cotter Defendants, which gave rise

                 to the violations of law and damage to property alleged in the Petition.

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          30.      Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations at the West Lake in

 Bridgeton, Missouri. Upon the sale of Cotter, ComEd agreed to indemnify Cotter for certain

 liabilities associated with the West Lake Landfill.

                A. ComEd continuously and systematically carries on business activities in the State

                   of Missouri, both on its own and through its subsidiaries including Cotter and its

                   parent company Exelon. In addition, ComEd owned Cotter at times relevant to

                   this Petition, and agreed to indemnify Cotter for liabilities associated with the

                   West Lake Landfill. ComEd regularly and routinely avails itself of the protection

                   of Missouri laws in St. Louis County courts, and regularly appears to defend itself

                   in lawsuits tried here.8

                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct including acts and omissions within the State of Missouri, as well as the

                   acts and omissions of the predecessors of the ComEd Defendants, which gave rise

                   to the violations of law and damage to property alleged in the Petition.

          31.      Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois.            Exelon, through its

 subsidiaries including Cotter and ComEd, conducted business at the West Lake Landfill in

 Bridgeton, Missouri.




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                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                   Cotter and ComEd, continuously and systematically carries out business activities

                   in the State of Missouri. Exelon regularly and routinely avails itself of the

                   protection of Missouri laws in St. Louis County courts, and regularly appears to

                   defend itself in lawsuits tried here.9

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                   conduct including acts and omissions within the State of Missouri, as well as the

                   acts and omissions of the predecessors of the Exelon Defendants, which gave rise

                   to the violations of law and damage to property alleged in the Petition.

          32.      Exelon Generation Company, LLC (“Exelon”) is a Pennsylvania corporation with

 its principal place of business in Kennett Square, Pennsylvania. Upon information and belief in

 connection with Exelon’s corporate restructuring in 2001, the responsibility to indemnify Cotter,

 previously held by Exelon was transferred to Exelon Generation Company, LLC.

                A. Exelon Generation regularly and routinely avails itself of the protection of

                   Missouri laws in St. Louis County courts, and regularly appears to defend itself in

                   lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                   and omissions of Exelon Generation and their subsidiaries, agents, and

                   representatives within the State of Missouri, which gave rise to the violations of

                   law and damage to property alleged in the Petition.


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                                              FACTS

                                        Radioactive Wastes

         33.     Ounce for ounce, radioactive isotopes (including Uranium-238, Thorium-230, and

 Radium-226) are considered among the most toxic materials known to man.

         34.     The particular radioactive wastes generated in St. Louis and dumped in and

 around the Landfill come from some of the most toxic uranium ore known to man. As reported

 in the scientific literature:

                The residue wastes disposed in the West Lake Landfill were mostly
                generated from ore of the Shinkolobwe mine in the Belgian Congo.
                Described as a “freak occurrence of nature” by a top official of the
                early U.S. nuclear weapons program, the Congo mine yielded the
                highest concentrations of uranium (30-70%) of any mine found in
                the world since that time. By comparison the Congo ore contained
                as much as 7,000 times the concentration of uranium mined in the
                United States (~1%). Between 1942 and 1958, the Mallinckrodt
                plant in St. Louis processed approximately 50,000 tons of uranium
                of which roughly 40 percent (20,000 tons) were from the
                Shinkolobwe mine [in Africa].10

         35.     The scientific literature reports that these are the radioactive isotopes that have

 contaminated the Landfill, which borders the Plaintiffs’ property. The 2006 historical reference

 addressing the history of radioactive contamination of St. Louis from the Manhattan Project

 wastes states: “According to the NRC, the following materials are present in the Landfill and

 present a radiological hazard to human health and the environment: Radium-226; Uranium-238;


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 10
    Robert Alvarez, The West Lake Landfill: A Radioactive Legacy of the Nuclear Arms Race 8,
 Nov. 21, 2013 (footnotes and citations omitted) [hereinafter “Alvarez (2013)”]; see also Denise
 DeGarmo, The Disposal of Radioactive Wastes in the Metropolitan St. Louis Area, The
 Environmental Health Legacy of the Mallinckrodt Chemical Works 57, 62, 143 (Edwin Mellen
 Press 2006) (footnotes omitted) [hereinafter “DeGarmo (2006)”].

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 Uranium-234; Thorium-230 and protactinium.”11 The 2013 Report of Dr. Robert E. Criss,

 Department of Earth and Planetary Sciences, Washington University St. Louis, Missouri also

 stresses that the radioactive compounds at the West Lake Landfill are the most dangerous threats

 the contaminated Landfill poses:

               No available reports mention any accurate analysis of the
               chemical, physical or radiological character of the radioactive
               materials dumped at West Lake. Note that neither barium nor
               sulfate are contaminants of concern, nor is the uranium
               concentration of the radwaste, alleged to be similar to that of low-
               grade uranium ore, of primary environmental importance. Instead,
               the real concerns involve the concentrations of the short-lived,
               daughter radionuclides in the 238U, 235U and 232Th decay chains,
               particularly 230Th, 226Ra, 228Ra, 223Ra, 210Po, and three daughter
               radon isotopes, in the radwaste that was dumped.12

        36.    Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will

 then also decay by releasing radiation energy and transforming into other materials. For example

 Uranium-238 eventually decays into Thorium-230 which decays into Radium-226.

        37.    Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes such as Uranium, have the ability to penetrate

 other material. When radiation energy interacts with other material, it causes a process called




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 11
    DeGarmo (2006) at 132.
 12
    Robert E. Criss, Risk and Character of Radioactive Waste at the West Lake Landfill 1,
 Bridgeton, Missouri, Department of Earth and Planetary Sciences, Washington University, St.
 Louis, MO, Mar. 14, 2013 (footnotes omitted) [hereinafter “Criss (2013)”].

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 ionization13 which can damage chemical structures. When the “other material” that ionizing

 radiation passes through is human cells, it can cause damage within those cells resulting in

 mutation in genetic material which can lead to cancer and other harms.

        38.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as

 long as it remains inside the body.

        39.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

        40.     The injuries resulting from exposure to ionizing radiation can also be separated

 into two categories: somatic injuries and genetic injuries. Somatic injuries are damages to the

 individual exposed. This can be damages to the skin, reproductive system, blood forming



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    Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes. https://www.epa.gov/radiation/radiation-
 health-effects

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 system, digestive system, central nervous system, and immune system, as well as cancers.

 Illnesses such as cancers may take a number of years to appear.

         41.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         42.     One of the most dangerous aspects of radioactive materials is the length of time

 that radioactive isotopes will persist and accumulate in the environment. As detailed above,

 radioactive materials decay over time and each radioactive material gives off radiation energy as

 it decays and transforms into a different material. The rate at which a radioactive isotope decays

 is measured in half-life. The term “half-life” is defined as the time it takes for one-half of the

 atoms of a radioactive material to disintegrate. For example, after one half life, there will be one

 half of the original material, after two half-lives, there will be one fourth the original material,

 after three half-lives one eight the original sample, and so forth.

         43.     Uranium-238 has a half-life of 4.5 billion years. Thorium-230 has a half-life of

 75,438 years. Radium-226 has a half-life of 1,600 years. Uranium-238 eventually decays to

 Thorium-230 which decays into Radium-226.              This means that as the Thorium decays, it

 increases the Radium-226 at the Landfill and in the surrounding environment. Furthermore half

 of the hazardous, carcinogenic Radium-226 currently contaminating the West Lake Landfill will

 still remain as a grave problem even after 1,000 years from now if it is not physically removed.

 This is described in the scientific literature as follows:

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                 Importantly, because the concentrations of short-lived
                 radionuclides will progressively increase, the radioactivity at the
                 site will likewise increase for the foreseeable future. For example,
                 according to NRC, if the present day activity of 230Th is estimated
                 to be 100 times that of 226Ra, then the alpha activity due to 226Ra
                 decay will increase fivefold over present levels in 100 years, nine-
                 fold in 200 years, and 35-fold in 1000 years.14

                             Radioactive Waste in the St. Louis Area

          44.    From 1942 to 1957, Mallinckrodt brought various forms of highly toxic Uranium

 compounds to downtown St. Louis City for processing.15

          45.    At the time, Mallinckrodt was a private contractor to supply Uranium processing

 services to the government organizations involved in the Manhattan Project through contracts

 with the Manhattan Engineer District and the Atomic Energy Commission. The Manhattan

 Project was the U.S. research project designed to develop the first nuclear weapons.

          46.    Mallinckrodt’s downtown facility was known as the St. Louis Downtown Site (the

 “Downtown Site”).      The Downtown Site is about 210 acres of land 300 feet west of the

 Mississippi River. It is located just north of the Lumiere Casino, the Four Seasons Hotel, the

 Edward Jones Dome, and the Arch. The Downtown Site was used to process Uranium. Milling

 is the first step in processing natural Uranium ore into fuel for nuclear reactors. Uranium mills

 use chemicals to extract Uranium and make “yellowcake”—a yellow powder that can be

 processed into nuclear fuel. During the extraction of yellowcake from the Uranium ore, Uranium

 mills generate a sandy process waste material known as “mill tailings.” These “mill tailings”



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 14
      Criss (2013) at 2-3 (citations omitted).
 15
      See n.10 (citing Alvarez (2013) and DeGarmo (2006)).

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 contain radioactive decay products such as Radium-226 and Thorium-230, as well as heavy

 metals.

           47.   At the Downtown Site, Mallinckrodt manufactured yellow cake from pitchblende

 ore. The pitchblende ore originated in the Shinkilovwe mine in the Democratic Republic of the

 Congo. It is known in the industry as “Congo ore,” “Belgian Congo ore,” or “monazite” ore.

 The history of the Mallinckrodt radioactive material operation going back to 1942 is a history of

 reckless treatment of these radioactive materials and a failure to protect its workers and the

 community from radioactive hazards:

                 Throughout the initial years of production, Mallinckrodt Chemical
                 Works was considered a dirty operation because so few controls
                 were in place to protect the workers.
                                                 ****
                 In March 1945, MCW [Mallinckrodt] realized that radiological
                 hazards were not only affecting the workers, but had the potential
                 of affecting populated areas around the downtown site.
                                                 ****
                 Increased processing demands also led to the release of hazardous
                 waste into the atmosphere and waterways surrounding the
                 downtown St. Louis plant. Thousands of pounds of radioactive
                 dust spewed from Mallinckrodt’s smoke stacks each year while 3
                 million gallons of water a day of uranium laced waste were
                 pumped into the Mississippi River.16

           48.   In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert airport to store the Uranium ore mill tailings wastes and scrap from the Uranium

 processing operations at the Downtown Site. The storage site near the airport is now referred to

 as the St. Louis Airport Site or SLAPS (“SLAPS”).



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 16
      DeGarmo (2006) at 70, 72, 73 (footnotes omitted).

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          49.    Mallinckrodt continued processing Uranium at the Downtown Site through 1957.

 The resulting radioactive mill tailings wastes accumulated at SLAPS. These mill tailings

 materials included pitchblende raffinate residues, Radium-bearing residues, Barium Sulfate cake,

 Colorado raffinate residues and were stored at SLAPS along with contaminated scrap. Some of

 the mill tailings were stored in bulk on open ground in mill tailings piles.

          50.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several

 contaminated vehicles, in addition to miscellaneous radioactive wastes [including Uranium ore

 mill tailings] were buried on western portion of SLAPS adjacent to Coldwater Creek.”17

          51.    In the 1960’s, leftover mill tailings (ore residues, and uranium, and radium-

 bearing process wastes) that had been stored at SLAPS were moved to a storage site on Latty

 Avenue in Hazelwood, Missouri (the “Latty Avenue Site”). Mill tailings at the Latty Avenue

 Site included about 68 tons of Uranium, consisting of: 74,000 tons of Congo pitchblende

 raffinate containing about 13 tons of Uranium; 32,500 tons of Colorado raffinate containing

 roughly 48 tons of uranium; and 8,700 tons of leached Barium Sulfate containing about 7 tons of

 Uranium.18

          52.    In the late 1960’s, Cotter purchased Uranium mill tailings stored at both SLAPS

 and at the Latty Avenue Site including 8,700 tons of leached Barium Sulfate that was being

 stored at the Latty Avenue Site.

          53.    In or about 1973, Cotter mixed the 8,700 tons of leached Barium Sulfate with

 about 38,000 tons of radioactively contaminated soil. Upon information and belief, Cotter

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 17
      DeGarmo (2006) at 123 (footnotes omitted).
 18
      See n.10 (citing Alvarez (2013) and DeGarmo (2006)).

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 described and marketed the mixture of radioactive waste and contaminated soil as suitable for

 “daily cover” for Landfill operations. Daily cover is the layer of soil that is laid on top of the

 day’s deposition of waste at an operational landfill.

          54.     In 1973, Cotter dumped this radioactive waste [including Uranium ore mill

 tailings] and contaminated soil in the West Lake Landfill.

          55.     The scientific literature summarizes this dumping as follows:

                  In 1973, 8700 tons of radionuclide-bearing “leached barium
                  sulfate” was allegedly dumped in an unlined Landfill in Bridgeton,
                  MO that was not licensed to receive radwaste. This report finds
                  that 1) the chemical and physical character of the radioactive
                  materials has not been adequately characterized, and barium
                  sulfate is probably not a major constituent; 2) the alpha and beta
                  emissions of this material will increase 10x to 100x over present
                  levels, reaching maximum activity in about 9000 years; 3) the
                  Landfill has no protective barriers and a proximal subsurface fire;
                  4) the site has several hydrologic and geologic risk factors that
                  magnify its unsatisfactory location in a populated area; 5) nuclear
                  material has been in contact with percolating waters and with a
                  fluctuating water table; 6) groundwaters contaminated with
                  radionuclides have migrated far from the original location of
                  disposal; 7) background levels of radiation have been overstated,
                  while other risks have been underestimated ….19

                                            The Landfill

          56.     The West Lake Landfill is situated on about 200 acres at 13570 St. Charles Rock

 Road, in the City of Bridgeton. The Missouri River lies about one and one-half miles to the

 north and west of the Landfill. A shallow aquifer lies beneath the West Lake Landfill and

 surrounding neighborhoods.



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 19
      Criss (2013) at 1.

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           57.   Originally used for agriculture, the land became a limestone quarrying and

 crushing operation in 1939.

           58.   Beginning in the early 1950s, portions of the quarried areas and adjacent areas

 were used to dispose of municipal refuse, chemical wastes, industrial solid wastes, and

 construction/demolition debris.

           59.   In 1969, Cotter purchased mill tailings material remaining at the Latty Ave

 storage site. In 1973 Cotter took 8,700 tons of that material, mixed it with approximately 38,000

 tons of contaminated soil, and transported it to the West Lake Landfill for disposal. Upon

 information and belief, Cotter described and/or marketed the mixture of radioactive waste and

 contaminated soil as suitable for “daily cover” for Landfill operations.

           60.   The literature clearly documents that the Landfill was never an adequate storage

 or disposal site for this highly radioactive contaminated waste. In a 2013 report entitled The

 West Lake Landfill: A Radioactive Legacy of the Nuclear Arms Race, researcher Robert Alvarez

 stated:

                 The West Lake municipal Landfill in Bridgeton, Missouri is not
                 your ordinary solid waste Landfill. By virtue of the highly
                 radiotoxic wastes dumped there, it is a de facto nuclear waste
                 disposal site – a legacy of the U.S. nuclear weapons program.
                 Created by illegal dumping in 1973, the waste residues originated
                 from the Mallinckrodt Chemical Works in St. Louis which was
                 involved in U.S. nuclear weapons program from the 1942 to late
                 1950s.20




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 20
  Robert Alvarez, The West Lake Landfill: A Radioactive Legacy of the Nuclear Arms Race 1,
 Nov. 21, 2013 (footnotes and citations omitted) [hereinafter (“Alvarez (2013)”].

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 The Landfill contained a greater amount of Thorium-230, a highly radioactive compound, than

 every nuclear weapons or disposal site in the U.S.

                  Of significance is the fact that the largest estimated amount of
                  thorium-230, a long-lived, highly radiotoxic element is present at
                  West Lake – more than any other U.S. nuclear weapons storage or
                  disposal site. Soil concentrations of radium-226 and thorium-230
                  are substantially greater than uranium mill tailing waste. The
                  waste residues generated at the Mallinckrodt site were found to
                  contain the largest concentration of thorium-230 from any single
                  source in the United States and possibly the world. Thorium-230
                  concentrations were found to be some 25,000 greater than its
                  natural isotopic abundance. With a half-life of 77,500 years,
                  thorium-230 makes up more than 80% of the measured
                  radioactivity in soil at West Lake above cleanup limits set by the
                  Department of Energy (DOE). Moreover, as the thorium-230
                  decays to radium-226, it will increase the radioactivity in the
                  Landfill 10 to 100 times over a 9,100 year period.21

          61.     Because the Landfill was never properly designed to hold such wastes, the

 surrounding communities are now contaminated. As Kaltofen reports:

                  The St. Louis, MO, region legacy sites hosted war-time uranium
                  ore processing activities that provided material for Enrico Fermi’s
                  first nuclear pile, the Manhattan Project, and the Cold War.
                  Uranium ore processing wastes from the Mallinckrodt plant in St.
                  Louis, were disposed of around Greater St. Louis, MO, and are
                  being redistributed by surface waters and by winds.22

          62.     The inadequacies of the Landfill itself are described in the scientific literature as

 follows:

                  Although the West Lake Landfill contains significant amounts of
                  long-lived radiotoxic wastes such as those contained in federally
                  licensed commercial radioactive waste Landfills, it meets virtually


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 21
      Alvarez (2013) at p. 1 (footnotes and citations omitted).
 22
      Kaltofen (2016) at p. 104.

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                  none of legal requirements governing shallow radioactive waste
                  disposal to prevent off-site migration.23

          63.     The data collected around the Landfill, as inadequate as it is, documents

 radioactive contamination of soil, water, and air.

                  Onsite 226Ra concentrations in soils as high as 21,000 pCi/g were
                  measured, compared to estimated background levels of 2 pCi/g.
                  Elevated radium contents above the EPA’s MCL of 5 pCi/l are also
                  widespread in both the alluvial and bedrock aquifer within about
                  1500 feet of Areas 1 and Area 2. Airborne surveys established that
                  external radiation levels exceeding 100µR/hr, while distal samples
                  were <10 µR/hr. Levels recorded one meter above Area 2 were as
                  high as 3-4 mR/hr, or as much as 400x higher than background.
                  NRC reports that the subsequent addition of soil cover and
                  construction debris to Areas 1 and 2 diminished these levels
                  several fold.24

          64.     The Landfill stopped accepting waste on December 31, 2004 and is now used as a

 transfer station for municipal wastes.

          65.     The Landfill waste mass encompasses approximately 52 acres with approximately

 240 feet below the ground’s surface and a total waste thickness of 320 feet.




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 23
      Kaltofen (2016) at 104.
 24
      Criss (2013) at 2 (citations omitted)

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                           Radioactive Waste at the West Lake Landfill

          66.     Defendants caused or contributed to improper generation, handling, storage, and

 disposal of an estimated 500,000 cubic yards of radioactive wastes in the West Lake Landfill.

 As a result, about 15 acres of the West Lake Landfill are filled with radioactive waste at depths

 up to 20 feet.

          67.     Upon information and belief, Defendants who operated the West Lake Landfill

 used the radioactive waste mixed with radioactive soil prepared by Cotter as daily cover in its

 Landfill operations thereby spreading the waste throughout the Landfill.

          68.     Defendants did not take necessary safety precautions when disposing of and

 handling the radioactive wastes and radioactive soil to prevent off-site contamination.

          69.     The staff of the West Lake and Bridgeton Landfills were neither qualified, nor

 trained to handle or dispose of radioactive wastes in a safe manner.

          70.     The West Lake Landfill was not intended, nor designed to contain radioactive

 wastes. In reality, West Lake Landfill is a chaotic pile of debris covered by unmanaged “natural

 vegetation, surrounded by a fence with radioactive [warning] signs.” Given the significant design

 and operational deficiencies, experts contend that the West Lake Landfill is even unsuitable for

 ordinary domestic waste.25

                                             The Fire

          71.     The Landfill has experienced problems with subsurface fires throughout its

 operational history.      Despite having past experiences with subsurface fires, sufficient


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 25
      Criss (2013) at 4.

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 precautionary measures were not implemented to prevent future fires or to protect the

 radiologically contaminated areas from being affected.

          72.    Upon information and belief, Landfill Defendants discovered high temperatures

 in several monitoring wells. Landfill Defendants finally reported to authorities that the Landfill

 was experiencing high temperatures on extraction wells evidencing a subsurface smoldering

 event.

          73.   Since then, the smoldering has intensified into a spreading subsurface fire

 evidenced by surface soil settlement, increased odors, elevated hydrogen levels, and high

 temperatures. High temperatures and smoke caused by the fire could mobilize radionuclides into

 the air and ultimately into soil, surface water, ground water.

          74.   If the subsurface fire reaches the radioactively impacted portions of the West

 Lake Landfill, the hot gases from the fire will likely cause fissures in the overburden material.

 These fissures may allow additional quantities of radioactive radon gas to escape the Landfill and

 become deposited as Lead-210 onto Plaintiffs’ property as it decays.

          75.   A subsurface fire in the radioactively contaminated areas would be expected to

 create increased pressure conditions within the Landfill and force out entrained radioactive

 gases, including radon which is extremely toxic to breathe. A subsurface fire may be present in

 the radioactively contaminated areas for a long period of time before it is detected, because the

 only apparent means to detect a subsurface smoldering event after closure is through annual

 visual inspections.




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          76.     Another effect of a subsurface fire or smoldering event would be increased

 leachate production which has been observed in the Bridgeton Landfill from condensation of

 large amounts of steam.

          77.     The literature describes the risk of the West Lake underground fire as follows:

                  An underground fire is currently ongoing in the municipal Landfill
                  (OU-2) that is immediately south of Area 1 of OU-1. Such fires
                  can burn for years, creating high underground temperatures, and
                  releasing carbon monoxide, dioxins, VOCs and other noxious
                  chemicals, and particulates into air. Numerous people who reside
                  near the Landfill complained about odor and health problems at the
                  January 17, 2013 public meeting in Bridgeton. Risks for adjacent,
                  radionuclide-bearing OU-1 include but are not restricted to the
                  following 1) fire can spread from OU-2 into OU-1, particularly
                  because demolition and construction Landfills are known to have
                  much higher risk than municipal Landfills; 2: subterranean fires
                  can result in Landfills collapse, landslides and slumping,
                  endangering personnel and exposing dangerous materials to the
                  surface; 3) Landfill fires have high explosion risk because of
                  methane, gas cylinders, and drums; 4) high temperatures and
                  smoke could mobilize radionuclides into surface water, ground
                  water and air.26

          78.     There are at least two human exposure risk pathways that would exist from a

 subsurface smoldering event or subsurface fire reaching the radioactive materials. The first is the

 risk of people being subjected to increased air exposures to contaminants such as breathing in

 Radon gas, Radon-226. As airborne concentrations of Radon gas increase, so would the risk to

 the neighboring population of breathing in Radon gas and developing injuries such as lung

 cancers. Additionally, as Radon gas decays it will become deposited onto people’s property and

 in their homes as radioactive Lead-210 which would subject people to increased risk of internal


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 26
      Criss (2013) at 4-5 (citations omitted).

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 exposure to radioactive materials. The second pathway is increased leachate production that

 could further move contaminants and radioactive materials into the groundwater.

        79.     Despite these risks, the Landfill Defendants have allowed the subsurface fire to

 spread uncontrolled.

        80.     From the start of the subsurface smoldering event and throughout the subsequent

 fire, Plaintiffs have regularly encountered noxious, putrid, and offensive odors on their property

 coming from the Landfill, which diminishes quality of life and results in lost property value.

         The Spread of Defendants’ Nuclear Waste to Off-Site Businesses and Homes

        81.     Defendants have violated standards for protection against radiation. Defendants’

 negligent generation, handling, storage, and disposal of radioactive wastes and radioactive soil as

 daily cover caused dangerous contaminants to be deposited in several areas throughout the

 Landfill site and to be highly susceptible to off-site migration of radioactive materials including

 Radon gas, radioactive particles, and radioactively-contaminated groundwater.

        82.     An example of water impacts of the Landfill will put this in perspective. Every

 day, the Landfill generates about 150,000 gallons of contaminated hazardous liquid waste. In a

 doomed attempt to capture that waste, the Landfill Defendants installed a leachate collection

 system. But the leachate collection system itself was inadequate and has resulted in spills,

 releases, and leaks that have contributed to the groundwater and surface water contamination in

 the area.

        83.     Radiological and organic contamination was also detected in trees adjacent to and

 off-site from the Landfill in the vicinity of the Dailey Property. The presence of radioactive

 contamination in the trees resulted from the uptake of off-site contamination from the Landfill.

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         84.     Recent studies of the Landfill area document radioactive Radon gas emissions

 from the Landfill are falling out and contaminating soil. Kaltofen reported the following:

                 Levels of 210Pb in key samples were well above background
                 activies, and were significantly out of secular equilibrium with
                 other members of the uranium decay chain. This is strong
                 evidence that the 210Pb originated by decay of short-lived, fugitive
                 radon gas that escaped the Landfill.27

         85.     In addition recent studies of surface water runoff from the Landfill,

 particularly after heavy rains, document radioactive contaminated surface water

 runoff to off-site properties.28

         86.     Critical to the legacy of radioactive particles contaminating the homes and

 communities surrounding the Landfill is that:

                 a)      The radioactive contamination has gone off-site, and

                 b)      The off-site radioactive contamination has the fingerprint (or profile) of

         the highly toxic African Congo Uranium ore that was processed by Mallinckrodt for the

         Manhattan Project in St. Louis and dumped at SLAPS, Latty Avenue and in and around

         the Landfill.

 The fact of off-site radioactive contamination is documented in the historical and scientific

 literature.




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 27
    Kaltofen (2016) at 110.
 28
    EPA Finds Radiation in West Lake Landfill Runoff, CBS St. Louis, May 26, 2016,
 http://stlouis.cbslocal.com2016/05/26/epa-finds-radiation-inwestlake-landfill-runoff.

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        87.      The contamination of the St. Louis communities surrounding Landfill was not

 limited to emissions directly from West Lake, it also occurred as a result of decades of careless

 and reckless hauling and storage of the wastes. As reported in the historical literature:

                 Careless management, inadequate containment, and slipshod
                 transportation practices characterize the nuclear legacy of St.
                 Louis and the Metro-East. Nuclear weapons production has
                 resulted in the contamination of the banks of the Missouri and
                 Mississippi Rivers.29

        88.      A recent study of wastes that have come from the Landfill and migrated off-site to

 contaminate local businesses and homes stated the following:

                 Analysis of 287 soil, sediment and house dust samples collected in
                 a 200 km2 zone in northern St. Louis County, Missouri, establish
                 that off-site migration of radiological contaminants from
                 Manhattan Project-era uranium processing wastes has occurred in
                 this populated area.30

                                  Concealment of Facts Related to Risk

        89.      Republic and other Defendants through their silence have reassured the public and

 Plaintiffs that the Landfill has not contaminated nearby properties. In particular, Republic and its

 representatives have made misrepresentations that were meant to assure Plaintiffs that:

              a) Any suspicion of off-site contamination from the Landfill are merely rumors

                 “being spread by alarmists.”31



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 29
     DeGarmo (2006) at 113.
 30
     Marco Kaltofen et al, Tracking legacy radionuclides in St. Louis, Missouri, via unsupported
 210
     Pb at 104-111, Journal of Environmental Radioactivity, Vol. 153 (2016) [hereinafter
 “Kaltofen (2016)”].
 31
     Jacob Barker, Radium above federal guidelines in groundwater near West Lake at 2, St. Louis
 Today, Dec. 17, 2014.

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              b) Its activities “should reassure the community that they are safe from and not being

                 exposed to any risk from groundwater beneath West Lake Landfill.”32

              c) The Landfill’s neighbors, including the Plaintiffs “can rest assured that they are

                 safe.”33

              d) The fire and Landfill are both at a “managed state.”34

              e) The waste at the Landfill presents no danger to public health.35

           Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        90.      The Dailey Property is contaminated by radioactive material.

        91.      Samples taken on and around the Dailey Property confirm a highly elevated

 presence of radioactive particles in the soil and dust.

        92.      Dust samples from inside the Dailey Home contain decay products of radioactive

 isotopes U-238, including Th-230, Ra-226 and Pb-210, which match the Mallinckrodt waste

 fingerprint (the African Uranium ore profile) identified in Kaltofen (2016). These dusts show

 levels of radioactive Th-230 at least two hundred times above background.

        93.      The Dailey Property neighbors the West Lake Landfill. This proximity puts the

 Dailey Property in the direct path of radioactive air emissions, radioactive particles distributed by

 the wind blowing such contamination off the site in dirt and dust, Radon gas, and frequent

 offensive odors; all of which emanate from the West Lake Landfill.

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 32
     Id.
 33
     Jacob Barker, Frustration with EPA handling of West Lake growing at 5, St. Louis Today, Jan.
 3, 2015.
 34
    Frustration with EPA handling of West Lake growing, Jacob Barker, St. Louis Today, January
 3, 2015 at p. 5.
 35
    Id.

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          94.    The Kaltofen (2016) published scientific paper identified “strong evidence of

 short lived fugitive radon gas that escaped from the landfill.”36 These air emissions fall out to

 soil and dust as 210Pb, a highly radioactive isotope.

          95.    It is also clear that radioactive material will be distributed from the Landfill “by

 surface water and winds.”37 The surface water runoff threat is heightened during periods of high

 rainfall and flooding, and has been documented.38

          96.    Frequent offensive odors from the Landfill are experienced by Plaintiffs.

          97.    These various forms of radioactive contamination (soil, dust, and Radon gas) that

 have polluted the Dailey Property and continue to threaten to further pollute the Dailey Property

 match the Mallinckrodt waste fingerprint (or profile).

          98.    This radioactive contamination on Plaintiffs’ property migrated from the Landfill

 (and was spilled during transport to the Landfill).       The contamination was caused by the

 Defendants’ improper generation, handling, storage, and disposal of radioactive materials.

          99.    Radioactive contamination of the Dailey Property and frequent offensive odors

 renders the Dailey Property unfit for normal use and enjoyment, and diminishes its fair market

 value.

                                      COUNT I - TRESPASS

          100.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

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 36
    Kaltofen (2016) at 111.
 37
    Kaltofen (2016) at 104.
 38
    EPA Finds Radiation in West Lake Landfill Runoff, CBS St. Louis, May 26, 2016,
 http://stlouis.cbslocal.com2016/05/26/epa-finds-radiation-inwestlake-landfill-runoff.

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        101.    Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property

 located at 3550 El Ferrol Court, more particularly described in Paragraph 9 above.

        102.    Landfill Defendants own and control property located at the Bridgeton and West

 Lake Landfills, which adjoins Plaintiffs’ property.

        103.    Landfill Defendants store and/or transport radioactive materials and other toxic

 and hazardous wastes on their property.

        104.    Radioactive Waste Generator Defendants generated massive quantities of

 extremely dangerous radioactive wastes and failed to ensure of its proper disposal.

        105.    Radioactive Waste Disposer Defendants purchased massive quantities of highly

 toxic radioactive wastes and failed to properly dispose of these wastes. The Radioactive Waste

 Disposer Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes at a

 facility unfit to handle such wastes.

        106.    Landfill Defendants have used these radioactive materials in a manner that is

 unreasonable, unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

        107.    Landfill Defendants have caused these radioactive materials to migrate from

 Defendants’ property and contaminate Plaintiffs’ property.

        108.    Landfill Defendants willfully, wantonly, and maliciously caused the emission of

 Radon gas, and radioactive particles onto and around Plaintiffs’ property through their Landfill

 operations.

        109.    It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.



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          110.   The migration of Radon gas and radioactive particles from Landfill Defendants’

 property onto Plaintiffs’ property has resulted and continues to result in direct physical

 interference with Plaintiffs’ property. Such contamination is incompatible with the normal use

 and enjoyment of the Dailey Property.

          111.   Plaintiffs did not give Defendants permission or consent to interfere with their

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

          112.   The contamination of Plaintiffs’ property with Radon gas and radioactive

 particles, and other hazardous wastes, has resulted in significant damage to the property.

          113.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiffs have suffered and continue to suffer injury, including decreased property

 value.

                             COUNT II – PERMANENT NUISANCE

          114.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

          115.   Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property

 located at 3550 El Ferrol Court, more particularly described in Paragraph 9 above.

          116.   Landfill Defendants own and control property located at the Bridgeton and West

 Lake Landfills, which adjoins Plaintiffs’ property.

          117.   Defendants unreasonably and unlawfully stored and used radioactive materials at

 the Landfill, which adjoins Plaintiffs’ property.



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         118.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

         119.    The Landfill and the radioactive waste that the Landfill contains are a permanent

 construction that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to

 abate the presence of the Landfill or the radioactive waste stored there.

         120.    Operating an unlicensed radioactive hazardous waste dump in a populated area is

 a nuisance per se.

         121.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Dailey Property.

         122.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

         123.    Landfill Defendants have intentionally, unreasonably, negligently, recklessly,

 willfully, wantonly and maliciously allowed the emission of noxious, offensive odors and

 various hazardous substances into the surrounding air resulting in unreasonable interference with

 Plaintiffs’ use and enjoyment of the property.

         124.    Landfill Defendants’ continuous and unrelenting noxious odors invading

 Plaintiffs’ property causes inconvenience to Plaintiffs and prevents them from using the

 property.



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        125.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                            COUNT III – TEMPORARY NUISANCE

        126.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        127.    Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property

 located at 3550 El Ferrol Court, more particularly described in Paragraph 9 above.

        128.    Landfill Defendants own and control property located at the Bridgeton and West

 Lake Landfills, which adjoins Plaintiffs’ property.

        129.    Defendants unreasonably and unlawfully store and use radioactive materials at the

 Landfill, which adjoins Plaintiffs’ property.

        130.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        131.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Dailey Property.

        132.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.



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        133.    Landfill Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of the property.

        134.    Landfill Defendants’ use of the Landfill causes frequent and unrelenting noxious

 odors to invade Plaintiffs’ property and prevents Plaintiffs from using the property.

        135.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                  COUNT IV – NEGLIGENCE

        136.    Plaintiffs re-allege and incorporate by reference every allegation of this

 Complaint as if each were set forth fully herein.

        137.    Radioactive isotopes (including Uranium-238, Radium-226, and Thorium-230)

 are known human carcinogens and are among the most toxic materials known to man. When

 property becomes contaminated with these wastes, the dangers can persist in the environment for

 thousands of years. Radioactive wastes should be handled, stored, and disposed of with the

 utmost safety in mind. Exposures to radioactive wastes should be as low as is reasonably

 achievable.

        138.    Knowing of the grave dangers posed by their wastes and operations, the

 Radioactive Waste Defendants owed a duty of care to the Plaintiffs and the public to ensure the

 safe and legal handling, storage, and disposal of the radioactive wastes generated and owned by

 defendants in order to prevent significant injury to property and persons.

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        139.    The Radioactive Waste Generator and Disposer Defendants were negligent in

 failing to ensure that the mill tailings wastes were safely disposed of at an appropriate facility.

 These Defendants negligently disposed of these mill tailings at a landfill located in a residential

 area that was not capable of safely and properly disposing of radioactive materials. The Landfill

 was not properly licensed, nor configured, nor staffed to handle the disposal of radioactive

 wastes. Upon information and belief some of the Radioactive Waste Defendants negligently

 encouraged the Landfill operators to use the radioactive wastes which were mixed with

 contaminated soil as daily cover.

        140.    As a direct and proximate result of the Radioactive Waste Generator and Disposer

 Defendants’ failure to ensure that the mill tailings were properly disposed of at an appropriate

 facility, Plaintiffs have suffered and continue to suffer injury due to the radioactive

 contamination of their property, including diminished property value.

        141.    The Landfill Defendants owed a duty to the Plaintiffs to operate the Landfill in a

 safe, legal, and reasonable manner so as not to contaminate and interfere with surrounding

 properties. The Landfill Defendants owed a duty not to accept radioactive wastes for which they

 were not licensed or qualified to handle. After accepting radioactive wastes, the Landfill

 defendants had a duty to safely handle, store and/or dispose of the radioactive wastes in order to

 prevent significant injury to property and persons.

        142.    Landfill Defendants were negligent in the construction, design, operating and

 maintenance of the Landfill.

        143.    The Landfill Defendants negligently accepted mill tailings when the Landfill was

 not designed, nor staffed to handle the disposal of radioactive wastes. The negligent design and

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 maintenance of the Landfill by Landfill Defendants failed to prevent the release of Radon gas

 and radioactive particles and hazardous and toxic wastes onto surrounding properties in excess of

 guidelines.

        144.    Upon information and belief, Landfill Defendants’ negligent training of personnel

 handling radioactive, toxic, and hazardous materials on site was a direct and proximate cause of

 damage to Plaintiff’s property.

        145.    Landfill Defendants’ negligent use of radioactive wastes mixed with radioactive

 soil as daily cover spread contamination into a broader area and prevented Defendants and

 regulators from knowing the location of these dangerous wastes.              The negligent use of

 radioactive materials as daily cover in an unlined Landfill resulted in contamination of the

 groundwater underlying the Landfill and surrounding properties.

        146.    Landfill Defendants were negligent in failing to prevent the subsurface fire.

 Defendants should have implemented adequate practices with respect to gas extraction to avoid

 subsurface fires after they initially dealt with problems with smoldering events and increased

 subsurface temperatures in the 1990’s. The subsurface fire along with the resulting noxious

 odors and increased risk of significant Radon gas emissions are a direct and proximate result of

 the Landfill Defendants’ negligence in the operation of the Landfill. Such contamination is

 incompatible with the normal use and enjoyment of the Dailey Property.

        147.    Defendants’ collective negligence throughout the history of the mishandling and

 improper dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of

 Radon gas and radioactive particles and other hazardous materials as well as offensive odors

 onto Plaintiffs’ property, in disregard of applicable regulations and property rights.

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           148.   Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances and noxious odors. Defendant’s

 negligence diminished Plaintiffs’ property value.

           149.   The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

           150.   Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

           151.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                                COUNT V – NEGLIGENCE PER SE

           152.   Plaintiffs re-allege and incorporate by reference every allegation of this

 Complaint as if each were set forth fully herein.

           153.   The Radioactive Waste Generator and Disposer Defendants violated Missouri

 regulations for Protection against Ionizing Radiation, 19 C.S.R. 20-10.070, 20-10.090, and the

 Missouri Hazardous Waste Management regulations, 10 C.S.R. 25-5.262, both of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           154.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation and Hazardous Waste Management were meant to protect.

           155.   The contamination of Plaintiffs’ land is the kind of injury that the regulations for

 protection against ionizing radiation were designed to prevent.



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        156.    The Radioactive Waste Generator and Disposer Defendants’ violations of the

 regulations for Protection against Ionizing Radiation and Hazardous Waste Management were

 the proximate cause of Plaintiffs’ injuries.

        157.    The Landfill Defendants violated Missouri regulations for Protection against

 Ionizing Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law

 and Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-

 3.010(8)(A), 80-3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR

 80-3.010(19)(C)(7); Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo.

 Rev. State. § 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of

 which require the safe storage and disposal of radioactive material so as to protect the health and

 safety of the public.

        158.    Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

        159.    The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law

 and Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

        160.    The Landfill Defendants’ violations of Missouri regulations for Protection against

 Ionizing Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.



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        161.    Defendants’ collective negligence throughout the history of the mishandling and

 improper dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of

 Radon gas and radioactive particles and other hazardous materials as well as offensive odors

 onto Plaintiffs’ property in violation of applicable regulations and disregard for property rights.

        162.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances and noxious odors. Defendant’s

 negligence diminished Plaintiffs’ property value.

        163.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                                  COUNT VI - STRICT LIABILITY

        164.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        165.    Radioactive       Waste   Generator    Defendants,   Radioactive   Waste     Disposer

 Defendants, and Landfill Defendants engage in the abnormally dangerous activity of generating,

 handling, storing, and/or disposing of radioactive waste.

        166.    By generating, handling, storing, and/or disposing of radioactive waste,

 Defendants have created and continue to create a high degree of risk of harm to Plaintiffs’

 property.

        167.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 generating, handling, storing, and/or disposing of radioactive waste.

        168.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

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 injury, including diminished property value.        Such contamination is incompatible with the

 normal use and enjoyment of the Dailey Property.

         169.   Plaintiffs’ injuries are of the kinds that result from the dangerous nature of

 generating, handling, storing, and/or disposing of radioactive waste.

         170.   The injuries that Defendants’ generating, handling, storing, and/or disposing of

 radioactive waste have caused Plaintiffs to suffer, drastically outweigh the value of the Landfill.

         171.   Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for generating, handling, storing and/or

 disposing of radioactive materials, including, without limitation, any incidental or consequential

 damages.

                            COUNT VII - MEDICAL MONITORING

         172.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         173.   Defendants have tortiously contaminated the Dailey Home with radioactive

 cancer-causing materials such as Uranium and Thorium. The levels of radioactive isotypes in

 the dust in the Dailey Home are many times greater than applicable safety guidelines for soil and

 dust.

         174.   The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the Dailey Home.

         175.   The radioactive contamination of the Home has caused a significant increased risk

 to Mr. and Mrs. Dailey, and therefore Plaintiffs are in need of a thorough scientific evaluation of

 the radioactive contaminant levels throughout the Dailey Home and the Dailey Property.

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        176.    The need for such an evaluation is a direct consequence of the Defendants’

 tortious conduct, and does not arise from the innocent conduct of the homeowners.

        177.    Therefore Plaintiffs seek injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the Dailey Home and Property, consistent with

 contemporary scientific principles. Plaintiffs seek injunctive and equitable relief to require the

 Defendants to respond to the consequences of this tortious contamination by providing the

 necessary medical monitoring in the form of environmental testing, clean-up, and medical tests

 as indicated by the results of the scientific evaluation.

        178.    Plaintiffs seek this injunctive and equitable relief either in the form of an

 injunction requiring the Defendants to conduct the necessary monitoring themselves, or in the

 form of a court-ordered and court-supervised fund (with a court-appointed trustee if the court

 deems that appropriate) to provide for the necessary monitoring.

        179.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of the Dailey Home and the Dailey Property, decrease the interference with the use and

 enjoyment of the Dailey Home, and further mitigate Plaintiffs’ damages.

        WHEREFORE, as to each Count, and all Counts, Plaintiffs Michael Dailey and Robbin

 Dailey pray for judgment in favor of Plaintiffs and against Defendants Bridgeton Landfill, LLC,

 Republic Services, Inc., Allied Services, L.L.C., Rock Road Industries, Inc., MI Holdings, Inc.,

 Mallinckrodt, Inc., Cotter Corporation, Commonwealth Edison Company, and Exelon

 Corporation, as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

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              damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

              discomfort; damage to Plaintiffs’ personal property; the diminution in the market

              value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

              of Plaintiffs’ exposure to radioactive emissions, including costs of remediation

              and relocation;

           b. an award of double damages for malicious trespass as provided for under Mo.

              Rev. Stat. § 537.330;

           c. an award of punitive and exemplary damages as fair and reasonable in an amount

              sufficient to punish Defendants and to deter similar conduct in the future;

           d. costs and attorney fees;

           e. interest on the above amounts as allowed by law;

           f. for appropriate injunctive and equitable relief, including medical monitoring; and

          g. for any further relief this Court deems just and proper.

 Dated: November 15, 2016

                                            Respectfully submitted,

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